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                        (PART 1 OF 5)
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                                                                                                                        A3M / ALL
                                                                                                     Transmittal Number: 19117484
Notice of Service of Process                                                                            Date Processed: 12/19/2018

Primary Contact:           Pamela Beyer
                           The Travelers Companies, Inc.
                           385 Washington Street, 9275-LC12L
                           Saint Paul, MN 55102

Entity:                                       The Travelers Indemnity Company
                                              Entity ID Number 2317465
Entity Served:                                The Travelers Indemnity Company
Title of Action:                              Wolverine World Wide, Inc., f/k/a Wolverine Shoe & Tanning Corporation vs. The
                                              American Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Kent County Circuit Court, MI
Case/Reference No:                            18-11116
Jurisdiction Served:                          Michigan
Date Served on CSC:                           12/18/2018
Answer or Appearance Due:                     21 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Charles M. Denton
                                              616-742-3930

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                                                                           Original - Court                             2nd copy - Plaintiff
Approved, SCAO                                                             1st co - Defendant                           3rd co - Return
        STATE OF MICHIGAN                                                                                                        CASE NO.
                        JUDICIAL DISTRICT
                         JUDICIAL CIRCUIT                                 SUMMONS
                         COUNTY PROBATE                                                                                `~                                       ~CO~
Court address                                                                                                                                      Court telephone no.

         s name(s), address(es),                                                         Defendant's name(s), address(es), and telephone no(s).
                                                                                 v
                     Wolverine World Wide, Inc.                                                          The Travelers Indemnity Company
                     9341 Courtland Drive N.E.                                                     c% CSC-Lawyers Incorporating Service Company
                        Rockford, MI 49351                                                                          601 AbbotRoad
                          (616) 866-5500                                                                         East Lansing, MI 48823
  aintiff's attorney, bar no., address, and telephone no.                                                            (866) 403-5272



                                                                                          . ,,   +-- -- .    -               ,..   .- . •


Instructions: Check the items below that apply to you and provide any required information. Sdbmit this form to the court clerk
along with your complaint and, if necessary, a case inventory addendum (form MC 21). The summons section will be completed
by the court clerk.

Domestic Relations Case
❑ There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
   family members of the person(s) who are the subject of the complaint.
❑ There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint. Attached is a completed case inventory
   (form MC 21) listing those cases.
❑ It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint.

Civil Case
❑ This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
® There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint.
❑ A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

      been previously filed in          ❑ this court, ❑                                                                                                 Court, where

      it was given case number                                                       and assigned to Judge

      The action      ❑ remains          ❑ is no longer         pending.


Summons section completed by court clerk.

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
   serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
   served outside this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
   demanded in the complaint.
4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter
   to help you fully participate in court proceedings, please contact the court immediately to make arrangements.


Ilssue,. ate
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                                    p
                                                                   ~   Court clerk                                       ~         ~' jF'°                 a
                                                                                                                                            u~~lall~ ~~~~g~ ~
*This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.

MC 01 (8i18) SUMMONS                                                                                             MCR 1.109(D), MCR 2.102(B), MCR 2.104, MCR 2.105
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                                                                                                                     SUMMONS
                                                              PROOF OF SERVICE                         Case No.

TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to
complete service you must return this original and all copies to the court clerk.

                                      CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE

                 ❑ OFFICER CERTIFICATE                                 OR                  ❑ AFFIDAVIT OF PROCESS SERVER
 I certify that I am a sheriff, deputy sheriff, bailiff, appointed               Being first duly sworn, I state that I am a legally competent
 court officer, or attorney for a party (MCR 2.104[A][2]), and                   adult who is not a party or an officer of a corporate party, and
 that:    (notarization not required)                                            that:    (notarization required)

❑ I served personally a copy of the summons and complaint,
❑ I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
     together with
                     List all documents served with the summons and complaint


                                                                                                                         on the defendant(s):

Defendant's name                                  Complete address(es) of service                                        Day, date, time




❑ I have personally aftempted to serve the summons and complaint, together with any attachments, on the following defendant(s)
   and have been unable to com lete service.
Defendant's name                            Complete address(es) of service                                  Day, date, time




I declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the
best of my information, knowledge, and belief.

Service fee             Miles traveled Fee                                      Signature

 $                                    $
Incorrect address fee Miles traveled Fee                 TOTAL FEE              Name (type or print)
 $                                      Is               $
                                                                                Title
Subscribed and sworn to before me on                                                                                        County, Michigan.
                                               Date
My commission expires:
                          Date                                  Signature: Deputy court clerk/Notary public
Notary public, State of Michigan, County of

                                                      ACKNOWLEDGMENT OF SERVICE

I acknowledge that I have received service of the summons and complaint, together with Attachments

                                                         on
                                                              Day, date, time
                                                                on behalf of
Signature
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                                  STATE OF NIICHIGAN
                   IN TI-IE CIRCUIT COURT FOR THE COUNTY OF KENT


   WOLVERINE WORLD WIDE, INC., a
   Delaware corporation f/k/a Wolverine Slioe &
   Tanning Corporation,

                  Plaintiff,

          LTA

   THE AMERICAN 1NSURANCE
   COMPANY, an Ohio corporation;
   INSURANCE COMPANY OF NORTH
   AMERICA, a Pennsylvania corporation;
   FIRST STATE INSURANCE COMPANY, a                       Case No, ~~ -- 1 ~ ' 1                       b
   Connecticut corporation; AMERICAN
   EMPLOYERS' INSURANCE COMPANY,
   n/k/a SPARTA Insurance Company, a                       COMPLAINT AND ,IURY D.EM:AN-D
   Connecticut corporation; LIBERTY MUTUAL
   INSURANCE COMPANY, a Massachusetts
   corporation; THE TRAVELERS
   INDEMNITY COMPANY, a Connecticut                                 ;   ...
   coi-poration; EMPLOYERS INSURANCE
   COMPANY OF WAUSAU, a Wisconsin
   corporation; NORTH RIVER INSURANCE
   COMPANY, a New Jersey corporation;
   PACIFIC EMPLOYERS INSURANCE
   COMPANY, a Pennsylvania corporation;
   FEDERAL INSURANCE COMPANY, an
   Indiana corporation; and DOE INSURANCE
   COMPANIES 1-10;

                  Defendants.


         Plaintiff Wolverine World Wide, Inc., f/k/a Wolverine Slioe & Tanning Corporation,

  (hereinafter "Wolveriiie" or `'PlaintifP'), by and througli its undersigned counsel of record, for its

  Complaint against the above-named Defeiidant-Insurers, alleges as follows:
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                                      Nature of the Action

       1.      Plaintiff Wolverine brings this action for declaratory judgment and for breach of

contract under comprehensive general, umbrella, and excess liability insurance policies issued by

Defendants and enclosed in Exhibits A-1 through A-11 attached hereto (the "Policies")

       2.      As of the filing of this Complaint, Wolverine has been named as a defendant in

three class actions and approximately 220 individual tort actions brought by current and/or former

Michigan residents who have allegedly suffered bodily injury, property damage, personal injury,

or some combination thereof, which they attribute to exposure to certain chemicals and waste

byproducts allegedly caused by Wolverine's historic operations at or around a former leather

tannery Wolverine operated near its principal place of business in Rockford, Michigan (the

"Rockford Site"), and/or its property located at 1855 House Street N.E., in Belmont, Michigan (the

"Belmont Site") (collectively, the "Tort Actions"). Specifically, the plaintiffs in the Tort Actions

allege that Wolverine's use of ScotchgardTM, a chemical that contains certain per- and

polyfluoroalkyl substances ("PFAS"), in its leather treatment process led to the increased presence

of certain PFAS compounds in the soil and/or groundwater and allegedly caused plaintiffs' alleged

injuries and/or damages.

       3.      Wolverine has also been named as a defendant in two government actions related

to its alleged disposal of certain PFAS compounds. On January 10, 2018, the Michigan

Department of Environmental Quality ("MDEQ") filed a complaint against Wolverine in federal

court seeking declaratory and injunctive relief under various environmental statutes based on

increased presence of certain PFAS compounds on and around the Rockford and Belmont Sites

allegedly due to Wolverine's historic operations. Also on January 10, 2018, the U.S.

Environmental Protection Agency ("EPA") served on Wolverine a Unilateral Administrative




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Order, ordering Wolverine to comply with its work plan to investigate and remediate certain PFAS

compounds allegedly located at the Rockford and Belmont Sites (together with the MDEQ action,

the "Government Actions")

       4.      In addition, Wolverine is named as a defendant in an action brought by Boulder

Creek Development Co., LLC ("Boulder Creek"), the owner of a nearby gravel pit and licensed

landfill where Wolverine allegedly disposed of waste byproducts several decades ago. The

plaintiff in that suit seeks damages related to the clean-up and investigation of its property based

on causes of action sounding in environmental statute, negligence, fraud, and nuisance. (This

action collectively with the Government Actions and the Tort Actions are referred to herein as the

"Underlying Actions")

       5.      The Defendants' Policies described herein and enclosed in Exhibits A-1 through

A-11 consist of primary, umbrella, and excess comprehensive general liability insurance policies

for policy periods spanning from 1957 through 1986 requiring the Defendant-Insurers to defend

and indemnify Wolverine, in full, from suits alleging property damage, bodily injury, and/or

personal injury (the "Policies"). Certain of the Policies, including all of the primary policies and

certain of the excess and umbrella policies, contain a duty to defend, which requires each of the

applicable insurers to provide a full defense to Wolverine in connection with each of the

Underlying Actions. As discussed herein, each of the primary insurer Defendants whose Policies

contain such a duty to defend and those excess and umbrella insurer Defendants whose Policies

require that they defend Wolverine where, for example, the underlying insurer has failed or refused

to honor their respective duty to defend, have each failed or refused to provide Wolverine with a

full defense in breach of each of their obligations under the Policies and applicable law.




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       6.     The Policies also provide insurance coverage to Wolverine requiring each of the

insurers to pay all costs and expenses incurred by Wolverine in connection with any indemnity

incurred by Wolverine in connection with the Underlying Actions, including any settlements or

judgments. As discussed more fully herein, all of the Defendants have failed to acknowledge or

agree to honor their indemnity obligations under the Policies to pay or reimburse Wolverine for

any indemnity costs, which Wolverine may be legally obligated to pay in connection with any

settlements or judgments for covered damages alleged in the Underlying Actions.

       7.      Each of the Underlying Actions alleges a covered, or potentially covered,

Occurrence and seeks damages from Property Damage, Bodily Injury and/or Personal Injury, as

those terms are defined in the Policies, during the period of each of the Policies. Accordingly,

each of the primary insurer Defendants, and certain of the excess and umbrella insurer Defendants,

has a duty to defend Wolverine in full and to provide a complete indemnity to Wolverine on a joint

and several, "all sums" basis, in connection with each of the Underlying Actions under each of the

primary Policies. Each of the umbrella and excess insurer Defendants have an obligation to

acknowledge coverage and agree to indemnify Wolverine in the Underlying Actions upon

exhaustion of the applicable underlying coverage or — where required by the Policies —

immediately provide Wolverine with a full defense where, for example, the applicable underlying

primary insurer Defendant has failed or refused to defend Wolverine in full for the Underlying

Actions.

       8.      To date, each of the Defendants has failed and/or refused to provide Wolverine with

a full defense in connection with each of the Underlying Actions under each of the Policies, and

each of the Defendants also has failed and/or refused to agree to provide Wolverine with a




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complete indemnity on a joint and several, "all sums" basis, in connection with any settlements

and/or judgments in the Underlying Actions.

       9.      Wolverine brings this action for declaratory judgment pursuant to MCR 2.605,

seeking a declaration that each of the primary insurer Defendants is obligated to (1) provide

Wolverine with a full defense in connection with the Underlying Actions; and/or (2) pay in full

the costs and expenses of the investigation and defense of the Underlying Actions; and (3) pay in

full for any of Wolverine's legal liabilities incurred, to be incurred, or paid in connection with the

Underlying Actions, including any settlements and/or judgments. Wolverine further seeks a

declaration that each of the umbrella and excess insurer Defendants with a duty to defend or

obligation to pay defense costs must: (1) provide Wolverine with a full defense in connection with

the Underlying Actions; and/or (2) pay in full the costs and expenses of the investigation and

defense of the Underlying Actions. Wolverine further seeks a declaration that all of the umbrella

and excess insurer Defendants must pay in full any of Wolverine's legal liabilities incurred, to be

incurred, or paid in connection with the Underlying Actions, including any settlements and/or

judgments. Wolverine also seeks other declarations as to its rights under the Policies, all in

accordance with the contractual provisions of these Policies, insuring obligations imposed or

implied by law, and the reasonable expectations of Wolverine as an insured.

       10.     Wolverine further seeks damages for breach of contract. The primary insurer

Defendants each have breached their Policies by failing or refusing to undertake or honor their

contractual obligations fully to provide a complete defense to Wolverine and/or to pay in full

Wolverine's costs and expenses of investigation and defense. Each of the excess and umbrella

insurer Defendants with a duty to defend also have breached their Policies by failing or refusing

to undertake or honor their contractual obligations fully to provide a complete defense to




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Wolverine and/or to pay in full Wolverine's costs and expenses of investigation and defense.

Additionally, each of the Defendants has breached its respective duties of good faith and fair

dealing owed to Wolverine in connection with their handling of Wolverine's claims.

        11.           Wolverine has performed all acts and preconditions necessary and/or required

under the Policies, specifically including, but. not limited to, payment of premiums and providing

timely and proper notice of all claims and/or suits, which have been satisfied by, among other

things, the filing of this Complaint. All conditions and conditions precedent to Defendants'

performance of their obligations under the Policies have been satisfied or performed by Wolverine,

or their performance is or has been waived or excused by the conduct of these Defendants or by

operation of law.

                                                  Parties

        12.           Plaintiff Wolverine; whose principal place of business is located in Rockford,

Michigan, is incorporated under the laws of the State of Delaware and is engaged in the business

of designing, manufacturing, and marketing. a broad line of quality footwear.

        13.           Defendant The American Insurance Company ("AIC") is an insurance company

organized under the laws of the State of Ohio, with its principal place of business in Chicago,

Illinois.

        14.           Defendant Insurance Company of North America ("INA") is an insurance company

organized under the laws of the State of Pennsylvania, with its principal place of business in

Philadelphia, Pennsylvania.

            15.   1
                      Defendant First State Insurance Company ("First State") is an insurance company

organized under the laws of the State of Connecticut, with its principal place of business in Boston,

Massachusetts.




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       16.    Defendant American Employers' Insurance Company ("AEIC"), n/k/a SPARTA

Insurance Company, is an insurance company organized under the laws of the State of

Connecticut, with its principal place of business in Farmington, Connecticut.

       17.     Defendant Liberty Mutual Insurance Company ("Liberty") is an insurance

company organized under the laws of the State of Massachusetts, with its principal place of

business in Boston, Massachusetts.

       18.     Defendant The Travelers Indemnity Company ("Travelers") is an insurance

company organized under the laws of the State of Connecticut, with its principal place of business

in Hartford, Connecticut.

       19.     Defendant Employers Insurance Company of Wausau ("Wausau") is an insurance

company organized under the laws of the State of Wisconsin, with its principal place of business

in Boston, Massachusetts.

       20.     Defendant North River Insurance Company ("North River") is an insurance

company organized under the laws of the State of New Jersey, with its principal place of business

in Morristown, New Jersey.

       21.     Defendant Pacific Employers Insurance Company ("Pacific") is an insurance

company organized under the laws of the State of Pennsylvania, with its principal place of business

in Philadelphia, Pennsylvania.

       22.     Defendant Federal Insurance Company ("Federal") is an insurance company

organized under the laws of the State of Indiana, with its principal place of business in

Philadelphia, Pennsylvania.

       23.     At all times pertinent, AIC, INA, First State, AEIC, Liberty, Travelers, Wausau,

North River, Pacific, and Federal (collectively, "Defendants") were, and are, licensed to do




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business, and were and are doing and transacting business, in the State of Michigan. Defendants

each issued Policies to Wolverine under which relief is being sought herein..

       24.      Doe Insurance Companies 1 through 10 are insurance companies whose identities

are currently unknown to Plaintiff that issued general liability insurance policies (including

primary, umbrella, and excess insurance policies) responsive to the Underlying Actions for which

relief is being sought herein. When the true identities of such insurance companies become known

to Plaintiff, this Complaint will be amended to identify such Defendant insurance companies.

                                     Jurisdiction and Venue

       25.      This Court has subject matter jurisdiction over this civil action, with the amount in

controversy in excess of $25,000, pursuant to MCL § 600.605, which confers this Court with

general jurisdiction over all matters not expressly assigned to other courts. Pursuant to MCR

2.112(0), Plaintiff verifies that this case involves a business dispute as defined by MCL 600.8031.

       26.      Venue for this action is proper in this Court pursuant to MCL § 600.1621 because

Defendants conduct business in this County, and because Wolverine resides, maintains a place of

business, and maintains a registered office in this County.

                                            Background

       27.      Wolverine is engaged in the business of designing, manufacturing, and marketing

a broad line of quality footwear.

       28.      As alleged in the Underlying Actions, Wolverine has operated a leather tannery at

the Rockford Site, and has utilized or maintained property in furtherance of this business at the

Belmont Site.

       29.      As alleged in the Underlying Actions, in approximately 1958 Wolverine began

incorporating ScotchgardTM, a chemical that contains certain PFAS compounds, into or part of its

tannery process. Wolverine disposed of tanning by-products at or around the Belmont Site after it


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began incorporating ScotchgardTM into its tannery process and did so until around 1970, when it

began disposing at landfills.

        30.     Wolverine properly and timely provided notice to all the Defendants of the

Underlying Actions, including btit not limited to in correspondence dated November 2, 2017,

January 8, 2018, February 13, 2018, March 6, 2018, April 10, 2018, June 20, 2018, October 12,

2018, December 6, 2018, and December 7, 2018. Wolverine also promptly and timely provided

all Defendants with all complaints and any amendments thereto from the Underlying Actions

received by Wolverine to date and Wolverine has and continues to cooperate with the Defendants

with respect to its claim(s).

        31.    All of the Underlying Actions constitute claims and/or demands and/or suits

alleging that the acts and/or omissions of Wolverine, a named insured under the Policies, constitute

an occurrence, occurrences, or series of continuous occurrences, all of which occurred within the

policy periods of the Policies. Those occurrence(s) are alleged to have caused bodily injury,

property damage, personal injury, and/or some combination thereof. As such, all of the Underlying

Actions, and potentially forthcoming actions not yet filed, trigger each of the primary insurer

Defendants', and certain of the excess and umbrella insurer Defendants', obligations to fully

defend and all of the insurer Defendants' obligations to fully indemnify Wolverine for any

settlements or judgments in the Underlying Actions on a joint and several, "all sums" basis, under

each of the Policies.

I.     The MDEQ Action

       32.     The MDEQ informed Wolverine that it had allegedly detected certain PFAS

compounds in or around Wolverine's property through its investigation into the presence of certain

PFAS compounds in groundwater near the Belmont Site. The Kent County Health Department




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initiated a similar investigation.

        33.     On January 10, 2018, the MDEQ filed a complaint against Wolverine in federal

court seeking declaratory and injunctive relief under various environmental statutes, Michigan

Department ofEnvironmental Quality v Wolverine World Wide, Inc, Case No 1:18-cv-00039 (WD

Mich). The complaint in the MDEQ action is attached hereto as Exhibit B-1.

        34.     The MDEQ asks the court to impose various obligations for the investigation,

remediation, clean-up, and mitigation of those areas, homes, and residents allegedly impacted by

the disposal of certain PFAS compounds, including by asking the court to require Wolverine to

provide short-term and long-term drinking water supplies to impacted wells.

        35.     The gravamen of the MDEQ complaint is that "Wolverine has contributed and

continues to contribute to the past and present handling, storage, treatment, transportation, and/or

disposal of solid waste at properties owned by Wolverine, and also at properties owned by others,

in such a manner that resulted in releases of [certain PFAS compounds] at levels that resulted in

detections that exceed applicable Michigan cleanup criteria ... and which may present an

imminent and substantial endangerment to human health and the environment." Ex. B-1, ¶ 4

        36.     The MDEQ seeks declaratory and injunctive relief, and other damages to be

determined by the court, and requests the court to compel Wolverine to:

                a.      Investigate and assess the location and extent of releases or threatened

                        releases of certain PFAS compounds into the environment;

                b.      Develop and implement plans for the continued sampling and analysis of

                        impacts to drinking water wells from certain PFAS compounds released or

                        disposed of by Wolverine;




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               C.      Provide alternate drinking water supplies to users of drinking water wells

                       impacted by certain PFAS compounds for which Wolverine is responsible;

               d.      Provide long-term, reliable drinking water supplies to users of drinking

                       water wells, including by connecting residents to municipal drinking water

                       supplies, to address unacceptable risks posed by a release or threat of release

                       of certain PFAS compounds allegedly attributable to Wolverine;

               e.      Perform response activities required under the Michigan Natural Resources

                       and Environmental Protection Act to abate any endangerment to human

                       health and the environment from exposure to certain PFAS compounds at

                       locations where they have come to be located; and

               £       Payment of the State's past and future response activity costs of surveillance

                       and enforcement.

Ex. B-1, ¶¶ 5-6, and at 20.

       37.      The MDEQ action alleges a covered occurrence, occurrences, or series of

occurrences under the Policies and seeks damages from property damage, bodily injury, and/or

personal injury during the policy periods of the Policies. The allegations in the MDEQ action

triggered the primary insurer Defendants', and certain of the excess and umbrella insurer

Defendants', respective duties to fully defend Wolverine and/or to pay in full Wolverine's defense

and investigation costs in the Underlying Actions in accordance with the terms of their respective

Policies as discussed in full herein. The allegations in the MDEQ action also require each of the

insurer Defendants to agree to fully indemnify Wolverine on a joint and several, "all sums" basis,

for any settlements or judgments in the Underlying Actions in accordance with the terms of their

respective Policies as discussed in full herein.




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II.     The EPA Action

        38.     Also on January 10, 2018, the EPA served on Wolverine a Unilateral

Administrative Order ("UAO"), In the Matter of Wolverine Worldwide Tannery and House Street

Disposal Site, CERCLA Docket No V-W-18-C-004 (US EPA), ordering Wolverine to comply

with its work plan to investigate and remediate contamination at the Rockford and Belmont Sites.

The UAO in the EPA action is attached hereto as Exhibit B-2

        39.     The UAO provided that the EPA had evaluated the data from the MDEQ's

investigation, and Wolverine's own investigation, compared the results to the list of CERCLA

hazardous substances (as provided in 40 C.F.R. Part 302), and found that "[1]isted hazardous

substances were detected at levels above typical background concentrations and at levels that

exceeded applicable State action levels in all soil, groundwater and surface water sediment

samples." Ex. B-2, ¶ 7(k). The EPA ordered Wolverine to implement and complete a work plan

to remediate the Rockford and Belmont Sites.

        40.     The EPA action alleges a covered occurrence, occurrences, or series of occurrences

under the Policies and seeks damages from property damage, bodily injury, and/or personal injury

during the policy periods of the Policies. The allegations in the EPA action triggered the primary

insurer Defendants', and certain of the excess and umbrella insurer Defendants', respective duties

to fully defend Wolverine and/or to pay in full Wolverine's defense and investigation costs in the

Underlying Actions in accordance with the terms of their respective Policies as discussed in full

herein. The allegations in the EPA action also require each of the insurer Defendants to agree to

fully indemnify Wolverine on a joint and several, "all sums" basis, for any settlements or

judgments in the Underlying Actions in accordance with the terms of their respective Policies as

discussed in fiill herein




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        41.     The EPA action alleges a covered occurrence or series of occurrences under the

Policies and seeks damages from property damage, bodily injury, and/or personal injury during

the policy periods of the Policies, which has triggered the primary insurer Defendants' respective

duties to defend and indemnify Wolverine, triggered the obligation of each applicable umbrella

insurer to defend and indemnify Wolverine in the event of denial of coverage by the relevant

primary insurer, and obligated each applicable umbrella and excess insurer to assume the primary

insurer's obligations upon exhaustion of the relevant underlying policy.

III. The Boulder Creek Action

        42.     On Noveinber 14, 2018, Wolverine was named as a defendant in an action brought

by Boulder Creek, the owner of a sanitary landfill and gravel mining operation located at 4300

Cannonsburg Rd. NE, Belmont, MI 49306 (the "NE Gravel Site"), where Wolverine allegedly

disposed of waste byproducts several decades ago, Boulder Creek Development Co, LLC v

Wolverine World Wide, Inc, Case No. 18-10212-CE (Kent Cty Mi Cir Ct) (the "Boulder Creek

Action"). The complaint in the Boulder Creek Action is attached hereto as Exhibit B-3.

        43.     The Boulder Creek Action alleges that in or around 1958, Wolverine "began

incorporating PFAS compounds ... in its own manufacturing operations by treating leather and

finished shoes with ScotchgardTM in order to weatherproof its products" and that "[i]n order to

effect disposal of its waste [related to the tanning process], Wolverine utilized several dumpsites

and dumping methods in Kent County, including, but certainly not limited to, the use of the now-

infamous House Street dump, spreading the waste on farmland, and the NE Gravel site." Ex. B-

3, ¶¶ 26, 29.

       44.      The Boulder Creek Action alleges that the presence of PFAS and other chemical

compounds at the NE Gravel Site from approximately the 1950s to present has caused property




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damage and personal injury. The plaintiff in the Boulder Creek Action seeks damages related to

the clean-up and investigation of its property based on causes of action sounding in environmental

statute, negligence, fraud, and nuisance.

       45.     The Boulder Creek Action alleges a covered occui-rence, occurrences, or series of

occurrences under the Policies and seeks damages from property damage, bodily injury, and/or

personal injury during the policy periods of the Policies. The allegations in the Boulder Creek

Action triggered the primary insurer Defendants', and certain of the excess and umbrella insurer

Defendants', respective duties to fiilly defend Wolverine and/or to pay in full Wolverine's defense

and investigation costs in the Underlying Actions in accordance with the terms of their respective

Policies as discussed in full herein. The allegations in the Boulder Creek Action also require each

of the insurer Defendants,to agree.to fully indemnify Wolverine on a joint and several, "all sums"

basis, for any settlements or judgments in the Underlying Actions in accordance with the terms of

their respective Policies as discussed in full herein.

IV.    The Class Actions

       46.     Wolverine has been named as a defendant in three class actions brought by current

and/or former Michigan residents who have allegedly suffered bodily injury, property damage,

personal injury, or some combination thereof, which they attribute to exposure to soil and/or

groundwater containing certain PFAS compounds allegedly originating from Wolverine's historic

operations at or around the Rockford and Belmont Sites. Those plaintiffs allege that the presence

of certain PFAS compounds in the soil and/or groundwater caused their alleged injuries and/or

damages.




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       47.     On December 1, 2017, Wolverine was named as a defendant in Beverly Zirnn7erman

et al v The 3M Cornpany et al, Case No 1:17-cv-01062 (WD Mich) (the "Zimmerman Class

Action"). The complaint in the Zinunerman Class Action is attached hereto as Exhibit B-4.

       48.     The Zimmerman Class Action alleges that Wolverine began using ScotchgardTM in

1958, that thereafter, "Wolverine engaged in a number of grossly negligent practices including the

disposal and maintenance of toxic waste and sludge, that led to the contamination of the

surrounding environment and drinking water with PFAS and other hazardous chemicals," and that

"[t]he ongoing presence of PFAS contamination has impacted Plaintiffs and the Class Members'

properties, is a blight on the affected communities and deprives Plaintiffs and Class Members of

their free use and enjoyment of their property." Ex. B-4, ¶¶ 59, 128.

       49.     The Zimmerman Class Action alleges that the presence of certain PFAS and other

chemical compounds at and around the properties, and in the water supply, of the plaintiffs and

class members from approximately the 1950s to present has caused property damage, bodily

injury, and/or personal injury. The plaintiffs in the Zimmerman Class Action seek damages based

on causes of action sounding in trespass, negligence, nuisance, products liability, fraud, and

emotional distress, among others.

       50.     The Zimmerman Class Action alleges a covered occurrence, occui-rences, or series

of occurrences under the Policies and seeks damages from property damage, bodily injury, and/or

personal injury during the policy periods of the Policies. The allegations in the Zimmerman Class

Action triggered the priinary insurer Defendants', and certain of the excess and umbrella insurer

Defendants', respective duties to fully defend Wolverine and/or to pay in full Wolverine's defense

and investigation costs in the Underlying Actions in accordance with the terms of their respective

Policies as discussed in full herein. The allegations in the Zimmerman Class Action also require




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each of the insurer Defendants to agree to fully indemnify Wolverine on a joint and several, "all

sums" basis, for any settlements or judgments in the Underlying Actions in accordance with the

terms of their respective Policies as discussed in full herein.

       51.     On March 5, 2018, Wolverine was named as a defendant in Megan Johns et al v

Wolverine World Wide, Inc., Case No 18-02078-CE (Kent Cty Mi Cir Ct) (the "Johns Class

Action"). The complaint in the Johns Class Action is attached hereto as Exhibit B-5.

       52.     The Johns Class Action, which was recently removed to federal court (see Megan

Johns et al v Wolverine World Wide, Inc, Case No 1:18-cv-01302 (WD Mich)) alleges that

Wolverine began using ScotchgardTM in 1958, that thereafter, "Wolverine engaged in grossly

negligent practices including the dumping and disposal of its tannery and manufacturing waste

[containing certain PFAS compounds] into the environment throughout Kent County, Michigan,"

and that "Plaintiffs' [sic] and the Class have, and continue, to experience harms resulting from

Wolverine's negligent use, handling, disposal and dumping of PFAS into the environment,

including interference with their property rights." Ex. B-5, ¶¶ 14, 35.

       53.      The Johns Class Action further alleges that the presence of certain PFAS and other

chemical compounds at and around the properties, and in the water supply, of the plaintiffs and

class members from approximately the 1950s to present has caused property damage, bodily

injury, and/or personal injury. The plaintiffs in the Johns Class Action seek damages based on

causes of action sounding in negligence, nuisance, fraud, and erriotional distress, among others.

        54.    The Johns Class Action alleges a covered occurrence, occui-rences, or series of

occurrences under the Policies and seeks damages from property damage, bodily injury, and/or

personal injury during the policy periods of the Policies. The allegations in the Johns Class Action

triggered the primary insurer Defendants', and certain of the excess and umbrella insurer




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Defendants', respective duties to fully defend Wolverine and/or to pay in full Wolverine's defense

and investigation costs in the Underlying Actions in accordance with the terms of their respective

Policies as discussed in full herein. The allegations in the Johns Class Action also require each of

the insurer Defendants to agree to fully indemnify Wolverine on a joint and several, "all sums"

basis, for any settlements or judgments in the Underlying Actions in accordance with the terms of

their respective Policies as discussed in fiill herein.

        55.     On December 4, 2018, Wolverine was named as a defendant in Susan Henry v

 Wolverine World Wide, Inc et al, Case No 1:18-cv-01924-UNA (D Del) (the "Henry Class

Action"). The complaint in the Henry Class Action is attached hereto as Exhibit B-6.

        56.     The Henry Class Action alleges that Wolverine used ScotchgardTM "[f]rom the late

1950's until about 2002," that during this time, Wolverine "unreasonably dispos[ed] of materials

containing toxic chemicals, including [certain PFAS compounds], in a manner that guaranteed

they would enter the environment, including ground and water," and that "Plaintiff and Putative

Classes have suffered exposure, personal injury, bioaccumulation of PFCs in their blood which

causes known cancers and diseases, property damage, and the diminution of property value as a

result of the [certain PFAS compounds] containination caused by Defendants, including of

drinking water supplies." Ex. B-6, ¶¶ 46, 154, 285.

        57.     The Henry Class Action alleges that the presence of certain PFAS and other

chemical compounds at and around the properties, and in the water supply, of the plaintiffs and

class members from approximately the 1950s to present has catised property damage, bodily

injury, and/or personal injury. The plaintiffs in the Henry Class Action seek damages based on

causes of action sounding in negligence, medical monitoring, products liability, nuisance, and

emotional distress, among others.




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          58.      The Henry Class Action alleges a covered occurrence, occurrences, or series of

occurrences under the Policies and seeks damages from property damage, bodily injury, and/or

personal injury during the policy periods ofthe Policies. The allegations in the Henry Class Action

triggered the primary insurer Defendants', and certain of the excess and umbrella insurer

Defendants', respective duties to fully defend Wolverine and/or to pay in fiill Wolverine's defense

and investigation costs in the Underlying Actions in accordance with the terms of their respective

Policies as discussed in full herein. The allegations in the Henry Class Action also require each

of the insurer Defendants to agree to fully indemnify Wolverine on a joint and several, "all sums"

basis, for aiiy settlements or judgments in the Underlying Actions in accordance with the terms of

their respective Policies as discussed in fiill herein.

V.        The Individual Acti®ns

          59.      Wolverine has been named as a defendant in over 220 individual actionsi brought

by current and/or former Michigan residents who have allegedly suffered bodily injury, property

 damage, personal injury, or some combination thereof, which they attribute to exposure to soil

and/or groundwater containing certain PFAS compounds allegedly originating from Wolverine's

historic operations at or around the Rockford and Belmont Sites. Those plaintiffs allege that the

presence of certain PFAS compounds in the soil and/or groundwater caused their alleged injuries

and/or damages.

          60.      The vast majority of the individual actions were brought by the same law firm and,

as such, the allegations across individual actions are substantially similar.z In many instances, the




 ' A list of all individual actions received by Wolverine at the time of the filing of this Complaint is attached hereto as
 Exhibit C.
Z Out of the approximately 220 individual actions received by Wolverine to date, approximately 213 of them were
filed by the law firm Varnum LLP. The remaining individual actions were filed by Sommers Schwartz, P.C. (among
others), the same firm that filed the Johns class action lawsuit.


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key allegations that trigger coverage under the Policies are identical across individual actions.

Accordingly, Wolverine discusses herein an exemplar individual action as representative of the

entire universe of individual actions.

        61.      In John D. Stewart et al v Wolverine World Wide, Inc, et al, Case No 18-09087-C2

(Kent Cty Mi Cir Ct) (the "Stewart Exemplar Action"),3 the plaintiffs allege that from 1939 to

1970, "Wolverine dumped sludge, liquid, and barrels containing hazardous tannery waste into

unlined seepage pits and trenches, which Wolverine understood would leach into groundwater,"

and that "[t]he aquifer from which Plaintiffs' [sic] obtain drinking water is contaminated with

tannery waste containing toxic chemicals called [certain PFAS compounds] [because] Wolverine

used and then dumped [certain PFAS compounds] into the bare ground." Ex. B-7, ¶¶ 1-2.

        62.       With respect to the geographic area of concern, the Stewart Exemplar Action

alleges disposal at areas north of the House Street property "in an unlicensed dump area off of

Jewell Avenue NE" and "in the area to the west of Wolven Avenue NE, in an old gravel pit and

onto farmland," both in Algoma Township, Michigan. Ex. B-7 at ¶¶ 125, 126 (Kent Cty Mi Cir

Ct).

        63.      The Stewart Exemplar Action further alleges that "due to contaminated drinking

water, the residents' use, enjoyment, and value of their properties has been substantially impaired,

and the residents and their children face an increased risk to a host of deadly and severe health

problems, some of which have already materialized. Wolverine's contamination has caused severe

diminution in property value, extreine anxiety, adverse health effects, and an increased risk to

future iiijuries." Ex. B-7, ¶ 7.




' The complaint in the Stewart Exemplar Action is attached hereto as Exhibit B-7.




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          64.   The Stewart Exemplar Action, like all of the individual actions, alleges that the

presence of certain PFAS compounds and other chemical compounds at and around the properties,

and in the water supply, of the plaintiffs has caused property damage, bodily injury, and/or personal

injury. The plaintiffs in the Stewart Exemplar Action seek damages based on causes of action

sounding in nuisance, negligence, ultrahazardous activity, products liability, and environmental

statute, among others.

          65.   The Stewart Exemplar Action and each of the individual actions allege a covered

occurrence, occurrences, or series of occurrences under the Policies and seek damages from

property damage, bodily injury, and/or personal injury during the policy periods of the Policies.

The allegations in the Stewart Exemplar Action and each of the individual actions triggered the

primary insurer Defendants', and certain of the excess and umbrella insurer Defendants',

respective duties to fully defend Wolverine and/or to pay in full Wolverine's defense and

investigation costs in the Underlying Actions in accordance with the terms of their respective

Policies as discussed in full herein. The allegations in the Stewart Exemplar Action and each of

the individual actions also require each of the insurer Defendants to agree to fully indemnify

Wolverine on a joint and several, "all sums" basis, for any settlements or judgments in the

Underlying Actions in accordance with the terms of their respective Policies as discussed in full

herein.

                                           ThP Pnliriee

          I.    Wolverine's Prirnary Insurance Policies

          66.   Defendants AIC, INA, Liberty, Travelers, and Wausau ("Primary Insurers") issued

primary insurance policies to Wolverine during the relevant policy periods, each of which, upon

information and belief, contains a duty to defend Wolverine in connection with each of the

Underlying Actions immediately upon receiving notice of a suit alleging a potentially covered


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occurrence, occui-rences, or series of occurrences. To date, AIC, INA, Liberty, Travelers, and

Wausau have failed and/or refused, in breach of their Policies, to honor in full their duty to defend

Wolverine in each of the Underlying Actions under each of their Policies.

       67.     To the extent the primary policies issued by Defendants AIC, fNA, Liberty,

Travelers, and/or Wausau contain self-insured retentions, on infoi-mation and belief, such self-

insured retentions have been or will be satisfied and Defendants are obligated to honor in full their

duty to defend and to provide Wolverine with a full defense in connection with each of the

Underlying Actions.

       68.     Defendant Liberty issued the following primary insurance policies to Wolverine

("Liberty Policies") that, on information and belief, each contain a duty to defend Wolverine for

all of the Underlying Actions and an obligation to fully indemnify Wolverine for all settlements

and/or judgements on a joint and several, "all sums" basis arising from the Underlying Actions:

                         Policy Periods '                Policv Number
                      4/6/1957 — 4/6/1958              LP1-141-050531-028
                      4/6/1958 — 4/6/1959              LP1-141-050531-029
                      4/6/1959 — 4/6/1960              LP1-141-050531-020
                      4/6/1960 — 4/6/1961              LP1-141-050531-021
                      4/6/1961 — 4/6/1962              LP1-141-050531-022
                      4/6/1962 — 4/6/1963              LP1-141-050531-023
                      4/6/1963 —4/6/1964               LP1-141-050531-024
                      4/6/1964 — 4/6/1965              LP1-141-050531-025
                      1/1/1966-4/6/1966                LP1-141-050531-026
                      4/6/1967 — 4/6/1968              LG1-141-050531-087
                      4/6/1968 — 1/1/1969              LG1-141-050531-088
                      1/1/1969 — 1/1/1970              LG1-141-050531-089
                      1/1/1970 — 1/1/1971              LG1-141-050531-080
                      1/1/1971 — 1/1/1972              LG1-141-050531-081
                      1/1/1972-2/28/1973               LG1-141-050531-082

       69.     Attached as Exhibit A-1 are true and correct copies of those Liberty Policies and/or

certain evidence thereof currently in Wolverine's possession.




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       70.        The Liberty Policies contained in Exhibit A-1 each provide insurance coverage on

an occurrence basis for all suits alleging property damage, bodily injury, and/or personal injury

during the policy periods and they each contain a duty to defend Wolverine and an obligation to

indemnify Wolverine on an "all sums" basis for any settlements and/or judgments. Upon

information and belief, the remaining Liberty Policies contain substantially identical terms,

conditions and obligations including a duty to defend and indemnify Wolverine on an "all sums"

basis from any suits alleging property damage, bodily injury, and/or personal injury during the

policy periods.

       71.        Each of the Underlying Actions alleges a covered, or potentially covered,

occurrence, occurrences, or series of occurrences under the Liberty Policies contained in Exhibit

A-1 and allege property damage, bodily injury, and/or personal injury during the policy periods of

the Liberty Policies. As such, the allegations in the Underlying Actions require Liberty to provide

Wolverine with a full defense and to indemnify Wolverine on an "all sums" basis. Each of the

Underlying Actions also allege a covered, or potentially covered, occurrence, occurrences, or

series of occurrences under the remaining Liberty Policies based on alleged property damage,

bodily injury, and/or personal injury during the policy periods of the Liberty Policies. As such,

the allegations in the Underlying Actions require Liberty to provide Wolverine with a full defense

and to indemnify Wolverine on an "all sums" basis under the remaining Liberty Policies.

       72.        The Liberty Policies contained in Exhibit A-1 include coverage terms that are

identical, or substantially similar, to the following exemplary coverage terms:

                  The company will pay on behalf of the insured all sums which the
                  insured shall become legally obligated to pay as damages because
                  of...bodily injury or ... property damage to which this insurance
                  applies, caused by an occurrence, and the company shall have the
                  right and duty to defend any suit against the insured seeking
                  damages on account of such bodily injury or property damage,



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                even if any of the allegations of the suit are groundless, false or
                fraudulent, and may make such investigation and settlement of any
                claim or suit as it deems expedient....

(Ex. A-1, Policy LG1-141-050531-082, Pt. I.) These Liberty Policies define bodily injury as

"bodily injury, sickiiess or disease sustained by any person" and property damage as "injury to or

 destruction of tangible property." (Id., Definitions.)

        73.     The Liberty Policies contained in Exhibit A-1 define occurrence as "an accident,

 including injurious exposure to conditions, which results, during the policy period, in bodily

injury or property damage neither expected nor intended from the standpoint of the insured."



        74.     In addition to bodily injury and property damage coverage, the Liberty Policies

 contained in Exhibit A-1 provide coverage for personal injury liability:

                The Company will pay on behalf of the insured all sums which the
                insured shall become legally obligated to pay as damages because
                of personal injury, and the company shall have the right and duty
                to defend any suit against the insured seeking damages on account
                of such personal injury, even if any of the allegations of the suit
                are groundless, false or fraudulent, and may make such investigation
                and settlement of any claim or suit as it deems expedient....

(Id., Personal Injury Liability Insurance Endorsement, Pt. I.) These Liberty Policies define

personal injury as including "(1) any injury to the feelings or reputation of a natural person,

including mental anguish, and (2) any injury to intangible property sustained by an organization

as the result of false eviction, malicious prosecution, libel, slander or defamation; but the term

`personal injury' shall not include injury included within the definitions of `bodily injury' and

`property damage"' (Id., Personal Injury Liability Insurance Endorsement, Pt. IV.)

        75.     The Liberty Policies not contained in Exhibit A-1, upon information and belief,

contain substantially identical terms, conditions and obligations as those alleged in the preceding

paragraphs.


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       76.     To date, Liberty has failed and/or refiised to honor in full its duty to defend or to

pay for a full and complete defense of Wolverine under the Liberty Policies with respect to each

of the Underlying Actions.

       77.     Wolverine, upon infoi-mation and belief, has performed all of its obligations and

satisfied all the conditions of the foregoing Liberty Policies, or such performance or satisfaction

has been waived and/or excused by the conduct of Liberty or by operation of law.

       78.     Wolverine has conducted a diligent and thorough search for the insurance policies

issued by Liberty in its care, custody, and control. Wolverine also requested that Defendant

Liberty conduct a diligent search for any insurance policies in its possession that were issued to

Wolverine at any time and provide coverage for comprehensive (or commercial) general liability.

Despite Wolverine's reasonable request, Defendant Liberty has failed and/or refused to conduct a

diligent and thorough search for insurance policies in its possession, care, custody and control

issued by Liberty to Wolverine.

       79.     Defendant AIC issued the following primary insurance policy to Wolverine (the

"AIC Primary Policy") that, tipon information and belief, contains a duty to defend Wolverine for

all of the Underlying Actions and an obligation to indemnify Wolverine for all settlements and/or

judgements on a joint and several, "all sums" basis arising from the Underlying Actions:

                         Policy Peri.od                 7POlicy Number
                      4/6/1966 — 4/6/1967                  K2342252

       80.     Upon inforination and belief, the AIC Primary Policy provides insurance coverage

on an occurrence basis for all suits alleging property damage, bodily injury, and/or personal injury

during the policy period and contains a duty to defend Wolverine and to indemnify Wolverine for

any settlements and/or judgments.




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       81.     Upon information and belief, each of the Underlying Actions alleges a covered

occurrence, occurrences, or series of occurrences under the AIC Primary Policy and seeks damages

from property damage, bodily injury, and/or personal injury during the policy period of the AIC

Primary Policy, which has triggered AIC's duty to defend and indemnify Wolverine.

       82.     To date, AIC has failed and/or refused to honor in full its duty to defend or to pay

for a full and complete defense to Wolverine under the AIC Primary Policy with respect to each

of the Underlying Actions.

       83.     Wolverine, upon information and belief, has performed all of its obligations and

satisfied all the conditions of the foregoing Policy, or such performance or satisfaction has been

waived and/or excused by the conduct of AIC or by operation of law.

       84.     Wolverine has conducted a diligent and thorough search for the insurance policies

issued by AIC in its care, custody, and control. Wolverine also requested that Defendant AIC

conduct a diligent search for any insurance policies in its possession that were issued to Wolverine

at any time and that provide coverage for comprehensive (or commercial) general liability. Despite

Wolverine's reasonable request, Defendant AIC has failed and/or refused to conduct a diligent and

thorough search for insurance policies issued by AIC to Wolverine.

       85.     Attached at Exhibit A-2 are true and correct copies of policies issued by AIC to

Wolverine and/or certain evidence thereof currently in Wolverine's possession.

       86.     Defendant INA issued the following primary insurance policies to Wolverine (the

"INA Primary Policies") that each contain a duty to defend Wolverine for all of the Underlying

Actions and an obligation to indemnify Wolverine for all settlements and/or judgements on a joint

and several, "all sums" basis, arising from the Underlying Actions:

                         Policy PeriOds                   Poliey Numbci
                      3/1/1977 — 3/1/1978                  GAL 331483



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                      3/1/1978 — 3/1/1979                  GAL 376803
                      3/1/1979 — 3/1/1980                  GAL 376812

       87.     Attached at Exhibit A-3 are true and correct copies of the INA Primary Policies

and/or certain evidence thereof currently in Wolverine's possession.

       88.     The INA Primary Policies each provide insurance coverage on an occurrence basis

for all suits alleging property damage, bodily injury, and/or personal injury during the policy

periods and they each contain a duty to defend Wolverine and to indemnify Wolverine for any

settlements and/or judgments.

       89.     Each of the Underlying Actions alleges a covered occurrence, occurrences, or series

of occurrences under the INA Primary Policies and seeks damages from property damage, bodily

injury, and/or personal injury during the policy periods of the INA Primary Policies, which has

triggered INA's duty to defend and indemnify Wolverine.

       90.     The INA Primary Policies include coverage terms that are identical, or substantially

similar, to the following exemplary coverage terms:

               The company will pay on behalf of the Insured all sums which the
               insured shall become legally obligated to pay as damages because
               of...bodily injury or ... property damage to which this insurance
               applies, caused by an occurrence, and the company shall have the
               right and duty to defend any suit against the Insured seeking
               damages on account of such bodily injury or property damage, even
               if any of the allegations of the suit are groundless, false or
               fraudulent, and may make such investigation and settlement of any
               claim or suit as it deems expedient....

(Ex. A-3, Policy GAL 376803, Coverage Part, Pt. I.) The INA Primary Policies define bodily

injury as "bodily injury, sickness or disease sustained by any person which occurs during the policy

period, including death at any time resulting therefrom" and property damage as "(1) physical

injury to or destruction of tangible property which occurs during the policy period, including the

loss of use thereof at any time resulting therefrom, or (2) loss of use of tangible property which



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has not been physically injured or destroyed provided such loss of use is caused by an occurrence

during the policy period." (Id., Definitions.)

       91.     The INA Primary Policies define occurrence as "an accident, including continuous

or repeated exposure to conditions, which results in bodily injury or property damage neither

expected nor intended from the standpoint of the insured." (Id.)

       92.     In addition to bodily injury and property damage coverage, the INA Primary

Policies provide coverage for personal injury liability:

               The Company will pay on behalf of the Insured all sums which the
               Insured shall become legally obligated to pay as damages because
               of injury (therein called "personal injury") sustained by any person
               or organization, and arising out of one or more of the following
               offenses committed in the conduct of the Named Insured's
               business:.. . wrongful entry or eviction, or other invasion of the right
               of private occupancy; if such offense is committed during the policy
               period ... and the Company shall have the right and duty to defend
               any suit against the Insured seeking damages on account of such
               personal injury even if any of the allegations of the suit are
               groundless, false or fraudulent, and may make such investigation
               and settlement of any claim or suit as it deems expedient....

(Id., Personal Injury Liability Insurance Coverage Part.)

       93.     To date, INA has failed and/or refused to honor in full its duty to defend or to pay

for a full and complete defense of Wolverine under the INA Primary Policies with respect to each

of the Underlying Actions.

       94.     Wolverine has performed all of its obligations and satisfied all the conditions of the

INA Primary Policies, or such performance or satisfaction has been waived and/or excused by the

conduct of INA or by operation of law.

       95.     Defendant Travelers issued the following primary insurance policies to Wolverine

(the "Travelers Policies") that, upon information and belief, each contain a duty to defend

Wolverine for all of the Underlying Actions and an obligation to indemnify Wolverine for all



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settlements and/or judgements on a joint and several, "all sums" basis, arising from the Underlying

Actions:

                          Policy P_eriods                Policy Nunilier
                       1/1/1980 —1/1/1981             TR-SLG-168T045-4-80
                       1/1/1981 — 1/1/1982            TR-SLG-168T045-4-81
                       1/1/1982 —1/1/1983             TR-SLG-168T045-4-82
                       1/1/1983 — 1/1/1984            TR-SLG-168T045-4-83
                       1/1/1984 — 1/1/1985            TR-SLG-168T045-4-84
                       1/1/1985 —1/1/1986             TR-SLG-168T045-4-85

       96.     Attached at Exhibit A-4 is a true and correct copy of one of the Travelers Policies

(the "Travelers Policy") and/or certain evidence thereof currently in Wolverine's possession.

       97.     The Travelers Policy contained in Exhibit A-4 provides insurance coverage on an

occurrence basis for all suits alleging property damage, bodily injury, and/or personal injury during

the policy periods and contains a duty to defend Wolverine and to indemnify Wolverine for any

settlements and/or judgments. Upon information and belief, the remaining Travelers Policies

contain substantially identical terms, conditions and obligations.

       98.     Each of the Underlying Actions alleges a covered occurrence, occurrences, or series

of occurrences under the Travelers Policy contained in Exhibit A-4 and seeks damages from

property damage, bodily injury, and/or personal injury during the policy periods of the Travelers

Policies, which has triggered Travelers' duty to defend and indeinnify Wolverine. Upon

information and belief, each of the Underlying Actions alleges a covered occurrence, occurrences,

or series of occurrences under the remaining Travelers Policies and seeks damages from property

damage, bodily injury, and/or personal injury during the policy periods of the Travelers Policies,

which has triggered Travelers' duty to defend and indemnify Wolverine under the remaining

Travelers Policies.

       99.     The Travelers Policy includes the following coverage tei-ms:




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               The company will pay on behalf of the insured all sums which the
               insured shall become legally obligated to pay as damages because
               of...bodily injury or ... property damage to which this insurance
               applies, caused by an occurrence, and the company shall have the
               right and duty to defend any suit against the insured seeking
               damages on account of such bodily injury or property damage, even
               if any of the allegations of the suit are groundless, false or
               fraudulent, and may make such investigation and settlement of any
               claim or suit as it deems expedient....

(Ex. A-4, Policy TR-SLG-168T045-4-82, Comprehensive General Liability Coverage Part, Pt. I.)

The Travelers Policy defines bodily injury as "bodily injury, sickness or disease sustained by any

person which occurs during the policy period, including death at any time resulting therefrom" and

property damage as "(1) physical injury to or destruction of tangible property which occurs during

the policy period, including the loss of use thereof at any time resulting therefrom, or (2) loss of

use of tangible property which has not been physically injured or destroyed provided such loss of

use is caused by an occurrence during the policy period." (Id., Definitions.)

       100. The Travelers Policy defines occurrence as "an accident, including continuous or

repeated exposure to conditions, which results in bodily injury or property damage neither

expected nor intended from the standpoint of the insured." (Id.)

       101.. In addition to bodily injury and property damage coverage, the Travelers Policy

provides coverage for personal injury liability:

               The Coinpany will pay on behalf of the inszcred all sums which the
               insured shall become legally obligated to pay as damages because
               of personal injury or advertising injury to which this insurance
               applies, sustained by any person or organization and arising out of
               the conduct of the named inszired's business ... and the Company
               shall have the right and duty to defend any suit against the insured
               seeking damages on account of such injury, even if any of the
               allegations of the suit are groundless, false or fraudulent, and may
               make such investigation and settlement of any claim or suit as it
               deems expedient....




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(Id., Broad Form Comprehensive General Liability Endorsement, Pt. II.) The Travelers Policies

define personal injury as including "wrongfiil entry or eviction or other invasion of the right of

private occupancy." (Id.)

       102.    Upon information and belief, the Travelers Policies not contained in Exhibit A-4

contain substantially identical terms, conditions and obligations as those alleged in the preceding

paragraphs.

       103.    To date, Travelers has failed and/or refused to honor in full its duty to defend or to

pay for a full and complete defense of Wolverine under the Travelers Policies with respect to each

of the Underlying Actions.

       104.    Wolverine has performed all of its obligations and satisfied all the conditions of the

Travelers Policy, or such performance or satisfaction has been waived and/or excused by the

conduct of Travelers or by operation of law. Upon information and belief, Wolverine has

performed all of its obligations and satisfied all the conditions of each of the Travelers Policies, or

such performance or satisfaction has been waived and/or excused by the conduct of Travelers or

by operation of law.

       105.    Wolverine has conducted a diligent and thorough search for the insurance policies

issued by Travelers in its care, custody, and control. Wolverine also requested that Defendant

Travelers conduct a diligent search for any insurance policies in its possession that were issued to

Wolverine at any time and provide coverage for comprehensive (or commercial) general liability.

Despite Wolverine's reasonable request, Defendant Travelers has failed and/or refused to conduct

a diligent and thorough search for insurance policies issued by Travelers to Wolverine.

       106.    Defendant Wausau issued the following primary insurance policies to Wolverine

(the "Wausau Policies") that each contain a duty to defend Wolverine for all of the Underlying




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Actions and an obligation to indemnify Wolverine for all settlements and/or judgements on a joint

and several, "all sums" basis, arising from the Underlying Actions:

                        Polic I'eriods ' `               Policy Nuniber
                     2/28/1973 — 1/1/1974                1724 00 045849
                      1/1/1974 — 1/1/1975                1725 00 045849
                      1/1/1975 —1/1/1976                 1726 00 045849
                      1/1/1976 —1/1/1977                 1727 00 045849

       107.    Attached at Exhibit A-5 are true and correct copies of the Wausau Policies and/or

certain evidence thereof currently in Wolverine's possession.

       108.    The Wausau Policies each provide insurance coverage on an occurrence basis for

all suits alleging property damage, bodily injury, and/or personal injury during the policy periods

and they each contain a duty to defend Wolverine and to indemnify Wolverine for any settlements

and/or judgments.

       109.    Each of the Underlying Actions alleges a covered occurrence, occurrences, or series

of occurrences under the Wausau Policies and seeks damages from property damage, bodily injury,

and/or personal injury during the policy periods of the Wausau Policies, which has triggered

Wausau's duty to defend and indemnify Wolverine.

       110.    The Wausau Policies include coverage tei-ms that are identical, or substantially

similar, to the following exemplary coverage terms:

               The company will pay on behalf of the insured all sums which the
               insured shall become legally obligated to pay as damages because
               of...bodily injury or ... property damage to which this insurance
               applies, caused by an occurrence, and the company shall have the
               right and duty to defend any suit against the insured seeking
               damages on account of such bodily injury or property damage,
               even if any of the allegations of the suit are groundless, false or
               fraudulent, and may make such investigation and settleinent of any
               claim or suit as it deems expedient....




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(Ex. A-5, Policy 1726 00 045849, Coverages, Pt. I.) The Wausau Policies define bodily injury as

"bodily injury, sickness or disease sustained by any person which occurs during the policy period,

including death at any time resulting therefrom" and property damage as "(1) physical injury or

destruction of tangible property which occurs during the policy period, including the loss of use

thereof at any time resulting therefrom, or (2) loss of use of tangible property which has not been

physically injured or destroyed provided such loss of use is caused by an occurrence during the

policy period." (Id., Definitions.)

       111.    The Wausau Policies define occurrence as "an accident, including continuous or

repeated exposure to conditions, which results in bodily injury or property damage neither

expected nor intended from the standpoint of the insured." (Id.)

       112.    In addition to bodily injury and property damage coverage, the Wausau Policies

provide coverage for personal injury liability:

               THE COMPANY WILL PAY ON BEHALF OF THE INSURED ALL SUMS
               WHICH THE INSURED SHALL BECOME LEGALLY OBLIGATED TO PAY AS
               DAMAGES BECAUSE OF PERSONAL INJURY SUSTAINED BY ANY PERSON
               OR ORGANIZATION, AND ARISING OUT OF ANY ACT OR OMISSION
               COMMITTED IN THE CONDUCT OF THE NAMED INSURED'S BUSINESS, IF
               SUCH ACTS OR OMISSIONS OCCUR DURING THE POLICY PERIOD ... AND
               THE COMPANY SHALL HAVE THE RIGHT AND DUTY TO DEFEND ANY
               SUIT AGAINST THE INSURED SEEKING DAMAGES ON ACCOUNT OF SUCH
               PERSONAL INJURY EVEN IF ANY OF THE ALLEGATIONS OF THE SUIT
               ARE GROUNDLESS, FALSE OR FRAUDULENT, AND MAY MAKE SUCH
               INVESTIGATION AND SETTLEMENT OF ANY CLAIM OR SUIT AS IT DEEMS
               EXPEDIENT. . ..

(Id., End. 2.) The Wausau Policies define personal injury as "(1) any injury to the feelings or

reputation of a natural person, including mental anguish, and (2) any injury to intangible property

sustained by any person or organization as a result of libel, slander, defamation, wrongful entry or

eviction or malicious prosecution; but the term `personal injury' shall not include injury included

within the definitions of `bodily injury' and `property damage."' (Id.)



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       113.    To date, Wausau has failed and/or refused to honor in full its duty to defend or to

pay for a full and complete defense of Wolverine under the Wausau Policies with respect to each

of the Underlying Actions.

       114.    Wolverine has performed all of its obligations and satisfied all the conditions of the

Wausau Policies, or such performance or satisfaction has been waived and/or excused by the

conduct of Wausau or by operation of law.

II.    Wolverine's Excess and Umbrella Insurance Policies

       115.    Defendants AIC, INA, First State, AEIC, North River, Pacific, and Federal issued

excess and/or umbrella insurance policies to Wolverine during the relevant policy periods that

contain a duty to defend and/or indemnify Wolverine in connection with each of the Underlying

Actions upon the exhaustion, satisfaction, and/or reduction of the limits of the Primary Policies.

       116.    Certain of the umbrella policies additionally require that the insurer Defendant

immediately provide Wolverine with a full defense where the applicable underlying primary

insurer Defendant has failed and/or refused to defend Wolverine in full for the Underlying Actions.

       117.    To date, AIC, INA, Liberty, Travelers, and Wausau have failed and/or refused to

acknowledge coverage and agree to defend and/or indemnify Wolverine in the Underlying Actions

upon exhaustion of the applicable underlying coverage or — where required by the Policies —

immediately provide Wolverine with a full defense where the applicable underlying primary

insurer Defendant has failed or refused to defend Wolverine in ftill for the Underlying Actions.

Those umbrella insurer Defendants who issued Policies requiring them to defend Wolverine in the

Underlying Actions where the underlying primary insurer has denied coverage have breached their

contractual obligations by refusing and/or failing to do so.




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          118. Defendant AIC issued the following excess insurance policies to Wolverine (the

"AIC Excess Policies"):

                           Policy Pericids .-             Policy Nuanber
                        1/1/1980 — 1/1/1981                XLX 1362260
                        1/1/1981 — 1/1/1982                XLX 1363840
                        1/1/1982 — 1/1/1983                XLX 1440544
                        1/1/1983 — 1/1/1984               XLX 1532184
                        1/1/1984 — 1/1/1985               XLX 1484189
                        1/1/1985 — 1/1/1986                XLX 1621365

          119.   Attached at Exhibit A-2 are true and correct copies of the AIC Excess Policies

and/or certain evidence thereof currently in Wolverine's possession.

          120.   The AIC Excess Policies contained in Exhibit A-2 each provide insurance coverage

on an occurrence basis for all suits alleging property damage, bodily injury, and/or personal injury

during the policy periods, obligating AIC to "indemnify [Wolverine] for [Wolverine's] ultimate

net loss in excess of' the applicable underlying insurance. (Ex. A-2, Policy XLX 1621365,

Insuring Agreements, Pt. 1.) Upon information and belief, the AIC Excess Policies not contained

in Exhibit A-2 contain substantially identical terms, conditions and obligations as those alleged

herein.

          121.   Upon information and belief, each of the Underlying Actions alleges a covered

occurrence, occurrences, or series of occurrences under the AIC Policies and seeks damages from

property damage, bodily injury, and/or personal injury during the policy periods of the AIC

Policies, which shall trigger AIC's duty to pay ultimate net loss upon exhaustion of the applicable

underlying policies.

          122.   AIC has an obligation to investigate Wolverine's claims in connection with the

Underlying Actions and to acknowledge coverage and agree to indemnify Wolverine in the

Underlying Actions upon exhaustion of the applicable underlying coverage.




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       123.    Wolverine has conducted a diligent and thorough search for the insurance policies

issued by AIC that are in its care, custody, and control. Wolverine also requested that Defendant

AIC conduct a diligent search for any insurance policies in its possession that were issued to

Wolverine at any time and provide coverage for comprehensive (or commercial) general liability.

Despite Wolverine's reasonable request, Defendant AIC has failed and/or refused to conduct a

diligent and thorough search for insurance policies in its possession, care, custody and control

issued by AIC to Wolverine.

       124.    Defendant INA issued the following umbrella insurance policy to Wolverine (the

"INA Umbrella Policy"):

                    ~    ~ P~licy :Period                Policv Nuinber
                        1/1/1985 —1/1/1986                XBC 155081

       125.    Attached at Exhibit A-6 is true and correct copy of the INA Umbrella Policy

and/or certain evidence thereof currently in Wolverine's possession.

       126.    The INA Umbrella Policy provides insurance coverage on an occurrence basis for

all suits alleging property damage and/or personal injury, "or any combination thereof." (Ex. A-6,

Policy XBC 155081, Limits of Liability.)

       127.    Upon information and belief, each of the Underlying Actions alleges a covered

occurrence, occurrences, or series of occurrences under the INA Umbrella Policy and seeks

damages for property damage and/or personal injury during the policy period of the INA Umbrella

Policy, which triggers INA's duty to defend and/or indemnify Wolverine upon exhaustion of the

applicable underlying policies.

       128.    INA has an obligation to investigate Wolverine's claims in connection with the

Underlying Actions and to acknowledge coverage and agree to defend and/or indemnify

Wolverine in the Underlying Actions upon exhaustion of the applicable underlying coverage.



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        129. Defendant First State issued the following umbrella and excess insurance policies

to Wolverine (the "First State Policies") that, on information and belief, each contain a"drop

down" duty to defend Wolverine for all of the Underlying Actions and an obligation to indemnify

Wolverine for all settlements and/or judgements on a joint and several, "all sums" basis, in

connection with the Underlying Actions:

                         Puli'cy Pcriods:                Policy ioi.umber :.:
                      1/1/1980 —1/1/1981                      945753
                      1/1/1981 — 1/1/1982                     947882
                      1/1/1982 — 1/1/1983                     951220
                      1/1/1982 — 1/1/1983                     933764
                      1/1/1983 —1/1/1984                      953392
                      1/1/1983 — 1/1/1984                     933764
                      1/1/1984 —1/1/1985                      955050
                      1/1/1984 — 1/1/1985                  EU001432

        130.   Attached at Exhibit A-7 are true and correct copies of the First State Policies

and/or certain evidence thereof currently in Wolverine's possession.

        131.   The First State Policies contained in Exhibit A-7 include coverage terms that are

identical, or substantially similar, to the following exemplary coverage terms, which require First

State to:

        [I]ndemnify the INSURED for ULTIMATE NET LOSS ... in excess of the
        RETAINED LIMIT ... [for] all sums which the INSURED shall be obligated to
        pay by reason of the liability imposed upon the INSURED by law or liability
        assumed by the INSURED under contract or agreement for damages and expenses,
        because of:
        A.     PERSONAL INJURY, as hereinafter defined;
        B.     PROPERTY DAMAGE, as hereinafter defined;

        To which this policy applies, caused by an OCCURRENCE, as hereinafter defined,
        happening anywhere in the world.

(Ex. A-7, Policy 955050, Insuring Agreement, Section I.) These Policies define PERSONAL

INJURY in relevant part as "bodily injury, sickness, disease, disability or shock, including death




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at any time resulting therefrom, mental anguish and mental injury ... which occurs during the

policy period." (Id., Definitions, Section I.) These Policies define PROPERTY DAMAGE as:

       1) physical injury to or destruction of tangible property which occurs during the
          policy period, including the loss of use thereof at any time resulting therefrom,
          and
       2) loss of use of tangible property which has not been physically injured or
          destroyed provided such loss of use is caused by an OCCURRENCE during the
          policy period.

(Id., Definitions, Section K.)

       132.    The First State Policies contained in Exhibit A-7 define an OCCURRENCE in

relevant part as "an accident or event including continuous repeated exposure to conditions, which

results, during the policy period, in PERSONAL INJURY or PROPERTY DAMAGE neither

expected nor intended from the stand-point of the INSURED." (Id., Definitions, Section H.)

       133.    The First State Policies contained in Exhibit A-7 provide that First State "shall be

liable only for the ULTIMATE NET LOSS in excess of the greater of the INSURED's ...

UNDERLYING LIMIT . . . ; or RETAINED LIMIT. (Id., Insuring Agreement, Section II.)

However, these First State Policies state in relevant part that:

       [W]ith respect to any OCCURRENCE not covered, as warranted, by the underlying
       policies listed in Schedule A hereof, whether collectible or not, or not covered by
       any other underlying insurance collectible by the INSURED, but covered by the
       terms and conditions of this policy, except for the RETAINED LIMIT, [Hartford]
       shall ... defend any suit against the insured alleging PERSONAL INJURY, [or]
       PROPERTY DAMAGE ... and seeking damages therefore, even if such suit is
       groundless, false or fraudulent.

(Id., Insuring Agreement, Section IV.)

       134.    Upon information and belief, the First State Policies not contained in Exhibit A-7

contain substantially identical terms, conditions and obligations as those alleged in the preceding

paragraphs.




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       135.    Each of the Underlying Actions alleges a covered occurrence, occurrences, or

series of occurrences under the First State Policies contained in Exhibit A-7 and seeks damages

from property damage and/or personal injury during the policy periods of the First State Policies.

Upon information and belief, each of the Underlying Actions alleges a covered occurrence,

occurrences, or series of occurrences under the remaining First State Policies and seeks damages

from property damage and/or personal injury during the policy periods of the First State Policies.

       136.    Based on the foregoing, First State is required to "drop down" to provide a defense

and indemnification where the underlying insurance has not or will not respond, has been reduced,

or has been exhausted, requiring First State to provide a full defense and to completely indemnify

Wolverine on a joint and several, "all sums" basis, with respect to each of the Underlying Actions.

       137.    Because some or all of the insurance underlying the First State Policies has not

agreed to or will not respond to provide coverage to Wolverine for the Underlying Actions, or has

been reduced or otherwise exhausted, First State is, upon information and belief, presently

obligated to defend Wolverine in full for each of the Underlying Actions and to fully indemnify

Wolverine on a joint and several, "all sums" basis, for any settlements and/or judgments in

connection with each of the Underlying Actions.

       138.    First State has failed and/or refused to provide Wolverine with a complete defense

from each of the Underlying Actions and has failed and/or refused to fiilly indemnify Wolverine

on a joint and several, "all sums" basis, for any settlements and/or judgments in connection with

each of the Underlying Actions.

       139.    Wolverine has performed all of its obligations and satisfied all the conditions of the

First State Policies, or such performance or satisfaction has been waived and/or excused by the

conduct of First State or by operation of law.




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       140.    Wolverine has conducted a diligent and thorough search for the insurance policies

issued by First State in its care, custody, and control. Wolverine also requested that Defendant

First State conduct a diligent search for any insurance policies in its possession that were issued to

Wolverine at any time and provide coverage for comprehensive (or commercial) general liability.

Despite Wolverine's reasonable request, Defendant First State has failed and/or refused to conduct

a diligent and thorough search for insurance policies issued by First State to Wolverine.

       141.    Defendant AEIC issued the following umbrella insurance policies to Wolverine

(the "AEIC Policies") that each contain a"drop down" duty to pay Wolverine's defense expenses

and an obligation to indemnify Wolverine for all settlements and/or judgements on a joint and

several, "all sums" basis, arising from the Underlying Actions:

                          Polic ;I'eriods :.. :             Policy Numbea•
                       4/6/1966 — 4/6/1967                  A22-8477-001
                       4/6/1967 — 4/6/1968                  A22-8477-001
                       4/6/1968 — 4/6/1969                  A22-8477-001
                       4/6/1969 — 4/6/1970                  A22-8500-288
                       4/6/1970 — 4/6/1971                  A22-8500-288
                       4/6/1971 — 4/6/1972                  A22-8500-288

       142.     Attached at Exhibit A-8 is a true and correct copy of AEIC Policy A22-8500-288

and/or certain evidence thereof currently in Wolverine's possession.

       143.     AEIC Policy A22-8500-288 obligates AEIC to:

           [I]ndemnify the Insured for all sums which the Insured shall be obligated to pay
           by reason of the liability imposed upon him by law or liability assumed by him
           under contract or agreement for damages, and expenses, all as included in the
           definition of `ultimate net loss,' because of:

           (a) Personal injuries, as hereinafter defined;
           (b) Property damage, as hereinafter defined;


(Ex. A-8, Policy A22-8477-001, Insuring Agreements, Section 1.) AEIC Policy A22-8500-288

defines personal injuries in relevant part as "bodily injury, sickness or disease, mental injury,


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mental anguish, shock, disability ... invasion of the right of privacy ... including death at any

time resulting therefrom" and defines property damage as "physical injury to, or physical

destruction of, tangible property, including the loss of use thereof." (Id.)

       144. AEIC Policy A22-8477-001 provides that AEIC:

           shall be liable only for ultimate net loss in excess of either:

           (a) except as provided in sub-paragraph (b) hereof, the applicable limits of
               liability of the policies of underlying insurance set forth in Item 3 of the
               Declarations; or

           (b) as respects each occurrence not covered by such underlying insurance, or
               where each occurrence is covered by such under-lying insurance but in
               recoverable amounts less than the Underlying Limits set forth in Item 4 of
               the Declarations, the amount of ultimate net loss set forth in the
               Declarations as `Underlying Limits,'

           but in no event shall the company be held liable for an amount in excess of the
           applicable limit of liability set forth in Item 5 of the Declarations.

(Id., Conditions, Section 5.)

       145.     Upon information and belief, the AEIC Policy not contained in Exhibit A-8

contains substantially identical terms, conditions and obligations as those alleged in the preceding

paragraphs.

       146. Each of the Underlying Actions alleges a covered occurrence, occurrences, or series

of occurrences under the AEIC Policy A22-8477-001 and seeks dainages from property damage

and/or personal injuries during the policy periods of the AEIC Policies. Upon information and

belief, each of the Underlying Actions alleges a covered occurrence, occurrences, or series of

occurrences under the AEIC Policy not contained in Exhibit A-8 and seeks damages from property

damage and/or personal injuries during the policy periods of the AEIC Policies.

       147. Based on the foregoing, AEIC is required to "drop down" to pay for Wolverine's

defense expenses and indemnify Wolverine where the underlying insurance has not or will not



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respond, has been reduced, or has been exhausted, requiring AEIC to provide payment to

 Wolverine for a full defense and to completely indemnify Wolverine on a joint and several, "all

sums" basis, with respect to each of the Underlying Actions.

        148.   Because some or all of the insurance underlying the AEIC Policies has not or will

not respond to provide coverage to Wolverine for the Underlying Actions, or has been reduced or

 otherwise exhausted, AEIC is, upon information and belief, AEIC presently is obligated to provide

payment to Wolverine for a full defense for each of the Underlying Actions and to fully indemnify

 Wolverine on a joint and several, "all sums" basis, for any settlements and/or judgments in

 connection with each of the Underlying Actions.

        149.   AEIC has failed and/or refused to provide payment to Wolverine for a full defense

for each of the Underlying Actions and has failed and/or refused to fully indemnify Wolverine on

a joint and several, "all sums" basis, for any settlements and/or judgments in connection with each

 of the Underlying Actions.

        150.   Wolverine has performed all of its obligations and satisfied all the conditions of the

AEIC Policies, or such performance or satisfaction has been waived and/or excused by the conduct

 of AEIC or by operation of law.

        151.   Because some or all of the insurance underlying the AEIC Policies has not or will

 not respond to provide coverage to Wolverine for the Underlying Actions, or has been reduced or

 otherwise exhausted, AEIC is presently obligated to defend Wolverine in full for each of the

Underlying Actions and to fi.illy indemnify Wolverine on a joint and several, "all sums" basis, for

any settlements and/or judgments in connection with each of the Underlying Actions.

        152.   Wolverine has conducted a diligent and thorough search for the insurance policies

issued by AEIC in its care, custody, and control. Wolverine also requested that Defendant AEIC




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conduct a diligent search for any insurance policies in its possession that were issued to Wolverine

at any time and provide coverage for comprehensive (or commercial) general liability. Despite

Wolverine's reasonable request, Defendant AEIC has failed and/or refused to conduct a diligent

and thorough search for insurance policies issued by AEIC to Wolverine.

       153. Defendant North River issued the following umbrella insurance policy to

Wolverine (the "North River Policy") which contains a"drop down" duty to pay Wolverine's

defense expenses and an obligation to indemnify Wolverine for all settlements and/or judgements

on a joint and several, "all sums" basis, in connection with the Underlying Actions:

                        Polic Periods                     Policy Numbei•
                      2/1/1977 — 2/1/1978                     JU 0286
                      2/1/1978 — 2/1/1979                     JU 0286
                      2/1/1979 — 2/1/1980                     JU 0286

       154.    Attached at Exhibit A-9 are true and correct copies of the North River Policy.

       155.    The North River Policy provides that North River will "indemnify the Insured for

all Sums which the Insured shall be obligated to pay by reason of the liability ... imposed by law

... for damages on account of ...(i) personal injuries [and] (ii) Property Damage ... caused by

or arising out of each occurrence happening anywhere in the world." (Ex. A-9, North River Policy,

Insuring Agreements, Pt. I.)

       156.    The North River Policy further provides that North River "shall only be liable for

ultimate net loss the excess of either (a) the limits of the underlying insurances ... in respect of

each occui-red covered by said underlying insurances, or (b) $25,000 ultimate not loss in respect

of each occurrence not covered by said underlying insurances ... and then only up to a further

sum as stated in Item 2(a) of the Declarations in all in respect of each occurrence ...." (Id.,

Insuring Agreements, Pt. II.)

       157.    The North River Policy defines "ultimate net loss" in relevant part as:



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        the total sum which the Insured, or his Underlying Insurers as scheduled, or both, become
        obligated to pay by reason of personal injuries [or] property damage ... and shall also
        include ... all sums paid as ... compensation, fees, charges and law costs ... expenses
        for ... lawyers ... and investigators and other persons, and for litigation, settlement,
        adjustment and investigation of claims and suits which are paid as a consequence of any
        occurrence covered hereunder . . .

(Id., Definitions, Pt. 7.)

        158.    Each of the Underlying Actions alleges a covered occurrence, occurrences, or series

of occurrences under the North River Policy and seeks damages from property damage and/or

personal injuries during the policy periods of the AEIC Policies.

        159.    Based on the foregoing, North River is required to "drop down" to pay for

Wolverine's defense expenses and indemnify Wolverine where the underlying insurance has not

or will not respond, has been reduced, or has been exhausted, and Wolverine has incurred in excess

of $25,000 of "ultimate net loss"; requiring North River to provide payment to Wolverine for a

full defense and to completely indemnify Wolverine on a joint and several, "all sums" basis, with

respect to each of the Underlying Actions.

        160.    Because some or all of the insurance underlying the North River Policies has not

or will not respond to provide coverage to Wolverine for the Underlying Actions, or has been

reduced or otherwise exhausted, Wolverine has incurred in excess of $25,000 of "ultimate net loss"

as that tei-m is defined in the North River Policy in connection with the Underlying Actions, North

River is presently obligated to provide payment to Wolverine for a full defense for each of the

Underlying Actions and to fully indemnify Wolverine on a joint and several, "all sums" basis, for

any settlements and/or judgments in connection with each of the Underlying Actions.

        161.. North River has failed and/or refused to provide payment to Wolverine for a full

defense for each of the Underlying Actions and has failed and/or refused to fully indemnify




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Wolverine on a joint and several, "all sums" basis, for any settlements and/or judgments in

connection with each of the Underlying Actions.

       162.    Wolverine has performed all of its obligations and satisfied all the conditions of the

North River Policy, or such performance or satisfaction has been waived and/or excused by the

conduct of AEIC or by operation of law.

       163.    Defendant Pacific issued the following excess insurance policies to Wolverine (the

"Pacific Policies"):

                          Policy PerAmds                  Polic,y i'Yumier ;
                       1/22/1980 —1/1/1981                 XCC 003306
                       1/1/1981 — 1/1/1982                 XCC 011177
                       1/1/1982 — 1/1/1983                 XCC 011293
                       1/1/1983 — 1/1/1984                 XCC 012870
                       1/1/1984 — 1/1/1985                 XCC 013002

       164.     Attached at Exhibit A-10 are true and correct copies of the Pacific Policies and/or

certain evidence thereof currently in Wolverine's possession.

       165.    Upon information and belief, the Pacific Policies provide insurance coverage on an

occurrence basis for all suits alleging property damage, bodily injury, and/or personal injury.

       166.    Upon information and belief, each of the Underlying Actions alleges a covered

occurrence, occurrences, or series of occurrences under the Pacific Policies and seeks damages for

property damage, bodily injury, and/or personal injury during the policy periods of the Pacific

Policies, which shall trigger Pacific's duty pay for Wolverine's defense and/or indemnify

Wolverine in the Underlying Actions upon exhaustion of the applicable underlying policies.

       167.    Pacifc has an obligation to investigate Wolverine's claims in connection with the

Underlying Actions and to acknowledge coverage and agree to pay for Wolverine's defense and/or

indemnify Wolverine in the Underlying Actions upon exhaustion of the applicable underlying

coverage.
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       168.    Wolverine has conducted a diligent and thorough search for the insurance policies

issued by Pacific in its care, custody, and control. Wolverine also requested that Defendant Pacific

conduct a diligent search for any insurance policies in its possession that were issued to Wolverine

at any time and provide coverage for comprehensive (or commercial) general liability. Despite

Wolverine's reasonable request, Defendant Pacific has failed and/or refused to conduct a diligent

and thorough search for insurance policies issued by Pacific to Wolverine.

       169.    Defendant Federal issued the following excess insurance policy to Wolverine (the

"Federal Policy") that contains an obligation to indemnify Wolverine for all "Loss" on a joint and

several, "all sums" basis, arising from the Underlying Actions:

                         Polbcy`1'eirioas  "              Policy Number
                       1/1/1985 — 1/1/1986                 7929-05-17

       170.    Attached at Exhibit A-11 is a true and correct copy of the Federal Policy.

       171.    The Liberty Policy provide insurance coverage on an occurrence basis for "Loss"

that is "in excess of any UNDERLYING INSURANCE" that "result[ed] from any occurrence

insured by the terms and provisions of" the underlying insurance. (Ex. A-11, Policy 7929-05-17,

Insuring Agreement.)

       172.    Each of the Underlying Actions alleges a covered occurrence, occurrences, or series

of occurrences under the Liberty Policy and all policies underlying the Liberty Policy and seeks

damages for property damage, bodily injury, and/or personal injury during the policy periods of

the Liberty Policy, which trigger Liberty's duty pay for "Loss" in the Underlying Actions upon

exhaustion of the applicable underlying policies.

       173.    Liberty has an obligation to investigate Wolverine's claims in connection with the

Underlying Actions and to acknowledge coverage and agree to pay for Wolverine's defense and/or




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indemnify Wolverine in the Underlying Actions upon exhaustion of the applicable underlying

coverage.

III.   The Doe Insurer Defendants

       174. Doe Insurance Companies 1 through 10 are insurance companies whose identities

are currently unknown to Plaintiff that issued general liability insurance policies (inch.iding

primary, umbrella, and excess insurance policies) providing insurance coverage with a duty to

defend and/or indemnify Wolverine in connection with the Underlying Actions for which relief

has been sought herein. When the true identifies of such insurance companies become known to

Plaintiff, this complaint will be amended to identify such defendant insurance companies.

IV.    Duty to Defend and Indemnify Wolverine

       175.    Wolverine is an insured under each of the Policies.

       176.    The Primary Insurers currently have an obligation, and/or on information and belief

currently have an obligation, by contract and by law to: (1) immediately investigate and provide a

full and complete defense to Wolverine in connection with each of the Underlying Actions; and/or

(2) pay in full the costs and expenses of the investigation and defense of the Underlying Actions;

and (3) pay in full for any of Wolverine's legal liabilities incurred, to be incurred, or paid in

connection with the Underlying Actions, including any settlements and/or judgments.

       177.    The Primary Insurers currently have an obligation, and/or on information and belief

currently have an obligation, contractually and by law to assume their respective duties to defend

a suit in its entirety even where that suit alleges a mere potential for coverage and even if some of

the other claims in that suit do not trigger coverage in and of themselves.

       178.    Each of the excess and umbrella insurer Defendants with a duty to defend — First

State, AEIC and North River — must, on information and belief, undertake or honor their




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contractual obligations to provide a complete defense to Wolverine and/or to pay in full

Wolverine's costs and expenses of investigation and defense where — as here — the Primary Insurers

have failed and refused to do so.

       179.    Federal, Pacific, INA (under the INA Umbrella Policies) and AIC (under the AIC

Excess Policies), on information and belief, are obligated to immediately investigate and

acknowledge their respective duties and must pay in full any of Wolverine's legal liabilities

incurred, to be incurred, or paid in connection with the Underlying Actions, including any

settlements and/or judgments, upon Wolverine's exhaustion of the applicable underlying

insurance.

       180.    In connection with the Court's analysis of the Defendants' aforementioned duties,

any ambiguities in and of the Policies must be construed against each insurer Defendant and

resolved in favor of coverage. Further, any exch.tsionary language or provisions, including, but not

limited to, so-called "pollution exclusions," cannot defeat an insurers duty to defend and should

be applied in a manner that best affords coverage rather than limit or preclude it.

       181.    Any and all purported "pollution exclusions" that appear in the Policies do not

apply to preclude or liinit coverage for the Underlying Actions. To the extent that the Court must

determine the applicability and scope of such exclusions, the Primary Insurers and — in the

alternative — First State, AEIC, and North River, first must provide a full and complete defense to

Wolverine and are not entitled to recoup any defense costs at a later date.

       182.    All of the Underlying Actions allege an occurrence, occurrences, or series of

occurrences that fall within the policy periods of all of the Policies discussed herein and listed in

Exhibit A.




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        183.    In consideration of premiums paid by Wolverine with respect to each of the

Policies, Defendants issued the Policies to Wolverine with the expectation that Wolverine would

receive a full and complete defense and complete indemnification on a joint and several, "all sums"

basis, with respect to all suits, such as the Underlying Actions, alleging property damage, bodily

injury, and/or personal injury arising from an occurrence, occurrences, or series of occurrences

under the Policies.

        184.    On information and belief, under each of the Policies issued by the Primary

Insurers, Wolverine is entitled to a full defense for each of the Underlying Actions and is entitled

to complete indemnity for all sums, including all settlements and/or judgments, arising out of the

Underlying Actions. On information and belief, where — as here — the Primary Insurers have failed

and refused to provide Wolverine with a full defense, First State, AEIC, and North River must,

under their respective Policies, provide Wolverine with a full defense in connection with the

Underlying Actions.

        185.    On information and belief, under each of the Policies issued by Federal and Pacific

and certain of the Policies issued by INA and AIC, Wolverine is entitled to a decision from each

Defendant acknowledging coverage and agreeing to pay in full any of Wolverine's legal liabilities

incurred, to be incurred, or paid in connection with the Underlying Actions, including any

settlements and/or judgments upon exhaustion of the applicable underlying coverage.

        186.    To date, each applicable Defendant has failed and/or refused to honor their

obligations in connection with each of the Underlying Actions.

                               Count I— Against All Defendants
                             (Breach of Contract — Duty to Defend)

        187.    Wolverine repeats and realleges the allegations in the foregoing paragraphs, as if

fully set forth herein.
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       188.    All of the Underlying Actions constitute claims and/or demands and/or suits

alleging that the acts and/or omissions of Wolverine, a named insured under the Policies, constitute

an occurrence, occurrences, or a series of occurrences, all of which occurred within the policy

periods of the Policies. The Underlying Actions further allege that Wolverine has caused bodily

injury, property damage, personal injury, and/or some combination thereof as a result of an

occurrence, occurrences, or a series of occurrences. As such, all of the Underlying Actions, and

potentially forthcoming actions not yet filed, trigger each of the Primary Insurers' duty to defend

Wolverine in full under each of the Primary Insurers' Policies.

       189.    Each of the Primary Insurers, under each of their specified Policies, are required to

provide a complete defense and/or to pay in full for all of Wolverine's costs and expenses incurred

in connection with the investigation and defense of each of the Underlying Actions, inclusive of

on-going remediation, clean-up, and/or mitigation costs incurred with the intent to reduce and/or

eliminate Wolverine's liability and/or damages in the Underlying Actions.

       190.    Each of the Primary Insurers has failed and/or refused under each of their respective

Policies to acknowledge, accept, or undertake a complete defense of Wolverine in connection with

each of the Underlying Actions and/or to pay in full all of the costs, fees and expenses incurred by

Wolverine to investigate and defend each of the Underlying Actions. Each of the Primary Insurers'

failures and/or refusals to honor in full their duty to defend constitute independent breaches of the

Policies, which are continuing, up through and including the date of this Complaint.

       191.    Each of the Primary Insurers have repudiated their contractual obligations set forth

in each of the Policies in their entirety by stating and/or declaring that they will not and/or do not

intend to honor in fiill and without reservation all of their contractual obligations to Wolverine.

Each of the Primary Insurers have stated that they will not and/or do not intend (i) to provide a




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complete defense and/or to pay for all defense and investigation costs paid or incurred by

Wolverine, including, without limitation, mitigation, remediation, and clean-up costs and (ii) to

otherwise acknowledge, accept, and undertake fully, without reservation, all of their obligations

under each of the Policies with respect to Wolverine's defense of the Underlying Actions. Each

of the Primary Insurers' failures and/or refusals to honor in full their duties and obligations

constitute independent breaches of the Policies, which are continuing, up through and including

the date of this Complaint.

       192.    First State, AEIC, and North River, under each of their specified Policies, are

obligated and required to pay in full all of the costs, fees, and expenses incurred by Wolverine in

investigating and defending the Underlying Actions, inclusive of remediation, clean-up, and/or

mitigation costs incurred with the intent to reduce and/or eliminate Wolverine's liability and/or

damages in the Underlying Actions where, as here, the applicable underlying primary insurer

Defendant have failed and/or refused to defend Wolverine in full for the Underlying Actions.

       193.    First State, AEIC, and North River each have failed and/or refused under each of

the Policies to acknowledge, accept, undertake and/or pay in full for a complete defense of

Wolverine in connection with each of the Underlying Actions despite the failure and refusal by

each of the underlying Primary Insurers to defend Wolverine in full for the Underlying Actions.

failures are continuing, up through and including the date of this Complaint. Each of First State's,

AEIC's, and North River's failures and/or refusals to honor their obligations to provide and/or pay

in ftill for all of the costs, fees and expenses incurred by Wolverine to investigate and defend the

Underlying Actions constitutes independent breaches of the Policies, which are continuing, up

through and including the date of this Complaint.




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       194.    The foregoing conduct by Primary Insurers, First State, AEIC, and North River

have effectively rendered Wolverine without insurance coverage for its defense in the Underlying

Actions, including its investigative costs and remediation, clean-up, and/or mitigation cost

incurred with the intent to reduce and/or eliminate Wolverine's liability and/or damages in the

Underlying Actions.

       195.    Wolverine has performed all of its duties and obligations under the previously

specified Policies and complied with and fully satisfied all applicable terms and conditions under

the Policies, including the payment of premiums. In the alternative, Wolverine's performance of

or compliance with such duties, terms, and/or conditions has been waived or otherwise excused by

the conduct of the aforementioned Defendants or by operation of law. Thus, Wolverine is entitled

to the full benefits and protections of each of the specified Policies with respect to the Underlying

Actions.

        196.   Inherent in each and every contract is a duty of good-faith and fair dealing among

the parties to that contract. Each of the Defendants is bound by a duty of good faith and fair dealing

with Wolverine by virtue of each of the Policies.

        197.    Each of the Defendants has arbitrarily, recklessly, and unreasonably withheld fr.om

Wolverine the full benefits of the insurance coverage under the Policies, and has breached the

Policies by, among other things: (1) failing and/or refusing to honor their duty to defend with

respect to each of the Underlying Actions; (2) failing and/or refusing to pay Wolverine's defense

and investigation costs in fiill for each of the Underlying Actions; (3) unreasonably and improperly

misinteipreting and misapplying the terins, provisions, conditions of and insurance coverage

provided by the Policies; (4) arbitrarily, recklessly, and unilaterally denying and/or limiting their

duties and obligations under the Policies; (5) arbitrarily, recklessly, and indifferently failing and/or




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refusing to provide or agree to provide Wolverine with the full benefits of the promised indemnity

under each of the Policies with respect to "all sums" incurred by Wolverine in the Underlying

Actions including any settlements or judgments; (6) arbitrarily, recklessly and indifferently

insisting that any payments made by the Defendants for Wolverine's defense and investigation

costs are subject to recoupment at a later date; (7) arbitrarily, recklessly, and indifferently failing

and/or refusing to conduct a complete and thorough search for any insurance policies, or evidence

thereof, in their possession, custody and control that were issued to Wolverine; and/or (8) refusing

and/or failing to acknowledge the existence of Policies which provide coverage for this claim

despite having previously acknowledged and agreed to the existence of coverage under those

Policies in connection with prior claims by Wolverine.

       198.    The foregoing conduct by each of the Defendants constitutes independent breaches

of each of the Policies and amounts to arbitrary, reckless, indifferent, and/or intentional disregard

of the interests of Wolverine.

       199.    The foregoing conduct by each of the Defendants constitutes a breach of each

insurer Defendants' duty of good faith and fair dealing.

       200.    As a direct and proximate result of the Defendants' individual and collective

breaches of their duty of good faith and fair dealing, Wolverine has sustained damages, damages

which are continuing, and damages which Wolverine is entitled to recovery from Defendants under

the Policies, at law, and in equity. Wolverine also is entitled to all other direct, indirect,

consequential, special, and compensatory damages as are appropriate as a result of Defendants'

breaches of contract and breaches of their duty of good faith and fair dealing.




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                                    Count II — All Defendants
                         (Declaratory Judgment I'ursuant to MCR 2.605)

        201.    Wolverine repeats and realleges each of the allegations in the foregoing paragraphs,

as if fully set forth herein.

        202.    Each of the Underlying Actions alleges a covered, or at least a potentially covered,

occurrence, occurrences, or series of occurrences under each of the Policies issued by each of the

Defendants.

        203.    Each of the Primary Insurers has an immediate duty to defend and/or an obligation

to fully pay Wolverine's costs, fees, and expenses as incurred in connect with the investigation

and defense of the Underlying Actions under each of their Policies. Each of the Primary Insurers

has failed and/or refused to honor their duty to defend Wolverine in each of tlie Underlying Actions

under each of the Policies.

        204.    First State, AEIC, and North River agreed in each of their attached Policies to

provide a complete defense to Wolverine and/or to fully pay Wolverine's costs of investigating

and defending any suits alleging or potentially alleging any occurrence arising from property

damage, bodily injury, and/or personal injury under each of the Policies where the underlying

insurance, as is the case here, has not or will not respond, has been reduced, or has been exhausted.

Because each of the Primary Insurers underlying the Policies issued by First State, AEIC, and

North River have failed and/or refused to honor their duty to defend Wolverine in each of the

Underlying Actions, First State, AEIC, and North River must honor their duty to defend Wolverine

and/or are obligated to provide a complete defense to Wolverine and/or to fully pay Wolverine's

costs of investigating and defending each of the Underlying Actions.

        205.    The Primary Insurers, First State, AEIC, and North River have individually and

collectively failed and/or refused to honor their duty to defend and/or to provide a complete



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defense to Wolverine and/or to pay fully all costs incurred by Wolverine in defending and

investigating the Underlying Actions.

       206.     Each of the Defendants agreed in each of their Policies, and has a present

obligation, to fully and completely indemnify Wolverine on a joint and several, "all sums" basis,

for any and all liabilities incurred, to be incurred, or paid by Wolverine in the Underlying Actions,

including any settlements and/or judgments, under each of the Policies.

       207.     Each of the Defendants has refused and/or failed to honor their obligations to

provide, under each of their Policies, a complete indemnification to Wolverine and/or has failed

and/or refused to acicnowledge or agree to accept its obligations to pay in full on a j oint and several,

"all sums" basis, for any liabilities incurred or to be incurred by Wolverine with respect to the

Underlying Actions, including, but not limited to, any settlements and/or judgments.

       208.     An actual and justiciable controversy presently exists between Wolverine and each

of the Defendants concerning Defendants' respective duties and obligations under each of the

Policies with respect to the Underlying Actions.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Wolverine respectfully requests judgment against Defendants as

follows:

       1.       That this Court determine and declare that the Primary Insurers are obligated to:

(A) honor their duty to defend by providing Wolverine with a complete defense in connection with

the Underlying Actions; and/or (B) pay in full the costs, fees, and expenses as they are incurred by

Wolverine in connection with the investigation and defense of the Underlying Actions; and (C)

pay in full for any of Wolverine's liabilities incurred, to be incurred, or paid in connection with

the Underlying Actions, including, but not necessarily limited to, any settlements and/or

judgments. Specifically, that this Court declare that the Primary Insurers are joint and severally


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liable for all sums incurred to date, and all fiiture sums, incurred or paid by Wolverine in the

Underlying Actions, including, but not limited to:

               a.      All costs, fees and expenses related to the investigation and defense of the

                       Underlying Actions;

               b.      All liabilities incurred or to be incurred by Wolverine in connection with

                       the Underlying Actions, including, but not limited to, settlement costs, costs

                       related to a consent decree or similar, and/or damages imposed by any

                       judgment or order of a court of law, inclusive of fees and interest;

               C.      Costs of any and all appeals related to the Underlying Actions; and

               d.      All costs expended for remediation, mitigation, and/or clean-up, including,

                       but not limited to, those costs expended in complying with, or related to, the

                       Government Actions or any consent decree or any administrative order or

                       similar order entered in any of the Underlying Actions.

       2.      That this Court determine and declare that First State, AEIC, and North River have,

under their respective Policies, a duty to defend and/or reimburse Wolverine in full for its costs,

fees, and expenses incurred in connection with Wolverine's defense and investigation of the

Underlying Actions. Specifically, that this Court declare that First State, AEIC, and North River

are joint and severally liable for all sums incurred to date, and all future sums, incurred or paid by

Wolverine in the Underlying Actions, including, but not limited to:

               a.      All costs, fees and expenses related to the investigation and defense of the

                       Underlying Actions;

               b.      All liabilities incurred or to be incurred by Wolverine in connection with

                       the Underlying Actions, including, but not limited to, settlement costs, costs




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                       related to a consent decree or similar, and/or damages imposed by any

                       judgment or order of a court of law, inclusive of fees and interest;

               C.      Costs of any and all appeals related to the Underlying Actions; and

               d.      All costs expended for remediation, mitigation, and/or clean-up, including,

                       but not limited to, those costs expended in complying with, or related to, the

                       Government Actions or any consent decree or any administrative order or

                       similar order entered in any of the Underlying Actions.

       3.      That this Court determine and declare that each Defendant is obligated to indemnify

Wolverine in full on a joint and several, "all sums" basis, for any liabilities incurred or to be

incurred by Wolverine in connection with the Underlying Actions, including any settlements

and/or judgments. Where necessary, this Court's determination and declaration concerning each

excess and/or umbrella insurer Defendant's obligations to indemnify Wolverine should take into

account the specific attachment point and/or exhaustion of underlying limits of insurance in

accordance with the specific terms of each excess and/or umbrella Policy.

       4.      That this Court determine and declare that each of the Defendants are obligated to

pay and/or reimburse Wolverine in full for all costs, fees, and expenses incurred or to be incurred

by Wolverine in connection with any remediation, mitigation, and/or clean-up associated with the

alleged damage, including, but not limited to, those costs incurred in complying with, or related

to, the Govei-nment Actions or any consent decree or any administrative order or similar order

eiitered in any of the Underlying Actions.

       5.      That this Court determine and declare that each and every Defendant waived its

ability to enforce any contractual obligation, limitations, exclusion, or other provisions running in

favor of the breaching party, including without limitation any puiported contractual obligation,




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limitation, or exclusion on the limits of liability, any so-called "pollution exclusion," any purported

duty to give notice of a claim or occurrence, any requirement to cooperate or any similar obligation,

by virtue of their respective breaches of contract and/or failures and/or refusals to fully

acknowledge and/or assume their obligations under each of the Policies with respect to each of the

Underlying Actions.

         6.    That this Court enter an Order that the Defendant Primary Insurers have

individually and collectively breached their respective Policies by and through each of their

respective failures and/or refusals to honor their duty to defend Wolverine in the Underlying

Actions.

         7.    That this Court enter an Order that Defendants First State, AEIC, and North River

have individually and collectively breached their respective Policies by and through each of their

respective failures and/or refusals to honor their duty to defend Wolverine in the Underlying

Actions.

         8.    That this Court enter an Order that each of the Defendants breached their duty of

good faith and fair dealing.

         9.    For Wolverine's actual damages according to proof at trial, including but not

limited to compensatory damages in an amount or amounts to be determined by the trier of fact at

trial.

         10.   On all Counts, that Wolverine is entitled to ancillary relief including:

               a.      Such orders, including injunctive relief, as are necessary to preserve this

                       Court's jurisdiction over the parties and issues herein;

               b.      Prejudgment and post judgment interest according to law; and




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                 C.     Wolverine's attorneys' fees, costs, and expenses incurred in bringing this

                        lawsuit..:

         11.     On all Counts, such other and further legal and equitable relief as this Court deems

  just and proper.

  Dated: December 14, 2018

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                                                                                   ....... ----~._
                                                                                           .......
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                                       JURY TRI.% DEMAND
         Plaintiff hereby demands trial by jury of any issue and all issues so triable; and as to any

  issues not triable to a jury as of right Plaiiitiff requests that an advisory jury be empaneled.



  Dated: December 14, 2018




                                                      Charles NI. D ''ntioi~ (P33'':C9~
                                                      Erika P. Weiss (P78552)
                                                      Barnes & Thornburg LLP
                                                      171 Monroe Ave. NW, Suite 1000
                                                      Grand Rapids, MI 49503
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                                                      Erika.Weiss@btlaw.com

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                                                      James M. Davis (pro hac vice forthcoming)
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                                                      jdavis@reedsmith.com

                                                      Counsel for Plaintiff Wolverine World Wide,
                                                      Inc., f/k/a Wolverine Shoe & Tanning
                                                      Corporation




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                                 Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.74 Page 64 of 222
100% Recycled. 30 % PCW


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                                                          •                                                                       0



                                                           LIEERTY                                                                COMPREHENSiVE GENERAL
  DECLARATlONS                                             M'LJTZJAL11.,                                                                     LiABILITY POLICY -
                                                           IN9LTRANCE COMP.ANY
                                                                           Home Oitiees Bostoa

  q No.                                        Tl) Code   Sotea Olflce                  s Code              Satesman                          ` Code         N/it       1st:Yecr.
  ~1-9~1~050531d082                              93        Gr, Rapids                   1 474                   OtConneZl                     i~63~6          2          6
  :n 1. Namcd Insured Wolgerine World Wide9 Inc. and as per Ehd, #1

              Address            9341 Couxtla.nd Ih°, 9 Rockford9 Mieh, 49341
              The named insured is: Individual E], Partnership E], Corporation [0, Other F] --

              Business of named insured is: Mat2ttfaettl2°e of Shoes y Gloves . and Hats
                                                  Ma.         Day          Year                                          Ma            ~ ~ Year
 .m 2. Policy Period: From                               72 '          to                                                                               73
                      12:01 A.M., standard time at the address of the named insured as stated herein.

              Audit Basis: At Expiration [], Annual ®, Semi-AnnuaI E], Quarterly E), Monthly 0, Flat Charge E]

 eill 3. The insurance afforded is only with respect to such of the following Coverages as are indicated by specific premium
          charge or charges. The limit of the company's liability against each such Coverage shall be as stated herein, subject to
          all the terms of this policy having reference thereto.
                                   COVERA.GES                               I             LIMITS OF LIABILITY                                    ADVANCE PREMIIIMS


                                                                                  $    1 009 000                    each person                  $ 14036.                    ~
               A—BODILY INJURY LIABI'LITY
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                                                      '~     Liability                          {~         ~                                          U r 9472•
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tem 4. Computation of Premiums                                                                                  +~E O~~~z{ ~tUL
                                                                           Prernium Base                               Rates                        Advance Premiuina
                      Classi5cation and                          Code                                                                            Bodily          Pro°crtr
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The policy, including alI endorsements issued therom tn, ss nercny zoBnzcrs ed by
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Wo=tc Units              Pertadic Paymmt   I   RitiaR Basds   Audit Basls Home Stnte Pol. H.G.                                 itenewal of                 Aaoantin8 Entry
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    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.76 Page 66 of 222
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~ - COINPRENENSIYE GENERAL                               WCY
                                                                                        Tlfis POLICY is CLAS5IFIEA"IN DIViDEND CL.ASS 1
                                                                                                              QiNERAL CLASS
                                                                                                                    •
                                                                                        The named insured is hereby notified that by
                                                                                        virtue of this poiicy he is a member of Liberty
                                                                                        Mutual tnsurance Company and is entitied to
    LI]BERTY                                                                            vote either +n person or by proxy at any and
                                                                                        all meetings of said comparvy.
    1VIUTU'AL                                                                           The annuai meetings are heid at its home
     INSURANCE COMPANY                                                                  office, Boston, Massachcssetts, on the second
                                                                                        Wednesday of Aprt! 1n each year, at eleven
                                Hcisaie Otlice: Boistoln                                o'ciock in the morning,
    FOR PROMPT INSURANCE SERVICE — CALL YOUR SERVICE OFFICE

                                               (A mutual tnwrance company, herein called the company)

     In consideration of the payment of tha p ternlum, In rellance upon the statements in the declarations made a part hereof and subject to all
     ot the tersmof thls polfcy, agrees with the named insared as follows:
  T COVLRAGE A-1lODILY INJURY LIABILITY                                             or to any act or conditlon Incident to any of the foregoing,
                                                                                    with respect to
  1 COVERAfiE 8—TRO1tERTY DAMAGB LIAf31Li'FY
                                                                                     (1) (lability assumed by the Insured under an iacideetd
       The company will pay on behalf of the lnsured all svms wh)ch                 rontraet, or
     the insurrd shall beconte feQal(y obligated to pay as damssea be-               (2) expenses for first aid under i'he Supplementary Pay-
     cause of                                                                            ments provision;
                        Coverrge A. bodily injury or
                         Coverage B. property damsge
                                                                                    to bodfly in'ury or propetty damaae for which the iesured~y,
                                                                                    hls Indemnjtee may be held liable, as a perso            ~a-
     to which this poticy applies, caused by an,oecurrenee, and the com-                    aged in the business of inenu         , diatri uting,
     pany sheit have the r(ght and duty to defend any suit against the                        serving alcohoiie bever       r as an ov~mer or Iessor
     inaurod seeking damegoa on account of such bodily Injury or prop-                      se.s used for such        ses, by reason of the selling,
     erty damage, even if any of the atiegations of the suit are ground-                     r giving of a          le beverage
     less, false or fraudulent, and may make such Investigation arnd set-                    iolation     y statute, ordinance or regulatton;
     tlement of any clalm or sult as it deems expedient, but the company                            ,
     shall not be obligated to pay any claim or judgment or to defend                        person under the infiuence of afeohol, or
     any suit after the applieable limit of the compeny's Ilabllity has
     been exhausted by payment of )udgments or settlements.                                 lch causes or contrfbutes to the fntoxication of any
                                                                                  s       son;
                                                                              (g) to any obligat(on for which the lenund or any earrier as his
     Eseluslene                                                                     Insurer ntay be hold liable under any workmen's eompensa-
     This pa(Icy does not appiy;                                                    tion, unemployment t:ompansatlon or dlsabllity benefits law,
                                                                                    or under any eimller law;
     (a) to iiability assumed by -the Iroured under any contract or
          agreement e.xcept an Ineidental aontractl but this exclusion        (h) to bodlip injury to any empioe of the Inaured arising out of
         does not apply to a warranty of fltness or quality of the eetned         and in the coursp of l+is ernp eyment by the fnstured; but th)s
         Inoured'e produate or a warranty that work perfarmed by or                 exelus(on does not app{y to liabitity asavmed by tite inaursd
         on behalf of the nerned insund will be done In a workmanlik®               under an laoident®; oontrast;
         manner;                                                              (i)   to prepertp damage to
     (b) to bodifY injury or property daenage artsing out of the owner-             (1) property owned or occupied by or rented to the insured,
          ship, melntenance, operation, use, (oading or unfoading of                (2)property used by the Ineurad, or
           (1) any automobile or alrcraft owned or operated by or                   01 property ln the care, custody or control of the Inmred
                rented or loaned to the named Insunzd, or                                or as to which the insured Is for any purqose exen;ising
          (2)any other sutomobila or alrcr#ft operated by arry person                     physical control;
                  ln the course of his employmtlht by the nanad inwradi
                                                                                    but parts (2) and (3) of th)s excluslon do not appiy witft
          but this excluslon does not apply to the parking of an auto-              respect to liability under a written sidetraok agreement and
          mobile on premises owned by, rented to or controlled by the               part (3) of this exclusion does not apply wFfh respect ta
          earrred imur+d or the ways Immediately adjolning, if such                 propaitp damage (other than ro eleraten) arising out of the
          automebile ia not owned by or rented or loaned to the natned              use of an ekrator at premises owned by, rented to or cfln-
          ieturedp                                                                  trolled by the aamed iruured;
     tcl to bodiFY injury or preperty datwags arising out of and In the       (1) to pmparty dama{e to premises allenated by the nerned
          course.of the transportation of mobfle eavipesent by an auto-             irtso►ed erising out of such premises or any part thereof;
          mobile owned or operated by or rented or loaned t0 the namsd
          insured;                                                            (k.) to bod)fr injury or property darnese resulting from the fail-
                                                                                    ure of the named inaurad'a prodoets or work compieted by or
     (d) to bodily Injory or proparty dansage arising out ofsthe owner-             for the named 1lneured to perform the function or serve the
          ship, malntenance, operation, use, loading or ur+loading of               purpose Intended by the aamed insured, if such failure is due
          any watarcraft, If the bodily injury or propeAy damage occurs             to a rnistake or deficiency in any design, formula, plan, speel-
          away from premises owned by, rented to oe contro(ied by                   fications, advertlsing materPai or prfnted instructions prepared
          the eamed Insured; but this excluslon does not appty to bodily            or developed by any insured; but this eaclusion does not apf►ly
          Injury or pn
                     rope
                        rty darnag® included withln the produata hasard             to bodily In)ury or prapwty dama8e result)ng from the actrve
          or the eomplded operations hasard or resulting from opere-               malfuncrioning of such products or work;
          tions performed for the named lesvned by Independent con•
          tractors or to llabillty assumed by the iosured under an inci-      (i) to peopery damare to the namad insured's products arising
          dental oontraet;                                                         out of such products•or any part of such products;
     (el to bodily injury or property damage due to war, whether or           (m) to property dateaya to work performed by or on behaif of the
          not declared, c1vi1 war, Insurrection, rebelllon or revolution'          aamed lnsured arising out of the work or any portion thenaof,

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              or out of materials, parts or equipment fumished in connec-                   7his insurance does not appty to bodily l®jary or p*oyarty darn.
              tion therewlth;                                                            a`e arising out of the conduct of any partnership or joint venture
                                                                                         of which the Ineuned Is . a partner or member and which is' not
         (n) to damigai clainted for the,withdrawal, lnspection, repair,                 designated In tfiis policy as a naniad Jnwred.
              repiaceinerit, or loss af use of the namad inrrur*d's produc3a
               or work cumpieted by or for the narnod . Insured or of any
               property of whlch such products or work form a part, if such              uMITB CP LiAaI;L1T1f
               products, work or• property are withdrewn fratn the market
               or frorn use because :of any, known or iuspected defect or                  Regardless of the number of ( i 1 lrosutxde "under th(s pi,l'+cy,
               deffclency thereln.                                                       (21 persons or organizations who sustain bodify Injury cr property
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 I~ SU►PLEMENTARI[ P/1YMENTS
                                                                                         foliows:
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            The company will pay; in addition to the: applicable limit of                declarations as applicable to "each peison" is the timif of the
         iiabill_tyb                                                                     company's itability for ali, disrtesps becauss of bodlly :litjury' sus-
         (a) ail earpenses. incurred,by the company, all costs taxed agalnst             talned by one person es the result of any one oeeurranoe;. but
               the intured !n :ariy suit defended 'bv the company and all                subiect to the aisove provision respecting "each person", athe totaf
               Intet+est on:the antire arnoupt af any judgrjiernt therei.n whieh         liability of the company_ for a1l dearaget because of: bodiiji. injury
               aecrues after: entry of th® judgi+~ent and befote the corripa ny          sustained .by two or n•►ore persoris as the result" of pny.;one ®ccur-
               has peid. or tendered Qr, deposited in court 3hat: part ,of the           rmnea shall not exceed the fimil of badlfy lniury liabillty stated ici
                udgment which doea .not ~cceed:the fimi.t of the,.tonnpany's             the declarations as applicable to "each oeeurrae6m' ;
                ~i~bfiity   therepn;                                                        Subject to the abova provlstons respe=ting, "eacti persori" and
         (b) premiums on ,appeal :bonds requtied !n :any 9uch ;suit, prq-.               "eaeh oceurranee'•, -tfie total Ilabilily o'f :.the company for a.tt .dam■
             miums:an, bonds to release attachments in any such.sutt for                 oges because of ( I) ail. badily injurT (ncluded within the eernpirted
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                use of any vehicSe to which this, polisy appiles; not ;to excoed,
                $~50 per bal l. bcnd, but the coinpany shell have no .obligation            Coveiage 9—The total liability.. of: the company for all elamtps
                to apply .for or furnrsh any such bonds;:                                beceuse of•all property. d'tnsp sustelned by•one,or, more:perstins
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          tc) expenses lncurted by the int+ured`for first 'eld: to others at the         ceed the (Imit af propartyr'demaaa Iiabillty:stated in the declarattions.
              tinie . of an aceident, for bodlly-. :(ra~ury to :-wh(ch
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                appiies;.
          (d), reascnabie experites lrscuired by the letsurod at the cornpany's             Subleet tb the above provislon. .respecting' '"each acai+rtnyt"
                request; fnctudFng aetual loss.of wagea or;aalary (tiut not.loss          the totaf Ilabli(ty of the,. cornpany for alL ds.rnages beosuao"of, e1f
                of otfier income) not`to exceed $2$: per day because of his              •pwparty. derAags to which thi"s eoverage :applies. and deaulbed ;In
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               individual; the„person •so'desiBnated buE "only unth respeck=to                 cluded~ in subpsragreph (2) below;
                the tonduct of e business of +tiiilch-he-is ttie :sole .proprletor;       (2) all propsrtr-damage arising out of'
         {b) If tSe naniod Inaured . is: de"signated lilt the declaratlons as a                of operarions performed for the nsJ
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               so deslgneted :and .,er+y"pariner or' :meniber." thereof but ortly              liuntred. Ineluding any such, props+
               wlth respect: ta his liability as such;-                                        Ity Is assurns:d, unde?. any inetdent
         ("c): If the ne><iad Idsured. ls designated 0 thc.declarations as'other
               thart an IndivPdual, partnership::or'joint.venture,%the organiza-
               tSon so:des+gn®ted ar d any ®xeautive offieer, diree.tor.or stock-
               holder: thereof while ;actinS wifhin tiie` scope' of iiis .dutiies                 or n►aving buridings: or:other
                a; such;
          fdl, any per"son fother.tKan an employea.af the'naiinird Insure'd}.             (3,Y all prroperty, dadiagit, included wlthiri i•he pr~ucts hasard and;
                oc organlzation while ai;ting: as ieai ;estate .rnanager for the               al( property:. darrrrgm; ineluded within the domplefed aprrationrt
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          (e); wlth respect to the operatron? ;for.'thm purpose of `locomotibn              Such aggr+egate fimtt :shalf apply separatety to the .proparly
                upon s public higfiway; of rnobilb:equlpmeot registered under                      s ribad m._subparagraphs { 1;1, t2) and (3'). above;' and.
                                                                                          damaae desc
                any motor vehicie registration faw,                                       undar subparagraphs. (1) and. (2) , sepa rately with respect` to eaeii
                                                                                          project away from pi'emises owned by; or rented, to; !)he nafisd
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                       cr orSanlzation;                                                   POLICY P&R1flD 6 TERRITQRY                                          ~
                provided i that. no person or organization shall b0 .an insurad             7his policy applies,:only,-to bodiir "injury.or propeetp damar:    1
                under.this parag0aph• (e) with;respeet to:
                                                                                          which occurs during the :Poticy period virlthin the paliey, htnlo~.
                 (1) bpdity Injnry, io arry f•ellow. enipioyea of such person
                     Injured in. the Course'of his~employment; or
                                                                                          D56f M1'ifioYUS
                 (2) ptoperty draeugd :to property owned by, rented `to, in                                                                                           ~
                     charge of or oceupied by tha nam®d imured or the                       When used in this policy .(including endotsements forniing a; ~
                     employer of any.person deserlbed in subparagraph I(i) .              part hareofl ;


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                                               •                                                              0

     made by the oompany which it wouid not have been obligated.to                          of iosa not so pald the remaining Insurers then contlnue to
     make under the terms of this poliry except for:the agreement con-                      contribute equal shares of the .rernafning arnount of the lo~
     tained in this paragraph.                                                              until eech (nsurer hes paid its 11m1t In full or the full a+nt
                                                                                            of the loss Is paid.                                          '.0
    lnaund'a ®uNa le tlae Erent oF ®c®urrnnoo, Ciaim or Suit
4    (a) In the event of an oceurrence, written notice containing
          particulars sufficient to identify the insmed and a1so: reason-
                                                                                    Ib) Contribution by Llenlb. If any of sueh other inkuranee does
                                                                                            not provide for contribution by equal shares, the conipany
                                                                                            ahail not L+t ilable for a greater proportion of such loss than
          ably obtainable information with respect to. the tlme; piace                      t}ie applicable ilmlt of iiability under this pollcy for such_loss
          and clrcumstances thereof, and the .names end addresses'of                        haard.to the total applicabie ilmlt of IlabiVity of ail ysifd and
          the injured and of avaliabte witnesses, shall be giveri, by or                    coll.ectible'insurance against such loss.
          for the laaured to the com any orany of ]ts autiiorise.d agents
              so as precticabie. ~fie n,rnad Insurad ahatl proniptty,
          as on                                                                     SetbrqSafton In the.event of ariy payment under this policy, t}ie ~
          take at his expense all reasonabte stepe to prevent other bodily          company shail be aubrogated to all the iasured'a righ!s of recove ry
          felury or preperty danrage from arising out`of. the same ior              theref.or agalnst any person or organizatlon and the Insursd shall
          similar condittons, but such expense shail not be recoverable-            execute and' del)ver instruments, a nd papers and do whater  ve else
          under this poiicy.                                                        I`s .necess~ry ~to seCvre such .rlghts. The bnaured shall do nothing
     (bl If elaim is rnade or sult, Is brought against the,lnsurad, :the            after ldst to,preyudlce sueh rights.
          Inaared shall lrrtreeadlstely (orward to the eotnpar;y, every:            C6atlg,a Notice to any agent or knowledge possessed by any Q
          tlemand, notice, summans or other protes~i. receivcd by him               agent or,byany, other person ahaii not effect a•walveror, a change Q
          or his repr'esentative.                                                   In'any'pert of thls policy: or. estop .the ccrnpany fngm assertin~ any.
     (cl, The lnaured shall cooperate wlth the company and,,,upon the.              right und®r the tenfis oF:this pohcy; nar shall the terms.`o . thts
          company's cequest, assist in making_ sattlernants. In tfie eon-           poiley be .waived or;cfianged; except by endoraement isaued to fprm
          duct of suits and An eriforcing any, right .of wntr.ibut+on or            a part af this pollcy; signed by the Prtsident or.a Vice Presldent,
          Indemnity egalnst . 2ny persari cr, organizaHon who 'may. be              and the 5ecretary' or an Asblstant Secretary cf !he company and;
          liable 6 the insnted because 'of .bodily inlury or prepe~                 If such sli<nnaatures are facsimllc signatu'es, countersigned by a duiy
          darnage with respect to which insurance Is affarded:under this            authorized representatlyeof:the.company.
          p~oticy;'and :the' inaurad shall attend hearings: and ttials ®nd
          asslst in securmg and giving evtdente and. obtaini,ng the at~             Aaslgnaitet Assignment.. of interest .under this policy .shall not
          tandance of witriesses. The iaayra4 ahail not, exeept at his              bind the.: company until its consent Is endorsed hereon: if; .iwW+- ~
          own cost, voluntarll'y roake any payment, assume ariy abllga=              ever, tha.lm+mted. ina~ared shall,dle; such Insurance as is,afforded by
          tion or lncur any: expense"other than :for first'sid to others'at         tMs pobcy'sheli appiy (;1 I to the natnsd enaawr><'a teial repressnta-
           the time of accident:                                                    tive, as,the autn~d Insund, but oniy whll®:.actlng within the.sco pe
                                                                                    of his rluties as such, and (21. "with reapect to the property, of the
    Aetion /lgainst Compan' Ydo. act ion sha1) 11e agalnst the:comp,any             tiaw►td taaorred,. to the person having proper temporary custody
5    unless, as a condition preeedent thereto; there shall have been full
     eompllanca with'all of the tenns of.this pclley; nor until 4he,aount
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     ten agreement ~of the io►aured, the claintant end~ tha .compeny.                to eseh, coqaeeutive: mnn.ual perio thereof.
       Any parson or organlzatlon or the fegal representative.thereo
     who>has sacurad sueh ludgment, or written egnrament shaif thare;               Caeealfati'on, This polrcy may ba cancelled by the. named in®ered
     after be entftled to recover under thls polity to the extent af thi            liy.; ntalling'to th¢: company' ~wrlttcn nottce stbting whan thereafter ~
     Insu'raiice afforded by'this policy: Mo perscn or organlzatlori sliel           the eancrellation-shall be effective: 7his ,policy, may be eaneelled
     heve any right under th7s poficy. to,)ointhe::compartyr as a":par.t y :t+      by" the;company, by nialhng' to the nimetad 1®aured et the .address
     any. action ~aga~inst the inaursd, to,'.determine the Jnsnred'a>aiablll.ty     shown In tftls. poliry , written, notice. statfng when not' less than ten
     nor sl,all tha company be impleadod by th® lnwred or his: Iogel:rep             days thereafter such canceliatlon..shall be effectf~►e,; The rniiiing
     resentative. Benkruptcy or insolveney .of the inaund: or of t,h~               of notice b® aforesatd.shali:be suffictent proof of nctiae.. The effee;
     inaurad'a estate shall not rell'eve the corriparry ,of any cf:•ita obllga:      tive dite'of cancel[ation stated In the notice shall beeame the erid
     tlons hereundsr.                                                                of the poii`y period Oelive.ry .o4:-such v;iritten riotice. elther,by ifie
                                                                                     n~naad .iiiwrad or, 6y the.. company shaB .be equiveelent ro'rtiailiri$.
     Other' In~ueanb~ The Insurance afforded by thiy policy, le prirriary
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~    msurance. exaept when stated to appiy'In exaess€`of or ~contin%ent
     upon the a5serice of. other:insurance:• AWhen this Insuranee is pri-            In aceordanea wlth the custornary.ehort .rate tablR and proeerluns.
     rm ry and the isssur¢d .hes other :(nsurance which is. stated, to be            I{.tho.company'cahceis, ;eamed pibmiuni shail ~e computed pro
     applicable to . the loss on an excess or.contingent basls, the,amount           rati Prernliuri adjustment may be made either at the time cani
     of: the company's Ilabillty under th[s poi[cy:shall't>ot be reduced by          collation: is effeefed or as soon as practtcabl4, a(ter canCallation
     the exlstence,bf 366'other9656ranoe.                                            becomes' effective, but paytnerit oe tendar,.of unesrried .promiuns is
                                                                                     not a eondltlon af cancellation.
        vAen both thla lnsurance and other dnsurancer. apply to the :foss
     on the sarne basis, whether' primary,. excess or contingent, the                Dealarallo,rs By. :acceptaTtce of this, policy; the nan~ad. In~ured          ~
     company shall not be liable under :this pol+cy for a greater Q,'ropor-          ageees thet the staternents:ln the declarations are his ag►eementa 1~
     tion of the loss than that stated in .the applicable contrlbutlon              •snd repieserrtabons~, tf,at this poiicy Is issued ln rrolfance upon. the
     provision below:                                                                truth of 'sueh repre sentatlons.and that this policy emb+odies all
                                                                                     agreements ecisting batween himself and #he :company or any of
      (a! Contrlbu4l®n by .fquil.`Shem. tf all of: sueh other. valid ond             its ag®nts: relat7ng;to this .Insurance.
           collectlble irt"surance:provides fot tdntributlon by'e9ual shares;
           the'company shall nor be' ifable for a gteater :proportlon of             M'utptrl . Polfey .C~ndltfona ..Thls policy is nonassessable. The            ~
           such loss thaa wouid be payahie iF each Insurer:contrlbutas               policyholder .Is ~a rnernber:af the company and shali participate, to
           an equal share untlP tho: share• of each insurer equals the low-          the exteflt -and upon the conditlons fiiced and determined by the
           est epplicabie Umit of.11ebtiity under any„one:ptj}lcy or, the, full      board of.dlrectors:in aCcordance-with the provisions of-law,'in the
           amount of the ioss .is paid, and wit}i .rtspecc to ony amount             dtstri6ution oP,dividend9 so flxed.and determined.


     In witness, whereol, the cornpany has.caused this po]itN to lie signed by lts Presidqnt and Secret®ry-at Bo9ten, Massachusetts, and counter-
     signed on. the declarations page by a dqly aWfhorizad;representativo.of the company.




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                             Tl11S ENDORSEMEN7 APPLIES TO ALL LiABILIYY AND MEDICAL PAYMENTS COVER-
                             AGES AFFORDED BY ?'HIS POLICY, 1NCCUDING ANY SUCH COVERAaES ADDED BY
                             EAIDORSEMEidT EITHER AT INCEPTiON QR DURiNG THE POLICY PERIOD, EXCEPT
                             UNDER COMPREHENSIVE PERSONAL ANa EARMER'S COMPREHENSIVE !'ERSONAL
                             INSURANCE.



                                             NUCLEAR ENERGY UABILITY FJ(CLUSIDN EfdDORSEMENT
                                                              {6raad Fanm)
        It Is agreed that;
         1. The poltcy does not app(y:
            A. Under any Liabllity Coverage, to badiFy lejury or propetty dantnge
                (l ) with respect to which an instured under the po((ry. is also an (nsured under a-nuclear energy liabi(ity pollcy issued by
                      Nuclear Energy 1-iabl(ity Inaurance Association, Mutual Atomic Energy Liability Undenvriters or Nuclear Insurance Asso-
                      ciatlon of Canada, or wou(d be an insured under any such pol(cy but for Ita tetmination upon exhaustion ot Its limit of
                      liabtiity; or
                (2) resurting from the hasardous properties of nualea► metariaf and witl~ respect to which (a) any person or organization is
I                     required to maintain financial protectlon pursuant to the Atomlc Energy Act of 1954, or any law amendatory thereof,
                      or (b) the insured Js, or had this policy pot been issued would be, entitled to indemnity from the United Stata of
                      America, or any agency thereof, under any egreement entered into by the United States of America, or any ageney
                      thereof, with any person or organlzation.
            B, Under any Medical payments Coverage, or under any SuppSementary Payments provFsion relating to first aid, to expenses
               Incurred with respeet to boQily in jurr resulting from tho hezardous properties of nuciesr material and arising out of the opera-
                tion of a nnefaar faa(lity by any person or organization.
            C. Under any Liablllty Coverage, to bodllt injury or praperty damage resultin® from the hs:ardans properties of n®efear
                rneterlal, If
                 (1) the nualear matariat (a) is at any nuciear faelllty owned by, or operated by or on beha(f of, an Insund or (b) has been
                     discharged or d)spersed therefrom;
                 (2) the nualear mateeiil is contained in spent fuel or waste at arq+ tirne possessed, hsndled, used, processed, stored, trans-
                       ported or disposed of by or on behalf of an insured; or
                 (3) the bodily ln)ury or,prepesty darnaae srises out of the fumishing by an lasured of services, materials, parts or equJpment
                     in connection wlth the planning, constructlon, maintenance,.operation or use of any nualear heilley, but if aurh fadlity
                     is located within the United States of America, Its territories or pOssess(oris or Canada, this exclus(on (3) applies oniy
                     to property damaEe to such euelesr fao111ty,and any property thereat.
        tl. As used in this endorsement:
             "ha:ardaua properties" include radioactive, toxic or explos(ve properties;
            "nuelear nraterlal" means iouree maferial, fpse(al neohrar materlal or byproduet material;
            "souraa nuterial". "speoial nueloar matrriel•', and "bypraduet mstar)al" have the mean(ngs given them in the AtomJc Energy Act
            of 1954 or in any law amendatory thereof;
            "spent fuel" means any fuel e)ement or fuel eornponent, solld or Ilquid, which has been used or exposed to radiation Jn a nuelear
            reealor;
            "wasts" means any waste materlai ( l) containing btrptaduat nutarial and (2) resulting f rom the operallon by any peraon or
            organization of any nuelear faailHy included within the definition of nueiear faa(litr under paragraph (a) or (b) thareaf:
            "nueiese faeit(ty" means
                (a) tnyauelearreaetpr,
                (b) any equipment or device designed or used for () ) sepatatinQ the isotopes of uranlum or plutonium, (2) processing or
                     utilizing spent fuel, or t3) handiing, processing or packaging waste,
                (c) any equipment or device used for the processing fabricating or al(ay(ng of speelal nuolaar inateriai if at any tlme the
                     total atnount of such material in the custody ol the insvred at the premises where such equipment or device is Iocated
                     cpnsists of or conta(ns rnora than 25 grams of plutonium or uranium 233 or arry cornbinatlon thereof, or more than 250
                     grams of urenturn 235,
                (d) any structure, basin, excavatlDn, premises er place prepared or used for the storage or disposal of waste,
            and includes tFip site on which any of the foregoing is located, al( operations conducted on such site and ali pramJses used for
            such operationst
            "aunlear reaetor" sneans any apparatus designed or used to sustain nuclear flss(on In a self-supporting ehain reaction or to con•
            tain a crltical mass of f(ssioneb)e matdriai; .
            "property damase" inc)udes ail forrns of rad(oactive contam+nation of propsrty.

                                                       LIBERTY MUTUAt_ INSURANCE CCMPANY



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      SHORT RATE CANCELATlON TABLE
              P.r Conf        Per Gn1
      Dsys            of        Osv,            of
     Pofiry       OneYeer      Poliry        Ons Yeer
    in Force       Prernium   in Fome        Pramiwa
          Q... 6 167-10.. . 64
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    117-120 . . 48
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    136-1$8 . . . 48          843-346 . . . 96
    139-142 . . . 49          347-351 . . . 97
    148-146 .. . . 50         362-366 . . . 98
    15D-163 (b moa) 62        561-".865(iZmos.)100
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    mpnths or leeu the' above t¢ble wppllee. If the
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                  emlamon the 6iela ot the tatto of
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 Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.82 Page 72 of 222
                             •            '                   ~


                                  SCHEDULE OF LOCATIONS

Ark.
        3onesboro
        Mon6tte
        Walnut Ridge
Conn,
        228 Trumbull St,y Hartford

        973A FAT"~+~ton Ave., W. Ha.rtford
        Route 12, North Gosvenordale
        Yantic St,, Norwich
F1a.
        950 - 41 st St. 9 A2iam.i Beach                       ••
I11,
        4635 W. Madison St,9 Chicago
Indo
        P1Ymouth
Iowa
        501 Musser St, 9 Muscat3.ne


        Stoughton
        Park St., Webster                                 '
Mich.
        537 Cypress St,9 Manistee.
        9341 Courtland Dr,, Rockford
        450 E. Division9 Rockford
        181 No. - Main St. 9 Rockford
        9225 Couxtland Dr.9 Rockford
        485 Wolverine St., Rockford
        1+65 Wolverine St., Rockford
Policy No. LG1=141-050~31=082
Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.83 Page 73 of 222

                                  SCHEDIILE OF LOCATIONS


Mi.ch. - (Continued)
      509 Wolverine St., Rockford
      1005 Baldwin, Big Rapids
      9345 Courtland Dr., Rockford
      515 No. IInion9 Utica9 Mich.
         435 No. Michigan, Big Rapids
         /+20 No. Lafayette St. 9 Greenvill.e
         263 No. Ptain9 Rockford
         209 E. Fifth St., Reed City
         235 No. Main, Rockford
         123. No. Main, Rockford
         700 We I      Grand Rapids
         1~v ~.
N. H o   li,e" ..,~ ,r.as. al
         110 Congress St., Portsmouth
         /.29 Centra3 Ave., Dover
         North Main St., Rochester
N.Y.
         40 Da.sne St., Ma7.one                    '
         W/S Rear 99-113 Catherine St., Malone
         121®123 Catherine St. , Malone
         109 Catherine St,, Malone
         E/S Constable St,9 Malone
         52a60 Front St. , Ma.].one
         N/S Marion St., MaZone ,
         Corner of E1m & Raymond St., Malone
         bnpire State Bldg,9 350 Fifth Ave. at 34th St.y N.Y.

         6-1-7




LG1-1 41-050531-082
                                                 •
                Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.84 Page 74 of 222
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    Declarationr — Scbedule --
    Giability Hazarda
                                                      PR£MIU►4 BASB                RATES                          ADVAHCE PRE►1roN!

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                                                     (b) Sa1es          BoDlLT
                                                                        IU]mtT
                                                                                           PIO![{TT
                                                                                           DAHAC[
                                                                       L uarc:rr           LuauczT        Code 31$           Code 338


   }LVERINE WORLD WIDE INC; WOLVERINE
   ATHER DTVISION HUSH PUPPIES
   .ODUCTS DIVISION; WOLVEB.INE BRAND-
   VISION; SPORTING GOODS DIVISION,
   ED HP DIVISION

   1 operations of the Named Insured                     (b)
                            Code 9380                  75,000,000      -42t'.              .028           9,600               2,100




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              LG1 —141
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   Declarations — Scbedule —
   Liabilitv Hazards
                                                         PREMIUM BASE             RATES                        I AD9ANCE PEEH2Ul4S

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                   Ci.utt3rtCATlolf LfD I.00Llfolfta                                                       LSAeeuTY            LIAttILITr
                                                        (b) Sales        $CDILT           PworcatY
                                                                                            AMA
                                                                        Lue1LRT           DA~ L tY          318                 338


  3 SflOE COMPANY, A DNTSION OF
  ERINE WORLD WIDE INC.

  operations of the Named Insured                         (b)
                     Code 9380                          10,000,9000      128-             .028         1,280.                  280.




         '




Minimum Premium

                                 I,G1-141 -a50531-082                                                            Page No. 3
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               Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.86 Page 76 of 222
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   . Declarations — Scbedule --
   1 Liability Hazards
                                                       PAEMIUH BASE           RATES                      ADVANCE PtE1fIUNS
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                 C.LAIIIlIUT7oII AAD IACi7101t■
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                                                                       L1AeluTY   °.: «:            318              338
   AY SLIPPER, A DIVISION OF WOLVERINE
  ,D WIDE & TRU—STITCH FOOTWEAR, A
  :SION OF WOLVERINE WORLD WIDE INC.
   Opera,tions of the Named Insured                      (b)
                          Code 9380 .                 10,000,000                      .028        1,280.               280.




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             Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.87 Page 77 of 222
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   Declarations — Scbedule —
   I,iability Huzards
                                                   PAELiiU1S BASE               BATES                       +4DVANCE pAEli[UMS
                                                  a Remunerat gn 10                                Bocg cT Ixi imT      r,~ar &TT   DAMAG[
              CussirieA'nor Axa Lc¢AT~axs         b) ~es        BOOILT                  p60►[lTT
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   IC FOOTWEARINC .

   operations of the Named Insuwced                  (b)
                                      Code 9380   15,000,000        —125— .028                      1 2920.                 420,




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    Declarations — Schedule —
    Liabilitv Hazards
                                                    PREH2Ul! SASE                 RA7Es                            ADVANCE PRE!lIUN3
                                                   a R.emunera      ' on                                  HODILY InJU7lY      P1orLtTY DAIIACL
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                                                                     er 1000 of Sa1e                        LiA{ILiTY             LIAItL{TY
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                                                                       IRJVIY             DALAO[             31 ~                      ~
                                                                      LIAnILITY           LIA{ILtTY




  ; SHOE COMPANY, A DIVISION OF
  EINE WORLD WIDE INCe

  ,perations of the Named Insu.red                    (b)
                         Code 9380                  1yO00,O00        r1$$"
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Minimum Premlum

                            LG1-1 41-050 531-082                                                                    Page No. b
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   Declarations — Scbedule —
   Liability Hazards                                                                                                         "• '         '
                                                         PREbtIU►S BASE               RATES                                    ADVANCE P1tEH1UH~

                                                        Q, 1Lcmner8.       ,e
                                                                            on                                    $ODILY IS4JVRY              PiOPtiTY DAMAOL
                                                            Q ,~,                                  ,          ,        LtA e [LiTY               L[AnIL1TY
              Cf.AI.lftCA770L1 AND                      ~~) L~I~eS        BODILT              PRO fLlTT           •

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 av'o RETAIG, INC,

 ,)perati.ons of the NsmAI*i I,isU;^ed.                    (b)
                                     Code 93'30          1 9000,000 .12$ .028                             1
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1{infmum Premium

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o nsa     Plintea in usa.
   Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.90 Page 80 of 222



                                   AMENIDATORY EIVDORSEMENT

It is agreed that the Policy is amended as indicated by typed entries hereunder:

  ❑      Policy Number to read c

  ❑      Naase:




  ❑ Addres9:



  ❑     I.egxl Status : ❑ Individual ❑ Partneiahip ❑ Corporation ❑
                                                                                          (osber)

       Fol~c
  ® _ ....... Y Period:   `'Fiom   1-1-?2                  to .2_2$.:73                       12:01 A.M, Standard Time.

  ❑ Occupation or Business of Insared: •

  ❑ Loss Payee: 'The interest of the following Loss Payee has ceased:




  ❑     Locations:




'I'his endorsement is executed by the company below designated by aa entrfr in the box opposite its natne,

 [3 1.113T;RTY MU"i'UAL INSURANCE COI4IPANY                 ❑ LlI3E1tTY MU'1'UAL FI(tF: 1NSURAAICE COMPANY


 44
             '       EiW7YT                      ~Ff                               SiC1ifYY                     ~R


Effective llate - 1-1..72
F.xpiration Date 2-28-73 (Former],y 1-1-73)
Audit Basis
For attachment
to Policy No.      Ml-141.050531-082 .
Issued to Wolver'ine World Wide, Tnc., Etal

                                                  Counteraigned by
                                                                                   Aus:soazzm RarssswraTsys
1227 eD. 4                 Issued dtm 6-4-73 '       Sales Office and No. Gr.Rapids 474End. Scrial No: 24.
rdnt.d 1e U.S.A.
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.91 Page 81 of 222




                                          Name of Insired Endorsement



                  Wolverine World Wide, Inc.;
                  Hueh Puppies Products Division; Wolverine Brand Division,
                  Sporting Goods Division and H.P. Division    '
                 *Wolverine Westerri Hemisphere Corp.;
                  Wolverine Leather Division
                 #Clsrino Sales Corporation of Ameriea, a Division of
                  Wolverine World Wide, Inc.;
                  Bates Shoe- Compan3r, a Division of Wolverine World Wide, Inc.;,
                  Bombe,y Slipper, a Division of Wolverine World Wide, Inc. and
                  I'ru-Stitch Footwear, a Division of Wolverine World Wide, Inc.;
                  Frolic Footwear, a I}ivision of Wolverine World Wide, Inc.;
                 #Hush Puppies A.G. {Churs Mtzerland}
                  Verde Shoe Compart,y, a Division of Wolver3.ne World Wide, Inc.;
                 *Clarino Sales Corporation of Caxiada;,
                  W.W.W. Retail, Inc:;
                  United Parts Distributors of Mic,higan, Inc.;
                  Bates - Trendsetter
                  Voids and Supersedes End. #1


This endoisement is exccuted by the company below designateJ by an entry in Ehe boz opposite its name.
M LIBERTY MUTUAL INSURANCE CUIvIPANY                              0 LIBERTY MUTUAL FIRE INSURANCE (;OMPANY

i4.                       ;.
                     jIIa..M.                             ,.mm...
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                                                                                                                             L&
Countenigned                                                                Ceuntersigned by
                                AuT11061291) RlIR96tNTATt9t                                              AurRORtxYO RUi6teUTAT1YYt
fiffettive Date   1-1-72                                F.xpieation Dste     1-1-73
Audit Basis ]•,
Premium = xx^X
Foc attachment to Policy or Bond No. . LG1-141-050531r0$2
Issurd to Wolverine World Wide, Inc. , etal
                                                                                     Endorsement Scrial Afo,-.23

wo.t Uni+. t -                  IssueOn. /,.,1 _71            Sales fJtfice & No. r, v qr; ,, e ~ r7 , ` . .
      Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.92 Page 82 of 222




                                          EMPLOYEE BENEFITS LIABILITY INSURATICE
                                                      E1dDORSEMENT

The company, in considerotion of the payment of the premium, ond subject to all of the provisions of the policy not expressly
modified herein, agrees with the named insured as follows;

l. COVi:RAGE W— EMPLOYEE BENEFITS LIABILITY
The compony will pay on behalf of the insured all sums which the inaured shall become iegally obligoted to pay as damages
because of injury to the rights or interests of employees or their beneficiaries in employee benefits progroms coused_ by any Pmproper
advice, error or omission in the admEnistration of such programs by persons authorized by the insured, and the company shall have
the right ond duty to defend any suit against the insured seeking damages on account of such injury, even if ony of the allegotions
of the suit are groundless, false or froudulent, and may make such investigation and settlement of any claim or suit as it deems
expedient, but the company shall not be obligated to pay any claim or judgment or to defend any suit after the applicable limit
of the company's iiobility hos been exhousted by payment of judgments or settlements.
Exclusions: This coverage does not apply to:
(a) any claim based upon an allegedly unfairly discriminatory, dishonest, fraudulent or malicious act;
(b) any claim with respect to which insurance is afforded in whole or in part under any other coverage afforded by the policy or any
    endorsement thereto;
(c) any claim based upon the failure of the named insured or any insurer to pay or provide the benefits allegedly due under ony
    contract relating to employee benefits programs, whether such failure is due to oversight .or miscalculotion or to a difference
    of opinion as to what benefits are in fact due under the contract;
(d) any claim based upon the failure of stock or any compensation, investment or savings program to produce the financial gain
    represen',9d.

11. COVERAGE W— LIMITS OF LIASILITY
The limit of liability stoted in the schedule as applicable to "each claim" is the limit of the company's liability for oii damages
arising out of any one claim; but subject to the above provision respecting "each claim", the total liability for ali damages orising
out of all claims made during the endorsement period shali not exceed the limit of liabilitystated in the schedule as "aggregate."
If a deductible omount is stated in the schedule, the company's liability under this endorsement shall not attach to thot portion of
any claim which is within the deductible amount, provided, however, that irrespective of the amount of any claim, notice of tfie
claim shall be given by or on behalf of the insured to the company as soon os practicable and the company may, at its option,
investigate and settle the claim, in which event the named insured agrees to reimburse the company for oll amounts paid by the
company within the deductible amount.

Ill. COVERAGE W —ENDORSEMENT PERIOD
This endorsement opplies only to claims first made against the insured after the effective date hereof and during the policy period.
If during the endorsement period the insured shall become aware of any incident which may subsequr.ntly give rise to a claim
covered by this Insurance, the insured shall give notice thereof in writing to the company as soon as practicabie and any claim which
may subsequently arise out of such incident shall be deemed to have been first made during the effective period of the endorse-
ment in which such notice is given.

IV.   COVERAGE W— DEFINITIONS               When used in reference to this insurance
"administration" meons, with respect to employee benefits programs, the determinotion of tfie eiigibility of employees to participate
in such progroms, the enrollment of employees therein, the handl)ng and keeping of records pertaining thereto, the interpreting of
the provisions thereof and the giving of advice or counsel to employees or their beneficiaries with respect to their rights or interests
therein.
"damages" means those damoges which are payable because of injury to the rights or interests of employees or their beneficiaries in
employee benefits programs.
"emplayee benefits programs ` meons those group life insurance, group accident or health insuronce, pension, employee stock
subscription, workmen's compensation, unemployment insurance, social security, disabillty benefits or similar plans described in the
attached schedule of employee benefits programa. Should the insured, during the endorsement period, institute additional similor
programs, such programs are included within the meaning of the term "employee beeiefits programs" provided the company is
notified of such additionol progrom or programs within a period of thirty days after the effective dote thereof.
"insured" also includes any employee of the named insured who is authorized to act in the administration of the named insured'c
employee benefits programs.

V.    PREMIUM
The earned premium shall be determined on the basis of the averoge number of employees actually employed during the endorse-
ment period. The named in:ured shall furnish the number of his employees to the company at the close of eoch annual period of the
policy to which this endorsement is attached.




L-G2005 (10/1/66)
LC LG LM LO
Pafle 1 of 2
         Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.93 Page 83 of 222


                                                       SCHEDULE
(o) LYst of emp(oyee beneftts programs t iAnp 154ploq'ee    Benefits Program as deseribed under
    Paragraph IV Definitions."




(b)Limits of Liability:     $100, 000         each claim

                            a100 2 000         aggregate
(c)Deduttible per claim:    $ 1,000

(d) Number of Employees         5,300
(e) Rote Per Employee        Included in Composite Code No. 1111
                             Line Code 322
                            Advance Premium      $ Included jSI Ci011ripoSite
                                                                                                                                                                   a




Premium      $ Included in Compos3.te
Effective Date 1 —1-72                                                               LIBERTY MUTUAL INSURANCE COMPANY
Expiration Date 1..1-73
Audit Basis 1
For ottachment
                                                                                      A        Z „f?'/'""" ~~r—

 to Palicy No. LG1-141-050531-082
 lssued to
         Wolverine World Wide, Inc. , etal

    Work Units
 1 ---       .                                             Countersigned by ....................................................................................
                                                                                                     Authorited Representative
                                                                Sales Office and No. Gr, Rapj.ds                            End. Seria) No. 22
 L-G2005 (10/1/66)              11-27-72 mn                                                       474
 LC LG LM LO
 Poge 2 of 2

 usw i
 Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.94 Page 84 of 222




                                        AMENDATORY IIJDORSIlMIlV'1'




                   It is agrEed that the Name of Insured Endorsement Serial No. 1

         is amended as indicated hereZ.ander:


                       Add•

                           Phillip Layne Shoes Division of W. W. W. RetaiZ, Inc.




This endorsement is executed by the company below designated by an entry in the box opposite its name.
® LIBERTY MUTUAL INSURANCE COMPANY                               O LIBERTY MUTUAL FIRE INSURANCE COMPANY

A. ~~~- ~.~...< .~.~~~                                           iA. $i 4uz,                                        ~

Countersigned bp                                               Countersigned by
                        AUTHORfZED REPRESEHTATIVE                                       AUTHORSZ[D REPiE3EYTATfVE
EElective Date1-1-72                          Explrati on Date 1-1-73
Audit Basis 1
Premium $7[ X X
For attachment to Policy or Bond No.'LG1-141-050531 -082
Issued to Wolverine World Wide, Inc. , Etal
     ~                                                                                               .
     4                                                                  Endorsement Serial No. 21

wati u«. t—             Yssued 11-27-72 mn Sales OEfice & No. {h.. Rapids         474
                                                                                                         -
                 Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.95 Page 85 of 222
                                                 I



                                          MISCL_~__.EOUS CHA,NGE ENDORShaffi_. r
                                                               (General Liability)
  The policy declarations are amended by the changes entered below:
  Change A— Policy Period: From                                                                 To
   Change B—Mail Address

                         Location: (Enter same if same Location as above address)


 hange C— Hazard(s )                                                                             Coverage Code: B. I. 31$ P. D. 338
                                  Terr.     Prenuum Bases                Annual Rates                                  Advance Premiums

                                  Code
                                  No.                          Coverage A       Coverage B       Coverage A     Coverage B     Coverage A                 Coverage B
                                             Sa1es




!AY Sr1IPPER. INc: '
operat3.ons of
Named:Insured                    9880 3,000,000                         138               031              o be


                                                                                                     Ad u ted
-LIP LAYNE SHOES .
:SION OF W. W. W.                                                                                        oi A udit
si,. arc. .
opera:bions of
Named rn.sured                    9880      if any                      138               031

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 ...                ~
       -    -•      ~
                    a                                                                                                     —
- Minimum Pfemium
                    ;
       If Policy l~eriod more than'.one year, premium is payable:
       On efEecti4 date of policy $              lst Anniversary $                              2nd Anniversary $
justment of pr~mium shall be made at Eapiration Q, Annuai Q, Semi-Annual fl, Quarterly C], Monthly Q, Flat Charge Q

                    iI                                                                          Periodic Pa ment $
                    's
           Premium ;$To be Adjusted on Audit
           Effective Date                            Expiration Qate                               LIBERTY MUTUAL INSURANCE COMPANY
                    1       ~ -1-7z                                     1-1-73
           For attacbment to Policy or Bond No, LG1-141 _050531-082
                                                                                                                             .,/                  ✓
           Audif '8asis 1                                                                    ~u            ,~~ ✓il.s~.6 ,~✓~
           Issued to, Wolverine World Wide, Ine. , Eta1
                    I

           work units i _
                                                                       Countersiflnedby                                                .............•-............
                                                         f~                                          ~      Authorked Representefive
           [m,. (a 45906        Issued .11-2742 mn Soles Offlce and No. Gr. Rapid". serlat No. 20
           (Z/b9j       Prio+ed re                                      474
                Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.96 Page 86 of 222
                                                          ~                                                           ~t
                                 This endorsement modifies such insuronce as is afforded by the provislons of the policy reiating
                                 to the foiiowing:
                                                      COVERAGE A— BODILY INlURY LIABILITY
                                                      COVERAGE B— PROPERTY DAMAGE LIABILITY




                                                                   ADD1TifONAL INSURED
                                                           (Premises Leased to t4re Named Insared)

       It I's ogreed that the "Persons lnsured" provision is amended to include os an insvred the person or orgonization designated below,
       but oniy yiith respect to liability arising out of the ownership, n►ointenonce or use of thot port of the premises designated be(ow
       leased to the nomed insured, and subject to the foiiowing additiona( exclusions:
       The insuronce does not app(y:
             1. to any accurrence which takes piace after the named insured ceases to be a tenant in said premises;                      0
             2. to structural olterations, new construcfion or demolition operations krformed by or on behalf of the person or organization
                designated below.

                                                                           SCHEDULE
                                                                                                                                                      Prerniurru
   Loca'                     Designation of Premises                                 Alame of Person or Organization                         Coveroge A Coverage 8
    tion                                                                                  (Additional Insured)                                  BocJily  Property
   No.                   (Part Leased to Named insured)
                                                                                                                                                in)ury   Damape .
                                                                                                                                              l.iobliity Liabiiity.


            1250 E. Superior, A3ma, MI                                   N. Victor Fetzner and
                                                                         Naomi Fetznex°
                                                                         805 Wright Ave. , A1ma, MI




                                                                                                         L)BERTY MUTUAL INSUiL1NCE COMPANY

        PremEum      $ Included in Composite
                                                                                                           ~.
        Effective Date 1 —1 a.72
        Expiratton Date 1-1-73
        Audit Bosis 1
        For attaChment                                                                                       ~
        to Policy Nc. LG1_141-050531-082                                                                                 ~
                                                                                                              r
                                                                                                                                                      5>EMZraux
        Is:ti,ed to Wolverine World Wide, . Inc. , Ete1:,
                                                                       cOttrlReRiQn6d 1{y~ • ................... ./Nrihorfzad Repnssutotiw..............................
;; •    Gio~                 )                                                            .
;.I ~._,•. ,;~ ~i:                                 !icsued 11--~7-72 ~ ~' S,G                     No. ~t No.19
                                                             ~ s ~                                ids
           12        1                                                        i        ~~4                                                                                       •   .
                                                             ~;   •         .~;~        • i>: ~                                                                       ::~~..,~~. .
 Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.97 Page 87 of 222




                                      Amendatory Endorsement

                It is agreed that Such Insnrance as is afforded by the policy
                for the Retail Stores operated by W.W.W. Retail, Inc. at the
                locations listed below, does not apply for the period from
                January 1, 1972 to Sept. 5, 1972.

                          Locations:
                         Nx'
                          110 Congress St., Portsmouth
                          429 Central Ave. , Dover
                          35 N. Main St., Rochester




This endorsement is executed by the company below designated by an entry in the box opposite its name.
® LIBERTY MUTUAL INSURANCE COMPANY                               CJ LIBERTY MUTUAL FIRE INSURANCE COMPANY

i~k ~/~~— ~.~,..~ ,~,,.~~l~                                                             ~.-~
                                                             i~cc ~i~~ ,,.~,~,..~ ,~•..~~

Ccuntersigned                                              Countersigned b'y
                        AUTHofIIZED REPIlE7EAITAT[VL   .                             AUTHORIZED REPRFSEYTAT[YE
Effective Date 1.=1-72                     Expiration Date 1-1-73
Audit Basis 1
Premium $ xcx7c
For attachnient to Policy or Bond No.' LCs1-141-050531-082
Issued to Wolverine World Wide, Inc., etal

                                                                     Endorsement Serial No.    1$

iy«t u~Ia i-            Issued j d 10-25-72--Saies Office & No. Gr • NaPids 474
      Case 1:19-cv-00010-JTN-ESC
                           . ..  ECF No. 1-1 filed 01/07/19 PageID.98 Page 88 of 222



                                  AMENDATORY ENDORSEMENT

It is agreed that the Polic-y is amended as indicated by- typed entries hereunder:

  ❑    Policy Number to read:

  ❑    Name:




  ❑    Address:




  ❑    I,egal Status: '❑ Individual     ❑ Partnetship      ❑ Corporation ❑
                                                                                          (oear)

  ❑    Policy Period: From                                  to                               12:01 A.M. Standard Time.

  ❑   Occupation or Business of Insured:

  ❑    Loss Payee: The interest of the following Loss Payee has_ceased:




  21 Locattonsc Add:         1250 E. Superior, AJ.ma, MI



This endorsement Is exccuted by tha company below designated by an entry in the box opposite its name.

 EX LII3ERTY MU1'UAL INSURANCE CUMPANY                        p LIlIER'1'Y MU'I'UAL Flltk; 1NSURANC.E COMPANY


 A-a
Effective Date 1-1-72
                                                                  A.                 s~..~                         ~,~....

Expiration Date 1-1-73
Audit Basis 1
For attachment
to Policy No. LG'1—'641 -050531 -082

Issued to Wolverine World Wide, Inc. , Ets.]_

                                                   Countersigned by
                                                                                     AVTtioAiZlD REra8e8NY'Al2YE

1227 F.o. 4             Iasued 11-27-72 tan           Sales Ogice and No: (}r. Rapide. End. Serial No. 18A
rrintea i• Ps.+.                                                                4~~     (Compat~y record8. -ozl,y)
             Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.99 Page 89 of 222
                                             •                           ,                                 !



                                      riIISCELLANEOUS CHANGE ENDOftSEMENT
                                                         (General rAabiliity)
   The policy declarations are amended by the changes entered belo*:

   Change A--Poticy Period: From                                                              To
    Change. B—Mail Address

                     Location: (Enter same if same I.ocation as above address)


 ;hange C--Hazard(s)                                                                          Coverage Code: B. I.
                              Terr.     Premium Basea           Anaual 12ates                                            Advance Premiums

                              Code                      Per $1.000 of Sales
                               No.       $aleg           C,overage A      Coversge B           Coverage'A        Covrnge B        Coverage A            Coverage B

                                                         Revieed
                            9380                              ,138

 id •
imeron Athletic
)r oration

:1 operations of
.ze Named Insured 9380                  300,000               .138                ,031             To be adjiisl ed
                                                                                                     at a dit ..




— Deposit
— Minimum Premium

        If Policy Period more than .one year, premium is payable:
        On effective date of policy $            Ist Anniversary $                           2nd Anniversary $
djustment of premium shall be made at Eapiration Q, Annual Q, Semi-Annual Q, Quarterly ~, Monthly Q, Flat Charge E]

                                                                                             Periodic Pa ment $

           Premium $ To be adjusted at audit
           Effective Dote   6-23-72           Expiration Dnte 1-1...73                            LIBERTY MUTUAL INSl7RANCE COMPANY
           For ottochment to Policy or Bond No. LG1-141--050531--082
          Audit Bosis 1                                                                    A.              ~~ ✓i1~~ .i~al~~
          Isseed to Wolverine World Wide Inc ., etal


          worr Units i -
                                                             Countersipned by ........... . .......... . .....................................................
                                                                                                      AWhorized Reprscentetiva
           L-G f' j®O6       issued jd 10-12-72 soies office ond No. Gr. lRe.pi$eEnd. Scrioi No. : 17
           (2/69)     Primftd i. us.n.                                 474
   Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.100 Page 90 of 222
                             . . ~                ' w         'C—_ •
                   This endc. iment modifies such insuranee a. Is afforded by the
                   provisions of the policy relating to the following:
                                COVF,BAGE A- BODILY TNJURY I,IABIL'Tx'Y
                                C OVERAGE B- PROPERTY DAMAGE L IAB IL ITY
                                COVERAGE P- PERSONAL INJiNRY LIABILITY




                                  ADDITIONAL IldS[1RED - PROIATCTS LIABILITY

          It ia agreed that the "Persons 7nsured" provision ie amended to include
          as an insured the organization named below, but only with respect to the
          product designated below.


          Name -of Organization                                             ,... , -Product
                                                                         Applicable

          Cemeron Athletic Corporation                                  n-SWZpLEft TM
          2719 Iiillcraft, Houston, Texas                                  ATHI;k~TIC SHOE.I' ..


          Dode 9380 - 300,000 sales - Premium Included a.n Composite note.




This endorsement is executed by the company below designated by an entry in the box opposite its name.
® LIBERTY MUTUAL INSURANCE COMPANY                               ❑ LIBERTY MUTUAL FIRE INSURANCE COMPANY

A.0~'~'~              ur


Countersigned by     —                                     Countersigned by       ._                                   -- -
                                                                                       ACTNOlI7.ED REPRi.SE11TATIt'E
                           A ti7fi0RlZED REPRESE\TATIYE
Effective Date 6-23-72                 Expiration Date 1..1-73
Audit Basis     1
Premium $ Included in Composite
For attachment to Policy or Bond No. LG1-141-050531-082
Issued to Wolverine World Wide, Iuc., etal
                                                                    Bndorsement Serial No. 16

wati Unies I—              Issued j d 10-12-72 Sales Office & No. Gr. Rapide 474
     Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.101 Page 91 of 222




                                          CHANGE OF LIMITS OF LIABILITY ENDORSEMENT

It is agreed that the limit of the company's liobility ogainst any coverage below with respect to which a typewritten entry appears
shall be as stoted by such typewritten entry, subject to all of the terms of the policy having reference thereto and to any special
provisions stated herein. The rates and advonce premiums for rhe coverages to which this endbrsement opplies are stated in the
schedule ottached.


                           COVERAGES'                                                           LIMITS OF LIABILiTY


 COVERAGE A— Bodily lnjury Liability                                 $     250,000                               each person


                                                                     $     500,000                               each occurrence
                                                                     $     500,000                               aggregate

 COVERAGE B— Property Damage Liobitity                               S     100,000                               eoch occurrence


                                                                     $     100"000 `                             aggregate

 COVERAGE E —PremisesMedfcal Payments                                $                                           eachperson

                                                                     j                                           eoch accident

 COVERAGE P— Personol Injury                                         $                                           eoch person aggregate

                                                                     $                                           general aggregate
'NOTE: The particulor policy to which this endorsement applies may not include all coverages listed.


                                                        SPECIAL PROVISIONS

l.     PROJECT OR PREMISES: If a prcject or premises ore designated herein, the above limits of liabiiity apply only to loss aris'ng
       out of such project or premises.




2. OTHER (Specify):



                                                                                              LIBERTY MUTUAL INSURANCE COMPANY
Premium     $ To be adju.s'ted by audit
Effective Date ' , , f 642 ; .
Expiration Date  1 _'I _'73                                                                                                                   PRESIDENT

Audit Basis      1
For attochment
to Policy No. T,G1 _1 41-05053'1-082
                                                                                                                                           SECRETAflY
lssued to     Wolverine World. Wide 7nd., eta1

     Work Units
1-

L-G6002(10/1/66)                                                   Countersigned by ..........................................................................
                                                                                                           Aorired
                                                                                                            uth    Represenletivo
LC LG LM LO
Paqe 1                         Issued              G7   Rapi.ds    4.7
                                                                     14             Endorsement Serial No. 15
 Q~INkJ
 „~.                           5--.6 _.72    _ls
            Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.102 Page 92 of 222



   4, Declaralions — Schedule —
  ral Liabilitv Hazards
                                                        PREMIUM BASE                RATES                        ADVAISCE PR8HIU1tS

                                                    (a) Rem=ers Per 1000 Sales                          BoflILY I~Iv■Y       PForuTT    DAMACL
                                                                                                          I.IABiLITY            I.iAIiLiTY
                CLA1127iCAT7or( AXrI I.00AT10R1
                                                           t~.oTl       BCoiLY              PROPLFT7
                                                    ('6Y-Sales
                                                    1                  (.IAniLITY           °~: «i`Y   Code 318               Gode 33$

  )LVERINE WOR.LD WIDE ING; WOLVMNE
  jATHER DIVISION HITSH PUPPIF.S                                       REVI
 tODUGTS DIVISIQN; WOLVERINE BRAND
 :VISION; SPORTING GOODS DIVISION,
  fD HP DIVISION


 Ll operations of the Named Insured                       (b)
                           Oode 93$0                    75,000,000 .137                .031            to be adjusted to be adj--
                                                                                          •             at audit        at audi-




= Minimum Premium

cPo:7sa P~nied IFu.sa.                                                                            Page No. 2 of End. Serial #15
                               LG1-141-050531-082
           Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.103 Page 93 of 222




 1 4. Declarations — Schedule --
 ,rel 71ahilitv Hazards
                                                  PRE11iUl! SASE             KATES                  ADVANCE PREbtIUMS

                                                  (a) Remnner Per 1000 Sales               sDD,LY  ix,U.Y      PltDettTY DA>.ACX
                                                                                             LiABIL3TY             I-IADIL]TY
                C[.Lsit7teAT70N AND iAGITLORL
                                                      ation     $OD1LT  pRD►C1TY

                                                  (b) Sales    L~~mt~~Y °;; t~Y                 318                     338



ITFS SHOE COMPANY, A DIVISION OF
 )LVERINE TnIORLD WIBE . INC ,                                     RETTI S                Z`o 'b e ad j us ed at audit


 L1 operations of the Named Insutred                  (b)
                          Code 9350               10,000,000 .137               .031




= Minimum Premium


ePo 2753   ►.I.Id i. u.SA    LG1-141-050531-0$2                                        Page No.3 of End. Serial #f`15
           Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.104 Page 94 of 222
                                                   ®                                                1•


  4. Declarations — Scbedule
 ral Liability Hazards
                                                           PREMIUM BASE '                 RATES                              ADYANCE PRELtIU/i0

                                                         ~la   ) Rem~uner
                                                                   y        per   ~0~/Q of S~                 ~'
                                                                                                                    BODILT INJtJRY
                                                                                                                      LIADILITY
                                                                                                                                         PRO}ERTY DA4AGt
                                                                                                                                            L1AlILITY
                  CLAN/IllCAT70M AlID LOCAT7011/
                                                                 a IJlOn      BODILT   PROfEnTT

                                                         (b) Sales           LuarlLmiTT           °;.", ~TY          318                     335

 MAY SLIPPER, A DIVISION OF WOLVERINE
 )RLJ WIDE & T8U-SI'ITCH F'OOTWEAR, A
 =VISION OF WOLVMIN.E WORLD WIDE INC.                                            REVI -ED                          TO BE ADJUS' .D AT AUDIT


 1-1 operations of the Named Insured                          (b)
                                             Code 9380     10,000,00        .137             .031




MinEmum Premium


10:7ss   Pr(Ned   ,nu.s.A. LG1-141-050531-052                                                            Page No. !+ of End. Serial #15
           Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.105 Page 95 of 222




 4. Declarations — Schedule —
 •nl i inhilitv Me2atds
 r         ,                                            PRBMIUM BASE                  RA2E5                              A➢VANCH PREMIU►!9
                                                        a      emuner                                       BantLY   IxluaY         P:OrcarY DALAGC
               CLA.lIl[4T70k AND I.00ATION,                   at10n
                                                                        per 1000 of Sale                      LTAD[L17Y                 I-IAi1lt7T
                                                                          SODILY              PROf•t1tTY
                                                                          IxJvaY               DAf1AGL         ^1    ~                       ~
                                                      C {,J   17a~e9     I.IADTLITT           L1A aIL17Y      j




 tOLIG FOOTWE',AR, INO.                                                        REV SE;13                   TO BE ADJUSTO AT AUDIT

.1 operations of the Named Insured                        (a)
                        Oode 9380                      15,000,000        .137             .031




Minimum Premium


Po27ss P~,odMU.s.A.             LG1-11+1-050531-0$2                                              Page No. 5 of End. Serial No. 15
             Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.106 Page 96 of 222



   4. Declaralions — Scbedule —
  -al Liabililro Hazards
                                                    PREM[UM BASB              RATHS                         ADVANCE PREMIUMS

                                                   (a) Remuner Per 1000 of SaWl                    $ODILT sK,U1LY      P10►LiTT DAMAOL
                 C1.A{tViCATipL AAD LOCAY70Ms                                                        LIABtLiT♦            LtA111L1T7
                                                                    BOD1L[            PRo.txTY
                                                       $tlon

                                                    b) Sa.les      LtAatwrr           °.: ~Kr       318                     338



  RUE SHOE CONIPANY, A DIVIS.ION OF
  LVERTNS WORLD WID.E, ING.                                            PtLM SED                  TO BE ADJUSTID AT AUDIT


 I operations of the Named Insured                    (b)
                         Oode 9380                 11000,000       .137          .031




= Minimum Premiuni

Po:7sa PriBteeIBu.sA         LG1-1l~1-050531-082                                         Pege No: 6 of End. Serie~7: #15
            Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.107 Page 97 of 222
                                                                                                 E


   4. Declarations — Scbedule —
  -al liability Hazards
                                                          PREM[UM BAS£               RATES                            ADVANCE PREMiUlt9

                                                           a. Remuner P~ ,                                 soo11Y    IHJVpY      P,op::TY   DAMAGL
                (~.LAAsI71GAT70Sf A11D LOG4701fs               a1-iOn                                           L1AfILITT           LtA.ILIrT
                                                                l~        $0U1LY             P.O~C1T7
                                                                          INjy
                                                           ~             LIAn[LITY           LU[A31 LITY       318                   338




  W.W. RETAIL, ING.                                                          RLVISRD                        TO BE ADJUSTI D A.T. AUDIT



 1 operations of the Na.med Insured                            (b) .
                                              Code 9350   1,000,000      .137           .031




= Minimam Premium


~Po 2759   Printed In U.Sa. LG1    _1 41-050531 -0$2                                         Page No . 7 of End . Seriel #15
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.108 Page 98 of 222
                                              ~•                                                  ~
                                              AML....MENT OF CANCELLATION CONDITION
                                                                (Michigan)

It is agreed that the first paragraph of the Cancellation Condition is amended to read as foliows:
         This policy moy be cancelled by the named insured by mailing to the company written notice stating when thereafter the can-
         cellotion shall be effective. This policy moy be cancelled by the •company by mailing to the named Insured at his address
         last known to the company or its authorized agent written notice stating when not less than ten doys thereofter such concella-
         tion shall be effective. The effective date of concellation stated in the notice shall become the end of the policy period.
         Delivery of such written notice either by the named insured or by the company shall be equivalent to moiling.




                                                                                          LIBER7Y MUTUAL INSURANCE COMPANY




Effective Date                                                                                                               Ptu•s[nsxr
Expirotion Date


For attachment
to Policy No.    LG1m14', -0505314082                                                             ~.          •                 ~~--'
Issued to                                 '                                                                                 5EQtErA8Y



                                                            Countersigned by~          .~__
A0002, G503 (10/ 1/66)                                                                          Authori:ed Reprcientafive

ta„d                                                                                     P-ndorsement No. 14
 u.sA.
       Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.109 Page 99 of 222




                     This endorsement modifies such insurance as is afforded by the provisions of
                     the policy relating to the foliowing:
                                        COMPREHENSIVE GENERAL LIABILITY INSURANCE
                                 COMPLETED OPERATIONS AND PRODUCTS. LIABILITY INSURANCE
                                             CONTRACTUAL LIABILITY INSURANCE
                                  MIANUFA.CTURERS' AND CONTRACTORS' LIABILITY INSURANCE
                                OWNERS' AND CONTRACTORS' PROTECTIVE LIABILITY INSURANCE
                                  OWNERS', LANDLORDS' AND TENANTS' LIABILITY INSURANCE
                                  SPECIAL PROTEC'PIVE AND HIGHWAY LIABILITY INSURANCE—
                                          NEW YORK DEPARTtvIENT OF PUBLIC WORKS
                                                        STOREKEEPER'S 1NSURANCE


                                                                EXCLUSION
                                                     (Contamination or Po[lution)

 It is ,agreed._that.the.insurance does. not .apply to bodily injurp or .property,da msge. arising out .pf the discharge, "dispersal, release or
escape of smoke, ~apors, soot, fumes, "acids, aikalis, toxiC chemicals, liquids or gases, waste materiais or other :irritants, contaminants or
pollutants,into. or.:upori land, the atmosphen: or.any watercourse or body of water; but this exciusion does not apply if such discharge,
dispersal, reieaseorescape,is.sudden. and.accldental...:.,,
This endorsement does not appiy to operations or occurrences in the foliowing states:
                     Marylond
                     New 1-lampshire
                     North Carolina
                     Vermont




 Premium $
 Effective Dote                         Zr.piratioo Date                                         LIBERTY MUTUAL INSURANCE COMPANY
 For attachment'to Policy or Bond No_ L G1 W141 -05Q:31 -082
 Audit Basis
 Issued to                                                                                         ~3-~                                                .,~.

 wort 11n9t: 1 —
                                                               Countersigned by .........................       .. ..   ........ .........................   ..
                                                                                                            Authorized Representetive
                    hinted
 G335 Ed 2 u.sA                IssUed                      Sales Office and No,                    i End. Serial No. 13
  Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.110 Page 100 of 222
                                       0    lrviiuz Ur Uru1v2.i.,ft1tvir                   0

 T"r: s insurance will not be cancelled by this insurance company nor any changes
 ms.de in the policy which change, restrict, or reduce the instzrance provided or
 cYange the name of ttie insured, without first giving ten days notice in writing
 to the Consumers Power Company, Jackson, Michigan, as evidenced by receipt of
 registered letter,

 lt is aga°eed +hat the above Notice of Cancelation applies in respect to the
 f6l_1ow-"ir_g de9igr,a,ted premises :
                      Desigmation of Premises for Consumers Power Company
                                 (Part Leased to Nemed Tnsured)
     A parcel of laY;d in the Uil oi" lu.1!:e NEg of Sec. 22, T13N, R.11W, Deseribed
     as beginning at_a point on the center line of the former Whitney Bridge
     Road 1001 Southeasterly of the water t s edge of the Muskegon River (Eiardy
     Pond), meaeured along the center line o£ said former Whitney Bridge Road;
     thence Southeasterly along the center line of said road 2401 ; thence N
     56 degrees OOt00tE., 4801 ; thence N 20 degrees 001001' W, 2701 to the
     water's edge of said Muskegon Rive~ (i~ardy Pond); thence Southwesterly
     along the waterts edge d said.Nfuskegon Ri.ver (Hardy Pond) 4001 2 more or
     less, to a point 300, Nort&easterly of the center line of said former
     Wh-itney Bridge Road, measured along the water t s edge of said Mizskegon
     River (He.rdy Pond); thence Southeasterly parallel with the center line
- ..of.said forme.r Whitney Bridge Road 1001 ; thence Southwesterly parallel
     with and 1001 di.stant from the waterts edge of said Muskegon River (Hardy
     Pond) to the place of beginnirig.
 Tt is agreed t_nat:
Tne deLignation of bremises as shown above is amended to include the following:
     The entire grounds, bui.ldings and all equipment used thereon, including
     but not specificall,y limited to saddle horses, sa3lboats, canoes, rowboats
     and motor-roalv-s9 if any, used on or off said premi.ses.




   This endorsement is executed b}r the company below designated by an entry in the box opposite its name.
   ® LIBERTY MUTUAL INS[TRANCE COr4PANY                              0 LIBERTY MUTUAL FIRE INSURANCE COMPANY

   /4. ~. 4-~,
            s=c,.a
                   ~.~.~~,~.~wc..~~f
                                 r..w,.
                                                                          4. 'e, 4--,
                                                                                  aww K
                                                                                        ..~.~...<,e~~.~
                                                                                                    rw...,.

   Countereigned by____._._--___                                        Countersigned by
                              AUTHORiZED REPRESfNTAT1VE                                          AUTHORIZED REPRFl8NTATIVE
   Eflective Date                                Expiration Date
   Audit Basis
   Premium $
   For attachment to Policy or Bond No.* LG1 -1 1+1-050531 -082
   Issued to

                                                                                 Endorsenent Serial No. 12

   wak ynin t-                Issued                      Sales Office & No.
Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.111 Page 101 of 222




                                             PRffMtUM DISGOUNT IEiVDOR9EMEiVT
                                          (Antomobile and General Llability ttuirrance)


It is agreed thot the Totai Stondard Premium    for this poliey is sub)ect to discount in occordonce with the eontpanyrs manuois,
subfect to the foilowing:
           The Total Standard Premium for this policy shall be the premium (overoge annual premium for poiicy terms of mota
           than one year) for Liabiiity, Elevator Coliision and Medicai Payments insurance computed in aecordanee wlth ft '
           provisions of the poiicy other thon this or any other premium discount endorsement and ex<iusive of the adlustmentt
           resuiting from the appiication of any retrospective rating pion.
     2. The following eiements of the 'i'otai Stondard Premium are not subJect to discount:
          (a) Any premium for insuronce in the state of Louisiana;
          (b) Any premium for Automobite Liobility Insurance In the Commonweaith of Massachusetts;
          (c) Any premium subject to retrospective rating.
     3.    With _ respect to the appiication of the premium discount percentoge to Virginia lnsuronce premium, the appllCabte
           discount percentage for Generol Liabiiity premium Is based on the totol standard premium for Generai Liobiiity Instxancs
           ond the applicable discount percentage for Automobiie Liability is based on the total standard premlum for Autorttobile
           Liability, including Garage Liability.
     4. The premium discount percentages for Texas insurance premium ore to be computed in accordance with the ptovisions
          of the Texos Premium Discount Pion.
      5. The provisions of thEs endorsement aiso oppiy with respect to the poiicies designated below:


                          POLICY NUMBER.S                                                                  ESTIMATED STANDARD PREMIUM

                    LG? G1 l,.1 -050531-082                                                                      17,442.
                    01=1 41 -050531--092                                                                  To be determined




This endorsement is executed by the company be!ow designated by an entry in the box opposite its nome.

Premium b                                                                        PS LIBERTY MUTUAL INSURANCE COMPANY
Effective Date                        Expirotiort Dote                           0 LIBERTY MUTUAL F1RE INSURANCE COMPANY
For attachment to Poiicy or Bond No. -L G'1-- 1 Lj.1 -05053-1 —Og2
Audit Basis                                                                                ~
                                                                                     ~!!!C y./ ~✓~~icoo~.~`~
Issued to



wcrk Unitt i --
                                                        Countersigned by ...........................    ......... ......... . ... ...........................
                                                                                                       Autharised Repretenfetiw
                           issired                  Sales Office and No.                       End. Serlal No. 11
 2271         ~'`
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.112 Page 102 of 222




                                          MALPRACTICE ENDORSEMENT

        It is agreed t:h.at malpractice, error or mistake in rendering or failing
        to render medical, surgical, dentaZ, x-ray, cosmetic, tonsorial or other
        prafessional or sanatory service or trea+.ment sh..e11 be deemed an
        oc ~a; rence, and +hfS+ all mal.psaetic59 error or mistake in the rendering
        C~.''0 c',1TiiS.4ifJ;1 iff'` S:ic~: E4e.P1:'1.•'_':Fs +3.` fI"ratmeTtt to arty one person shr8.11 be
        deemed one OCvu2'ren:,°e.

        It is further agreetl tha.t the pravisions of this endorsement also apply
        to physicians and registered nurseS, as insureds, only provided such
        physicians or registered nurses are employed by the named insured and
`       are acting within their capacity as such in behalf of the named insured.

        The ir.clusicn of such insareds shall not operate to increase the limits
        of the Companyts liability.




    This endorsement is executed by t:ie company below designated by an entry in the box opposite its name.
    ® LIBERTY MUTUAL INSliRANCE COMPANY                               O LIBERTY MUTjJAL FIRE INSURANCE COMPANY

    A. ~~~-~,.~.~a...<,~.~~~~
                           P,~...,                                       i~a ~A~_
                                                                               s~..*
    Countersigned                                                      Counters4gned by
                             AUTHORIZEO REPAESEN7A21VE                                         AU7HORiZEO REPRF3E\fA7IYL
    Effective Date                           Expiration Date                                                               .
    Audit Basis
    Premium $ Ineluded in Composite
    For attachment to Policy or Bond No. LG1-1 41-050531-082
    Issued to

                                                                                Endorsecnent Serial No. 10

    war ynil. t— ,           Issued                      Sales Office & No.
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.113 Page 103 of 222




                                           PERSONAL INJURY LIABILITY INSURANCE
                                                          ENDORSEMENT

The company, in consideration of the payment of the premium, and subject to all of the provisions of the policy not expressly
modified herein, agrees with the named insured as follows:
1. COVERAGE P—PERSONAL INJURY LIABILITY
The company will pay on beholf of the insured all sums which the insured shall become legally obligated to pay as damages
because of personal injury, and the company shall have the right and duty to defend any suit against the insured seeking damages
on account of such personal injury, even if any of •the ailegaticns of the suit are groundless, false or froudulent, and may make
such investigation ond settlement of any claim or suit as it deems expedient, but the company shall not be obligated to pay ony
c[oim or judgment or to defend any suit ofter the applicable limit of the company's liability has been exhausted by payment of
judgments or settlements.
Exclusions: This coverage does not apply to personal injury arising out of:
(a) acts committed by or at the direction of the insured for the purpose of caus)ng injury;
(b) breach of contract or agreement;
(c) advertising, broadcasting or telecasting activities conducted by or on beholf of the named insured;
(d) discrimination by reason of race, color or creed which is unlawful under State or Federal [ow.
11. COVERAGE P-- LIMITS OF LIABILITY; INSURED'S PARTICIPATION
The totol liability of the company for all damoges because of all personal injury to which this coverage applies, sustoined by any
one person or organization, shall not exceed the limit of personal injury liabflity stoted in the schedule as "each person aggregote."
Subject to the above provision respecting "each person aggregate;' the total limit of the company's liability under this coverage
for all daroages shall not exceed the limit of personal injury liability stated in the schedule as "generai aggregate."
lf a participation percentoge is stated in the schedule for the insured, such percentage of the loss shall be borne by the insured;
provided the company may pay the insured's portion of a loss to effect settlement of the loss, and, upon notification of the action
taken, the named insured sholl promptly reimburse the company therefor.
I I1. COVERAGE P— POLICY PERIOD; TERRITORY
This policy also applies to personal injury which occurs during the policy period within the policy territory; provided, however, that
personal injury orising out of a series of publications or utterances of the same or similar defomatory material shall not be con-
sidered as occurring during the policy period unless the first publication or utterance thereof occurs during the policy period.
iV. COVERAGE P — DEFINITIONS
"damages" also includes any damages which are payable becouse of personal injury to which this policy applies;
"per=onal injury/' means (1) any injury to the feelings or reputation of a natural person, including mental anguish, and (?) any
Injury to intangible property sustained by any organization as the result of false eviction, malicious prosecution, iibet, siander or
defamation; but the term "personal injury" shall not include injury included within the definitions of "bodily injury" and "property
damage,"
                                                               Sehedule
                Limits of Liabi[ity                                      $ 100, 000                            each person aggregate
                                                                         $      300'000                        general aggregate


                lnsured's Participation                                                                       per cent


                Code 9840


                                                                                                 LIBERTY MUTUAL 1htSURAP)CE COMPAI`iY

Premium $ Inc7.uded i.n Composite
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Effective Date                                                                                                                                   PxrsIDEx!
Expiration Date
Audit Basis
For attachment
to Policy No.   LG1--141-050531-082
issued to

                                                         Countersignedby ........................................................................................
                                                                                                  Authorized Repramntative
L-G2004 (10/T/66)
LC LG Lla1 LO                                                                                    Endorsement No. 9
printb
 in
U.SA
      Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.114 Page 104 of 222
                                             0                                                       •



                     This endorsement modifies such insurance as is afforded by the provisions of the policy reiating
                     to the following:
                                            COVERAGE A— BODILY 1NJURY LIABILITY
                                          COVERAGE B— PROPERTY DAMAGE LIABILITY




                                               CONTRAC'i'UAL LIABILITY INSURANCE
                                                            ENDORSEMENT
                                          (AlI Written Contracts Exeept incidental Contracts)
It is agreed that:
I. CONTRACTUAL LIABILITY
Coverages A and B also apply to iiability assumed by the natned insured .under an insured contract, subject to the limits of liability
and other provisions of the policy applicable to Coverages A ond B, except as expressly modified by this endorsement.
The company will defend any claim or suit against the indemnitee which the named insured Is required to defend by the specific
terms of an insured cantract, but only to the some extent and on the same terms as if the indemnitee were the insured under the
policy and then only if oll of the following conditions are satisfied: (1) the ciaim or suit seeks damages for which the indemnitee
is legally entitled to indemnification under the insured contract, (2) the policy covers such damages and (3) the applicoble fimit of
the company's liability with respect to such damages has not been exhausted by payment of judgments or sett(ements.

II. EXCLUSIONS
All exclusions, including exclusion (e), applicable to Coverages A and B apply to liability ossumed under an insured contract, except
exclusions (a), (b), (c) and (h). The following odditional exclusions apply to such liability:
The insuronce does not apply
(1) to any bodily injury or praperty duntage which does not arise out of (a) operations performed or services furnished by the named
    insured or (b) operations performed for or property furnished to the named Pnsured or (c) the maintenance or use of real or
    personal property owned by or rented to the named insured or of easements or other property rights or privileges granted to the
    named Insured or (d) the handling or use of ar the exlstence of any condition in the named insured's produets;
(2) if the indemnTatee is an architect, engineer or surveyor, to bodily injury or property damage orising out of any professional
    services performed by or for the indemnitee, including (a) the preporation or approval of mops, plans, opiniona, reports, surveys,
    designs or specifications and (b) supervisory, inspectian or engineering services; provided that with respect to the Architect, his
    agents or employees described in the indemnificotion clause of any Standard American Institute of Architects Contract Documents
    forming a part of on insured contract, the following exclusion is substituted: The insurance does not opply to the liobility of the
    Architect, his agents or employees arising out of (1) the preparotion or approval of maps, drawings, opinions, reports, sunreys,
    change orders, designs or specificotions, or (2) the giving or failure to give directions or instructions by the Architect, his agents
    or employees, provided such gfving or failure to give is the primory cause of the bodily injury or property darnage.
(3) to any agreement (a) to pay for property damage to property owned by, rented to or used by the indemnitee arising out of opera-
    tions performed for the named insured by the indemnitee or (b) to poy any fines, penoltie$ or liquidated damages or (c) to pay ony
    amounts or benefits on account of bodily injury or property damage in excess of such compensatory damages as would be recov-
    eroble therefor in an action of tort for ordinary negligence or (d) if the indemnitee Ps an employee of the named insured, to poy
    ony omounts or benefits on occount of his bodily injury in excess of those for which the named insured or any carrier as his in-
    surer may be held liable under any applicable workmen's compensation, unempioyment compensotion, disability benefits or simi-
    lar law or (e) if the indemnitee is an employee of the named insured, to pay on behalf of or to indemnify the. indemnitee with
    respect to bodily injury sustained by a fellow employee arising out of and in the course of his employment by the named insured.

III. ADDITIONAL DEFINITIONS
When used in reference to this 9nsurance (including endorsements forming a part of the policy):
"indemnitee" means the person or organization claiming indemnification from the named insured.
"insured contract" means any written controct made prior to the accurrence giving rise to the bodily injury or property damage
with respect to which indemnification is claimed, but insured contract does not inciude (1) an incidental eontract, (2) a warranty of
fitness or quality of the named insured's products or (3) a warranty that work performed by or on behalf of the named insured will
be done in a workmanlike manner.

IV. ARBITRATION
The word "suit" includes an arbitration proceeding to which the insured is required to submit by the terms of the insured contract
or to which the insured has submitted with the company's consent, provided the compony is entitled to exercise oll of the insured's
rights in the choice of arbitrators and in the conduct of any arbitration proceedings.

V. LIMITS OF LIABILITY
The limits of liobifity stated in the declarations as opplicable under Coverage A—Bodily (njury Liability—to "each person' anci
"each occurrence" and under Coverage B—Property Domage Liability—to "each occurrence" olso Include, respectively, any liobility
ossumed under an insured contract with respect to bodily injury or property damage.
Subject to the above provision and the provisions of the policy respecting "eoch occurrence", the total liability of the company for
all damages because of all property damage for which liability is assumed under all insured contracts shall not exceed the limit of
liobiiity for Coverage 8 stated in the declarations os "oggregate", or if no such limit is therein stated, the limit stated in this
endorseriient as "oggregote:' Such aggregate limit shall apply separately with respect to each project awoy from premises owned
by or rented to the named insured.



L-G2006b (2/ 1 /68)
LC LG ' LM LO
Page 1 of 2
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     Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.115 Page 105 of 222
                                                                         Sche:r.c.
                                                                                                                           •
Limit of Liability                                                                                                     $                                          aggregate

If no entry oppears herein the schedule is complated on the schedules forming a port of the policy and designated "Generol Liability
Hazards."

                                                                                        Premium                  Rates                      Advance Premium _
                         Clossification                      I    Code
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Premium     $ Included i.rL t;omposite
Effective Dote
Expiration Date                                                                                                                                                  PRESIOEYT
Audit Basis
For attachment
to Policy No. LG1.y1 41-050531-032
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                                                                                                                                                               SEGYiETdRY
Issued to

Work Units
                                                                   Countersigned by ........................................................................................
1-                                                                                                                         Authorized Represenfative
L-G2006b (213 (68)                                                                                               Endorsement No. 8
LC LG LM LO
Page 2 of 2               P,inted io u.5.A.
        Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.116 Page 106 of 222
                                              i                                                                     .0


                       This endersement modifies such insurance as is offorded by the provisions of the policy relating
                       to the following:
                                   MANUFACTURER'S AND CONTRACTOR'S LIABILITY INSl1RANCE
                                           COMPREHENSIVE GENERAL LIABILITY INSURANCE




                                             LOADtNC AND lfN! CADING OF WATERCRAFT
                                              (Scope e,f l:overage for Certain Classifications)

It is agreed that the exclusion (ii ony) ie:luting :r zr:r ownership, maintenance, operation, use, looding or unlooding of watercroft does
not apply to bodily fnjury ar prclserty 4:r•noge ari~ing aut of loading or unloading operations identified under any of the classificotions
described below:

                                                       Descriptian of Ctassifications

                       F'rei.ght Ha:Zd2znp CJ.a3s3fied Ys: Warehouses-Code 3432




                                                                                                      LIBERTY MUTUAL INSURANCE COMPANY
Premium $


Effective Date                                                                                                                 e
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Expirotion Date                                                                                                                                         PR£sm£xr
Audit Basis
For attochment
to Poucy No. LGi -.1 !+-? -U5U5 j'! --0$2
Issued to                                                                                                                                            SEQi£TARY



                                                           Countersigned by ..................................................................._...............
                                                                                                         Authorized Repretentetive
MB G003
(9-25-68)                       Issued                                                 Endorsement Serial No. 7
Frintad in U.S -,',.
Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.117 Page 107 of 222
                               *'                                                    0

                      FREIGHT HANDLIi3G - STEVEDORING - WAREHOUSING


     It is agreed i•hat su:h insuranoe as is afforded by the policy with respect
     to the                          1~'reight Handling classi.fied as: Wa.rehouses - Code
     3432, d;:.;-- n:-}. ?.'.'; ='; '}'• +he ^t'nershipi maintenance or use of s.ny wharf
     and watEx•--front pr-op.:rty o*,aued Qy or rented to the insured.




This endorsement i:, e:ce,:ucs:v ny ~.ne c:,mpany beFow ciestgnated by an entry in the box opposite its name.
® LIBERTY MU T L AL rNStJRANCF. COMPAN`.t'                             (O LIBERTY MUTUAL FIRE INSURANCE CO1bIPANY


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Countersigned                                                         Countersigned by
                          AUTHD1t1ZED FLEpRESEKTATIVE                                              A1:TltoR7ZED REPRFAEYTATIVE
Effective Date                                    Expiration Date
Audit Basis
Psemium S
For attachtrient to Policy or Iiond Nc.. LG1-1 4'1._050531 —082
Issued to
                                                                               Endorsement Serial No. 6

tvorkuDies I—             Issued                        Sales Office & No.
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.118 Page 108 of 222
                                           +                   .                                                 •


                     This endcrsement rnodifia-s such insuronce as is afforded by the provisions of the policy refating
                     tv the following:
                                             COVERAGE A—BODILY INJURY LIABILITY
                                           COVERAGE B— PROPERTY DAMAGE LIABILITY
                                            COVERAGE P-- PER50NAL INJURY LIABILITY




                                                 IROGE(vN COVERAGE ENt)ORSEMENT

it is agreed that:
1. POLICY TERRITORY
With respect to ciaims mode or suith urouyni cyoirist arty person or organizatfon who is an insu►ed under subdivisions (o), (b) or (c)
of the "PERSONS INSURFA" S.;r.ti.-3::, t:,a tavm "yoiicy te:ritary' is amended by adding the fo(lowing subdivision (4):
(4) anywhere in the worid; except with respect to loss arising out of foreign based operations of the named insured: As used herein
    "foreign based operati,.ns" means (1) the ownership, maintenance or use of premEses outside the United States of America,
    its territories or                              -o^^-jr:-r!ure, sale o- distribution of goods or products at or from such premises.

       INVESTIGATION; DEFPeNSE; SeSt'Lff'V►F.?PY — fORElCrN CLAIMS OR SUITS
The connpony sholl have the right but not the duty to investigate, settle or defend any ciaim made or suit brought against the
insured outside the United Stotes of America, its territories or possessions, or Canada. If the company elects not to investigate,
settle or defend any such claim or suEt, the ia:ured under the supervision of the company shall arrange for such investigation ond
defense os are reasonabiy necessary, end subject to prior authorization of the company, shall effect such settlement thereof as the
compony and the insurea uEa:::              .TN; cc.•rrlp:r:y sholl reimburse the iesured for the reasonable costs of such investigation
and defense and, within inr; aap::.:cbr;. 11m;t of :h.; com'a.:r,y's I:obiiity, for the amount of any settlement so authorized.

Ill. OTHER INSURANCC.
With respect to ioss to which tiii- pollcy npplv~s i:Y rem~n of subdivision (4) of the definition of "policy territory", the insurance
afforded by this policy does not app(y to that portion of the loss for which the insured has other valid and collectible insura:rce,
whether on a primary; excess or tontingant basis.

 It is Yarther ags•tad tud~ coverage as provided by th.is endorsement does not apply
 to the follaw-ingc
                                                                    A.G. (Chur9 S,ritzerland}




                                                                                                  LIBERT'Y MUTUAL INSURANCE COMPANY

Premlum ~

Effective iJate
Expirotion Date
Audit Basfs
For attachment
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to Policy No. LG1-11+1-050531=082                                                                    /
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Issued to

                                                           Countersignedby ........................................................................................
                                                                                                          Authori;ed Represantetive                                   :~
trG2001 (10/1/66)                                                                                                 +

LC LG LM LO                                                                                        Endorsement No. 5
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    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.119 Page 109 of 222
                         -   '~~~._. . ... ..
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                                                       :,;.cl insurance as is &i - rded by the
                                                           .               1_Z°J
                                                                                                                      w
                             pro~*i,-i~ns t kl;— rolicy relating to the following:
                                                    ALL LNSi3RANCE EXCEPT TO THE EXTENT OTHERWISE
                                                    SPECIFICALLY STATED BELOW OR IN THE POLICY




                                                                           COMPOSITE RATI"NG PLAN


                 It is agreea v;,a:;:
                1.            A:L:L premiun, for this pol.icy shall be computed on the follow-ing basist

                                                                                                  Sales

                2.            li unaer i,overage tn - Property Damage Liability - an aggregate limit
                              of the com.pranyts liability.applies with respect to pxemises or
                              operatior.s ratect on a reYmin.eration basis or contractorts equipment
                              rated ca-rt -7-~cPi.r.t-z- basi;.9 such aggregate limi-t applies to all
                              premi ges,, enprat:i.ons, And Pontra cf.or t s equ_ipment rated on the basis
                                                                    6~3r._ . a:IoPe.




This endorsement i:1                                                         icr=g:,ated by an entry in the box opposite its natne.
® LIBERTY MU'I'Li,i,                                                Ci);ti1UANY              O LIBERTY MUTUAL FIRE INSURANCE COMPANY

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Countersigned by_ ........ ......... . .... . . . _ ... . . .. ..... .. _... ........_..         Colmtersigned by--   ---.__._.~ _ _ __.~-----._---•--
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For attachment to PoEicj, or lic,c,c; 11.iu. l;u i.-14_1: --050531 -082
Issued to

                                                                                                           Endorsement Serial No. 4

Work Units    i—                          Issued                                   Saies Office & No.
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     Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.120 Page 110 of 222


                     This eno•wsement •:.•='ftes ssKh Ens::runce as is offorded by the provisions of the poficy
                     relating ;o cne :o;-o.i;nc,:
                                                                                                                 •

                                             COVERAGE A— BODILY INJURY LIABILITY
                                         COVERAGE B -- PROPERTY DAMAGE LIABILITY
                                         COVERAGE P— PERSONAL 1NJURY LIABILITY




                                                        AC.+DiTIONAL INSURED
                                                    (Nam..~d Insared'c Operotions)

It is agreed that the 'jPersuns i:r..raY' ppovwscor. ;s c:nar,ded io include as on insured the person or organization named below,
but only with respect to ac:a or orr:i;sio,s o'r thu sxarned insured in connection with the named insured's operations at the applicabie
locotion designated beiov:.
Name of Person or Oryanization                                                                                Appfiaoble Location

  Wolverine Service Cbzb, Inc.                                                                         Picn.i.c Grounds
                                                                                                       Big Prairie Townsh.ip
                                                                                                       Newago County, Mich.
  Puerto Rico Industri.a? D=..ve].opment Co.                                                           Pa.lmer Word
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                                                                                               LIBERII' MUTUAL INSURANCE COMPANY


Premium S

Effective Date
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to Pol'icy No. LG1 --1,rf1-050531-n_.,2
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LC LG LM LO                                                                                        Endorzement No. 3
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                              Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.121 Page 111 of 222

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Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.122 Page 112 of 222

 It is agree,                           '      _ -uiie Insured is as follows:
                Wolverir.e Worla Wiiie, Inc, ;

                Hush Pi;.ppies Product; Division; Wolverine Brand Division~
                Sporting Goods Divisaon and H.P. Division

                Wol;rerine Western Hemisphere Corp,;
                Wolve?-;°-                  rlvi:si^n

                Clarinn Sa.lP4 Go*.°no:cati.on of A.merica9 a Division of
                Wolti'c:r

                Bates Shoe Comparp,, a llivision of WoJ.verine Wor1d Wide, Inc.;

                Bomba.y S;Lipper, a Divisicn of. Wolverine World Wide, Inc. and
                Trn-81- i c~ch Fo-''teYr, a niv_I.sion of Wolverine World Wide, Inc. ;

                Fros 1. _:'    .. -. - r             o:' Wolverine World Wide, Inc, ;
                Hush Puppi.es n:~. ~Chi;x, n,ritzerland)
                                                                    of Wolverine World Wide, Inc , ;
                .ClPri                             ~.. .r n,r:ada;

                W.W.W. het01. s.r)c             and
                             1 vy l'4~ 'b .~M s
any comp~~~+~                    pa v or+3+.,~ -;nc1-r.r,o7ated or organized under the laws of the
iTnited State o.f A:aeiica (includiLg ary state thereof) its territories or
possessions ct;. "                   ;,           any Yrovince thereof ) while the person or
organizati.on :j ... ..:-.,.' ::., ': F•>_: I          ds-ialara ;ions or the aforenamed owns, dvrin
the poli.cy p4'ri^Tl . ~+~ 'jY!-i'P+. ~4-?+ in, cunh entity of more than fifth per .cent {50~~.




This erdorse ~.Fri: ,: _._. .... ..; :... ,,.r-_t ....; L::, -";Qnated Ly an entry in tize box opposite its name.
® LIBERTY ML'"rt;.Ai.                                Cl.~r?PANIc'             ❑ LIBER'I'Y MUTUAL I:'IRE INSURANCE COMPANY

/O"""[[ ~~ ~~C..i.,.               ~ ~- , I' Y_ wi..~~Ir                       r~VLI!Q ~~~~K.~ ~J~•i~ r~✓'~
             :L~r.:.:-t                             hmKsr                                      Seaarur                               y~uenxt



Countersigned by. .... ..                                   _ ._.            Countersigned by—_—_+
                              i1t-HULXZYu nLPKlaCriTSCiVE                '                               AOTHORIZED REPRFSEYiATIPE
Effective Date                                        bxpiration Date
Audit Basis
Premium $
For attachrrient to PO! Lt                              1-0; 0531-082 TD93
Issued to
                                                                                     Endorsement Serial No. 1

Wo.k Uniss i-                 k,<.iea                       Saies Office & No.
 Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.123 Page 113 of 222




                                                  AriFa[ITDATORY ENDORSIIMENT


                 It is agreed that the Schedule of Locations attaehed to the

           Declarations is amended as indicated hereunder:


                                          NY
                                          Add:
                                          Bombay


                                         MI
                                         Add :-
                                         162 •Bagley Ave. , Detroit
                                         162 So. Woodward Ave., Birmingham;
                                         A leased dept. at Wagner & Company, Ann Arbor




       i
       {


       i                            •
This erjdorsement is executed by the company below designated by an entry in the box opposite its name.
k1 LIJERTY MUTUAL INSURANCE COMPANY                                ❑ LIBERTY MUTUAL FIRE INSURANCE COMPANY


                       so.,u.                              raw....                         S.a.....                                 r.m.u.


Cvunteraigned by.._.                                                  Countersigned by.                               _
                                AUTHo0.I2[D REt0.LSt?1TATlYE                                          AvTHORILSD REP}f{SEh'TAT2VL
Effective Date 1-1-72                      Expiration Date           1-1-73
Audit Basis 1
Premium $X X X
For attachment to Policy or Bond No;L01-141-050531-082
Issued ; to Wolvez°ine World Wide, Inc. , Etal
                                                                                Endorsement 5erial      No. OompaBy Rsoords
                                                                                                                Only
           i
1vD.k UJIJ;_                    Issued   11 -27-72 mn Sales Office & No. Gr. Rapids 474
                         Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.124 Page 114 of 222
~106% Recycled 30% PCW




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  Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 ---~PageID.125 Page 115 of 222
20 211 013     Frank B. Ha-0- Boston, i'fA , XT,X 136 38 40                    U,J -44
          BLANKL'I' EXGY:SS LIA]BILITY POLICY                                                                     Ol FIREMAN'S FUNO
                 (FOLLO'6VxNG FORM)                                                                                  IiSUMNCE COAMANY    SAN FRANOSCO. CAUraUAA
BSN                                                                           ~                                   18 THE AMERICAN
                                                                                                                     INSUR4ICE OJMPANY   PARSIPPANY, NEw JERSEY
       Coverage is provided in the Company dosignated by number,
  1$ a slock insurance Company (herein called the Company'                                          FIREMAN'S    07 NATIONAL SURETY
                                                                                                    p-               pOAPotU,ION
                          DECLAF2ATIONS                                                             ~U   N D                                       al!CAGO IWNaS

ITEM 1, INSURED'S NAME AND ADDRESS (NO„ OYRf:CT, TOWN, COUNTY. STATF.)                              INSURANCE    13 ASSOCIATED INDEMI~ITY
                                                                                                                     CORPOROnal          SAN FRANC7SCq CAUFORNIA
                                                                                                    COMPANIES
                                                                                                MAIL ADDRESS      15 AMERICAN AUTOMOBILE
      ~Wolverine World Wide, Inc. , etal. ~                                                     SAN FRANCISCO        tNSUMNCe f,UMPANY      CREVE COEUR. MISSOURI
       (See Endorsement #1)                                                                       CALIFORNIA

       9341 Couriland Drive               ~ =
       Rockford, Mi.cha.gan 49351                                                               Framk S. Wall & Cvo ©P MaaaaahueeM, Ins.
                                      UN!j~ i ~ ;                                               89 E3road Street, Boston Mass. 02110
      L
POLit.`Y pERIOD:
                                                                                                (617) 482-3100
                                                                                                        Belt, Dalton & ChulcPr)
             1/1/82                                                                                            —~--^--- - - -                -----•- s. ,~
ITEM 2
          INCCPTION (MO. DAY YR.)                        E%PIRATION (MO. DAY YR.)
    11:o1 A.M., OTANDARD TIM6 AT THE ADDfllS6/ OF TRE NAMeD INGunED AG bTATCo Hf(nelt+.




 ITEM S.
                                  L.IMIT OF LIA6ILITY:
                                                              S   lrj,ppp ,ppp.                       . EACH OCCURRENCE
                                                              S   15,000,000.                         , AGGREGATE
  l'rEM4.                                                 UNDERLYING INSURANCE LIMIT DF LIABILITY

                                                              S     5,000,000.                        , EACH OCCURRENCE
                                                              S     5,000'000                         . AGGREGATE

 ITE:hi 6.                   '   PREMIUM BASIS                                            ITEM 6.
                                                                                                       ADVANCE PREMIUM: ;      12, 495.
             3 Flar Charge                                                                  ANNUAL M)NIMUM PREMIUM: S          12,   495.
                       LATION Y THE NAMED INSUREO, THE COMPANY SHA(-L RECEIVE AND RETAIN NOT LESS THAN S
 AS THE POLICYOMIN MUMLP REMIUM                                                                                                                        2'500
 ITEM 7. SCHEDULE OF UNI7ERLvING INSURANCE:



                                                                  See Endorsement #2



                                          F'OI.I.OWING FORM BLANKFT E}CCESS LIA131LYTY POLICY
The Company designated above, a stock insurance company, (1)erein called the Company) agrees wilh the insured, named in the declara-
tions made a part hereof, in consideration of the payment of premium and in relia))ce upon the state)nents in ihe declarations and subject
to the limits of liability, exclusions, conditions and other terms ol this policy:
INoaUMIVG AGREEMENTS                                                    policy shall in lhe event of reduction, apply as excess of 1he reduced
                                                                        limit of liability thereunder, Subject to the applicable limit of liabil-
1, Covorage. To indemnify the Insured for the Insured's ultimate net    ity as respects each occurrence, the limit of liability staled in lhe
loss in excess of the insurance afforded under the Blanket F,xcess      declarations as "aggregate" sl)all be the total limii o1 ihe Company's
Liability or "U)nbrella" policies specified in Item 7 of the Declara-   liability for all damages sustained during each annual period of
tions, hereafler called underlying insurance, in full force and effect  this policy.
at the inception of,this policy, provided that the insurance for injury
to or deslruetion of property under this policy and underlying          3. Policy Periocl, This policy applies only to occurrences whiah take
policies shall not apply except as respects injury to or destruciion    place dwing the policy period.
of corporeal property, including loss of use thereof.
2. Limit ol Liability. The Company shall be liable only for the limit   DEFIMTIONS
of liability stated in Item 3 of the Declarations in excess of the      "Ultimate net loss" means all sums actually paid, or which the
limit or limits of liability of the applicable underlying insurance     ]nsured is legally obligated to pay, as damages in seltlement or
policy or policies all as stated in the declarations of this policy.    satisfaction of clain)s or suits for which insurance is alforded by
The limil oi the liability stated In the daclaralions as applicabie     ihis policy, after proper deduction ol all recoverles or salvage.
io "eaeh occurrence" shall be lhe total limit of the Company's
liability for all damages sustained• as the result of any-one occur-    CONplTY©qVS
rence, provided, however, in the event of reduction or exhaustion
of the applicable aggregate limit or limits of liability under said     1. Maintenanco of Fa9mary Insurance. The Insured warrants, and
underlying policy or policies soiely by reason of losses paid there-    it is a condition of this policy, that at the inceplion of this policy,
under on account oi occurrences during this policy period, this         insurance (f ~rded b~ the underlying policies ol insurance (apply-
                                                                                                j
                                                            (Cantinuod on Pcage , T~I _           / / /a    -1 I~ /.I J /7
                          COUNTERSIGNATURE DAT                                                                  GN

         J./7/82 iw

PAGE ONE
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.126 Page 116 of 222


                                                         (Contitiued from. Preceding Pa&)
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                                                                                                                          "-'v'~; .... ~--.
                                                                                                                                       /` ~
ing as excess over various policies ol primary insUrallce) with             ]nsured with';Vw,consent bI' 1he Coci•tpany kq't~~e adjuslnient or
combined lirnils of liability for said underlying insurance staled in       defense of clairns, suits or proceedings shall be borne by the Com-
Item 4 of lhe declarations, or renewals or replacements thereof nol         pany ao the Insured in the proportion•,tYiat--eaati'~purty's share of
affording coverages olher than those at inception ol lliis policy,          loss bearg"lo' the total amount of sald;loss::Loss extense hereunder
shall be maintained in lull eifect during lhe period of this policy,        shall not include salaries and expense of lhe ]nsured's employees
except for reduction of aggregate limits solely as a result of pay-         incurred in invesligalion, adjustment and litigalion.
ment of claims arising out of occurrences during this policy period.        S. Appeal• In the event the Insured or any underlying insurer
If cuch underlying insurance is not maintained in full effect by the        elects noi to appeal a judgmenl in excess of the amount of the
Insured or if ihere is any change in 1he scope of coverage under            underlying insurance, the Company may eleci lo appeal at its
any un(lerlying insurance, the insurance alforded by ihis policy            expense and, shall be liable for the expenses incidenlal thereto,
shall apply in the same manner as Ihough such underlying policies           but in no event shall the liability of the Company for ultimate net
had beett so inaintained and unchanged.                                     loss exceed the amount set Iorth in the policy plus the expenses
The insurance afforded by this policy is subject to the same war-           incidental to such appeal.
ranties; ternis (including the terms used to describe the application
of the limits of liability), condilions and exclusions as are contained     G. Subrogation, In lhe event of any payment of this policy, the
in lhe underlying irisurance on the eflective date of Ihis policy,          Company shall bo subrogaled lo all lhe Insured's rights of recovery
except, unless otherwise specifically provided in this policy, any           therefor• against any person or organization and the ]nsured shall
such warranties, terms, conditions or exelusions relating to                execute and deliver inslruments and papers and do whatever else
 premium, the obligation to investigate and delend, 1he amount              is necessary to secure such rights. The Insured shall do nothing
and limits of liability, and any renewai agreement.                         afler loss to prejudice such rights.
                                                                            Any amount recovered as subrogation shall be apporlioned in the
 2. Notice of occarance. The Insured shall immediately advise               inverse order of payment of loss to the extent of actual payment.
 lhe Company of any occurrence or disasler which will probably              The expenses of all such recovery proceedings sliall be apporlioned
 result irL liability under this policy. The Company shall not, how-         in ihe ratio of respective recoveries. If there is no recovery in
 ever, be called upon to assume charge of the settlement or defense          proceedings conducted solely by the Company, the Company shall -
 of any clainis made, or suits brought, or proceedings insliluled            bear the expenses thereof.
 against ihe Insured, but shall have the riglit and opportunity to be
 associated with the Insured in the delense and trial of any sucli           7. Premium, The premium for this policy shall be computed upon
 claims, suits or proceedings relative to any occurrence whicll, in          lhe basis stated in the Declarations. The advance premium stated
 ihe opinion o( lhe Company, may create liabilily on ilte part of the        in the Declarations, unless otherwise specified is an eslimated
 Cotnpany under the terms of the policy. If the Company avails               premium only. Upon termination of this policy the earned premium
 itself of such right and opporlunily, the Insured and the Copany m          shall be compuled and if lhe earned premium is more than lhe
 shall cooperate in all respects so as to elfect a final determination       advance premium paid, the Named Insured shall pay the excess to
 of the claim or claims.                                                     the Company; il less, the Company shall return to the Named
 3. Paymenl of Loss, It is a condition of this policy thal the insurance     Insured the unearned porlion, subjecl to ihe annual minimum
 afforded under this policy shall ctpply only aller a1L underlying           premium stated in the Declarations for each Iwelve months of the
 insurance has been exhausted. Upon final determinalion by settle-           policy period, and subject furlher lo the policy minimum premium
♦ment, award or verdict of the liability of 1he Insured, the Company         as stcqed in the Declar.ations.
 shall promptly pay lhe Insured as the Insured shall pay, or be              8. Cancellation. This polioy may be cancelled by either party upon
 required to pay, the amounts of any losses falling within the terms         30 days' notice in writing to the other stating the dale cancellallon
 or ]imits of this insurance. All losses covered under this policy           shall be effective. 11 cancellation is at the request of the Insured,
 shall be due and payable by the Conipany within 30 days after               adjustmenl of premium shall be at short rate, and if cancelled by
 they are respectively claimed and proof of loss liled with the Com-         the Company, adjustmenl shall be made pro rata, However, in the
 pany in conformity ~vith this policy. Bankruptcy or insolvency of            event o1 cancellation or termination of the underlying insurcince,
 the Insured shall not relieve the Company of any of its obligations         ihis policy sha;: cease to apply at the same time without nolice
 hereunder.                                                                   io the Insured. Notice shall be given by the Company lo 1he Insured
 4. Paymenl of Expenses. Loss expenses and legal expenses, includ-           at the address shown in the declarations. Payment or tender of
 ing court costs and interest, if any, which may be incurred by the           unearned premium is not a condition oI cancellalion. .



                                     NUCLEAR ENERGY LIABII,ITY EXCI.USIOIV EIVDORSEMF..NT
                                                                 (BROAD FORN)
 It is agreed ihat ihe policy does not apply:                              (c) Ihe injury, sickness, disease, death or destructlon arises oul of
                                                                           1he furnishing by an insured ol services, malerials, parts or equip-
 1. Under any Liability Coverage, to injury, sickness, disease, death      ment in connection with the planning, construction, maintenance,
 or destruction                                                            operation or use of any nuclear facility, but if such faaility is located
                                                                           within the United States of America, its territories or possessions
 (a) with respect to which an insured under the policy is also an          or Canada, this exclusion (c) applies only to injury fo or destruction
 insured under a nuclear energy liability policy issued by Nuclear         of property at such nuclear facility.
 Energy Liabiliiy lnsurance Association, Mulual Atomic Energy Lia-
 bility Underwriters or Nuclear Insurance Association of Canada, or        lII. As used In this endorsement:
 would be an insured under any such poliay but for its termination
 upon exhaustion of its limit of liability; or                             "hazardous properties" include radioactive, toxia ar explosive
                                                                           properlies;
 (b) resulting from the hazardous properties ol. nuclear- material
 dnd wilh respect to tivhich (1) any person or organization is             "nuclear material" means seurce material, special nuclear material
 required to maintain financiql protection pursuant to the Alomie          or byproducl material;
 Energy Aci of 1954, or any faw arnendatory thereof, or (2) ihe            "source material;' "special nuclear material:' and "byproduct ma-
 insured is, or had this policy not been issued would be, entitled to      terial" have the meanings given them in the Atomic Energy Act of
 indemnity from the United States of America, or any agency thereof,       1954 or in any law ctmendatory thereof;
 under any agreement entered into by the United States of America,
 or any agency thereof, with any person or organization.                   "epent fuol" means and fuel element or fuel component, solid or
                                                                           liquid, which has been used or exposed to radiation in a nuclear
 lI. Uncler any Liability Coverage, to injury, sickness, disease, death    reaotor;
 or destruction resulting from the hazardous properlies of nuclear
 maferial, if                                                              "waste" means any waste rnaterial (1) contcaining byproduct rna-
                                                                           terial and (2) resultfng from the operalion by any person or
 (a) the nuclear material (1) is at any nuclear facility owned by,         organization of any nuclear facility included dFvithin the definalion
 or operated by or on behalt of, an insured or (2) has been dis-           of nuclear facilily under paragraph (a) or (b) thereof;
 charged or dispersed therefrom;
                                                                           "nuclear facility" means
 (b) the nuclear material is contained ln spent fuel or waste at
 any time possessed, handled, used, processed, stored, transported         (a) any nuclear reactor,
 or disposed of by or on behalf of an insured; or                          (b) any equipment or _device designed or used for (1) separating

 PAGE TWO               ,       `                          (Confintted on Next Page)
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.127 Page 117 of 222
PRO~•'^~R'S Gn~P             NAME ANp LO~N                            PREVIOU9 POLICY NUMBER ~ ';_l7                  P'+IIC.Y NUMBER I           ~


•                                                                l      ~                                                             ,       ~

                   .     1    ~




       ~                                              (Continued from Preceding Pag®)
the isotopes of uranium or plutonium, (2) processing or utilizing      and includes ihe site on which cmy of the foregoing is locctied, all
spent fuel, or (3) handling, processing or packagiiig wasle,           operations conducled on such site and all premises used for such
(c) any equipment or device used Ior the processing, fabricaling       operalions;
or alloying of special nucteor material ii at any lime the lolal       "nuctear reactor" means ccny apparatus designed or used      ''~fo~ia~     f
amount ol such malerial in the custody of the insured at the           tain nuclear fission in a selE-supporling chain reaction or to contain
premises where such equipment or device is Iocated consisls of         a crilical mass ol lissionabte malerial;
or contains more than 25 grams of plulonium or uranium 233 or
any combination thereof, or more Ihan 250 grams of uranium 235,        With respect to injury io or destruclion of property, the word .
(d) any structure, basin, excavation, premises or place prepared or    "injury" or "dostructi®ri' includes all farms of radioactive con-
used for the storage or disposal of wasle,                             tamination of property.
                                                                                                                                 ~


      IN WITNESS WHEREOP, FIREMAN'S FUND INSURANCE COMPANY has caused this Policy to be signed by its President and Sl. cretary
but this Policy shall not be valid unless counlersigned by a duly authorized Agent of the Company,




                                  ~               ~
                                        SF.f:HFTARY                                           ~    VRFSInENT




FINAL PAGL




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           Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.128 Page 118 of 222



       I              ~                                NAMED INSUREn


           INSURED                                                             POLICY NUMEIER

                          Wolverine World Wide, Inc., etal.                                 XLX 144 05 44
           PRODUCER                                    '                       EFFECTIVE DATE

                          Frank B. Hall & Co.                                               1/1/82




                 Item #1 of the Declarations is completed to read as follows:


                 Named Insured;             Wolverine World Wi.de, Inc,
                                            Institutional Shoe Corporation
                                            Wolverine International, Inc.
                                            Aquadi,ll.a Shoe Corporation
                                            Seaboard Sa1es Corporation                                                 I
                                            WWW Retail, Inc.
                              -             Little I'alls Footwear, Inc.
                                            Wolverine Wor1d Wide Employees Federal Credit Union                        I
                                            Wolverine Sezva.ce Club, Inc.
                                            Indianapolis Glove Company                                                 I
                                            Thompson Saf ety Equipment Company
                                            Wolverine Boot Corporation
                                            V.B.I., Inc.
                                            Viner Brothers, Inc.
                                            Lustig's, Inc.                                                             I
                                            Town & Country Shoes, Inc.
                                            Brooks Shoe, Inc.                                                          ;


                                            And a11 subsidiaries (including subsidiary thereof) and/or
                                            divisions or entities of Wolverine Wof ld Wide, Inc., now
                                            exi.sting or which Wolverine World Wide, Inc., may create,
                                            acquire, organize or control.




                                                                 ~     ~             ~~~~R~' • AU',LI•~b IZE~AG ENT
                              ONE OF THE                                         IIIJ~ ..          ~//l CC•✓J    i~/
               FIREMAN'S f'llND INSURANCE COb5PAN1ES                    v                                     9
1/7/        YW • .    A~S NAMED IN THE POLICY              ~%~ ~
                                                           PRESIDENT    f0-%
                                                                                                   ~.•:~'~.~,~'~.-
           ^          `
                                                                                                        -----------        ..
      Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.129 Page 119 of-.--222
                                                         END . 112
          D`
                                      SCHEDULE OF UNDERLXING INSURANCE

       IN9UREO                                                           '     POl-ICY NUMBER

                  Wolverine World Wide, xnc., etal.                                        XLX 144 05 44
       ARODUCER                                                                EFFECTIVE DATE

                  Frank B. Hall & Co.                                                      1/1/82




                  Item #7 of the DecJ.arations xs completed to read as follows:


                  Schedule of Underlying Insurance: $5,000,000. single J.iinit any one
                  occurrence combined Personal Injury and/or Property Damage and/or
                  Advertising Liability and/or Ai.rcraft Liabi.7.:Cty as . provided by
                  First State Ynsurance Company, Policy.No, to be advised, in excess.
                  of various scheduled primary li.mits or se7.f-insured retentions.




                                                                             COd?D1Z'ee~        F A'Uj_FjCORyZ~O AGE
                       ONE OF THE                  /_-                                             f~u          Q✓
         FIEtEMf~IY'S FUND 1NSURANCE CO1+fPAN]ES                                                                       ,
   )
1/ // 2 fw        AS NAMED IN THE POIICY
                                                    PRESIDENT         10•X
                                                                 _—
      1 BOUO t-1-65
                    . --------•
     Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.130 Page 120 of 222
                                                            ~
                                    END. #3
              i            •                     ~                                •                     .
                                   •                          .               .
          ~    .    .,         •
                                       EMPLOYEE BENEFITS — FIDUCIARY EXCLUSION (ERISA)


    INSURED                                                                  POLICY NUMBER

                     Wolveri.ne World Wide, Inc., etal.                                 XLX 144 05 44
    PRODUCER                                                                 EFFECTIVE DATE

                   . Frank B. Hall & Co.                                               1/1/82




                   The followiug_exclusion is added to this policy:

                         to any liability of- any insured as a fiduciary under the provisions
                         of The Ealployee 12etirement Income Secur.ities Act of 1974, Pub7.ic
                         Law. 93-406, commonly referred to as xhe Pension Reform Act of 1974
                         or amendments thereto, or The Internal Revenue Code of 1954 as
                         amended. Fiduci.ary activities include but are not limited to the
                         exercise of discretionary authority or'discretionary control res-
                         pecting management of a plan, exercise of aut•hority and contxol
                         respecting the manageanent or dl.spos:[t;lon of a p],an's assets, investi--
                         ment advice with respect to assets of a plan, aiiy discret3.onary
                         authority or responsibility in administration of a plan.




                   All other te-rms and conditions of this po].icy scemain unchanged.




                           ONE OF THE
         FIREMAN'S FUND INSURANCE COhiPPlN1ES
         G~~] ,      AS NAMED IN THE POLICY
1/7 V2
    p                                                  PpES1oENT   10.%

   1800L
       01-••-! •65                      ~
       Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.131 Page 121 of 222
                                           0               END     .. #4                     i

                                             CROSS I,IABILITX EXCI,USION


       INSURED                                                                           POLICY NUMBER

                  Wolverine Wor1d Wide, I.nc.            etal,                                       %LX 144 05 44
       PRODUCER                                                                          EFFECTIVE DATE

                  Erank B. Hall & Co.                                                                1/1/82




                  In consideration of the prenium charged, it is understood and agreed
                  that such coverage as is aff orded by this policy sha11 not apply to
                  any clajm, action or suit brought by or on behalf of any Insured
                  under this policy against any other Insured under this policy.




                                                      !                               ~ COUN E/R$IG~7UR OF AUYHORIZED AGENT
                        ONE OF THE                                       ~j                 ,
                                                     (~'.J-
                                                      // '-̀ ~iu   ~.~. Ca~G1,~.t/       ~ ;J J[
           ~tIEP~ATd'S FUND IMSUZiANCE COMPRiPdIES                                                   ~/        ~,
1/7/   2   t,     AS NAMED IN THE POLICY                                                                              •
                                                        PRESIOENT              10-X
                                                                                                                4
       66n01-1-65                                                                                             1 ~~'
   Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.132 Page 122 of 222

                                                  END, #5


                          A1I,ENDATORY ENDOp.SEI2NT --- LIMIT OF LIABILITY




     In consideration of the premium charged, it is agreed lnsuring Agreement 2,
     Limit of Liability, is changed to read as follows:

            :. Y,imit of.T,i~hiji~.
               The Company shall be liable only for the limit.of liability
               stated in Item 3 of the Declarations in excess of the limit
               or limits of liability of the applicable underlying insurance
     :         policy or policies all as stated i.n the declarations of this
               policy. The lxm it of the liability stated in the declara-
               tions as applS.cable to•"each occurrence" shall be the total
               limit of the Company's liability for all damages sustained
               as the result of any one occurrence, provided, however, in
               the event of reduction or exhaustion of the applicable .
               aggregate limit 'or lisnits of ].iability under said 'underlying
               policy or policies solely by reason of losses paid thereundex
               on account of occurrences during this policy period, this
               policy shall in the event of reduction, apply as excess of
               the reduced limit of liability thereunder. Subject to the,
               applica.ble liinzt of li.ability as respects each occuxrence,
               the limit of liability si:.ated in the declarations as
               "aggregate" shall be the total limit of the Company's lia-
     `         bility for all damages sustained during each annual peziod
               of this policy because of (i) personal injury and property
               damage arising out of the completed operations hazard and
               products hazard,combined; or (ii) advertising whenever
               occurring by w}iatever media, on account of a11 occurrences;
               or (iii) injury arising out of any hazard, other than as
               described in (i) and (ii), to which the underiying policy
               af:Eords covexage subject to an aggregate limit and to which
               tliis policy also applies.

    All other terms and conditions of the policy remain the same and unchanged.




  POLICY NUMBEPi                                      INBURED                                           EFFEC7IVE

XLX 144 05 44        ,      Wolverine World Wide, Inc., etal.                                            1/1/82
                   oNE or THE                                                         UCFVt

 a IAEMAPd'S lr t.lNp IIdSL1RdlNC£ OONlPANII:S             B.
             A5 NAMED IN THE POLI(;Y
                                                         ~~r4'7'1RS/CYSATf9w1C (5'~"'d°d7'H~ti~L'-S~7AGEPJ7
1/7/82 fw
                             PRESIDENT           '®
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.133 Page 123 of 222
                                                         End. #6
       ,


I




                  It is undexstood and agreed that Item #1 of the Declarations,
                  Named znsured, is amended to include the following:




                                              Bick Manutacturing Company•




                  All other terms and conditions of -this policy remain unchanged.




    -^~-                                                                    COUNTERSIGNATVRE OF AUTHORI2ED AGENY
                      ONE OF THE                              ~ ,Q •
     F'HREhYAIV"S ti95'dD ITi5UAtt?JCE COtYP1i~TIiF'S
           ,   AS NAMED IN THE POLICY
                                                        PRESIDENT   10-X

100001-1-65                                 11/10/82 cam
Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.134 Page 124 of 222
                                           ~            End. #7



              '                              DELFTZON OF NAMED INSURED


 INSURED                                                                     POLICY NUMBER

                   Wolverine World Wide, lnc'., et al.                             XLX 144 05 44
 PRODUCER                                         .                          EFFECTIVE OATE
                   Frank B. Hall & Co.                                             11/5/82




                   in aonsideration of the premium charged, i•t is underStood and
                   agreed tha•t the following entity is deleted as Named Insured
                   under this policy:




                                                 V. B. I.,'znc.




                  A11-o•ther terms and condxtions remain unchanged.
                  •




      ' V               OtJE OF TIIE                                       GOUN7ER61GNATURE OF AUTHORIZED AGENT
                                                                                      ,
     FM£AYAPd'S FUiVD IP3SUilAiiC£ COMPAid]F.S
                 AS NnP.fED IN 'I- IiE POI.ICY
                                                        PRESIDENT   10-X

t tac<3A 11 —, -Q'iS
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 INSURED                                                                     POLICY NUMBER

                  Wolverine DWorld Wide          Inc., et a.                        XLX 1.44 05 44
 PRODUCER                                    '      '                        EFFEGTIVE DATE

                  Frank B. Hall & Co.                                               12 J.6 82 .




                  in consideration of the premium charged, it is understood and
                  agreed that the-foll.owing entity a.s deleted as Na.med Insured
                  under tha.s pola.cy :

                                          The Ind9.anapolis Glove Company                          k



                      zt is further understood and agreed that the following entity
                      is added as a Named Insured under this policy:


                                          Wolverine Glove Company




                      A11 other terms and conditions of this policy remain unchanged.




                                                                            COUNTERSIGNATURE OF AUTHORI2ED AGENT
                        ONE OF THE                 r                ~
     FAREMAWs-eI)raA INsuRaracE cOM8ATaaEs         ~f
                AS NA[AED IN THE POLICY
                                                        PRESIOENT   fo-H

1 OOeiQ 1--1 -Q'i $
          Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.136             ------------------
                                                                           Page 126 of 222
                                                                      ..
    PRODUCER'S CODE                  NAME AND LOCA                    ,               PREVIOUS POLICY NUMBER'                      - - T-          POLICY NUMBER -

    20: ~li 013         Frank B. Hall              & ~-
                                                     Co. Boston                 XLX 153          21 t 84              3•:XL.X-
                                                                                                                        62 ..  1 48 41 89
,              BLANKET EXCESS LIABILITY POLICY .
                     (FOLLOiArING FORM)                                                               ®     ~
    BSN
              Coverage is provided in the Company designated by number,
    18        a stock insurance Company (herein called the Company)                                   FIREMAN'S
                              D E C L A I~ A T I 0 N S                                                FUND
    ITEM 1. INSURED'9 NAME AND ADDRESS (NO., STREET, TOWN, COUNTY, STATE)                             INSURANCE
                                                                                                      CNPANIES
                                                                                                   MAILADDRESS
                Wolverine World Wide, Inc.                       , et al.                         SAN FRANCISCO
                (See Endorsement f1). '                                                             CALIFORNIA

                9341 Courtland Drive                                                                                --                                 __—
                Rockford, Michigan '49351 :                                                                s      F'rank B. HaII & Co. of Nlassachusetts, lnc.
                                                                                                ®
          L                                                                                  ~ B                  89 Broad Street, Boston Mass. 02110
    POLICY PERIOD:                                                              ~                                 (617) 482-3100
                 1/'1./84                                                                                         1larmerly Boit, Dalfon & Churoh)
    ITEM 2.                                                                                                                    —      --- --- --- ---- ----- '
               INCEPTION (MO. DAY YR.)                         EXPIRATION (MO. DAY YR.)                                    ,
         12:01 A.M., STANDAflD TIME AT THE ADDRE9S OF THE NAMED INSURED AS STATED HEREIN.




     ITEM S.
                                      LIM"IT OF LIABILITY:
                                                                  s 15,000,000.                           , EACH OCCURRENCE
                                                                  s 15:,000,000.                          . AGGREGATE                          .                 .

     ITEM 4.                                                   UNDERLYING INSURANCE LIMIT OF LIABILITY

                                                     '            S 5,000,000.                            . EACH OCCU RRENCE

                                                                  S 5,000,000,                            . AGGREGATE

     1TEM S.                        PREMIUM BASIS                                           ITEM 6.
                                                                                                           ADVANCE PREMIUM:        S $ rL}OO.
                  3            Fla:t Cllarge               .                                  ANi.IUAL MINIMUM PREMIUM: S$,[,];00.


     IN THE EVENT OF CANCELLATION BY THE NAMED INSURED, :THE COMPANY SHALL RECEIVE AND RETAIN NOT LESS THAN s 500.
     AS THE POLICY MINIMUM PREMIUM-  ,

                                                    . , single 11mit any one occurrence combined
     ITEM 7. SC3'IEDULE OF UNDERLYING INSURANCE: $5 r 000,000

       Personal injury ancl/or Property-Damage ancl/or Advertising Liability:ancl/or Aircraft ;
     - Liability•as provided by First State Insurance'Company, PoliCy. No., to be advised, in.excess

       of various scheduled primary limits or.self-insured retentions.



                                             FOLLOWING FORM BLANKET EXCESS LIABILITY' POLICY
    The Company designated above, a stock insurance company, (herein called the Company) agrees with the insured, named in the declara-
    tions made a part hei-eof, in consideration of the payment of premium and in reliance upon the statements in the declarations and subject
    to the limits of liability, exclusions, conditions and other terms of this policy:
    INSURING AG$EEMENTS                                                                     policy shall in the event of reduction, apply as excess of the reduced
                                                                                            limit of liability thereunder. Subject to the applicable limit of liabil-
    1. Coverage: To indemnif Y ihe Insured for the Insured's ultimate nei                   ity - as respects each occurrence, the limit of liability stated in the
    loss in excess of the insurance afforded under the Bianket Excess                       declmations as "aggregate:' shall be the total limit of the Company's
    Liability or "Umbrella" policies specified in Item 7 of the Declara-                    liability for all damages sustained during each annual period of
    tions, hereafter called underlying insurance, in full force and effect                  this policy.
    at the inception of,this policy, provided that the insurance for injury
    to or destruction of -property under this policy and underlying                         3. Policy Period, This policy applies only to occurrences which take
    policies shall not apply except as respects injury io or destruction                    place during the policy period.
    of corporeal property, including loss of use thereof.
    R. Limit of Liability. The Company shall be liable only for•, the limit   DEFINITIONS
    of liability stated in Item 3 of the Declarations in excess of the        "Ultimate net loss" means all sums actually' paid, or which the
    limit or limits of liability of the applicable underlying insurance       Insured is legally. obligated to pay, as damages in settlement or
    policy or policies all as stated in the declarations of this policy.      satisfaction of claims or 'suits for which insurance is afforded by
    The limit of the liability stated in the declarations as applicable       this policy, after proper deduction of all recoveries or salvage.
    to "each occurrence" shall be the total limit of the' Company's
    liability for all damages sustained as the result of any one occur-       CONDITIONS
    rence, provided, however, in the event of reduction or exhaustion
    of the applicable aggregate limit or limits of liability under said       1. Maintenance of Primary Insurance. The Insured warrants, and
    underlying policy or policies solely by reason of losses paid there-      il is a condition of this policy, that at the inception of this policy,
    under on account of occurrences during this policy period, this           insurance afforded by the underlying policies of insurance (apply-
                                                                (Continued on Page Two)
                              COUNTERSIGNATURE DATE .                                  I                   COUNTERSIGNATURE OF AUTHORIZED A


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                                  1/13/84 cam                                                              ~      i                     -(.-
    PAGE ONE
                         " .. ...                     . .
      Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.137 Page 127 of 222
                                           ~                                    - -... ..... ~. .


                                                       (Continued from Preceding Page)

ing as excess over various policies of primary insurance) with            Insured with the consent of lhe Company .. in the ' adjustment or
combined limits of liability for said underlying insurance stated in      defense of claims, suits or proceedings shall be borne by the Com-
Item 4 of the declarations, or renewals or replacements thereof not       pany and the Insured in the proportion that each party's share of
affording coverages other than those at inception of this policy,         loss bears to the total amount of said loss. Loss expense hereunder
shall be maintained in full effect during the period of this policy,      shall not include salaries and expense of the Insured's employees
except for reduction of aggregate limits solely as a result of pay-       incurred in investigation, adjustment and litigation.
ment of claims 'arising out of occurrences during this policy period.     5. Appeal. In the event the Insured or any underlying insurer
If such underlying insurance is not maintained in full effect by the
                                                                          elects not to appeal a judgment in excess of the amount of the
Insured or if there is any change in the scope of coverage under
                                                                          underlying insurance, the Company may elect to appeal at its
any underlying insurance, ihe insurance afforded by this policy
                                                                          expense and shall be liable for the expenses incidental thereto,
shall apply in the same manner as though such underlying policies         but in no event shall the liability of 1he Compahy for ultimate net
had been so maintained and unchanged.                                     loss exceed the amount set forth• in the policy plus the expenses.
The insurance afforded by this policy is subject to the same war-         incidental to such appeal.
ranties, terms (including the terms used to describe lhe application
of the limits of liability), conditions and exclusions as are contained   6. Subrogation. In the event of any payment of this policy, the
in the underlying insurance on the effective date of this policy,         Company shall be subrogated to all the Insured's rights of recovery
except, unless oiherwise specifically provided in this policy, any        therefor against any person or organization and the Insured shall
such warranties, terms, conditions or exclusions relaiing to              execute and deliver. instruments and papers and do whatever else
premium, the obligation to investigate and defend, the amount             is necessary to secure such rights. The Insured shall do nothing
and limits of liability, and any renewal agreement.                       after loss to prejudice such rights.
2. Notice of Occurance. The Insured shall immediately advise              Any amount recovered as subrogation shall be apportioned in the
the Company of any occurrence or disaster which vrill probably            inverse order of payment of loss to the extent of actual payment.
result in liability under this policy. The Company shall not, how-*.      The expenses of all such recovery proceedings shall be apportioned
ever, be called upon to assume charge of the settlement. or defense       in the ratio of respective recoveries. If there is no recovery in
of any claims made, or suits brought, or proceedings instituted           proceedings conducted solely by the Company, the _Company shall
against the Insured, but shall have the right and opportunity to be       bear the expenses thereof.
associated with the Insured in the defense and trial of any such          7. Premium. The premium for this policy shall be computed upon
claims, suits or proceedings relative to any occurrence which, ,in        the basis stated in the Declarations. The advance premium stated
the opinion of the Company, ma,y create liability on the part of the      in the Declarations, unless otherwise speciffed is an estimated
Company under the terms of the policy. If the Company avails              premium only. Upon termination of this policy the earned premium
itself of such right and opportunity, the Insured and the Company         shall be computed and if the earned premium is more than the
shall cooperate in all respects so as to effect a final determination     advance - premium paid, the Named Insured shall pay the excess to
of the clafm or claims.                                                   the Company; if less, the Company shall return to the Named
3. Payment of Loss. It is a condition of this policy that the insurance   Insured the unearned portion, subject to the annual minimum
afforded under this policy .shall apply only after all underlying         premium stated in the Declarcttions for each twelve months of the
insurance has been exhausted. Upon final determination by settle-         policy period, and subject fiirther to the policy minimum premium
ment, award or verdict of the liability of the Insured, the Company       as stated in the Declarations.
shall promptly pay the Insured as the Insured shall pay, or be            8. Cancellatian. This policy may be cancelled by either party upon
required to pay, the amounts of any losses falling within the terms       30 days' notice in writing to the other stating the date cancellation
or limits of this insurance. All losses covered under this policy         shall be effective. If cancellation is at the request of the Insured,
shall be due and payable by the Company within 30 days after              adjustment of premium shall be at short rate, and if cancelled by
they are respectively claimed and proof. of loss filed with the Com-      the Company, adjustment shall be made pro rata. However, in the
pany in conformity with this policy. Bankruptcy or insolvency of          event of cancellation or- termination of the underlySng insurance,
the Insured shall not relieve the Company of any of its obligations       this policy shall cease to apply at the same time without notice
hereunder.                                                                to the Insured. Notice shall be given by the Company to the Insured
4. Payment of Expenses. Loss expenses and legal expenses, includ-         at the address shown in the declarations. Payment or tender of
ing court costs and interest, if any, which may be incurred by the        unearned premium is not a condition of cancellation.



                                    NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
                                                                 (BROAD FORM)

It is agreed that the policy does not apply:                              (c) the injury, sickness, disease, death or destruction arises out of
                                                                          the furnishing by an insured of services, materials, parts or equip-
I. Under any Liability Coverage, to injury, sickness, disease, death      ment in connection with the planning, construction, maintenance,
or destruction                                                            operation or use of any nuclear facility, but if such facility is located
                                                                          within the United States of America, its territories' or possessions
(a) with respect to which an insured undei the policy is also an
                                                                          or Canada, this exclusion (c) applies only to injury to or desiruction
insured under a nuclear energy liability policy issued by Nuclear         of property at such nuclear facility.
Energy Liabilfty Insurance Association, Mutual Atomic Energy Lia-
bility Underwriters or Nuclear Insurance Association of Canada, or        III. As used in this endorsement:
would be an insured under any such policy but for its termination
upon exhaustion of its limit of liability; or                             "hazardous properties" includ'e radioactive, toxic or explosive
                                                                          properties;
(b) resulting from the hazardous properties of nuclear material
and with respect to which (1) any person or organization is               "nuclear material" means source material, special nuclear material
required to maintain financial protection pursuant to the Atomic          or byproduct material;
Energy Act of 1954, or any law amendatory thereof, or (2) the
insured is, or had this policy not heen issued would be, entitled to      "source material;' "special nuclear material;' and "byproduct ma-
indemnity from the United States of America, or any agency thereof,       teriaf" have the meanings given them in the Atomic Energy Act of
under any agreement entered into by the United States of America,         1954 or in any law amendatory thereof;
or any agency thereof, with any person or organization.                   "spent fuel" means and' fuel element or fuel component, solid or
                                                                          liquid, which has been used or exposed to radiation in a nuclear
II. Under any Liability Coverage, to injury, sickness, disease, death     reactor;
or destruction resulting from the hazardous properties of nuclear
material, if                                                              "waste" means any waste material (1) containing byproduct ma-
                                                                          terial and (2) resulting from the operation by any person or
(a) the nuclear material (1) is at any nuclear facility owned by,         organization of any nuclear facility included within the deffnation
or operated by or on behalf of, an insured or (2) has been dis-           of riuclear facility under paragraph (a) or (b) thereof;
charged or dispersed therefrom;
(b) the nuclear material is contained in spent fuel or waste at           "nuclear facility" means
any time possessed, handled, used, processed, stored, transported         (a)- any nuclear reactor,
or disposed of by or on behcalf of an insured; or                         (b) any equipment or device designed or used for (1) separating

PAGE TWO                                                    (Continued on Next Page)
                  .
      Case 1:19-cv-00010-JTN-ESC
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                                          ~          .                                       ~


                                                    (Continued'irom Preceding Page)
the isotopes• of uranium or plutonium, (2) processing or utilizing    and includes the site on which any of the foregoing is located, all
spent fuel, or (3) handling, processing or packaging waste,           operations conducted on such site and all premises used for such
(c) .any equipment or device used for the processing, fabricating     operations; -
or alloying of special nuclear mat'erial if at any tune the total
amount of such malerial in the custody of the insured at the          "nuclear reactoi' means any apparatus designed or used to sus-
premises where such equipment or device is localed consists of        tain nuclear iission in a self-supporting chain reaction or to contain
or contains more than 25 grams of plutonium or uranium 233 or         a criticai mass of fissionable material;
any combination thereof, or more than 250 grams of uranium 235,       With respect to injury to or destruction of property, the word
(d) any structure, basin, excavation, premises or place prepared or   "injury" or "destructiori' includes all forms of radioactive con- .
used for the storage or disposal of waste,                            tamination of property.


      IN WITNESS WHEREOF, FIREMAN'S FUND INSURANCE COMPANY has caused this Policy to be signed by its President and Secretary
but this Policy shall not be valid unless countersigned by a duly authorized Agent of the Company.




                                       SECRETARY                                                             PRE5IDENT




FINAL PAGE
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                                  ~             End. #1 .


                                          NAMED INSURED


 INSURED                                                              POLICY NUMBER


             O
 PRODUCER        ~            ~       .    '                          EFFECTIVE DATE

            Frank B. Ha 1 & Co.                                                 8

                     item #1 of the Declarations is qompleted to 'read.as follows:

            Named Insuxed: Wolverine Mutual Benefit Associatiqn
                                  Wolverine World Wide, inc.
                                  Institutional Shoe Corporation
                                  Wolverine International, Inc.
                                  Aquadilla Shoe.Corporatibn
                                  Seaboard Sales Corporation
                                  WWW Retail, Inc.•
                                  Little Falls Footwear, Inc.
                                  Wolverine World Wide Employees Federal Credit Union
                                  Wolverine Service Club, Inc.
                                  Wolverine Glove Company
                                  Thompson Safety Equipment Company
                                  Wolverine Boot Corporation
                                  Viner Brothers, InC.
                                  Lustig's, Inc.
                                  Town & Country Shoes, Inc.
                                  Brooks Shoe, Inc.
                                  Wolverine World Wide, Ltd.
                                  Bick Manufactiiring Co.
                                  0'Connor and Goldberg, Inc.
                                  •
                                  KAEPA, Inc.
                                  Kara International, Inc.
                                  Quoddy Division of WWW Retail, Inc.
                                  Shoe Center, Inc..
                                  And all subsidiaries (including subsidiary thereof) and/or
                                  divisions or entities of Wolverine World Wide, Inc., now
                                  existing or which Wolverine World Wi.de, Inc, may create,
                                  acquire, organize or control.



                                                                   COUNTERSIGNATURE OF AUTHORIZED AGENT
                     ONE OF THE
   FIREMAN'S FUND INSURANCE COMPANIES
            AS NAMED IN THE POLICY             C~~ ~~Q•-•v
                                                PRESIDENT   10-X

1 8000 1-1-65
  Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.140 Page 130 of 222
                                      MW        End. #2


                                      CROSS LIABILITY EXCLU5ION


 INSURED                  '                 .       .                POLICY NUMBER

           Wolverine Wor1d Wide, Inc., et al.                          ..XLX 148 41 89
PRODUCER                                                             EFFECTIVE DATE

           Frank B. Hall & Co..                                          1/'1/84



           In consideration of the premium charged, it is understood and agreed
           that such'coverage as is.afforded by this policy shall not apply to
           any claim, action or suit brought by or on.behalf of any Insured
           under th'is policy against any other Insuzed under this policy.




                                                                   COUNTERSIGNATURE OF AUTHORIZED AGENT
                 ONE OF THE
   FIREMAN'S FUND INSURANCE CONIPANIES
           AS NA.MED IN TY.E POLICY
                                                PRESIDENT   f0-X

180001-1-65
                                                                                      _
   Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.141 Page 131 of 222
                                    ~         End. #3


                         AMENDATORY ENDORSEMENT - LIMIT OF LIABILITY


 INSURED                                                           POLICY NUMBER .

           Wolverine World Wide, Inc., et al.                            XLX 148 41 89
 PRODUCER .                                                        EFFECTIVE DATE

           Frank B. Hall &'Co.                                           1/1/84



     In consideration of the premium charged, it is agreed Insuring Agreement 2,
     Limit of Liability, is clianged to read as follows:                "


              2. Lim it of Liability

                 The Company sha11 be liable only for tfie limit of liability
                 stated in Item 3 of the Declarations in excess of tlie limit
                 or limits of liability of the applicable underlying insurance
                 policy or policies al1 as stated in the declarations of this
                 policy. The limit of the liability stated in the dec].ara-
                 tions as applicable to "each occurrence" shall be the total
                 limit of the Company's liability f or all damages sustained
                 as the result of any one occurrence, provided, howevery in
                 the event of reduction or exhaustion of the applicable
                 aggregate limit or limits of liability under said underlying
                 policy or policies solely by reason of losses paid thereunder
                 on account of occurrences during this policy period, this
                 policy shall in the event of reduction, apply as excess of
                 the reduced limit of liability thereunder. Subject to the
                 applicable limit of liability as respects each occurrence,
                 the limit of liability stated in tlie declarations as
                 "aggregate" shall be the total limit of the Company's lia-
                 bility for a11 damages sustained during each annual period-
                 of this policy because of (i), personal injury and property
                 damage arising out of the completed operations hazard and
                 products hazard', combined;.or (ii) advertising whenever
                 occurring by whatever media, on account of a11 occurrences;
                 or (iii) injury arising out of any hazard, other than as
                 described in (i) and (ii), to which the underlying policy
                 affords coverage subject to an aggregate limit and to which
                 this policy also applies.


       A11 other terms and conditions of the policy remain the same and unchang ed.




                                                                 COUNTERSIGNATURE OF AUTHORIZED AGENT
                 ONE OF THE
  F'tHEMAN'S FUND INSUR~INCE COMPANIES
           AS NAMED IN THE POLICY        c%
                                              PRESIDENT   10-X

180001-1-65
          Case 1:19-cv-00010-JTN-ESC
PRODUCER'S CODE '       NAME AND LO~
                                     ECF .No. 1-1 PREYIOUS
                                                   filed 01/07/19
                                                           POLICY NUMBER
                                                                        PageID.142 Page 132 of 222
                                                                                                                                 "           i.. •             POLICY NUMBER                  '
                                                                                                                    0
     20•' 21.1 013 Frank B. Hal1 & Co. - Boston XLX 148 41 ,89                                                       3-62 :/~L~/~                    - 162 13 65
               BLANKET EXCESS LIABILITY POLICY                                                                           Ol FIREMAN'S FUND
                     (FOLLOWING FORM)                                                                                          INSURCE
                                                                                                                                   MI COMPANY                  SAN FRANpSCO, CAUFORMA
 BSN                                                                                                                     18 THE AMERICAN. . .
                                                                                                    A                          INSURCE
                                                                                                                                   M7 OOMPANY~                 PARSIPPANY, NEW JERSEY
           Coverage is provided in the Company designated by number,
     ]$    a stock insurance Company'(herein called the Company) .                                  FIREMAN'S -          07 NATIONAL SURETY
                                                                                                                               CORPORATION           •                 CHICAGO, ILUN0IS
                             DECLARATI0NS                                                           FUND
ITEM 1. INSURED'S NAME AND ADDRESS (NO., STREET, TOWN. COUNTY, STATE)                               INsuftnNCE           13 ASSOCIATED INDEMNITY
                                                                                                    COMPANIES                  CORPORATIDN                .          MCI CAUFORNIA
                                                                                                                                                               84N FRSCO.
                                                                                                   MAIL ADDRESS          15 AMERICAN 'AUTOMOBILE                            •
          ~ Wolverine Wor1d Wide ,                        Inc
                                                            .
                                                              ., et al . ~                         SAN FRANCISCO              ' INSURPCE
                                                                                                                                      N COMPANY                , CREVE COEUR• MISSOURI
               (See Endorsement #1)                                                                 CALIFORNIA
               9 341 Courtland Drive
               Rockford, Michigan -49351                                             I:~ ;~'~~ w.~~?o~.. Franlc B. Hall & Oo® ®f 1Wassachusetts; lnc. I
          L                                                                   ~      ~~~`"`~~~
                                                                                       ~ ,       A ~        89 Broad Street, Bost©n Mass. 02110        ;
POLICY PERIOD:
                                                           •                           , . j~.:.
                                                                                             ~ 0< .                   (617~ 482-3100                                                                  ~j


ITEM2.
               1/1/85                                            /
                                                                  -1 1/8-6           ~~` ~~-^~>r
                                                                                           .    . ~-= ' a              larmer! Bolf Dalton ~ Church
                                                                                                            _ ~ . ---~ ---._ ~...-- '—'- •- - --'--- --..__.~ _.._...—'--- •-----
                                                                                                                                                                                                      ;
             INCEPTION (MO. DAY YR.)           .          EXPIRATION (MO. DAY YR.)                                                                                            .
       12:01 A.M., STANDARD TIME AT THE ADDRESS OF THE NAMED INSURED A9 STATED HEREIN.                 ..




     ITEM 3.
                                   LIM'IT OF LIABILITY:

 .                                     •              -          S'' 15,000,000.                       . EACH OCCURRENCE

                                                                 $' 15,000,000.                        . AGGREGATE


     ITEM 4;             '                                     UNDERLYING INSURANCE LIMIT OF LIAHILITY                           .       .


                                                  .             .$   5,000,000.                        . EACH OCCURRENCE                         .
                                              .            '     s   5   000,000.                      . AGGREGATE        '          '

     ITEM S.                     PREMIUM BASIS                            ,              ITEM 6.
                                                                                                        ADVANCE PREMIUM: $' -12.,500.                              .                      .
                s     'Flat Charge                                                          ANNUAL MINIMUM PREMIUM: 5                    • 12,500.

     IN THE EVENT OF CANCELLATION BY THE NAMED .INSURED, THE COMPANY SHALL RECEIVE-AND RETAIN NOT LESS THAN $                                                              rjOO, '
 AS THE POLICY MINIMUM PREMIUM,

     ITEM 7. SCHEDULE OF UNDERLYING IN$URANCE: . Single. Limit any One oceurrence combined
                                                                     $5,000,000
 Personal Injury and/or Property.Damage and/or Advertising.Liability.ancl/or'Aircraft.
 Liability:'as provided by INA, Policy No. to be advised; in excess of various scheduled
 primary limits or self.-insured retentions.



                                             FOLLOWING FORM BLANKET EXCESS LIABILITY POLICY,
The Company designated above, a stock insurance company, (herein called the Company) agrees with the insured, named in the declara-
tions made a part hereof, in consideration of the payment of premium and in reliance upon the statements in the declaralions and subject
to the limits of liability,.exclusions, conditions and other terms of tliis policy:
INSURING AGREEMENTS                                                       policy shall in the event of reduction, apply as excess of the reduced
                                                                          limit of liability thereunder. Subject to the applicable limit of liabil-
I. Covera ge. To inclemnif Y the Insured ior ihe Insured's ultimate net   ity as respects each occurrence, the limit of liability stated in the
loss in excess of the. insurance afforded under. the Blanket Excess       declarations as "aggregate" shall be the total limit of the Company's
Liability or "Unibrella' policies specifted in Item 7 of the Declara-     liability for all damages sustained during each annual period of
tions, hereafter called underlying insurance, in full force and effect    this policy.
at the inception of,this policy, provided that the insurance for injury
to or destruction of 'property under this policy and underlying           3. Policy Period. This policy applies only to occurrences which take
policies shall not apply except as respects injury to or destr.uclion     place during the policy period.
of corporeal property, including loss of use thereof.
2. Limit of Liability. The Company shall be liable only for the limit.    DEFINITIONS
of liability stated in Item 3 of the Declarations in excess of the        "Ultimate net loss" means all sums actually paid, or which the
limit or limits of liability of the applicable underlying insurance       Insured is legally obligated to pay, as damages in settlement or
policy or policies all as stated in ttie declarations of this policy.     satisfaction of claims or suits for which insurance is afiorded by
The limit of the liability stated in the declarations as applicable       this policy, after proper deduction of all recoveries or salvage.
to "each occurrence" shall be the toial limit of the Company's
liability for all damages sustained as the result of any one occur-       CONDITIONS
rence, provided, however, in the event of reduction or exhaustion
of Ihe applicable aggregate limit or limits of liability under said       1. Maintenance of P.rimary Insurance. •The Insured warranis, and
underlying policy or policies solely by reason of losses paid there-      it is a condition af this policy, that at the inception of this .policy,
under on account of occurrences during• this policy period, ihis          insurance aftorded by the underlying policies of insurance (apply-
                                                            (Continued on Page Two)
                             COUNTERSIGNATURE DATE                                                      COUNTERSIGNATURE OF AUTHORIZED AGENT


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PAGE ONE .                         .                                                     !3Y_in.   .~i~~-~LC-i r~~i~`'~C.-~-~                                          , 5902-2-72
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                                                                                                                                                         v -
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                                                      (Continued from Preceding Page) .

ing as excess over various policies of primary insurance) with            Insured with the consent of the Company in the adjustment or
combined limits of liability for said underlying insurance stated in      defense of claims, suits or proceedings shall be borne by the Com-
Item 4 of the declarations, or renewals or replacements thereof not       pany and the Insured in the proportion that each party's share of
affording coverages other than those at inception of this policy,         loss bears to the total amount of said loss. Loss expense hereunder
shall be maintained in full effect during the period of this policy,      shall not include salaries and expense of the Insured's employees
except for reduction of aggregate limits solely as a, result of pay-.     incurred in investigation, adjustment and litigation. '
ment of claims arising out of occurrences during lhis policy period.      5. Appeal. In the event the Insured or any underlying insurer
If .such underlying insurance is not maintained in full effect by the     elects not to appeal a judgment in excess of the amount of the ,
Insured or if there is any change in the'scope of coverage under          underlying insurance, the Company may elect to appeal at its
any underlying insurance, the insurance afforded by this policy           expense and shall be liable for the expenses incidental . thereto,
shall apply in the same manner as though such underlying policies         but in no event shall the liability of the Company for ultimate net
had been so mainlained and unchanged.                                     loss exceed the amount set forth ih the - policy plus the expenses
The insurance afforded by this policy is subject to the same war-         incidental to such appeal.
ranties, terms (including the terms used to describe the application
of the limits of liability), conditions and exclusions as are contained   6. Subrogation. In the event of any payment of this policy, the
in the underlying insurance on tlie effective daie of this policy,        Company shall be subrogated to all the Insured's' rights of recovery
except, unless otherwise specifically_ provided in this_ policy, any      therefor against any person or organization and the Insured shall
such warranties, terms, conditions or exclusions relating to              execute and deliver instruments and papers and do whatever else
premium, the obligation to investigate and defend, the amount             is necessary to secure such rights. The Insured shall do nothing
and limits of liability, and any renewal agreement.                       after loss to prejudice such rights.
2. Notice of Occurance. The Insured shall immediately advise              Any amount recovered as subrogation shall be apportioned in the
the Company of any occurrence or disaster which will probably             inverse order of payment of loss to the extent of actual payment.
result in liability under this policy. The Company shall not, how-        The expenses of all such recovery proceedings shall be apportioned
ever, be called upon to assume charge of the settlement or defense        in the ratio of respective recoveries. If there is no recovery in
of any claims made, or suits brought, or proceedings instituted           proceedings conducted solely by the Company, the Company shall
against the Insured, .but shall have the right and opportunity to be'     bear the expenses thereof.
assoeiated with the Insured in the defense and trial of any such          7. -Premium, The premium for this policy shall be computed upon
claims, suits or proceedings relative to any occurrence which, in         the basis stated in the Declarations. The advance premium stated
the opinion of the Company, may create liability on the part of the       in the Declarations, unless otherwise specified is an estimated
Company under the terms of the policy. If the Company avails              premium only. Upon lermination of this policy the earned premium
itself of such right and opportunity, the Insured and the Company         shall be computed and if the earned premium is more than the
shall cooperate in all respects so cts to effect a final determination    advance premium paid, the Named' Insured shall pay 1he excess to
of the clafm or claims.                                                   the Company; if less, the Company shall return to the Named
3. Payment of Loss. It is a condition of this policy that the insurance   Insured the unearned portion, subject to the annual minimum
afforded under this policy shall apply only after all underlying          premium stated in the Declarations for each twelve months ol the
insurance has been exhausted. Upon final determination by settle-         policy period, and subject further to the policy minimum premium
ment, awcad or verdict of the liability of the Insured, the Company       as stated in the Declarations.
shall promptly pay the Insured as ihe Insured shall pay, or ' be.         8. Cancellation. This policy may be cancelled by either party upon
required to pay, the amounts of any losses falling within the terms       30 days' notice in writing to the other; stating the date cancellation
or limits' of this insurance. All losses covered under this policy        shall be effective. If cancellation is at the request of the Insured,
shall be due and payable by the Company within 30 days after              adjustment of premium shall be at short rate, and if •cancelled by
they are respectively claimed and proof of loss filed with the Com-       the Company, adjustment shall be made pro rata. However, in the
pany in conformity with this policy. Bankruptcy oi insolvency of          event of cancellation' or termination of the underlying insurance,
the Insured shall not relieve the Company of any of its obligations       this policy shall cease to apply at the same time wifhout notice
hereunder.                                                                to the Insured. Notice shall be given by the Company to the Insured
4. Payment of Expenses. Loss expenses and legal expenses, includ-         at• the address shown in the declarations. Payment or tender of
ing court costs and interest, if any, which may be incurred by the        unearned premium is not a condition of cancellation.



                                    NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
                                                                (BROAD FORM)

It is agreed that the policy does not apply:                              (c) the injury, sickness, disease, death or destruction arises out of
                                                                          the furnishing by an insured of services, materials, parts or equip-
I. Under any Liability Coverage, to injury, sickness, disease, death      ment in connection with the planning, construction, maintenance,
or destruciion                                                            operation or use of any nuclear facility, but if such facility is located
                                                                          within the United States of America, its territories 'or possessions
(a) with respect to which an insured under the policy is also an          or Canada, this exclusion (c) applies only to injury to or destruction
insured under a nuclear energy liability policy issued by Nuclear         of property at such nuclear facility.
Energy Liability Insurance Association, Mutual Atomic Energy Lia-
bility Underwriters or Nuclear Insurance Association of Canada, or        III. A; used in this endorsement:
would be an insured under any such policy but for its termination
upon exhaustion of its limit of liability; or                             "hazardous properties" include radioactive, toxic or explosive
                                                                          properties;
(b) resulting frorn the hazardous properties of nuclear material
and with respect to which (1) any person or organization is               "nuclear material" means source material, special nuclear material
required to maintain financial protection pursuant to the Atomic          or byproduct material;
Energy Act of 1954, or any law amendatory thereof, or (2) the
insured is, or had this policy not been issued would be, entitled to      "source material;' "special nuclear malerial:' and "byproduct ma-
indemnity from the United States of America, or any agency thereof,       terial" have the meanings given them in the Atomic Energy Act of
under any agreement entered into by the United States of America,         1954 or in any law amendatory lhereof;
or any agency thereof, vrith any person' or organization.                 "spent fuel" means and fuel element or tuel component, solid or
                                                                          liquid, which has been used or exposed to radiation in a nuclear
II. Under any Liability Coverage, to injury; sickness, disease, dealh     reactor;
or destruction resulting from the hazcadous properties of nuclear
material, if                                                              "waste" means any waste material (1) containing byproduct ma-
                                                                          terial and (2) resulting from the operation by any person or
(a) the nuclear material (1) is at any nuclear facility owned by,         organization of any nuclear facility included within the defination
or. operated by or on behalf of, an insured or (2) has been dis-          of nuclear facility under paragraph (a) or (b) thereof;
charged or dispersed therefrom;
(b) the nuclear material is contained in spent fuel or waste at           "nuclear facility" means
any time possessed, handled, used, processed, stored, transported         (a) any nuclear recactor,
or disposed of by or on behali of an insured; or                          (b)any equipment or device designed or used for (1) separating

PAGE 7'WO ,                                      ~         (Contfnued on Next Page)
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                                                    (Continued from Preceding Page)
the isolopes of uranium or plutonium, (2) processing or utilizing      and includes the site on which any of. the . foregoing is located, all
spent fuel, or (3) handling, processing or packaging waste,. -         operations conducted on such site and all premises used for such
(c) any equipment or device. used for the processing, fabricating      operations;
or alloying of special nuclear material il at any. tirne the total     ^nuclear reactor" means any, apparatus designed or used to sus- .
amount of such material in the custody of the insured at ihe .         tain nuclear fission in a self-su     rtin chain reaction or to contain
premises where such equipment or device is located consists of                                           pF'O g
                                                                       a critical mass of fissionable material;
or contains more than 25 grams of plutonium or uranium 233 or
any combination thereof, or more than 250 grams of uranium 235,        With .respect to injury to or destr.uction of . property, the .word.
(d) any structure, basin, excczvaiion, premises or place prepared or   "injury" or "destructiori' includes all forms of radioactive con-
used for the storage or disposal of waste, ,                           tamination of property.


      IN WITNESS WHEREOF, FIREMAN'S FUND INSURANCE COMPANY has caused this Policy to be signed by its President and Secretary
but this Policy shall not be valid unless countersigned by a duly authorized Agent of the Company.




                                       SECRETARY                                              ~    PRESIDENT



FINAL PAGE




                 r
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                                            End. #1                 ~


                                         NAMED INSURED

 INSURED                                                       POLICY NUMBER

             Wolverine World Wide, Inc.                           XLX 162 13 65
 PRODUCER                                                      EFFECTIVE DATE

             Frank 8. Hall & Co.                                  1/1/85



                  Wolverine Worl:d Wide, Inc.

                  Wolverine Service Club'

                   Wolverine Mutual Benefit Assoc.

                   Wolverine World.Wi.de Employee's
                     Federal Credit Union


                   And all.subsidiaries (including subsidiary thereof). and/or
                   divisions or entities of the Named Insured now existing or
                   which the Named Insux'ed may areate, acquire, organize or
                   control,.and any other company coming under.the Named
                   Insured's control or which it assumes active management.




                                                             COUNTERSIGNATURE OF AUTHORIZED AGENT
                 ONE OF THE '
   FIREMAN'S FUND iNSURANCE COMPANIES           ~~~
            AS NAMED IN THE POLICY
                                        ~z
                                         P IDENT      10-X

1 80001-1 -65
   Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.146 Page 136 of 222




 INSURED                                                        POLICY NUMBER

           Wolverine World Wide     Inc.                         XLX 162 1.3 65
PRODUCER                                                        EFFECTIVE DATE

           Frank B. Ha11 & Co.                                   1/1/85




                In consideration of.the premium charged,. it is understood and
                agreed that such coverage'as is afforded by this policy shall
                not apply.to any claim,.-.aqtion or suit brought by or on behalf
                of any Tnsured under this policy against any other Insured
                under this policy.:




                                                              COUNTERSIGNATURE OF AUTHORIZED AGENT
                ONE OF THE
   FIREMAN'S FUND INSURANCE CCMPANIES
           AS NAMED IN THE POLICY
                                           PRESIDENT   10-X

1B0001-1 -66
      Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.147 Page 137 of 222
                                                 End. # 3


                                   POLLUTION- - ABSOLUTE EXCLUSION


    INSURED                   .                                        POLICY NUMBER
                     Wolverine World Wide, Inc.                            XLX'162 13 65
    PRODUCER                                                           EFFECTIVE DATE
                     Frank B. Hall & Co.                                   1/1/85



                   It is agreed that the insurance afforded under'this policy shall
                   not apply to:


                   POLLUTION - to any liability (1) arising out of the discharge,
                   dispersal, release or escape of smoke, vapors, soot, fumes, acids,
                   alkalis, toxic chemicals, liquids or gases, waste materials or
                   other irritants, contaminants or pollutants into or upon 1end,
                   the atmosphere.or any watercourse or body of water; (2):for the
                   cost of removing, nullifying or cleaning up seeping, polluting
                   or contaminating substances; or •(3) for the payment of fines,
                   penalties, punitive or exemplary damages; as respects the
                   following location only which is the Insured's tannery:
                           ~1- :


                                             123.North Main Street
                                             Rockford, Michigan




                                                                     COUNTERSIGNATURE OF AUTHORIZED AGENT
                    ONE OF THE
I FIREMAN'S FUND 1NISURANC£ COMPANIES
               AS NAMED IN THE POLICY
I                                               PRESIDENT   10-K

1 BO001-1 -65
   Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.148 Page 138 of 222
                                         —            End. #4                 ~

                               AMENDATORY ENDORSEMENT - LIMIT OF LIABILITY


 INSURED                                                                    POLICY NUMBER                    .

                   Wolverine World Wide Inc.                                    XLX 162 13 65
 PRODUCER '                                                                 EFFECTIVE DATE

                   Frank B. Hall 6 Co.                                          1/1/85

  In consideration of the premium charged, it is agreed Insuring Agreement 2, Limit of
  Liability , is changed to read.as fallows:

       2. LIMIT OF LIABILITY

             The Company shall be • liable only fos the liaait ef liability stated in
             Item 3 of the Declarations in excess of the limit or limits of liability
             of the applicable underlying insurance policy or policies all as stated
             in the declarations of this policy.• The limit of liability stated in
             the decl4rations as applicable tn "each occurrence" shall be the total
             limit of`-the Company's liability for all damages sustained as the result
             of any one occurrence, provided, however, in the event of reductinn or .
             exhaustion of the applicable aggregate limit or limits of liability under
             said underlying policy or policies solely by reason,of losses paid here-
             under on account of occurrences during this policy period and for which
             coverage is afforded by this policy,.this policy shall in the event of
             reduction, apply as excess of the ireduced limit of liability thereunder.
             Stiibject to the applicable limit of liability.as respects each occurrence,
             the limit of liability stated in the declarations as "aggregate" shall
             be the total limit of the Company's liability for all damages sustained
             during each annual period of this policy becuase of (i) personal injury
             and property damage arising out of the completed operations hazard and
             products hazard, combined= or (ii) advertising whenever occurring by
             whatever media, on account of all occurrence= or (iii) injury arisi.ng
             out of any hazard, other than as describ+ed in (i) and (ii), to which the
             underlying policy affords coverage subject to an aggregate'limit and to_
             which this policy also applies.




                                                     Accepted by~~~ .~ , ~
                                                               (Authorized Hignature)


                                                            Date               ~—~—




                                                                          COUNTERSIGNATURE OF AUTHORIZED AGENT
                   ONE OF THE
   TI~.1ULF1•S FZJi~I
                   '1 HtSlJZt ANC'E COF7Pj'►h I~.J
             AS NAMED IN THE POLICv
                                                     PRESIDENT     10-X

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    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.149 Page 139 of 222



                                      NOTICE OF CANCELLATION

                                                                              End. #5
 INSURED'    ~                                                     POLICY NUMBER

             Wolverine World Wide, Inc.                                 XLX 162 .13 65
I PRODUCER           ~                 .~ ~                        EFFECTIVE DATE

             Frank B. Hall & Co,                                        1/1/85 .



             It is understood and agreed that the words "thirty. .(30) days" as stated
             in CONDITION, Item #8, CANCELLATION are amended to read sixty, :(60) days..




                     A11 other terms and conditions remain unchanged.




                                                                 COUNTERSIGNATURE OF AUTHORIZED AGENT
                  ONE OF TH E
   FIREMAN'S FUND INSURANCE COMPANIES
             AS NAMED IN THE POLICY
                                              PRESIDENT   10-X

1 8000 1-1-6 5
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                                                                                      ENDT..

                                           NAMED INSURED


 INSURED                                                             POLICY NUMBER

            Wolverine World Wide, Inc.,         et al                XLX-162 13 65
 PRODUCER      '                                                     EFFECTIVE DATE

            Frank B. Ha11                                            1/'1/85



            The Named Insured as shown in'the Declarations is amended to
            incl.ude the followirig:

                                         T.S.E., Inc.




                                     '                             COUNTERSIGNATURE OF AUTHORIZED AGENT
                   ONEOFTHE
   FIREMAN'S FUND INSURANCE COMPANIES ~~~ 4Z
            AS NAMED IN THE POLICY
                                                PRESIDENT   10-X

1 80001-1-65
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                                        NAMED INSURED


 IN9URED                                                          POLICY NUMBER

            Wolverine World Wide, Inc.,       et al                XLX-162 13.65
 PRODUCER                                                         EFFECTIVE OATE

            Frank B. Ha11.                                             3/20'/85


            The Named Insured as shown in'the Declarations is amended to.
            include the following:

                                      W.G.C., Inc.




                                                  •             COUNTERSIGNATURE OF AUTHORI,ZED AGENT
                  ONE OF THE
   FIREMAN'S FUND INSURANCE COMPANIES
             AS NAMED IN THE POLICY
                                             PRESIDENT   10-X

18000 1-1-65
                        Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.152 Page 142 of 222
100% Recycled 30% PCW




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           Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.153
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                                                                                       Prev, of  222
                                                                                             Carrier No.
                   L—DJ                          n   ~0;;
                                                                          3CXNew; ❑ Renewal; ❑ Rewrite or:
                   j   I'~LeA>3aln /GL:       1M ~             -
       etroit                          Aeito: 102 Li.ab. ✓
                                              10% Physi Demae ✓                                                                                          *KEW ~~JS:iti~S
     CT/le      7-8-77
                                   INSURANCE COMPANY OF NORTN AMERICA                                              MULTIPLE LIABILITY          POLICY
                                                                                                                                                                                         M.
                                                                                                                                                                                         ~
                                                                                                                                                                                         r
     Named      r— WOLVEELINE WORLD WIDS, C. , eta~''~~                                                    -'
     Insured                                      'I K; t': `'a.s'                                                      9                                                                C~
                   9341 Conrtland Drive ~
                                                             —                                                     ~               e N med Insured is:               ~                   CA
                  Rockford , MI. 4~9351 ✓
     Address
     ~                                           ,                                                                                   ~'~d~al ❑ Partnership A Corporat(on
                                                                                 Q                                                  J~nt Venture ❑ (Other)
                                               ►/({.}'Yn-• _~ ~~T ~ ~3 l
                                               ~~~ - GAG3 ~G                                __~~~ .                           ~             12:01 A.M., standard time at the address
                                                                                                                                            of the Named Insured as stated herein.
                                                                    /                  a                                /
     Policy Period: From                               3-1-77                                        3-1-78                                                                              ~
     Occupation:
     Audit Period: Annual, un(ess otherwise stated

     The insurance afforded is only with respect to such of the following Parts and Coverages therein as are indicated by p. The limit of the Company's liability against each
     such Coverage shall be as stated herein, subject to all of the terms of the policy having reierence thereto.

                                                                                                                        LIMITS OF LIABILITY
                            COVERAGE PARTS                                                    Bodily InJury Liability                            Property Damage Lfability
                                                                                 each occurrence                  aggregate               each occurrence                aggregate
     ❑ Owners', Landlards' and Tenanis' Liability lnsurance
        ❑ Structural Alterations, New Construction, Demolition
     ❑ Manufacturers' and Contractors' Liability Insurance
          ❑ Independent Contractors
     ❑ Completed Operations and Products Liability Insurance                            ~
       Contractual Liability Insurance
     jL Comprehensive General Liability Insurance                             500, 000 ✓                         500,000 `~                 100,000                  100,000
     ❑

                                                                                     each person                each occurrence                       each occurrence
     $Xomprehensive Automobile Insurance                                      250, 000 ✓                         500, 000 ✓                 100, 000 ✓
     ❑
                                                                                      Personal Liability                                 Personal Medical Payments
     ❑ Comprehensive Personal Insurance                                               each occurrence                         each person                        each accident
     ❑ Farmer's Comprehensive Personal Insurance                             $                                     $                                   $
                                                                                           Physical Damage to Property                      Animal Collision—Farmer's Part Only
                                                                             $                                   each occurrence         Market Value not exceeding $300 each animal

                                                                                                   each person                                           each accident
     ❑ Premises Medical Payments Insurance                                   $                                                       $
     :Wutomobi(e Medical Payments Insurance                                  $       1,000 ✓
I/   XXInsurance Against Uninsured Motorist                                  $ See Fo'[m DA                      ✓                   $
                                                                                             each person aggregate                                    general aggregate
     jYPersonal Injury Liability Insurance                                                                                           $                     ✓

                                                       iFleet Automatic
     $Automobile Physical Damage Insurance               or Non•Fleet)       (See Additional Declarations aitached for Coverages and Limits of Liability)
     ❑ Automobile Physical Damage Insurance (Dealers)                        (See Additional Declarations attached for Coverages and Limits of Liability)
     ❑ Garage Insurance                                                      (See Additional Declarations attached for Coverages and Limits of Liability)
     Endorsements attacf~'ed to policy at/rnception;   J            J
         LC 1032A, D1426B,J D2256, DA908, DA8163 ~
     During the past three years no insurer ha$ cancelled insurance, issued to the Named Insured, similar to ihat afforded hereunder, unless otherwise stated herein:

       TOTAL ADVANCE PREMIUM ► $                                   If the Palicy Period is more than one year and the premium is to be paid in installments, premfum is payab(e on:
              Effective Date   $
               Ist Anniversary        $
               2nd Anniversary        $                                                                    Countersigned By                                                          '
                                                                                                                                                  Authorized Agent
     This Declarations and Coverage Part(s), with Policy Standard Provisions and Endorsements, if any, issued to form a part thereof, completes the above numbered
     GL-178 Printed ln u.s.A.                                                        . ACaENT'S COPY
       Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.154 Page 144 of 222

                                                     COMPREHENSIYE GENERAL LIABILITV 1NSURANCE



                 ADDITIONAL DECLARATIONS                                               I                        Policy No. GAl• 33 14 83 ✓

                                                                                 SCHEDULE
     Location of all premises owned by, rented to or controlled by
     the Named Insured—ZM UlZited State~d%l Am&ri.r.A- AvaplUdgmir Ptil7l^to 193,P0

     Interest of Named Insured in such premises                   ❑ Owner                    ❑ General Lessee                        ❑ Tenant      aa appliGab]A✓

     Part occupied by Named Insured          La appl3c*ble             ~
     The following discloses all hazards insured hereunder known to ezist at the eflective date of this policy, unless othenvise stated herein.

          Code                                                                                                               Rates                    Advance Premiums
                                        Dexription of Hazards                          Premiam Bases
           No                                                                                                       B.I.              P.D.      Bodily Injury Property Damage
     Premises—Operations

                        Ineladed ia ealaposite irsta ~




                                                                                    (a) Area (Sq. Ft.)        (a) Per 100 Sq. Ft. of Area
                                                                                    (b) Frontage           (b)
                                                                                                             PerLinear Foot
                                                                                    (c) Admissions            (c) Per 100 Admissions
                                                                                    (d) Remuneration          (d) Per $100 ol Remuneration
                                                                                    (e) Receipts           (e) Per $100 af Receipts
                                                                                    (f) Units                 (f) Per Unit
    Escalators (Number at Premises)                                                 Number Insured                    Per Landing
                       Znelnded in emposita rata r

    Independent Contractors                                                                  Cost                  Per $100 ot Cost

                      Il;selnded ia eaeposite rat* ✓

    Completed Operations                                                               (a) Receipts           (a) Per $1000 of Receipts

                      Z~-~' in eoOpositte rata r                                                                               I
                                      `


     Products                                                                              (b) Sales      j      (b) Per $1000 of Sales

                      Itriclndea3 ia ealpoaite rate



    Minimum Premium(s)
                                                                                                                                        PREMIUM
I                                                                                                                                                  ►

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                                                                                         PageID.155 Page 145 of 222
          .-                           — -- --                                                     —    - --        -                        --- • - - ---- ---- - ---i --- -              — -


                                                                CONTRACTUAL LIABILITY INSURANCE COYERAGE PART                                                                   "
                                                                      (Blanket Coverage) ✓                                                                              I                            i
               ---- ------ --- — -------- - ------------ ~- - •------.—..__..i ..__                                                                                                                  j

                               ADDITIONAL DECLARATIONS                                              i                     Policy No        GAL 33 14 83

                -- --•----- - —•------- -- ----~--- --- --------- -- ------— ----1~                         —..—.. _... -- --• -             ~-•-----
                                                                                                                                                -     ---- -- -- ---. _,.. ---                   ~

                                                                                              SCHEDULE
                    It is agreed that the Limits• of Liability set lorth in the Policy Declarations for the Contractual Liability Coverage Part sha(I apply as respects any coverage
                    afforded hereunder unless other specific limits are set forth below.
                                                        Coverage                                                          Limits of Liability (this Coverage Part only)
                                                    Contractual Bodiiy                                                             $ 500, 004 ✓             each occurrence
                                                    Injury Liability


                                                    Contractual Property                                                           $ 1o0, pID() ✓           each occurrence
                                                    Damage Liability                                                               $ 1o0, cloo              aggregate



                    Code                    Beslgnation of Contracts on ffle                                                      Rates                         Advance Premiums
                                              or known to the Company                            Premium Bases
                    No.                                                                                                    B.I.           P.D.          Bodily Iniury    Property Damage

                                                                                                (a) Sales               (a) Per $1,000 of Sales
                                                                                                (b) Cost                (b) Per $300 of Cost


                                      Inclnded in compoeite rate ✓
                                                                                                                                                                 ,




                M)nimum Premium(s)                                                                                                  TOTALS         `a                   ;


                                                                                                                                    TOTAL ADYANCE PREMIUM e ;




                The following exclusions do not apply with respect to any "construction agreements":
      i
      ~                                                                                .

      .                                                                                                                                                                                          i
                When used as a premium basis:                                                                                                                                                    ~

                1, the word "cost" means the total cost of all work in connection with all conlracts of the type designated in the schedule for this insurance with respect to
                    which "cost" is the basis of premium, regardless of whether any liability is assumed under such contracts by the Insured. It includes the cost of all labor,                 I
                      materials and equipment furnished, used or delivered for use in the execution of such work, whether furnished by the Insured, or others inclpding all fees,                I
                      allowances, bonuses or commissions made, paid or due. It shall not include the cost of any operations to which exclusions (o) or (p) apply,.anless such
      ;               exclusions are voided in the schedule.

      I         2.. the word "sales" means the gross amount of money charged by the Named Insured or by others trading under his name fior all.goods and product's•sold.or-
      ~               distributed during the policy period and charged during the policy period for installation, servicing or repair,•and Includes taxes; other.than taxes.wht       ttie :
                                                                                                                                                 .
                      Named Insured and such others collect as a separate item and remit directly to a governmental division.                      "                       ~



          sL•zts (KB) Prmted tn u.s.A.                                                     AGENT'S COPY
    Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed
                                             :m) to 01/07/19
  r, r:uvtrtAGts—L'UNTRACTUAL BODILY INIURY AMLITY                    PageID.156
                                                    bodily injury or pr    mage arisingPage
                                                                                        out of the146  of 222
                                                                                                   ownership, mainte-
                       CONTRACTUAL PROPERTY DAM              ABILITY                       nance• operatron, use, Ic       Wunloading of any mobile equipment while
  The Company will pay on behalf of the Insured all sums which the Insured, by             being used in any prearrai,e r      r organized racing, speed or demolition con-
  reason of conlractual liability assumed by him under any written contract ot             test orin any stunting activity or in practice or preparalion for any such con-
  the type designated in the schedule for this insurance, shall beco me legally            lest or activity;
  obligated to pay as da mages because of                                                  (n) to bodily injury or property damage arising out of the discharge, dispersal,
                                      bodily injury or                                     release or escape of smoke, vapors, soot, fumes, acids, alkalis, toxic chem-
                                      property damage                                      icals, liquids or gases, waste materials or other irritants, contaminants or
                                                                                           pollutants into or upon land, the atmosphere or any water course or body of
  to which this insurance applies, caused by an occurrence, except the liability of
                                                                                           water; but this exclusion does not apply if such discharge, dispersal, release
  the indemnitee resulting from his sole negligence and the Company shall have
                                                                                           or escape is sudden and accidental;
  the right and duty to defend any suit against the Insured seeking da mages on
 account of such bodily injury or property damage, even if any of the allegations          Unless stated in the schedule as not applicable, the following exclusions also
  of the suit are groundless, false or fraudulent, and may make such investigation         apply to contractual liability assu med hy the Insured under any agreement
  and settlement o1 any claim or suit as it deems expedient, but the Company               relating to construction operations.
 shall not be obligated to pay any claim or judgment or to defend (1) any arbitra-         This insurance does not apply:
  tion proceeding wherein the Company is not entitled to exercise the Insured's            (o) to bodily injury or property damage arising out of construction, mainte-
  rights in lhe choice of arbitralors and in the conduct of such proceedings, or           nance or reparr of watercraft or loading or unloading thereof;
 (2) any suit after the applicable limit of the Company's liability has been               (p) to bodily injury or property damage arising out of operations, within fifty
  exhausted by payment of judgments or settlements.                                        (eet of any railroad property, affecting any radroad bridge or trestle, tracks,
 Exclusions                                                                                road beds, tunnel, underpass or crossing;
 This insurance does not apply:                                                            (q) to bodily injury or property damage included within the completed opera-.
 (a) to liability assumed by the Insured under any incidental contract;                    tions hazard or the products hazard;
 (b) (1) if the Insured is an architect, engineer or surveyor, to bodily injury or        (r) to property damage included within (1) the explosion hazard, 12) the
 property damage arising out of professional services performed by such                   collapse hazard, or (3) the underground property damage hazard.
  Insured, including (i) the preparation or approval of maps, drawings, opinions,          II• PERSONS INSURED
  reports, surveys, change orders, designs-or specifications, and (ii) supervisory,        Each of the following is an Insured under this insurance to the extent set
  inspection or engineering services; (2) if the indemnitee of the Insured is an           forth below:
 architect, engineer or surveyor, to the liability of the indemnitee, his agents or
  employees, arising out of (i) the preparation or approval o1 maps, drawings,             (a) if the Named Insured is designated in the declarations as an individual, the
  opimons, reports, surveys, change orders, designs or specifications, or lii) the         person so designated and his spouse;
  giving of or failure to give directions or instructions by the indemnitee, his           (b) if the Named lnsured is designated in the declarations as a partnership or
 agents or employees, provided such giving or failure to give is the primary               joint venture, the partnership or joint venture so designated and any partner or
  cause of the bodily injury or property damage;                                           member thereof but only with respect 'o his liability as such;
 (c) to bodily injury or property damage due to war, whether or not declared,              (c) if the Named Insured is designated in the declarations as other than an
  civil war, insurrection, rebellion or revolution or to any act or condition incident     individual, partnership or joint venture, the organization so designated and any
 to any ot the foregoing;                                                                  executive officer, director or stockholder thereof while acting within the scope
 (d) to bodily injury or property damage for which the indemnitee may be held             of his duties as such.
 liable                                                                                    This insurance does not app(y to bodily injury or property damage arising out
                                                                                           of the conduct of any partnership or )oint venture of which the Insured is a
       (1) as a person or organization engaged in the business of manufacturing,
                                                                                           partner or member and which is not designated in this policy as a Named
            distributing, selling or serving alcoholic beverages, or
                                                                                           Insured.
       (2) if not so engaged, as an owner or lessor of premises used for such pur-
                                                                                          III. LIMITS OF LIABILITY
           poses,
                                                                                           Regardless of the num ber of•(1l Insureds under this policy, (2) persons or
       if such liability is imposed                                                        organizations who sustain bodily in1ury or property damage, or (3) claims made
           (i) by, or because of the violation of, any statute, ordinance or regula-      or suits brought on account of bodily mjury or property damage, the Company's
            tion pertaining to the sale, gift, distribution or use of any alcoholic       liability is limiied as follows:
           beverage,or                                                                    Contractual Bodily Injury Liability—The total liability of the Company for all
           (ii) by reason of the selling, serving or giving of any alcoholic beverage     damages, including damages for care and loss of services, because of bodily
           to a minor or to a person under the influence of alcohol or which causes        injury sustained by one or more persons as a result of any one occurrence shall
           or contributes to the intoxication of any person;                              not exceed the limit of bodily injury liability stated in the schedule or the
            but part (ii) of this exclusion does not apply with respect to liability of   declarations as applicab(e to "each occurrence".
           the mdemnitee as an owner or lessor described in (2) above;                    Contractual Property Damage Liability—The total liabiiity of the Company
 (e) to any obligation for which the Insured or any carrier as his insurer may be         for all damages because of all propert damage sustained by one or more
 held liable under any workmen's compensation, unemployment compensation                  persons or organizations as the result otyany one occurrence shall not exceed
 or disability benefits law, or under any similar law;                                    the limit of property damage liability stated m the schedule or the declara-
                                                                                          tions as applicable to "each occurrence".
(f) to any obligation for which the Insured may be held liable in an action on a
 contract by a third party beneficiary for bodily injury or property damage aris-         Subject to the above provision respecting "each occurrence", the total lia-
ing out of a project for a public authority; but this exclusion does not apply to         bility of the Company for all damages because of all property damage to
an action by the public authority or any other person or organization engaged in          which this coverage applies shall not exceed the limit of property damage
 the project;                                                                              liability stated in the schedule or the declarations as "aggregate". Such
                                                                                          aggregate limit of liability applies separately with respect to each project
(g) to property damage to (1) property owned or occupied by or rented to the              away from premises owned by or rented to the Named Insured.
 Insured, (2) property used by the Insured, or (3) property in the care, custody
 or control of the Insured or as to which the Insured is for any purpose exer-            Contractual Bodify Injury and Property Damage liability
cising physical control;                                                                  For the purpose of determining the limit of the Company's liability, all bodily
                                                                                          injury and property damage arising out of continuous or repeated exposure
(h) to property damage to premises alienated by the Named Insured arising                 io substantially the same general conditions shall be considered as arising
out of such premises or any part thereof;
                                                                                          out of one occurrence.
(i) to loss of use of tangible property which has not been physically injured or          IV. POLICY TERRITORY
destroyed resulting from
                                                                                          This insurance applies only to bodily injury or property damage which occurs
       (1) a delay in or lack of performance by or on behalf of the Named Insured         within the policy territory.
           of any contract or agreement, or
                                                                                          V. ADDITIONAL DEFINITIONS
      (2) the failure of the Named Insured's products or work performed by or on          When used in reference to this insurance (including endorsements forming a
           behalf of the Named Insured to meet the level of performance, quality,         part of the policy):
           fitness or durability warranted or represented by the Named Insured;           "contractual liability" means liability expressly assumed under a written
       but this exclusion does not apply to loss of use of other tangible property        contract or agreement; provided, however, that contractual liability shall not
       resulting from the sudden and accidental physical injury to or destruction         be construed as including liability under a warranty of the fitness or quality of
      of the Named Insured's products or work performed by or on behalf of the            the Named Insured's products or a warranty that work Performed by or on
       Named Insured after such products or work have been put to use by any              behalf of the Named Insured will be done in a workmanlike manner;
      person or organization other than an Insured;                                       "suit" includes an arbitration proceeding to which the Insured is required to
(j) to property damage to the Named Insured's products arising out of such                submit or to which the Insured has submitted wrth the Company's consent.
products or any part of such products;                                                    VI. ADDITIONAL CONDITION
(k) to property damage to work performed by or on behalf of the Named                     Arb(tration
Insured arising out of the work or any portion thereof, or out of materials,              The Comp any shall be entitled to exercise all of the Insured's rights in the
parts or equipment furnished in connection therewith;                                     choice ofarbitrators and in the conduct of any arbitration proceeding.
(I) to damages claimed for the withdrawal, inspection, repair, replacement, or            Premium
loss of use of the Named Insured's products or work completed by or for the               The advance premium stated in the schedule is the estimated premium on
Named Insured or of any property of which such products or work form a part,              account of such written contracts as are on file with or known to the Company.
if such products, work or property are withdrawn from the market or from                  The Named Insured shall notify the Company of all other written contracts
use because of any known or suspected defect or deficiency therein;                       entered into during the policy period to which this insurance applies.
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                                                           PERSONAL INIURY LIABILITY INSURANCE
                                                                            COVERAGE' PART




                 ADDITIONAL DECLARATIONS                                                                  Policy
                                                                                                                           GAL 33 14 83 ✓



                                                                                 SCHEDULE

    The insurance afforded is only with respect to personal injury arising out of an offense included within such of the following groups of offenses as are indicated
    by specific premium charge or charges.

                                                            GROUPS OF OFFENSES                                                      ADVANCE PREMIUM

                                     A. False Arrest, Detention or Imprisonment, or Malicious Prosecution              —        $
                                     B. libel, Slander, Defamation or Violation of Right of Privacy                    —
                                     C. Wrongful Entry or Eviction or Other Invasion of Right of Private Occupancy —            $              -- —


        Insured's Participation            %     Minimum Premium $                        PTAL ADVANCE PREMIUM i>►              $
                                      Ync3nded in CamposiLe Sate ,/



    I. COVERAGE P—PERSONAL INIURY LIABILII'Y                                               (e) to personal injury arising out of a publication or utterance described in
                                                                                               Group B, concerning any organization or business enterprise, or its prod-
    The Company will pay on behalf of the Insured all sums which the Insured                   ucts or services, made by or at the d)rection of any Insured with knowl-
    shall become legally obligated to pay as damages because of injury (herein                 edge of the falsity thereof.
    called "personalinjury") sustained by any person or organization and arising
    out of one or more of the foflowing offenses committed in the conduct of lhe
    Named Insured's business:                                                              II. PERSONS INSURED
                                                                                           Each of the following is an Insured under this insurance to the extent set
      Group A—false arrest, detenlion or imprisonment, or malicious prose-                 forth below:
              cution;
                                                                                           (a) if the Named Insured is designated in the declarations as an individual,
      Group B—the publication or utterance of a libel or slander or of other                   the person so designated and his spouse;
             defamatory or disparaging material, or a publication or utterance
             in violation of an individual's right of privacy; except publica•             (b) if the Named Insured is designated in the declarations as a partnership
             tions or ulterances in the course of or related to advertising,                   or joint venture, the partnership or joint venture so designated and any
             broadcasting or telecasting activities conducted by or on behalf                  partner or member Ihereof but only with respect to his liability as such;
             of the Named Insured;
                                                                                           (c) if the Named Insured is designated in- the declarations as other than an
      Group C—wrongful entry or eviction, or other invasion of the right of                    individual, partnership or joint venture, the organization so designated
             private occupancy;                                                                and any executive officer, director or stockholder Ihereof while,acting
                                                                                               within the scope of his duties as such.
    if such offense is committed during the policy period within the United States         This insurance does not apply to personal injury arising out of the conduct
    of America, its terrftories or possessions, or Canada, and lhe Company shall           of any partnership or joint venture of which the Insured is a partner or
    have the right and duty to defend any suit against the Insured seeking dam•            member and which is not designated in this policy as a Named Insured
    ages on account of such personal injury even if any ol the allegations of the
    suit are groundless, false or fraudulent, and may make such investigation and
    settlement of any claim or suit as it deems expedient, but the Company shall           III, LIMITS OF LIABILITY; INSURED'S PARTICIPATION
    not be obligated to pay any claim or judgment or to defend any suit after the
                                                                                           Regardless of the number of (1) Insureds under this policy, (2) persons or
    applicable limit of the Company's liability has been exhausted by payment of
    judgments or settlements.                                                              organizations wlro sustain personal injury, or (3) claims made or suits brought
                                                                                           on account of personal injury, the total liability of the Company's liability
                                                                                           under this coverage for all damages shall not exceed lhe limit of personal
    Exclasions                                                                             injury liabilrty staled in the declarations as "aggregate".

    This insurance does not apply:                                                         If a participation percentage is stated in the scliedule fur the Insured, the
                                                                                           Company shall not be liable for a greater proportion of any loss than the
    (a) to liability assumed by lhe Insured under any contract or agreement,               difference belween such percentage and one hundred percent and lhe bal-
                                                                                           ance of the loss shall be borne by the Insured; provided, the Company may
    (b) to personal injury arising out of the wilful violation of a penal statute or       pay the Insured's portion of a loss to effect settlement of the loss, and, upon
        ordinance committed by or wilh the knowledge or consent of any Insured;            notification of the action taken, the Named Insured shall promptly reimburse
    (c) to personal injury sustained by any person as a result of an offense               the Company therefor.
        directfy or indirectly related lo the employment of such person by the
        Named Insured;                                                                     IV. ADDITIONAL DEFINITION
    (d) to personal injury arising out of any publication or utterance described in        When used in reference ta this insurance:
        Group B, if the first injurious p'ublication or utterance of the same or
        similar material by or on behalf of the Named Insured was made prior to                 "damages" means only those damages which are payable because of
        the effective date of this insurance;                                                   personal injury arising out of an offense to which this msurance applies. :




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   lNik                                                     EMPLOYEE BENEFITS LIABILITY



    N.imcd Insurrd




    Policl• No.                                       Policy Period                                       Effective Date of En rsement
                      G~ 33 14 a3✓/                                                                               3-1-7 7
    Issued by (Name of Insurance Company)


                     The above is required to be completed only when this endorsement is issued subsequent to the preparation of the

  In consideration of the premium and in reliance upon the Statements in the Application and subject to the terms of this endorsement
  and of the Policy to which this endorsement is attached, the Company agrees with the Insured named in the Declarations of the Policy:
                       INSURING AGREEMENTS                                      (c) Handling of records in connection wtth the Employee Benefit
      COVERAGE. To pay on behalf of the Insured all sums which                        Programs;
      the Insured shall become legally obligated to pay as damages              (d) Effecting enrollment, termination or cancellation of employ-
      on account of any claim made against the Insured by any                         ees under the Employee Benefit Programs;
      Employee, Former Employee or the beneficiaries or legal rep-              provided all such acts are authorized by the Named Insured.
      resentatives thereof and caused by any negligent act, error or
      omission of the Insured, or anv other person for whose acts                                            EXCLUSIONS
       the Insured is legally liable, in the administration of the Insured's The insurance afforded by this endorsement does not apply:
       Employee Benefit Programs as defined herein.                            (a) To any dishonest, fraudulent, criminal or. malicious act, libel,
      It is agreed that $1,000.00 shall be deducted from the total                  slander, discrimination, or humiliation;
      amount paid by the Company as the result of each occurrence              (b) To bodily injury to, or sickness, disease, or death, of any person, or
      covered by this policy and the Company shall be liable for                    to injury to or destruction of any tangible property, including the
      loss only in excess of such amount. AII loss arising out of                   loss of use thereof;
     continuous or repeated exposure to the same general condi-                (c) To any claim for failure of performance of contract by any Insurer;
     tions shall be considered as arising out of one occurrence.               (d) To any claim based upon the Insured's failure to comply with any
     It is further understood and agreed that in event of any claim,                law concerning Workmen's Compensation, Unemployment In-
     irrespective of the amount, notice thereof shall be given to the               surance, Social Security or Disability Benefits;
     Company, or any of its authorized agents, by or on behalf of              (e) To any claim based upon failure of stock to perform as represented
     the Insured, in accordance with the terms of the Policy and                    by an Insured;
     the Company may at its option, investigate such claim or nego-            (f) To any claim based upon advice given by an Insured to an employee
     tiate or settle any claim, and the Insured agrees, if the Com-                 of the Named Insured to participate or not to participate in stock
     pany undertakes to negotiate or settle any such claim, to join                 subscription plans.
     the Company in such negotiation or settlement to the extent               (g)  To any claim based upon any actual or alleged error or omission or
     of the amount to be deducted herein provided, or to reimburse                  breach  of duty, committed or alleged to have been committed by a
     the Company for such deductible amount, if and when such                       trustee, in the discharge of fiduciary duties, obligations or
     claim is paid by the Company.                                                  responsibilities imposed by the Federal Employee Retirement
                                                                                    Income Security Act of 1974."
     The DEFENSE, SETTLEMENT, SUPPLEMENTARY PAYMENTS
     provisions of the policy shall apply as respects the insurance                                          CONDITIONS
     hereby afforded, except that the Company shalf not make settle- The conditions of the policy entitled "Insured's Duties in the Event of
     ment or compromise any claim or suit without• the written Occurrence, Claim or Suit", "Action Against Company", "Other
     consent of the Insured.                                                 Insurance", "Subrogation", "Changes", "Assignment", and "Cancella-
IV POLICY PERIOD & TERRITORY. As respects the insurance tion" apply to the insurance afforded hereby and the following Conditions
     hereby afforded this endorsement applies only to claims under apply:
     the legal jurisdiction of a court of law or a court of equity A. LIMITS OF LIABILITY. The Limit of Liability stated in the
     within the United States of America, its territories or posses-             Declarations as applicable to "each claim" is the limit of the
     sions or Canada, resulting from negligent acts, errors or omis-             Company's liability for all damages incurred on account of any
     sions of the Insured, or any person acting on beha(f of the                 claim covered hereunder; the limit of liability stated in the
     Insured in the administration of Emplbyee Benefit Programs                  Declarations as "aggregate" is, subject to the above provision
     provided such claim is brought against the Named Insured                    respecting each claim, the total limtt of the Company's liability
     during the policy period and the Named Insured at the effective             for all clatms covered hereunder and occurring dunng each
     date of this policy, had no knowledge of or could not have                  policy year. The inclusion herein of more than one Insured shall
     reasonably foreseen any circumstances which might result in a               not operate to increase the limits of the Company's liabitity.
     claim or suit.                                                          B. PREMIUM. The premium stated in the Declarations is an esti-
                             DEFINITIONS                                         mated premium only. Upon termination of each annual period
   INSURED. The unqualified word "Insured" wherever used in                      of this Poficy the Insured, on request will furnish the Company
   relation to the insurance afforded hereby, includes not only the              a statement of the total number of employees at the end of the
   Named Insured, but also any partner, executive officer, director,             period and the earned premium shall be computed on the aver-
   stockholder or employee, provtded such employee is authorized                 age number of employees at the beginning and the end of such
   to act in the admimstration of the Insured's Employee Benefit                 period in accordance with the rates set forth in the Declara-
   Programs.                                                                     tions. If the earned premium thus computed exceeds the esti-
2. EMPLOYEE BENEFITS. The term "Employee Benefits" shall                         mated advance premium paid, the Irlsured shall pay the excess
   mean group life insurance, group health insurance, profit shar-               to the Company; if less, the Company shall return to the Insured
   ing plans, pensions plans, employee stock subscription plans,                 the unearned portion paid by such Insured subject to the Minl-
   employee travel, vacation or savings plans, workmen's compen-                 mum Premium for this insurance stated in the Declarations.
   sation, unemployment insurance, social security and disability C. TERMS OF ENDORSEMENT CONFORMED TO STATUTE. Terms
   benefits insurance.                                                           of this endorsement which are in conflict with the statutes of
3. ADMINISTRATION. As respects the insurance afforded hereby,                    the State wherein this policy is issued are hereby amended to
   the unqualified word "Administration", wherever used shall                    conform to such statutes.
     mean:
                                                                                     Etidora ement #3 -*"
   (a) Giving counsel to employees with respect to the Employee
       Benefit Programs;
   (b) Interpreting the Employee Benefit Programs;                                                          Authorized Agent


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     Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.159 Page 149 of 222

     I1VA
      lb- Issued b y.............................................................................................. ............._...............................................
                                                                                 (Name of Insurance Company)

           This Endorsement, effective                         Forms a port of Policy No.                 Issued to:
      ~      3-1-77 ✓                                       lo' 6AL 33 14 83 ✓                          *
                                    Insert the policy number. The remainder of the information is to be completed only
                                         when this endorsement is issued subsequent to the preparation of the policy.



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       Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.160 Page 150 of 222
       IIVIA                                          w                                                                   w
       )0- Issued by................................................................................................................................................
                                                                                 (Name of Insuronce Companyi

           This Fndorsem nt, effective                           Forms a part of Policy No.               Issued to:
       ~ 3-1-77 ~                                           0-      6u. 33 14 83 ✓                      lo'
                                    Insert the policy number. The remainder of the information is to be completed only
                                        when this endorsement is issued subsequent to the preparation of the policy.


                                                          AM COMPOSTS RASZ xMDL---lQ ✓

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             b) Pztvata lasfswAaw                          sI, PD, ?_!, 2lI, mm,                                       23                W7               ;14,674 ✓
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        Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.161 Page 151 of 222

                                                                    ADDITIONAL INSURED
       INFt                                                           (Vendors---Limited Form) ~



        Named Insured




        Effective      3_1_77                                                                 Policy No.      (~,AL 33 14 83.

        Issued by (Name of Insurance Company)


                      The above is required to be completed only when this endorsement is issued subsequent to the prepai ation of the policy.



                                This endorsement modifies such insurance as is afforded by the provisions of the policy relating to the following:




                                                            COMPREHENSIUE GENERAL LIABILITY INSURANCE
                                                   COMPLETED OPERATIONS AND PRODUCTS LIABILITY INSURANCE




       It is agreed that the "Persbns Insured" provision is amended lo include any person or organizalion designated below (herein referred to as "vendor"), as an
       Insured, but only with respect to the distribution ar sale in lhe regular course of the vendor's business of the Named Insured's products designated below
       subject to the following additional provisions:,/

            1. The insurance with respect to the vendor does not apply to: ✓

                (a) any express warranty, or any distribution or sale for a purpose, unauthorized by the Named Insured:

                (b) bodity injury or property damage arising out of f

                     (i)
                       any act of the vendor which changes the condition of the products. ~

                    (ii) any failure to maintain the product in merchantable condition. ~

                    (iii) any failure to make such inspections, adlustments, tests or servicing as the vendor has agreed to make or normally undertakes to make in
                         the usual course of business, in connection with the distribution or'sale of the producls, or V;

                    (iv)
                       producls which after distrihution or sale by the Named Insured have been labeled ar relabeled or used as a container, part or ingredient of
                         any other thing or substance by or for the vendor: ~
                (c) bodily inlury or property damage occurring within the vendor's premises. ~

            2. The insurance does not apply to any person or organizatron, as Insured, from whom the Named Insured has acquired such products or any ingredient.
                part or contamer, entering into, accompadying or containing such products. ~



                                                                                   SCHEDULE



                         VENDOR(S)                                                                                          PRODUCTS


          Name of Peraon or Organization:/Any peraon or organization purchasing goode or
                  producta from the named inaured for the purpose 'of resale.,/

          Named Insured'a Producta:/ A11 producte of the Named Insured. ✓
          INCLUDED IN COMPOSITE RATE.t✓

          Endorsement #4




                                                                                                                                  Authorized Agent
                                                                                                                                                              J
LC•976 (11114) 7•20•66 Printed in U.S.A.
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                                                                              ADDITlONAL INSURED
      INK                                                                             (EmpbYees)
                                                                             AND EXECUTIVE OFFICERS ✓

       Named Insured




                                                           Poltcy Period                                             Effer,tiv~Dat~of Elydorsement
       Policy No. G~, 33 14 83               /

      Issued by (Name of lnsurance Com✓pany)                                                                               i      /    ✓


                     The above is required to be completed onfy when this endorsement is issued subsequent to the preparation of the policy,




                               Thls endorsement modllies such Insurance as is afforded by the provlslons of lhe pollcy relaling lo Ihe following


                                                  \
                                                           CORRPRENENSIVE GENERAL LIABILITY INSURANCE
                                                      MANUFACTURERS' AND CONTRACTORS' LIABILITf INSURANCE
                                                      OWNERS', LANDLORDS' AND TENANTS' LIABILITY INSURANCE
                                                                       STOREKEEPER'S INSURANCE


       It is agreed that the "Persons Insured" provision is amended to include any employee of the Named Insured while acting within lhe scope of his duties as
      such, but the insurance afforded to such employee does not apply:

           1. to bodily injury to (a) another employee of the Named Insured arising out of or in the course of his employment or (b) the Named Insured or, if the
              Named Inauted Is a partnership or jomt venture, any partner or member thereof;
           2. to properly damage to property owned, occupied or used by, rented to, in the care, custody or control of, or over which physical conlrol is being
              exercised for any purpose by (a) anothef employee of the Named Insured or (b) the Named Insured, or, if the Named Insured is a partnership or joint
              venture, any partner or member thereof.

           3. To personal injury or property damage arising out of the rendering of,

                  or failure to render, any prof essional service.




                                                                                                                                                            ~
        Endorsement #5                                                                                                                                    \
                                                                                                                                Aulhonzed Agenl

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                                                 ~


       1Nh                                                             ADDITIONAL INSURED
                                                               (Premises Leased to the Named Insured)



         Named Insured




         Policy No.                             /            Policy Period                                              Effective Date of Endorsement
                      GAL 33 14 83 /                                                                                                3-1-77 ✓
         Issued by (Name of Insurance Company)


                        T-he above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.



                                  This endorsement modifies such insurance as is afforded by the provisions of the p'olicy relating to the following:


                                                               COMPREHENSIVE GENERAL LIABILITY-INSURANCE
                                                        MANUFACTURERS' AND CONTRACTORS' LIABILITY INSURANCE
                                                        OWNERS', LANDLORDS' AND TENANTS' LIABILITY INSURANCE
                                                                           STOREKEEPER'S INSURANCE



          It is agreed that the "Persons Insured" provision is amended to include. as an Insured the person or organizatian designated below, but only with respect to
          liability arising out of the ownership, maintenance or use of that parf of the premises designated below leased to the Named Insured, aod subject to the
          following additional exclusions:

          The insurance does not apply:

               1.to any occurrence which takes place after the Named Insured ceases to be a tenant in said premises;

               2. to structural alterations, new construction or demolition operations performed by or on behalf of the person or organization designated below.

                                                                                      SCHEDULE

                                                                                                                                                         Premiums
                            Desigeation of Premises                                  Name of Person or Organitation                           Bodily                Property
                        (Part Leased to Named Insured)                                   (Additional lnsured)                                 lejury                Damage
                                                                                                                                             Liability              Liability



             1. I,and leased to Wolverine
                Service Club Inc. for
                C(3mping Site                                             Consumers Power Company ~
                                                                                                                                                INCL ED II1
             2. A11 pretnises leased to                                   Lessors Where lease agreement
                named insured and int3ureds                               requires lessee to name lessor                                        COW02SITE RATB
                named in endorsement #1 7                                 aa additional insured on
                                                                          lessee's policy ~




              Endorsement ib`6                                                                                                                                                  V
                                                                                                '                                   Authorized Agent



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    101. Issuedby ..........................................................     .............................•------...... •••...............................................
                                                                               (Name of Insaronce Componyi

          This Endorsement, effective                       Forms a part of Policy No.                  Issued to:

    ~            3--1-77 f                               )" CJL 33 li 93 ✓                           )"
                                 Insert the policy number. The remainder of the information is to be completed only
                                     when this endorsement is issued subsequent to the preparotion of the policy.

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       ► Issued by ................................................................................................•--• ......................................................
                                                                                 {Name oi Insuronce Company)

           This Endorsement, effective                         Forms o part of Policy No.                 Issued to:
       ►           3-3.-77 /                               ► GIII. 33 14 63 '                          ►
                                    Insert the policy number. The remainder of the information is to be completed only
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     Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.167 Page 157 of 222

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      101. Issued by .........................................................     ................................. ............................ ...............................
                                                                                 ~Nome of Insurance Compony~


           This Endorsement, effective                        Forms a part of Policy No.                  Issued to:

      ~          3-1-77 ✓                                           GAL 33 li 83 '/ 00.
                                    Insert the policy number. The remoinder of the information is to be completed only
                                        when this endorsement is issued subsequent to the preporation of the policy.



                                                              dMTLCM INSII'tBDS MUM$HMT
                                                                                 (LIMU") ,/
                 It is a$read t6at tlu "Persoras. Iasnrad10 pro+risioa is tneadad to Lacinda as
                 an insmced the p>ersofn or orgaaization ditafsnst®d belor as aa sdditioaal
                 insnred, snbjact t® tba follorins proyisions:✓
                           1) ?he insuranca appliea oaly trith respsct to liabilitf of the add-
                              itional insureda arisin8 oot of Tat MMMsHIF                Of
                              OSB OF BQJIPM= vHILS Y.SLLgSD Ta TSS ti1RD ISfBIIZSD. ~
                           2) 46s samd insured is antlttorisrad to aet for such additional insnreds
                              in all matters paactsinisg te tltis inantranae, inal>bdiag rse-eipt
                              of aoti¢e of eancelatioa; and /
                           3) Beturn premium, it attty, aad sneh dividoads as {t{ttay bs dselarad ' by
                              tha caspsaw sbsll bi paid to tha sai3ed inatred. ✓
                           4) Nothln coataimd leraia sball alEfeet my rigbt o.i recavwy as
                              a claimant whlth tlue adlitioaal issured wavld it{s,re if tftat
                              designated ss snch. ✓
                                                                  Nsmes of Additicnal Insnreda ✓
                                  UNI2!':D B'Y1l              I.gMlM CORp(>RLII« ^~




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                                                                                                                             Authorized Agenr



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       ► Issued by ...........................................................     ................................. ...........................................................
                                                                                 INome of Insurance Companyl

            This Endorsement, effective                      Forms a part of Policy No.                   Issued to:
       ►          3-1-77 f                                ► BAI. 33 14 83 /                            ►
                                   Insert the policy number. The remoinder of the information is to be completed only
                                       when this endorsement is fssued subsequent to the preparation of the policy.


                 It is agreod t6at th: follovin Caacslatioa GL>rniat is addsd to this
                  poliay 6nt oaly as rsspeets Ceneral Liability:V~
                 This endorsooaot *odifies th4 caacal.stios cooditioa aad is sppliesbl.o to
                 all bmurrnsn. offfordmd by tbo polfcy. ✓
                                                     CtBCffi.iT= ET Tn GMWAI4! BMnM I'T ~
                  It is sgreed thr eanceLti.ou cofditioa ol tho policy is ssamdod to prov,do
                  that, tritL rsspeat to caaeslatioa by tle coepaay,                                                        pt fat eaacalati,on
                 for nonpaYesat of pramiva, tho sffeettv* dste of calaeolntian shall ba not
                 lass thsa 80 days aftar tbs asiliag of aotlas thoreof. ✓




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                                                                                                                            Authorized Agenf


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    ......-- --                      __..                                                                                                                            _..._.
        Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.169 Page 159 of 222
                                                                                                                          ~
                                                   COMPRENENSIVE AUTOMOBILE LIABILITY INSURANCE
   INk                                                                             COVERAGE PART

                        ADDITIONAL DECLARATIONS                                                                       Pol►cy No._ C& 33 1~ g~ ✓


                                                                    SCHEDULE OF AUTOMOBILE LIABILITY HAZARDS

    DESCRIPTION OF HAZARDS                                                                                                                              ADVANCE PREMIUM
                                                                                                                                                     eODILY         PROPERTY
    1. Ownera Auhmobiles—Prerwirm Basis--Per Automobile                                                                                              INIURY         DAMACE
         Town or City and State                                              Body Type and Model;      Identification Number
                                            Year of                                                                               Purposes
     .  In Which the Automobile                        Trade Name                 Truck Slze;             5erial Number
                                            Model                                                                                  of Use
       Will Be Principaily Garaged                                          or Bus Seating Capacity       Motor Number




                      ~129 coemin lxmj




     2. Hired AotomeYiles--Prerira Basis—Tetal Cost of Hire
                                   Estimated Total Cost of Hire For Each State Where the Named Insured is Located
                                                                                                          Rates Per $100 Cost of Hire
                         State                               Estimated Total Cost of Hire
                                                                                                      Bodily Inlury       Prooerty Damage




                      tffCMM IN CO U4X= $M ~

                                                                      -                   r




                                                                                                                                     ..~     .


    3. Nae•Owned Automol,iles—Premirm Basis—Total Rumher ot Employees At AII Locations

       Total Number of Emptoyees.At AII Locations:


    MieiAtum Preetirms ior 2 arfd 3. abere ;                              Bodily lajury                                     TOTALS               S              S
                                                   $                      Property Damage                           TOTAL ADVANCE PREMIUM             ► $

    When osed os a pre®ienl rasis:
       "cast of hire" means the total amount incurred for the hire of automabiles not including charges for services performed by motor carriers of property or passengers
       are subject to the compulsory insurance requirements of any motor carrier law or regulatio.n.

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    COYERAGE C—BODILY INIURY LIABILITY ~                                                            the Compo„y (except a lrailer designed for use with a private
    COVERAGE D—PROPERTY DAAIAGE LIABILITY                                                           passenger automobile and not being used for business purposes
                                                                                                     wrth another type motor vehicle), or
    The Company will pay on behalf of the Insured all sums which the Insured
 shall become legally obligated to pay as damages because of                                     (2) a trailer while used with any molor vehicle owned or hired by
                                                                                                    such person or organization and not covered by like insurance in
                                C. bodily injury or                                                 the Company;
                                D. property damage                                           (v) any person while employed in or otherwise engaged in duties in con-
 to which this insurance applies, caused by an occurrence and arising out ol the                 neclion with an automobile business, other than an automobile busi•
 ownership, maintenance or use, including loading and unloading, of any auto-                    ness operated by the Named Insured.
 mobile, and the Company shall have the right and duty to defend any suit                 This insurance does not apply to bodily injury or property damage arising out
 against the Insured seeking damages on accounl of such bodily injury or prop-         of (1) a non-owned automobile used in the conduct of any partnership or joint
 erty damage,-even it any o( the alleg3tions of the suit are groundless, false or      venlure of which the Insured is a partrier or member and which is not desig•
 fraudulent, and may make such investigation and setttement of any claim or            nated in this poticy as a Named Insured, or (2) if the Named Insured is a part•
 suit as it deems expedient, but the Company shall not be obligated to pay any         nership, an automobile owned by or registered in the name of a partner thereof.
 claim or judgment or to defend any suit after lhe applicable limit of.the Com-
 pany's liability has been exhausted by payment of judgments or settlements.          111. LIMITS OF LIABILITY
 Exclusions                                                                              Regardless of the number of (1) insureds under this policy, (2) persons or
                                                                                       organizations who sustain bodily inlury or property damage, (3) claims made or
   This insurance does not apply:                                                      suits brought on account of bodily injury or property damage or (4) automobiles
 (a) to liebility assumed by the Insured under any contract or agreement;              to.which this policy applies. the Company's liability is limited as follows:
(b)
  to any obligation for which the Insured or any carrier as his insurer may be          Coverage C—The limit of bodily injury liabilil y stated in the Declarations as
 held liable under any workmen's compensation, unemploymenf compensation or           applicable to "each person" is the Irmit of the Company's liability for all dam-
 disability benefits law, or under any similar law;                                   ages, including damages for care and loss nf services, because of bodily injury
                                                                                      sustained by one person as lhe result of any one occurrence; but subject to the
 (c) to bodily injury to any employee of the insured arising out of,and in the        above provision respecting "each person", the total liability of the Company
 course of his employment by the Insured or to any obligation of the Insured           for all damages, including damages ior care and loss of services, because of
 to indemnify another because of damages arising out of such injury; but this          bodily injury sustained by two or more persons as the result of any one occur-
 exclusion does not apply to any such injury arising out of and in the course          rence shall nol exceed the limit of bodily injury liability stated in the Declara-
 of domestic emptoyment by the Insured unless benefits therefor are in whole           tions as applicable to "each occurrence".
 or m part erther payable or requrred to be provrded under any workmen s com
 pensation law;                                                                          Coverage D—The total liability of the Company for all damages because of all
                                                                                      property damage sustained by one or more persons or organizations as the re-
 (d) toProP er
            tY damageto                                                               sult of any one occurrence shall not exceed the limit of property damage lia-
(1)
  property owned or being transported by the Insured, or                              bility stated in the Declarations as applicable to "each occurrence".
 (2) property rented to or in the care, custody or control of the Insured, or as to      Coverages C and D—For the purpose of determining the limit of the Com-
     which the Insured is for any purpose exercising physical control, other than     pany's liability, all bodily injury and p roperty damage arising out of continuous
     property damage to a residence or private garage by a private passenger          or repeated exposure to substantially the same general conditions shall be
     automobde covered by this insurance;                                             considered as arising out of one occurrence.
 (e) to bodily injury or property damage due to war, whether or not declared,         )V. POLICY PERtOD; TERRITORY
 civil war, insurrection, rebellion or revolution or to any act or condition in-
 cident to any of the foregoing, with respect to expenses for first aid under the        This insurance applies only to bodily injury or property damage which occurs
Supplementary Payments provision;                                                     within the territory described in paragraph (1) or (2) of the definition of "policy
                                                                                                 „
                                                                                      territo ry             -
 (p to bodily irijury or property damage ansmg out qf 'the discharge, dispersal,~~
 release or escape of smoke, vapors, soot, fumes; acid,-alkalis, toxic chemicals,     - V: ADDITIONAL DEFINITIONS
 liquids or gases, waste materials or other irritants, cantaminants or polluRants
 into or upon land, the atmosphere or any watercourse or body of water; but              When used in reference to this insurance (including endorsements forming a
 this exclusion does not apply if such discharge, dispersal, release:or escepe        part of the policy):
 is sudden and accidenial.                                                     _      -•. "automobile business" •means lhe business or occupation of selling, repair-
                                                                                         ing, servicing, storing or parking automobiles;
11. PERSONS INSURED
                                                                                         "hired automobile" means an automobile not owned by the Named Insured
   Each of the following is an Insured under this insurance to the extent set            which is used under contract in behalf of, or loaned to, the Named Insured,
forth below:                                                                             provided such automobile is not owned by or registered in the name of (a) a
(a) the Named lnsured;                                                                   partner or executive officer of the Named Insured or (b) an employee or
                                                                                         agp nt of the Named Insured who is granted an operating allowance of any
(b) any partner or executive otf)cer thereof, but with respect to a non•owned            solY for the use of such automobile;
automobile only while such automobile is being used in the business of the
Named Insured;                                                                           "non-owned automobile" means an automobile which is neither an owned
                                                                                         automobile nor a hired automobi(e;
(c) any other person while using an owned automobile or a hired automobile
with the permission of the Named Insured, provided his actual operation or (if           "owned aulomobite" means an automobile owned by the Named Insured;
he is not operating) his other actual use thereof is within the scope of such            "private passenger automobile" means a four wheel private passenger or
permission, but with respect to bodily injury or property damage arising out             stalion wagon type automobile;
of the loading or unloading thereof, such other person shall be an Insured only
if he is:                                                                                "trailer" includes semi-trailer but does not include mobile equipment.
(1) a lessee or borrower of the automobile, or                                        YI. ADDITIONAL CONDITIONS
(2) an employee of the Named Insured or of such lessee or borrower;                   A. Excess Insurance—Nired and Non-Owned Automobiles
(d) any other person or organization but only with respect to his or its liability       With respect to a hired automobile or a non-owned automobile, this insur-
because of acts or omissions of an Insured under (a), (b) or (c) above.                  ance shall be excess insurance over any other valid and collectible
                                                                                          insurance available to the Insured.
None of the following is an Insured:
                                                                                      B.Out of State Insurance
      ()) any person while engaged in the business of his employer with re-
          spect to bodily injury to any fellow employee of such person injured           lf, under the provisions of the motor vehicle financial responsibility law
          in the course of his employment;                                               or the motor vehicle compulsory insurance law or any similar law of an y
                                                                                         state or province,.a non•resident is required to maintain insurance with
      (ii) the owner or lessee (of whom the Named Insured is a sub-lessee) of a          respect to the operation or use of a motor vehicle in such state or province
           hired automobile or the owner of a non•owned automobile, or any               and such insurance';requirements are greater than the insurance provided
          agent or employee of any such owner or lessee;                                 by the policy, the limits of the Company's liability and kinds of coverage
                                                                                         afforded by the poficy shall be as set forth in such law, in lieu of the
     (iii) an executive officer with respect to an automobile owned by him or            insurance otherwise provided by the policy, but only to the extent required
           by a member of his household;                                                 by such law and only with respect to the operatron or use of a motor
     (iv) any person or organization; other than the Named Insured, with re-             vehicle in such state or province; provided that the insurance under this
          spect to:                                                                      provision shall be reduced to the extent that there is other valid and col-
                                                                                         lectible insurance under this or any other motor vehfcle insurance policy.
         11) a motor vehicle while used with any trailer owned or hired by               In no event shall any person be entitled to receive duplicate payments
               such person or organization and not covered by like insurance in          for the same e(ements of loss.
   '~. ......'_.
                 .....                 .    ..   ...   .            _.          .                                            _
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                                                              AUTOMOBILE MEDICAL PAYMENTS INSURANCE
: INK                                                                               COVERA6E PART
                                                                                    ---1----- ------ -------- -- ----------                                                         ;
    ~                ADDITIONAL DECLARATIONS                                                                  Policy No.     GAi. 33 14 83                                              ~
                                                                                             ~                                                                                    ~
                                                                                    -------.~_..------------- - -- - - - -- ---•-- ---- _ .._—.               _              ----1
                                                                                       SCHEDULE                                                                                     ;
                                DESIBNATED PERSON INSURED                                                                                       ADVANCE PREMIUM                     !
                                                                                                                                                                                    i
                                                                                                                                            Inmluded in                             ;
                                                                                                            TOTAL ADVANCE PREMIUM         0-;
                                                                                                                                              t,.anposite 13ite /                   !

                                                                                                                                                                              • !
                                                           DESIONATION OF AUTOMOBILES—Division 1(Check appropriate box)                                                             ;
    i    ❑ Any owned automobile                                                                ❑ Any automobile described in the Schedule and designated "M.P."
            Any hired automobile Private Paa                                   an7             ❑ Any non-owned automobi!e
        ~ Any licensed owned private passenger automobil~bfla leas                                                        Ynsared On a - lonst ter® b48ie
                                                                                                                                                                                    I
    ; 1. COVERAGE F—AUTOMOBN.E MEDICAL PAYMENTS                                                IV. ADDITIONAL DEFINITIONS
        The Company will pay all reasonable medical expense incurred within one year           The additional definitions applicab!e to automobile bodi!y injury llability insur-
    ; from the date of the accident:                                                           ance also apply to this insurance; and when used in reference to this insurance
          Division 1. to or for each person who sustains bodily Injury, caused by acci-        (including endorsements forming a part of the policy):
                      dent, while occupy ing a designated automobile which is bein g             "designated automobile" means an automobi!e designated in the Schedule
                      used by a person for whom bodily injury liability insurance is af-          and includes:
                      forded under this policy with respect to such use;                          (a) an automobi!e not owned by the Named Insured while temporarily used
    '     Division 2. to or for each Insured who sustains bodily injury, caused by acci-              as a substitute for an owned automobile designated in the Schedule when
                         dent, while occupYing or, whi!e a pedestrian, through being struek           withdrawn from normal use for servicing or repair or, because of its
                         by a highway vehlcle.                                                        breakdown, loss or destruction; and '
                                                                                                  (b) a trailer designed for use with a private passenger automobife, if not
         Exclnsions                                                                                  being used for business purposes with another type automobile and if
         This insurance does not apply:                                                              not a home, office, store, display or passenger trader;
         (a) to bodily injury to any per5on or Insured whi!e employed or otherwise en-            "highway vehicle" means a land motor vehicle or trailer other than
            gaged in duties in connection with an automobile business, if benefits there-         (a) a farm type tractor or other equipment designed for use principaily off
            for are in whole or in part either payable or required to be provided under               public roads, whde not upon pub!ic roads,
             any workmen's compensation law;
                                                                                                  (b) a vehicle operated on rails or crawler-treads, or
         (b) to bodily injury due to war, whether or not declared, civil war, insurrection,
                                                                                                  (c) a vehicle while located for use as a residence or premises;
            rebel!ion or revolution, or to any act or condition incident to any of the
            foregoing;                                                                            "medical expense" means expenses for necessary medical, surgical, x•ray and
                                                                                                  dental services, including prosthetic devices, and necessary ambulance, hos-
         (c) under Division 1, to bodily injury, to any employee of the Named Insured
                                                                                                  pital, professiooal nursing and funeral services;
             arising out of and in the course of emp!oyment by the Nained Insured, but
             this exclusion does not app!y to any such bodily in'u ry arising out of and in       "occupying" means in or upon or entering into or alighting from.
             the course of domestic employment by the Name~ Insured unless benefits
            therefor are in whole or in part either payable or required to be provided         V. POLICY PERIOD; TERRITORY
            under any workmen's compensation law;                                              This insurance applies only to accidents which occur during the policy period
         (d) under Division 2, to bodily injury sustained while occupying a highway            within the territory described in paragraph (1) or (2) of the definition of policy
            vehicle owned by any Insured, or furnished for the reguiar use of any Insured      territory.
            by any person or organization other than the Named Insured.
                                                                                               VI. ADDITIONAL CONDITIONS
         11. PERSONS INSUREO—DIVISION 2                                                        A. Medical Reports; Proof and Payment of Cla(m
                                                                                                  As soon as practicable the injured person or someone on his behalf shall          i
         Each of the following is an Insured under this insurance to the extent set               give to the Company written proof of claim, under oath if required and shall,
         forth below:
                                                                                                  after each• request from the Company, execute authorization to enable the
         (a) any person designated as Insured in the Schedule;                                    Company to obtain medical reports and copies of records. The injured person
~        (b) while residents of the same household as such designated person, his                 shall submit to physical examination by physicians selected by the Company
             spouse and the reiatives of either:                                                  when and as often as the Company may reasonably require. The Company !
         and if such designated person shall die, any person who was an Insured at the            may pay the injured person or any person or organization rendering the serv- I
         time of such death shall continue to be an lnsured.                                      ices and such payment shall reduce the amount payable hereunder for such
                                                                                                  injury. Payment hereunder shall not constitute an admission of liability of       ~
                                                                                                  any person or, except hereunder, of the Company.
         III. LIMIT OF LIABILITY
                                                                                               0. Excess Insurance
         Regardless of the number of (1) persons or organizations who are Insureds                Fxcept with respect to an owned automobi!e, the insurance under Division 1        `
         under this policy, (2) persons who sustain bodily injury, (3) claims made                shall be excess insurance over any other valid and collectible automobile
         or suits brought on account of bodi!y injury or (4) designated automobi!es               medical payments or automobile medical expense insurance.                         :
         to which this policy app!ies, the limit of liability for medical payments
         stated in the Dec!arations as applicab!e to "each person" is the !imit of the            The insurance under Division 2 shall be excess insurance over any other
         Company's liability for all expenses incurred by or on behalf of each person             valid and collectib!e automobile medical payments or automobile medical
         who sustains bodily injury as the resu!t of any one accident.                            expense insurance availab!e to the Insured under any other po!icy.
         When more than one medical payments coverage afforded by this po!icy app!ies          C. Non-applicability of Subrogatlon Condition
         to the loss, the Company shall dot be liable for more than the amount of the             The Subrogation Condition does not apply to the Automobile Medical Pay- :
         highest applicab!e limit of liability.                                                   ments Coverage.




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                                                            UNINSURED MOTORISTS INSURANCE
      lNrt                                                           COVERAGE PART


               ADDITIONAL DECLARATIONS                                                      !               Policy No.       GAL 33 14 83 /                                               :

        Limits                                                `
           I0, 000/20, 000 Arkansas, Ncw 7ork, riise i, Zova ✓                                                                           PREMIUM ►
        $20,000/40,000 Michigan, New Haaepahire ~                                                                                                           CoMosite Rate"
                                                                                                                                                                        .
                                              SCHEDULE
 ..
                                                         Designated Insured

                                                                                                                                                                                          i

                                                         Description of Insured Highway Vehicles (Check appropriate box)

      3 Any automobile owned by the Named Insured or 1e88od j?y Z`he 19affie1 Ingu2tiod GYY a lo'flt$ tert batiii "
      ❑ Any private passenger automobile owned by the Named Insured
      ❑ Any highway vehicte to which are attached deafers'license plates issued to lhe Named Insured
      ❑ Any highway vehicle designated in the declarations of the policy by the letters "UM" and a highway vehicle ownership of which is acquired during the policy
           period by the Named Insured as a replacement therefor
      ❑ Any mobile equipment owned or leased by and registpred in the name of the Named Insured
      O.                                                                               .




      1. COVERAGE U— UNINSURED MOTORISTS .                                                      III. LIMITS OF LIABILITY
         (Damages for Bodily Injury)                                                            Regardless of the number of (1) persons or organizations who are Insureds
      The Company will pay all sums which the Insured or his legal representative               under this pollcy, (2) persons who sustain bodily injury, (3) claims made
      shalt be legally entitled to recover as damages from the owner or operator of             or suits brought on account of bodily injury, or(4) highway vehicies to which
      an uninsured highway vehicle because of bodily injury sustained by the Insured,           this policy applies,
      caused by accident and arising out of the ownership, maintenance or use of                (a) The limit of liability stated in the declarations as applicable to "each
      such uninsured highway vehicle; provided, for the purposes of this coverage,                   person" is the limit of the Company's liability for all damages because of
      determination as to ivhether the Insured or such representative is legally entitled           bodity injury sustained by one person as the result of any one accident
      to recover such damages, and if so the amount thereof, shall be made by agree-                and, subject to the above provision respecting "each person", the limit of
      ment between, the Insured or such representative and the Company or, if they                  liability stated in the declarations as applicabfe to "each accident" is the
      fail to agree, by arbitration.                                                                total limit of the Company's liability for all damages because of bodily
      No judgment against any person or organization alleged to be legally responsible              injury sustained by two or more persons as the result of any one accident.
      for the bodily injury shall be conclusive, as between lhe Insured and the Com-
                                                                                                (b) Any amount payable under the terms of this insurance because of bodily
      pany, of the issues of liabilily of such person or organization or of the amount
                                                                                                    injury sustained in an accident by a person who is an Insured under this\
      of damages to which the Insured is legally entitled unless such judgment is
                                                                                                    coverage shall be reduced by
      entered pursuant to an action prosecuted by the Insured wilh'the writlen con-
      sent of the Company.                                                                          (1) all sums paid on account of such bodily injury by or on behatf of
      Excfusions                                                                                          (i) the owner or operator of the uninsured highway vehicle and
                                                                                                         (ii) any other person or organization jointly or severally liable together   ;
      This insurance does not apply:                                                                          with such owner or operator for such bodily injury,                     I
      (a) to bodily injury to an Insured with respect to which such Insured, his legal              including all sums paid under the bodily injury liability coverage of the
          representative or any person entitled to payment under thfs insurance shall,
                                                                                                    policy, and
          without written consent of the Company, make any settlement with any
           person or organization who may be legally liable therefor;                               (2) the amount paid and the present value of alt amounts payable on
                                                                                                         account of such bodily injury under any workmen's compensation law,
      (b) to bodily injury to an Insured while occupying a highway vehicfe (other than                                                                                                I
           an insured highway vehicle) owned by the Named Insured, any designated                        disability benefits law or any similar law.
           Insured or any relative resident in the same household as the Named or               (c) Any payment made under this insurance to or for any Insured shall be              +
           designated Insured, or lhrough being struck by such a vehicle, but this                  applied in reduction of the amount of damages which he may be entitied            '
           excfusion does not apply to the Named Insured or his relatives while                     to recover from any person' or organization who is an Insured under the           i
           occupying or if struck by a highway vehicle owned by a designated Insured                bodily - injury liability coverage of the policy.
          or his relatives;                                                                     (d) The Company shall not be obligated to pay under this insurance that part
      (c) so as to inure directly or indirectly to the benefit of any workmen's com-                of the damages which the Insured may be entitled to recover from the
          pensation or disability benefits carrier or any person or organization qualify-           owner or operator of an uninsured highway vehicle which represents ex-
          ing as a self-insurer under any workmen's compensation or disability benefits             penses for medicat services paid or payable under the medical payments
          law or.any simifar law.                                                                   coverage of the policy.

      11. PERSONS INSURED                                                                       IV. POLICY PERIOD; TERRITORY
      Each of the following is an insured under this insurance te the extent set                This insurance applies onfy to accidents' which occur during the policy period
      forth below:                                                                              and within the United States of America, its territories or possessions, or Canada.
      (a) the Named Insured and any designated Insured and, while residents of the
          same househofd, the spouse and relatives of either;                                   V. ADDITIONAL DEFINITIONS
      (b) any other person while occupying an insured highway vehicle; and                      When used in reference to this insurance (including endorsements forming a
      (c) any person, with respect to damages he is entitled to recover because of              part of the policy):
          bodily injury So which lhis insurance applies sustained by an fnsared under             "designated Insured" means an individual named in the schedule under
          (a) or (b) above.                                                                       Designated Insured;
      The insurance applies separately with respect to each Insured, except with                  "hlghway vehicte" means a land motor vehicle or trailer other than
      respect to the limits of the Company's liability.                                           (a) a farm type tractor or other equipment designed for use principally off


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   H during !Ne PaLcy ceriod nt number of in;uied hignway vehicu-.s owned                                                       j)i;) - oprijic 1w tacover sucil payrner;j as darriages ir--rr. such
   W thp         Inswe-0 or 5,16!.:;c or ihe cumbrr of dialer's          fiW2,
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  inn                                                        ~            v r (Fleet Automatic or Non-Fleet) ,v v •

                ADDITIONAL DECLARATIONS                                                                                      Policy No.

                                                                                                        TOTAL PREMIUM OR TOTAL ADVANCE PREMIUM ► $_...._
    ITEM 1. Automobile Physical Damage Insurance (Non-Fleet) applies, unless indicaled below by ❑
                                                                                                x under Item 4.
    The insurance aHorded is only with respect to such of the following Coverages, and under each such Coverage to such covered automobiles described below, as are indicated by
    specific premium charge or charges. The limit of 1he Company's liability against each such Coverage shall be as stated or designated herein, subject to all the terms of this
    insurance having reference thereto.
    Covered Automobiles as of Effective Date of this Insurance (including newly acquired vehicles subject to the provisions of paragraph (b) of the "covered automobile" definitian).                    I
      (a) Description: Purposes of use (P&B = Pleasure and Business; C =Commercial)
     Auto                Year Model; Trade Name; Body Iype—Capacity (Truck Load, Gal's,                                      Principally Garaged in                Purposes
                                                                                                                                                                   of Use
                                                                                                                                                                                    Classification
     No.           Bus Seating);Identification(I), Serial(S), Motor(M) No.; Cylinders (No.) Model                                (Town, State)

      1

      2               Schsdul4k ot TebAelas en lilet wi,tb C.oty+s                                                   ✓
      3
       4
      (b) Facts Respecting Purchase
     Auto       $ List         $ Actual               Purchased               Rating             Any loss under Coverages other than Towing is payable as interest may appear to the
     No.         Price           Cost               Mo. Yr. (N) (U)           Symbol                              Named Insured and the Loss Payee named below:

      1
      2
      3
      4
      (c) Limil Df Liability; Net Rates; Premium

                LIMIT OF LIABILITY—Each covered automobile                                                                            PREMIUM
                   described in (a) above and covered for:
                                                                                                              Fire, Light-             Windstorm,                                 Premium
                Coverages Other than                                                                                                                                                            ITEM 1
     Auto                                        Callision    Towing                                            ning or                Hail Earth-     CDmbined                     For
                Collision and Towing                                                                                                                                                             iOTAL
     No.                                                                       Compre-                        Transpor-                 quake or      Additional                  Endorse-
                                                                                                                                                                                               PREMIUM
                   Enter:                                                      hensive      Collision           tation       Theft      Explosion     Coverage       Towing        ments
              Amount or Deduct- Net    ACV less $25 for Each
                                                                                  0            P                  4           R             S             T            V
               "ACV"            Rates Deductible Disablement
                          ible
      1
       2
          3
          4
      "ACV"=Actual Cash Value                                  Totafs

    ITEM 2. Except with respect lo bailment lease, conditionai sale, purchase agreement, mortgage or other encumbrance, the Named Insured is the sole owner of every covered
              automobile designated in Item 1 as covered under this insurance, unless otherwise stated herein: —                          —                    _—_---                                _
     ITEM 3. Business of Named Insured is:

              The following provisions apply only if an "X" is inserted in the followin box:
    ITEM 4. ® Automobile Physical Damage Insurance (Fleet Automatic) applies.
              The insurance afforded is only with respect to such of the following Coverages as are indicated by speciric premium charge or charges and, under each such Coverage,
              applies only to such covered automobiles as are indicated, b y entry herein, of one or more of the designating numerals for that purpose appearing in Item 4a. The limit
              of the Com an 's liability a ainst each such Covera e shall be as stated or desi nated herein, sub'oct to all the terms of this insurance having reference thereto.
                                                                             Covered                           ITEM 4
                                                                                            Deduct-                                                      Limit of Liability
                            COVERA6ES                                     Automobiles per                      ADVANCE
                                                                                              ible                                                    Each Covered Automobile
                                                                              Item 4a                         PREMIUM

     0. COMPREHENSIVE             ~        ~~s~t                          ~ ✓
     P. COLLISION
     Q. FIRE, LIGHTNING OR TRANSPORTATION                                                                                            AS INDICATED IN THE SEPARATE
                                                                                                                                     SCHEDULE OF AUTOMOBILES
     R.THEFT
                                                                                                                                     ATTACHED TO THIS POLICY.
     S.WINDSTORM, HAIL, EARTHQUAKE OR EXPLOSION
     T.COMBINED ADDITIONAL COVERAGE
     V. TOWING                                                        "gd                                                      $25. For Each Disablement
                                                                                                          s4ta Rit

     ITEM 4a. Explanation of entries in above for des        Advance Premium For Endorsements            Is                                                                 Records to be       Audit
     ignating the covered automobiles to which this          ITEM 4 TOTAL ADVANCE PREMIUM                $                            Maximum Limit of Liability              submitted:        Perio
    insurance applies under each coverage afforded:
                                                               When so enlered in addition to numerals 1, 2, 3 or 4:          Any one covered auto       $                    ❑      Monthly
     1. all covered automobiles                                 5. excluding vehicles leased to the Named Insured             AII covered autos at                            ❑     Quart
     2, all registered covered automobiles                   6. excluding, under Collision Coverage, any vehicle                                                              ❑   Semi
                                                                                                                              any one location           $__
     3. all covered automobiles of the private passenger type not having an actual cash value of at least
     4. all covered automobiles of the commercial type.               $                  __.
                                                                                                                              All covered autos          $                    ❑                      ❑

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                                                                                                                    ~
       1111A
        ► Issued by ............' ............................................     ................................................................
                                                                                 (Name ol Insurance Companyl

             This Endorsement, effective                        Forms a part of Policy No.               Issued to:

        ►          3-1-77•%                                 ► GAL 33 14 83 ✓ ►
                                     Insert the policy number. The remainder of the informotion is to be completed only
                                          when this endorsement is issued subsequent to the preparation of the policy.



                   It is agraa,d that Ztm 4, Pora DA1530,.Automebila Phjsical Damga Iasearanea
                   C.c>Reraga Part sball ba as follwrs: ✓
                             Car:prabeasiira: f$50 dednctibla AC4 - 8issourij dLR - all statas
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     IIVA                                                                                                                      •
      ► Issued by .................................................................... ...... .. . . . . ..... .. .. .. ............... ............................. ....................
                                                                                      (Name of Insarance Company,

           This Endorsement, ef.fective                           Forms a part of Policy No.                     Issued to:
      ►            3-1-77 ✓                                    ► GAL 33 lh 83 ✓-                              ►
                                      Insert the policy number. The remainder of the information is to be completed only
                                          when this endorsement is issued subsequeni to the preparation of the policy.



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                   relating to tlsa folloarins:,i
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                             •

                                             MICHIGAN NO-FAULT INSURANCE ENDORSEMENT
      lNrt

        Named Insured




        Effective                 /                                                              Policy No.
                    3-1-77 ✓                                                                                   GAL 33. 14 33 ~
        Issued by (Name of Insurance Company)


                        The above is required to be completed only when this endorsement is Issued subsequent to the preparation of the

  The Company agrees with the Named Insured, subject to all of the provisions of this            1. the motor vehicle was parked in such a way as to cause unreasonable risk
  endorsement, and to all of the provisions of the policy except as modified herein, as              of the bodily injury which occurred, or
  follows:                                                                                       2. such bodily injury was a direct result of physical contact with
                                       SECTION I                                                     a, equipment• permanently mounted on such motor vehicle while such
                                                                                                         equipment was being operated or used, or
  PERSONAL PROTECTION INSURANCE BENEFITS (E007, as amended; 10/1/73)                                 b, property being lifted onto or lowered from such motor vehicle in the
  The Company will pay, in accordance with Chapter 31 of the Michigan Insurance                          loading or unloading process, or
  Code, to or on behalf of each eligible injured person or his dependent survivors,              3. such bodiiy injpry was sustained by a person whiie occupying such motor
  personal protection benefits consisting of:                                                        vehicle;
  (a) allowable expenses,                                                                    (k) to bodily injury sustained by any person while occupying a motor•vehicle
                                                                                                 located for use as a residence or premises;
  Ib) work loss, and
                                                                                             (1) to bodily injury sustained by any person whj,le occupying a public or livery
  (c) survivors' loss                                                                            conveyance for which security is maintamed as required by Chapter 31 of the
  as a result of bodily injury caused b y accident and arising out of the ownership,             Michigan Insurance Code, unless such conveyance is an insured motor vehicle;
  operation, maintenance or use, including loading or unloading, of a motor vehicle          (m) to bodily injury sustained by the Named Insured or any relative while occupying
  as a motor vehicle.                                                                            a motor vehicle owned or registered by the empioyer of the Named Insured or
                                                                                                 such reiative for which security is maintained as required by Chapter 31 of the
  SCNEDULE                                                                                       Michigan Insurance Code;
  Premium applicable to Section I only $ includ ed dLn Composicl.                            (n) with respect to work loss.and survivors' loss, to bodily injury sustained by any
                                                                                                 person, other than the Named Insured or any relative, whrle occupymg any
  DEDUCTIBLES                                  Rate                                              motor vehicle, other than the insured motor vehicle, which is being operated
                                                                                                 by the Named Insured or any relative outside the State of Michigan if ne(ther
   If indicated either in the declarations or by an "X" in the following biock:                  the owner nor the registrant of such motor vehicle is required to provide
  A. ❑ $900 Deductible Per Accident applies to the benefits otherwise payable lo                 security with respect thereto under Chapter 31 of the Michigan Insurance Code.
       the Named Insured and relatives,

  EXCLUSIONS                                                                                 DEFINITIONS
  This insurance does not appiy:                                                             When used in reference to this insurance:
  (a) to any benefits any person would otherwise be entitled to receive hereunder
                                                                                             "allowabie expenses" means reasonable charges incurred for reasonably necessary
      for bodily injury intentionally caused by him to himself or to another;
                                                                                             products, services, and accommodations, for an eiigible injured person's care,
 (b) to bodily injury sustained by any person while using a motor vehicle which he           recovery or rehabilitation, including, but not limited to, expenses for medical,
      had taken uniawfully, unless he reasonably believed that he was entitied to            hospital, nursing, x•ray, dental, surgical, ambulance, funeral and burial services
      take and use such motor vehicle;                                                       and prosthetic devices;
 (c) to bodily injury sustained by any person other than the Named Insured or any
                                                                                             "bodily injury" means accidental bodily injury, sickness or disease, including death
      relative, while not occupying any motor vehicle, if the accident occurs outside
      the State of Michigan;                                                                 resulting therefrom;
  (d) to bodily injury sustained by the Named Insured while occupying, or through            "dependent survivors" means:
       being struck by while not occupying, any motor vehicie owned or registered by         (a) the surviving spouse of the deceased eligible Injured person if residing in the
       the Named Insured and which is not an insured motor vehicle;                            same household at the time of death, or if dependent upon such deceased at
 (e) to bodily injury sustained by any relative while occupying, or through being              the time of death, provided that the dependency of such spouse shall terminate
       struck by while not occupying, any motor vehicie if such relative is the owner          upon remarriage or death;
       or registrant of such motor vehicle and has failed to maintain security with          (b)
                                                                                               any person who was dependent upon the deceased eligibie injured person at
       respect thereto as required by Chapter 31 of the Michigan Insurance Code;               the time of such efigible injured person's death, but only while such other
  (f) to bodily injury sustained by an owner or registrant of a motor vehicle involved         person is:
       in the accident with respect to which the security required by Chapter 31 of the        1. under the age of 18 years, or
       Michigan Insurance Code is not in effect;                                               2. physically or mentally incapacitated from earning, or
  (g) to bodily injury sustained by any relative, if such relative is entitied to personal     3. engaged full•time in a formal program of academic or vocational education
       protection benefits as a Named Insured under the terms of any other policy                  or training;
       with respectto such coverage;
 (h) to bodily,injury
                ,                                                                            "eligible injured person" means:
                        sustained by any person, other than the Named Insured or any
       relative, if such person is entitied to personal protection benefits as a Named       (a) the Named Insured or any relative who sustains bodily Injury In an accident
      Insured or relative under the terms of any other policy with respect to such               involving a motor vehicie;
      coverage;                                                                              (b) any other person who sustains bodily injury
  (i) to bodily injury sustained by any person, other than the Named Insured or any              1. while occupying the insured motor vehicle, or
     relative, while occupying, or through being struck by whi)e not'occupying, any             2. while not occupying any motor vehicle as a result of an accident invoiving
     motor vehicle, other than an insured motor vehicle, which is being operated by                the insured motor vehicie, or
     the Named Insured or relative if the owner or registrant of'such motor vehicie             3. as the resuit of an accident invoiving any other motor vehicle
     has provided security with respect thereto as required by Chapter 31 of the
     Michigan Insurance Code;                                                                      (i) which is being operated by the Named Insured or a relative, and
  (j) to bodily injury sustained by any person arising out of the ownership, operation,            (ii) to which the bodily injury liability insurance of the poiicy appiies;
       maintenance or use, including loading or unioading, of a parked motor vehicie         "income" means salary, wages, tips, commissions, fees, and other earnings derived
       unless:                                                                               from work or employment;
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"insured motor vehicle" means a motor vehicle with•ect to which                              personal protection bt~~e i s payable under this insurance may not be com-
(a) the bodily injury liability insurance of the poficy applies and for which a              menced later than l.year after the date of accident causing the injury unless
    specific premium is charged, and                                                        written notice of injury as provided herein has been given to the Company
(b) the Named Insured is required to maintain security under Chapter 31 of the              within 1 year after the accident or unless the Company has previously made a
    Michigan Insurance Code ;                                                               payment of personal protection benefits for the injury. If the notice has been
                                                                                             given or a payment has been made, the action may be commenced at any time
"motor vehicle" means a vehicle, including a trailer, operated or designed for              within 1 year after the most recent allowable expense, work loss or survivors'
operation upon a public highway by power other than muscular power which has                loss has been incurred. However, the claimant may not recover benefits for
more than two wheels;                                                                       any portion of the loss incurred more lhan 1 year before the date on which
"Named Insured" means the person or organization named in the declaralions;                  the action was commenced.

"occupying" means in or upon or entering into or alighting from;                         B. Medical Reports; Proof of Claim. As soon as practicable the eligible injured
                                                                                             person or someone on his behalf shall give the Company written proof of claim,
"relative" means a person related to thc Named Insured by blood, marriage or                under-oath if required, including full particulars of the nature and extent of
adoption (including a ward or foster child) who is a resident of the same household         the injuries and treatment received and contemplated, and such other informa-
as the Named Insured;                                                                        tion as may assist the Company in determining the amount due and payable.
"survivor's loss" means loss sustained during the first 3 years after the date of            The eligible injured person shall submit to physical or mental examinations by
the accident by dependent survivors because of the death of an eligible injured              physicians selected by 1he Company when and as often as the Company may
person and consisting of:                                                                    reasonably require.
(a) contributions of tangible things of economic value, not including services, that         If requested by the Company, such eligible injured person, someone on his
    such dependent survivors would have received for support during their depen-             behalf or his empioyer shall furnish a sworn statement of earnings by 3uch
   dency from the deceased had he not sustained the bodily injury causing death,             eligible injured person since the date of the accident and for a reasonable time
   and                                                                                       prior to the accident.
(b) expenses reasonably incurred by such dependent survivors during their depen-         C. Notice. In the event of an accidenf written notice containing particutars
    dency in obtaining ordinary and necessary services in lieu of those that the            sufficient to identify the eligible injured person, and also reasonab(y obtainable
    deceased person would have performed for their benefit had he not sustained             information respectmg the time, place and circumstances of the accident shall
    the bodily injury causing death;                                                        be given by or on behalf of each eligible injured person to the Company or any
                                                                                            of its authorized agents as soon as practicable.
"work loss" means loss sustained during the first 3.years after the date of the
accident consisting of:                                                                      If any eligible injured person, dependent survivor or the legal representative of
(a)
  loss of income the eligible injured person would have earned had he not sus-               either shall institute legal action to recover damages for injury against a
    tained bodily injury, and                                                               person or organization who is or may be liable in tort therefor, a copy of the
(b)
  reasonable expenses incurred in obtaining ordinary and necessary services                 summons and complaint or other process served in connection with such legal
                                                                                            action shall be forwarded as soon as practicable to the Company by such
    from other in lieu of those services that, had he not sustained bodily injury, the
                                                                                            eligible injured person, dependent survivor or legal representative.
    eligible injured person would have performed not for income but for benefit of
    himself or his dependent,                                                            D. Reimbursement and Trust Agreement. Subject to any applicable limitations set
                                                                                            forth in Chapter 31 of the Michigan Insurance Code, in the event of any payment
but work (oss does not include any loss after the date on which the etigible injured
person dies.                                                                                of benefits to any person under this insurance, if such person is legally entitled
                                                                                            to recover such benefits,
POLICY PERIOD; TERRITORY                                                                    (a) the Company shall be entitled to the extent of such payment to the proceeds
                                                                                                of any settlement or judgment that may result from the exercise of any
This insurance applies only to accidents which occur on or after October 1, 1973                right of recovery of such person against any person or organization legally
and during the policy period and within the United States of America, its territories           resP onsible fdr the •bodily inju ry because of which such payment is made,
or possessions, or Canada.                                                                      and the Company shall have a lien to the extent of such payment, notice of
                                                                                                which may be given to the person or organization causing such bodily
LIMITS OF LIABILITY                                                                             injury, his agent, his insurer, or a court having jurisdiction in the matter;
Regardless of the number of persons insured, policies or bonds applicable, claims           (b) such person shall hold in trust for the benefit of the Company all rights of
made, or insured motor vehicles to which this insurance applies, the Company's                  recovery which he shall have against such other person or organization
liability for personal protection benefits to or on behalf of any one person who                because of such bodily injury;
sustains bodily injury in any one motor vehicle accident is limited as follows:             (c)
                                                                                              such person shall do whatever is proper to secure and shall do nothing
1, allowable expenses shall not include charges for a hospital room in excess of a              after loss to prejudice such rights;
    reasonable and customary charge for semi-private accommodations except                  (d)
                                                                                              such person shall execute and deliver to the Company such instruments
    when the eligible injured person requires special or intensive care;                      and papers as may be appropriate to secure the rights and obligations of
                                                                                                such person and the Company established by this provision.
2. the maximum amount payable ior funeral and burial expenses shall not exceed
    $1,000;                                                                              E. Multiple Policies; Non-Duplication of Benefits. Regardless of the number of
                                                                                            motor vehicles insured or insurers (including self-insurers) providing security in
3. the maximum amount payable for all work loss sustained in any single 30 day
                                                                                            accordance wilh Chapter 31 of the Michigan Insurance Code, or the provisions
    period, and any income earned from work performed by the eligible injured
                                                                                            of any other law providing for direct benefits without regard to fault for motor
    person within the same 30 day period, together shall not exceed $1,000 or
                                                                                            or any other vehicle accidents, no person shall recover duplicate benefits for
    whatever other amount is established under 3107(b) of Chapter 31 of the
                                                                                             the same expenses or loss.
   Michigan Insurance Code and such amount shall apply pro rata to any lesser
   periods of work loss, provided that                                                      If any eligible. injured person is entitied to recover benefits under more than
   (a) the maximum amount payable for loss of income because of work loss shall             one policy, the maximum recovery under all such policies shall not exceed the
       not exceed 85% of such loss of income, unless the eligible injured person            amount which would have been payable under the provisions of the policy
       presents to the Company reasonable proof of a lower tax advantage, in                 providing the highest dollar limit of benefits payable.
       which case a greater percentage value shall apply:
   (b) the maximum amount payable for work loss, other than loss of income,                                                  SECTION II
       incurred by the eligible injured person shall not exceed $20 per day;
                                                                                         PROPERTY PROTECTION COYERAGE (E0D8, as amended; 10/1/73)
4. the m axim um amount payable for survivors' loss, because of the death of an
   eligible injured person, sustained in any single 30 day period shall not exceed       The Company will pay, in accordance with Chapter 31 of the Michigan Insurance
   $1,000, provided that the maximum amount payable for survivors' loss because          Code, for da mage to tangible property caused by accident and arising out of the
   of reasonable expenses incurred by such eligible injured person's dependent           ownership, operation, maintenance or use, including loading and unloading, of the
   survivors shall not exceed $20 per day;                                               insured motor vehicle as a motor vehicle.
5, any amount payable by the Company under the terms of this insurance shall be          EXCLUSIONS
   reduced by the a maunt paid, payable or required to be provided under                 This insurance does not apply to damage to;
   (a) the laws of any state or federal government;
                                                                                         (a) any property while the insured motor vehicle is located for use as a residence
   (b)
     any elective deductible set forth in the schedule of this endorsement, or              or premises;
     in the declarations of this policy or in any endorsem ent attached to and
       forming a part of this policy, provided that such deductible shall apply only     (b) the property of any person while such person is using the insured motor
       to the Named Insured and any Telative.                                               vehicle without the express or im plied consent of the Nam ed Insured;
                                                                                         (c) any property owned by the Named Insured or a relative if such Named Insured
CONDITIONS                                                                                  or relative was the owner, registrant or operator of a vehicle involved in the
A. Action Against Company. No action shall lie against the Company unless, as a             motor vehicle accident out of which the property damage arose;
   condition precedent thereto, there shall have been full compliance with all the       (d)
                                                                                           any vehicle or trailer, or the contents of either, operated or designed ior
   terms of this endorsement, provided further than an action for recovery of              operation on a public highway by power other than muscular power, unless such
                                                                                          ..       .                                                         -.-.
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                                                     L                                                              ~
   vehicle or trailer is not an insured motor vehicle b_ ,t damaged by an insured                 notice of which may       given to the persoe er organization causing such
   motor vehicle and is parked in•sueh a way as not to cause unreasonable risk                    property dama;e, his agent, his insurer, or a court having jurisdiclioe ia
   of the damage which occurred;                                                                   the matter;
(e) any property suffered or caused intentionally by the claimant;                             (b) such person shall hold in trust for the benefit of the Company all ruhts of
                                                                                                  recovery which he shalf have against such other person or organization
(f)
  any property as a result of an accident involving a motor vehicle not owned                      because of such damage;
    by the Named Insured or any relative which is being operated by the Named
   Insured or any relative to the extent that security as required under Chapter               (c) such person shall do whatever is proper to secure and shall do nothing after
   31 of the Michigan Insurance Code has been provided by or on behalf of the                      loss to prejudice such rights;
   owner or registrant of such motor vehicle;                                                  (d) such person shall execute and deliver to the Company such instruments and
                                                                                                  papers as may be appropriate to secure the rights and obligations of such
(g)
  any property accepted for transportation by a Named Insured who is a mofor                      person anr the Company established by this provision.
   carrier as defined in Chapter 475 of the Michigan Compi(ed Laws, if a certifi-
   cate of insurance or other evidence of security has been filed by of on behalf of    E. Multiple Policies; Non-Duplicttion of Benefits. Regardless of the number of
   such motor carrier with any local, state or federal regulatory authority, to lhe            motor vehicles insured or insurers (including self-insurers) providing securily
    extent that such insurance or other security is provided for such property or              in accordance with Chapter 31 of the Michigan Insurance Code,.or the provh
    would be provided except for the application of a deductible.                              sions of any other law providing for direct benefits without regard to fault for
                                                                                               motor or any other vehicle accidents, no person shall recover dupticate benefits
DEFINITIONS                                                                                    for the same expenses or loss.
When used in reference to this insurance:        '
"damage" means accidental physical injury to or destruction of tangible property
                                                                                                                              SECTION fll
including the loss of use of such injured or destroyed property;
                                                                                        In consideration of the insurance afforded under Section I of this endorsement and
"insured motor vehicle" means:                                                          the adjustment of applicable rates:
(a) a motor vehicle owned by the Named Insured with respect to which                      any amount payable under any uninsured motorist coverage shall be reduced
                                                                                        (a)
    1. the property damage liability insurance of the policy applies and for which        by the amount of any personal protection benefits paid or payable under this
       a specific premium is charged, and                                                 or any other automobile insurance policy because of bodily injury to an eligible
                                                                                          injured person;
    2. the Named Insured is required to maintain security under Chapter 31 of the
       Michigan Insurance Code, or                                                      (b) any automobile medical payments coverage afforded under this policy is deleted
                                                                                               with respect to a motor vehicle which is an insured motor vehicfe. (EB01, as
(b) a motor vehicle operated by the Named Insured or any relative which is not
                                                                                               amended; 10/1/73).
    owned by such Named Insured or relative and to which the property damage
    liability insurance of the policy applies;
"motor vehicle" means a vehicle, including a trailer, operated or designed for
                                                                                                                              SECTION IV
operation upin a public highway by power other than muscular power which has            It is agreed that any Physical Damage Insurance afforded by this policy does not
more than two wheels;
                                                                                        apply to the extent that Properly Protection Insurance benefrts are paid or payable
"Named Insured" means the person or organization named in the declarations;             as required by Chapter 31 of the Michigan Insurance Code. (E0D4, 10/1/73).
"relative" means a person related to the Named Insured by blood, marriage or
adoption (including a ward or fosler child) who is a resident of the same household                                            SECTION V
as the Named Insured.
                                                                                        LIMITED COLLISION COVERAGE 002, 10/1/73)
POLICY PERI00; TERRITORY
                                                                                        The Company agrees with the Named Insured that any motor vehicle, subject to
This insurance applies only to accidents which occur on or after October 1, 1973        the provisions of Chapter 31 of the Michigan Motor Insurance Code, notinsured for
and during the policy period in the State of Michigan.                                  Collision Coverage as of October 1, 1913 is hereby provided Limited Collision
                                                                                        Coverage to the end of the annual policy period, or otherwise as designated on
LIMITS OF LIABILITY                                                                     the declarations or any schedule by the letters "LC". The Company further agrees,
                                                                                        subject to all the provisions of the policy relating to Collision Coverage except
Regardless of the number of persons insured, policies or bonds applicable, claims
                                                                                        as modified herein, as follows:
made, or insured motor vehicles to which, this insurance applies, the total limit of
the Company's liability under this policy for all damage arising from one accident      The Company will pay for direct and accidental loss which occurs in the State of
shall not exceed $1,006,000.                                                            Michigan and during the policy period to the insured motor vehicle, except while
                                                                                        parked in such a way as not to cause unreasonable risk of the damage which
Subject to the foregoing, the Company's liability for property protection benefits      occurred, caused by contact with a motor vehicle of which the owner, registrant
shall not exceed the lesser of reasonable repair costs or replacement costs less
                                                                                        or operator, or other person or organization legally responsible for his acts or
depreciation and, where applicable,the value of loss of use.
                                                                                        omissions, is entitled to an exemption from tort liability for such loss under
CONDITIONS
                                                                                        Chapter 31 of the Michigan Insurance Code, provided the Named Insured would be
                                                                                        legally entitled to recover such loss but for such exemption. For the purpose of
A. Action Against the Company. No action shall lie against the Company unless,          this insurance, determination as to whether the Named Insured is legally entitled
   as a condition precedent thereto, there shall have been full compliance with all     to recover such loss and if so the amount thereof shalf be made by agreement
   the terms of this endorsement, provided further than an action for recovery of       between the Named Insured and the Company. If the Named tnsured and the
    property protection benefits payable under this insurance may not be com-           Company do not agree, then, upon written demand of either, the matter or matters
    menced later than 1 year after the date of accident.                                upon which they do not agree shall be settled by arbitration.
B. Notice. In the event of an accident, written notice containing particulars           DEFINITIONS
    sufficienl to identify the damaged property, and also reasonably obtainable
    information respecting the time, place and circumstances of the accident shall      "Insured motor vehicle", means:
    be given by or on behalf of the person who sustains loss to the Company or          1, a motor vehicle of which the Named Insured is the owner and with respect to
    any of its authorized agents as soon as practicable.                                       which,
C. Duties in Event of Loss. In the event of loss,                                              (a) the property damage liability insurance of the policy applies, and
   (a) the property shall be protected and any further loss due to failure to protect      (b)
                                                                                             securPly is required to be maintained under Chapter 31 of the Michigan
       shall not be recoverable under this insurance; however, reasonable expenses           Insurance Code;
       incurred in affording such protection shall be deemed incurred at the
                                                                                        2. a motor vehicle designated in the Declarations or any schedule by the letters
       Company's request;
                                                                                               "LC"; and
   (b) within a reasonable time after loss, sworn proof of loss in such form and
       including such information as the Company may reasonably require shall be        3. any other vehicle designated as follows:
       filed with the Company and, upon the Company's request, the damaged
       property shall be exhibited and the owner or bailee thereof shall submit to
       examination under oath.
 D. Reimbursement and Trust Agreement. Sub}ect to any applicable limitations set
    forth in Chapter 31 of the Michigan Insurance Code, in the event of any pay-
    ment to any person under this insurance:
    (a) the Company shall be entitled to the extent of such payment to the proceeds
        of any settlement or judgment that may result from the exercise of any
        right of recovery of such person against any person or organization legally     LIMIT OF LIABILITY
        responsible for the property damage because of which such payment is             The limit of the Company's.liability for loss shall not exceed the actual cash value
        made and the Company shall have a lien to the extent of such payment,            of the insured motor vehicle, or if the loss is to be a part thereof the actual cash
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                                                                                                                   ~
value of such part, at the time of loss, or what • Id then cost to repair or           2. a motor vehicle. desi6 .zd in the Declaralions or any schedule by the letters
replace the insured motor vehicle or such part with other property of the kind and            "BC"; and
quality, or the applicable limit of liability stated in the policy.                    3. any other vehicle designated as follows:
The Company shall be liable only for the amount of each such loss in excess of the
deductible amount, if any, stated in the dec(arations of the policy applicable
thereto. The deductib(e amount shall apply to loss caused by contact with another
motor vehicle insured by the Company.


                                     SECTION VI
BROADENED COLLISION COVERAGE (E003, 10/1/73)
                                                                                                                         SECTION VII
It is agreed that any motor vehicle, subject to the provisions of Chapter 31 of the
Michigan Motor Insurance Code, insured for Collision Coverage as of October 1,         RENTAL REIMBURSEMENT PROVISION (E005, 10/1/73)
1973 is hereby provided Broadened Collision Coverage in lieu of Collision Coverage
to the'end of the annual policy period, or otherwise as designated on the declara-     It is agreed that any Renta( Reimbursement insurance benefits afforded by this
tions or any schedule by the letiers "BC". The deductible amount under Collision       policy does not apply to the extent that similar benefits are payable under Property
Coverage is hereby applicable to Broadened Collision Coverage.                         Protection Insurance as required by Chapter 31 of the Michigan Insurance Code.
The deductible amount applicable under the Collision Coverage does not apply to
loss to the insured motor vehicle, except while parked in such a way as not to                                           SECTION VIII
cause unreasonable risk of the damage which occurred, caused by contact with a
motor vehicle of which the owner, registrant or operator, or other person or           PREMIUM RECOMPUTATION
organization legally responsible for his acts or omissions, is entitled to an exemp-   The premium for the policy is based on rates which have been established in
tion from tort liability for such loss under Chapter 31 of the Michigan Insurance
                                                                                       reliance upon the limitations on the right to recover for damages under the provi-
Code provided the Named Insured would be legally entitled to recover such loss
                                                                                       sions of Chapter 31 of the Michigan Insurance Code. If a court of competent
but for such exemption. For the purposes of this insurance, determination as to        jurisdiction declares or enters a judgment from which there is no appeal the effect
whether the Named Insured is legally entitled to recover such loss and if so the       of which•is to render the provisions of such Act invalid or unenforceable in whole
amount thereof, shall be made by agreement . between the Named Insured and the
                                                                                       or in part, the Company shall have the right to recompute the premium payable
Company. If the Named Insured and the Company do not agree, then, upon demand
                                                                                       for the policy on the basis of revised rates which are subject to review by the
of eilher, the matter or matters upon which they do not agree shall be settled by      Commissioner of Insurance. In the event the Named Insured elects to delete any
arbitration.
                                                                                       coverage as a result of such declaration or judgment, any resulting refund of
As used in this section "insured motor vehicle" means:                                 premium - shall be computed on a pro-rata basis.
1. a motor vehicle of which the Named Insured is the owner and with respect to
    which,
    (a) the Collision Coverage of the policy applies, and
    (b) security is required to be maintained under Chapter 31 of the Michigan
       Insurance Code;                                                                                                          Authorized Agent
                                      -~--....
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                                                . ---01/07/19      ---
                                                              ----PageID.181 Page 171 of 222
                           •                                      ~
      IIVA                           .
       ► Issued b y . ...............................................................................................................-.................-............._..........
                                                                                  (Nome of Insurance Compony)

            This Endorsement effective                          Forms a part of Policy No.                 Issued to:

       ►           3-1-77 ✓                                  ► GAI. 33 14 83 ✓                          ►
                                     Insert the policy number. The remainder of the information is to be completed only
                                          when this endorsement is issued subsequent to the preparation of the policy.




                  It ia nrMd tbst tha fol2.oviag are addod to thia policy as Additional

                  gamed Ynstarrsda bnt oe1T as resp®cts Asot                                            ils Liibilityt ,/

                   AAm OF ADDTPIonAL mom Zmmms ✓
                  tiT.W.fi. Ltail Inc. ✓
                  Wolvftrsaa Horld Wida Eqrlqeos ✓
                  Federal Croiit Union✓
                  iTo17ar1aa 9er►i" Cl.ub, Ina. ✓
                  An7 CorPoration or othsr Bnsiaasa ®tganisati®n in tfhich tbs Fr3marT Ia od
                  Acquirss an Orusf.hip tatelvat ai at 1esst 31Z. ✓




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                  Endossowtt #14

                                                                                                                              Authorized Agent


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   ~                                                                REPOSSESSED AUTOMOBILES                                                                        '
                                                                                                                                                                   ~

     Named Insured


     Effective    3'1'77                                                                                             Policy No.          GAL 33 14 83 ✓

     Issued
                                                                             (Name of fnsurance Company)
                             The above is required to be,completed onty when this endorsement is issued subsequent to the preparation of the policy.




                              This endorsement modifies such insurance as is afforded by the provisions of the policy relating to the following:



                                                        COMPREHENSIYE AUTOMOBILE LIABILITY INSURANCE
                                                            AUTOMOBILE MEDICAL PAYMENTS INSURANCE




     It is agreed that the insurance with respect to an owned automobile applies with respect to any automobile white being repossessed by the Named Insured, or while
     being maintained or used in connection with resale following such repossession, subject to the following additional provisions:

         1. The insurance does not cover as an Insured any person or organization from whom the automobile has been repossessed.

         2. The insurance does not apply to any automobile while being used for other business purpases or for personal, pleasure or family purposes.

                                                                                  SCHEDULE

                     The insurance afforded is only with respecl to such of the following coverages as are indicated by specific premium charge or charges,
                                                                                                    Rates                                       Advance Premiums
                        Estimaled number of aulomobiles
                            to be repossessed during                                  Bodily                 Property                     Bodily              Property
                                  pollcy period                                       Injury                 Damage                       Injury              Damage
                                                                                     Liability               Liability                   Liabilily            Liability




                 If Any ✓                                                           Iacluded               n Composite Rate ✓


      Minimum Premiums:
        Bodily Injury Liability    b
        Property Damage Liability b                                                                Total Advance Premiums         $                      $




                                                                                                                                      Authorized Agent


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            .     - .._        _.
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                         •
   1111A
    ► Issued by .....................................................    _     ..---.................................................
                                                                                            .......    .                             ..............................
                                                                             (Name of Insurance Company'

         This Endorsement, -ffective                      Forms a part of Policy No.               Issued to:
    ►         3-1-77                                   ► 6AI. 33 14 83 /                         ►
                                Insert the policy number. The remoinder of the information is to be completed only
                                    when this endorsement is issued subsequent to the preparation of the policy.



              It is atre" t6at the tolloring CanaaZatiom Clsxse is addad to this policy
              bot ossly aa respacts Antmobile Liabilityt ✓

              7his mdoYsasEsnt sadifidss tba eancelatioa coadition sad is applicabis to
              aU. inssraace afforded by tbe polie7. v/
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              It is agrrasd the - eaoealatiAa cosditiog of ths policy is ssmaisd to pravtde
              that, vith rMspact to eancalatioa by tDrrs cospany, except for casealsti.oa
              for nonpayasnt of prestims tha rif€ectiTa dste of cancei=r+m sbsll be sot
              lsss tb+m 60 daps atter ths ssilias of notics thsrea. ✓




                                                                                                                                                           ~
             &ndorsommt !16                                                                                          Authorized Agent


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       Case 1:19-cv-00010-JTN-ESC ECF No. 1-1 filed 01/07/19 PageID.184 Page 174 of 222
                               r                        ~                                                                    0
       IN11,
        1110. Issued by ................................. ................................................................................................•---......................
                                                                                    tName o( Insurance Companyl

               This Endorsement, effective                       Forms o part of Policy No.                   Issued to:
        101.         3--1-77 f                                0' CJL 33 14 83 .%                           00.
                                      Insert the policy number. The reinainder of' the information is to be completed only
                                          when this endorsement is issued subsequent to the preparation of the policy.


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                                     for a pariod of tlma aet a:aasdiat 30 &"s.,/
                          . 2. bem -barasadar shall ba adinstad vitb tLa iaaad Insatai asd ahsll
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                                                                                                                               Authorized Agent


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 'NI                                                             LOSS PAYABLE CLAUSE
    -k




   Named Insured


   EHective
                       3"'1-77 ~                                                                             Policy No.     GAL 33 14 83 ~

   Issued
                                                                      (Name of Insurance company)
                       The above is required to be completed oniy when this endorsement is issued subsequent to the preparation of the policy.




       Loss or damage, if any, under the policy shall be payable as interest may appear to                  Sraa baioft& /


       and this insufance as to the interest of the Bailment Lessor, Conditional Vendot, Mortgagee or other secured party or Assignee of 8ail-
       ment Lessot, Conditional Vendor, Mortgagee or other secured party (herein called the Lienholder) shall not be invalidated by any act ot
       neglect of the Lessee, Mortgagor, Owner of the within described automobile or other Debtor nor by any change in the title or owne► ship
       of the property; provided, however, that the conversion, embezzlement or secretion try the Lessee, Mottgagor, Purchasor or other
       Debtor in possession of the property insured under a bailment lease, conditional sale, mortgage or other security agreement is not
       covered under such policy, unless specifically insured against and premium paid therefor; and ptovided, also, that in case the Lessee,
       Mortgagor, Owner or other Debtor shall neglect to pay any ptemium due under such policy the Lienholder shall, on demand, pay the same.

       Provided also, that the Lienholder shall notify the Company of any change of ownership or increase of hazard which shall come to the
       knowledge of said Lienholder and, unless permitted 1>Jr such policy, it shall be noted thereon and the Lienholdei shall, on demand, pay
       the premium for such inctease hazard for the term of the use thereof; otherwise such policy shall be null and void.

       The Company reserves the right to cancel such policy at any time as provided by its terms, but In such case the Company shall notify
       the Lienholder when not less than ten days thereafter such cancelation shall be effective as to the interest of said Lienholder therein
       and the Company shall have the right, on like notice, to cancel this agreement.

       If the Insured fails to render proof of loss within the time granted in the policy conditions, such Lienholder shall do so within sixty
       days thereafter, in form and manner as provided by the policy, and further, shall be subject to the provisions of the policy relating to
       appraisal and time of payment and of bringing suit.

       Whenever the Company shall pay the Lienholder any sum for loss or damage under such policy and shall claim that, as to the Lessee,
       Mortgagor, Owner or other Debtor, no liability therefor existed, the Company shall, to the extent of such payment, be thereupon legally
       subtogated to all the tights of the party to whom such payment shall be made, under all securities held as collateral to the debt, or may
       at its option, pay to the Lienholder the whole principal due ot to grow due on the mortgage or other security agreement with interest,
       and shall thereupon receive a full assignment and transfet of the mortgage or other security agreement and of all such other securities;
       but no subrogation shall impair the right of the Lienholder to recover the full amount of its claim._

       Whenever a payment of any nature becomes due under the policy, separate payment may be made to each party at Interest provided the
       Company protects the equity of all parties.

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        USited States Fleat Leasing Iac:, Ford ?Sotor Cradlt Co., Geseral Soters Aeaoptaoce
        Corp., Bmk of Aserfea, Cbsyaleer Credit Cotrp.,
        320 Hatch Drivo, Fastar CitF, Cd 94404
        applias'ts all amt000bilea leased lraa IInited States F].set Yreasias Iae., to hoiie
        Footrsar Dir. o!r lRaad inaered. ✓
        1. Asmciatfi:s Discotmt of Delavare, 855 Central Avs., Albaar. PT 12206 ✓
             (for 1973 Ford, C70BVR95678) ✓
        2. Ford Motoe Credit Co., 3250 28th St. S.B., 6rand 8,apids, ffi. 49508 ----
                   (for 1975 Ford, 51621H121820) ✓



        Yndorsetamt i].a
                                                                                                                          Authorized Agent


D-1280d (NAUA 616 10/72) Ptd. In U.S.A.
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                                                      w                                                                  w
    lNr              t
                                                 APPLICATION OF INSURANCE TO OWNER OF HIRED AUTOMOBILE



         Named Insured




     Effective                                                                                  P°tr`y N°'
                        g_1-77 ~(                                                                                 GAL 33 14 83 ✓
     Issued by (Name of Insurance Company)

                                                                                                   I
                     The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.



                                 This endorsement modifies such insurance as is afforded by the provtstons of the poltcy relalrng to the lollowmg:




                                                             COMPREHENSIVE AUTOMOBILE LIABILITY INSURANCE
                                                               AUTOMOBILE MEDICAL PAYMENTS INSURANCE




    Wrlh respect to the hired automobtle descnbed betow or desrgnated m the policy as subject to this endorsemenl, rl rs agreed that.

           t I t The Insurance appltes as pnmary msurance.

           (21 Sublect otherwise to the Persons Insured provtsron, the msurance covers as an Insured the owner, any lessee (of whom the Named Insured rs a sub-lessee) and any
               agent or employee ol such owner or lessee, but only whde such automobile Is used In the busmess of the Named Insured as stated m the declaratrons, or by or on
               behalf of Ihe Named Insured for personal or pleasure purposes, and subparagraph (ii ) of the Persons Insured provtston is amended accordingly.




    Description of Aulomobile:


             APPLIES TO ALL AUTOMOBILES LEA.SED FROM:✓
            1. G.A.T.%. Leasing Corp./
            2. Morrison Indnstrial E uipment Co./
            3. Seatrain Lines, Inc.
            4• Imperial Leasing Inc.✓
            5. Dandenberg Leasing; Inc., 1191 S. Washington Ave., Holland, MI. 49423 ✓
            6. Mason Service Rentals ✓
            7. Western Auto Leasing, Inc.✓
            8. Bildaco, Inc.,/
            9. United States Leasing Corp. f
            10. Abernathy Motor Co., Inc., Jonesboro, AR 72401 ✓
            11. Mulvihill Oldsmobile Co., 1100 S. Division, Grand Rapids, MI. ✓
            12. Tony Betten Ford Inc., 3839 Plainfield, N.E., Grand Rapids, Mi.✓
            13. Horizon Transportation, Division of Scope Industries ✓
            14. Staal Leasing, Inc. 1010 28th St., S.E., Grand Rapids, MI.✓
            15. General Electric Credit Corp., P.O. Box 38,'Southfield, MI. 48075 ~
            16. Puerto Rico Marine Mng. Inc./
                     1 Cross Roads of Commerce ✓
                     Rolling Meadows, IL 60008 ✓
           Any other leasing or rental company where th named insured is required to provide
           insurance for the owner of the autemobile.

           Eadorsement #19
                                                                                                                                        Authorrzed Agent


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                       ~
  'NA                                                              LOSS PAYABl.E CLAUSE


   Named Insured


   Effective        3'1'77 ~                                                                                   Policy No.       CJi. 33 14 83 /

   Issued by
                                                                        (Bame ol Insurance Company)
                         The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.




        Loss or damage, if any, under the policy shall be payable as Interest may appear to               AU eutiuss ust" Ofa

         Rod0JctQ=at t:3.~~ Tr,3 567 /
        and this insurance as to the interest of the Bailment Lessor, Conditional Vendor, Mortgagee or other secuted party or Assignee of Bail-
        ment Lessor, Conditional Vendor, Mortgagee ot other secured party (herein called the Lienholder) shall not be invalidated by any act oi
        neglect of the Lessee, Mortgagoi, Owner of the within desctibed automobile or othei Debtot nor by any change in the title or ownership
        of the property; provided, however, that the conveysion, embezzlement or secretion by the Lessee, Mortgagor, Purchasor or other
        Debtor in possession of the property insured under a bailment lease, conditional sale, mortgage or other security agreement is not
        covered under such policy, unless specifically insured against and premium paid therefor; and provided, also, that in case the Lessee,
        Mortgagor, Owner or other Debtor shall neglect to pay any ptemium due under such policy the Lienholder shall, on demand, pay the same.

        Piovided also, that the Lienholder shall notity the Company of any change of ownership or incfease of hazard which shall come to the
        knowledge of said Lienholdef and, unless permitted by such policy, it shall be noted theteon and the Lienholder shall, on demand, pay
        the premium for such inctease hazard foi the term of the use thereof; otherwise such policy shall be null and void.

        The Company reserves the right to cancel such policy at any time as pfovided by its terms, but in such case the Company shall notify
       the Lienholder when not less than ten days thereafter such cancefation shall be effective as to the interestof said Lienholdertherein
        and the Company shall have the tight, on like notice, to cancel this agreemenL

        If tlre Insuted fails to render proof of loss within the time granted in the policy conditions, such Lienholder shall do so within sixty
        days thereafter, in form and manner as provided by the policy, and further, shall be subject to the pfovisions of the policy relating to
        appiaisal and time of payment and of bringing suit.

       whenever the Company shall pay the Lienholder any sum for loss or damage under such policy and shall claim that, as to the Lessee,
       Mortgagor, Owner or other Debtor, no liability therefor existed, the Company shall, to the extent of such payment, be thereupon legally
       subrogated to all the rights of the party to whom such payment shall be made, under all securities held as collateral to the debt, or may
       at its option, pay to the Lienholder the whole principal due or to grow due on the mortgage or other security agieement with interest,
       and shall thereupon receive a full assignment and transfer of the mortgage ot other security agreement and of all such other securities;
        but no subrogation shall impair the right of the Lienholder to recover the full amount of its claim..

       Whenever a payment of any nature becomes due undef the policy, separate payment may be made to each party at interest provided the
       Company protects the equity of all parties.




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                                                                                                                            Authorized Agent


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    t~                          CANCELLATION CONDITION—AMENDMENT OF FIRST PARAGRAPH
                                                                          (MichiQan)


     Named Insured
                                                                                                               Effective Date                     ~
      Policy No,     rAT. 13 14 fi't '/               Policy Period                                            of Endorsement

     Issued by
                                                                      (Name ol Insurnnc+ CompanY)
                        The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.




                                   This endorsement applies to all General Liability policies and to all Automobile
                                 (including Automobile Physical Damage) policies issued or delivered in Michigan.



       It is agreed that with respect to the "Cancellation" provisions of the policy:
          1. The words "at the address shown in this policy," appearing in the first paragraph of the "Cancellation" Condition, are amended
             to read "at his address last known to the company or its authonzed agent".
          2. The provisions (if forming a part of the policy) of the endorsement entitled "Amendment of Termination Provisions (Mich-
             igan)" apply as stated therein.
          3. The provisions, if any, forming a part of the policy which (by endorsement or otherwise) amend the "Cancellation" provisions
             of the policy other than as stated or designated in this endorsement are deleted.




                                                                                                                                                      i




                                                                                                                       Authorized Agent


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                                                                       AMENDMENT OF THE
    INK                               SOUND REPRODUCING OR RECORDING EQUIPMENT EXCLUSION

      Named Insured




      Effective                                                                            Policy No,                                          /
                     3-1-77 ~                                                                                   GAL 33 14 83               ~
      Issued by (Name of Insurance Company)


                   The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.


                             This endorsement modifies such insurance as is afforded by the provisions of the policy relating to the following:

                                                   AUTOMOBILE PHYSICAL DAMAGE INSURANCE

                                                                      (Fleet Automatic or Non-tleet)

                                                                               (Dealers)


        It is agreed that:

                  Under Exclusion (e) of the Automobile. Physical Damage Insurance (Fleet Automatic or Non-fleet) and under Exclusion (g)
                  of the Automobile Physical Damage Insurance (Dealers), (i) and (ii) are replaced by the following:
                   (i) to any device or instrument designed for recording or reproduction of sound, unless such device or instrument is per-
                       manently installed in the automobile;
                  (ii) to more than one tape, or other medium, owned by the Named Insured for use with such permanently installed instru-
                       ment; or

                  (iii) to any caddy, case, or container used for storing or carrying such tapes or mediums.




                                                                                                                       AutAorired Atent


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                                                      AUTOMOBILE PHYSICJIL DAMAGE INSURANCE
     lNik                                                       (Fleet Automatic or Non-Fleet)


                         COVERAGE PART                                                                       Policy No _. ~~
                                                                                                                           ~ 3Jz4 83


     I. COVERAGE AGREEMENTS

        1. The Company will pay for loss to covered automobiles, under:


           COVERAGE 0. COMPREHENSIVE                           —from any cause except collision; but, for the purpose of this coverage, breakage of gfass and Ioss
                                                                 caused by missiles, falling objects, fire, theft or larceny, windstorm, hail, earthquake, explosion,
                                                                 riot or civil commotion, malicious mischief or vandalism, water, flood, or colliding with a bird or
                                                                 animal, shall not be deemed loss caused by collision;



           COVERAGE P. COLLISION                               —caused by collision;


           COVERAGE Q. FIRE, LIGHTNING OR TRANSPORTATION —caused by

                                                                 (a) fire or lightning,

                                                                 (b) smoke or smudge due to a sudden, unusual and faulty operation of any fixed heating equipment
                                                                     serving the premises in which the covered automobile is located, or

                                                                  the stranding, sinking, burning, collision or derailment of any conveyance in or upon which the
                                                                (c)
                                                                  covered automobile is being transported;


           COVERAGE R. THEFT                                   —caused by theft or larceny;



           COVERAGE S. WINDSTORM, HAIL, EARTHQUABE
                        OR EXPLDSION                           —caused by windstorm, hail, earthquake or explosion;


           COVERAGE T. COMBINED ADDITIONAL                     —caused by

                                                                 (a) windstorm, hail, earthquake or explosion,

                                                                 (b) riot or civil commotion,

                                                                 (c) the forced landing or falling of any aircraft or its parts or i:quipment,

                                                                 (d) malicious mischief or vandalism,

                                                                 (e) flood or rising waters, or

                                                                 (f) external discharge or leakage of water;


          provided that, with respect to each covered automobiie,

          (i)
            under the Comprehensive Coverage (except.as to loss from any of the.causes described in the Fire, Lightning or Transportation Coverage) and under
              the CDllision Coverage, such payment shall be only for the amount of each loss in excess of the deductible amount, if any, stated in the Declarations
              as applicable thereto;

          (ii) under the Combined Additional Coverage, $25 shall be deducted from the amount of each loss caused by maficious mischief or vandalism.


       2. The Company will pay, under:



          COVERAGE V. TOWING                                  —for towing and labor costs necessitated by the disablement of covered automobiles, provided the
                                                                 labor is performed at the place of disablement.



DA•90B (CP 00 30 Ed. 8•74)
         CP 00 35 Ed. 8•71   Printed In U.S.A.
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                                                                                               .          •                                                  .


 3. SUPPLEMENTARY PAYMENTS                                                           II. LIMIT OF LIABILITY

 In addition to the applicable limits o( liability, the Company will:                The limit of the Company's liability for loss to any one covered automobile
                                                                                     shall not exceed the least of the following amounts:
 (a) with respect to such transportation insurance as is afforded herein, pay
     general average and salvage charges for which the Named Insured be-            (a) the actual cash value of such covered automobile, or if the loss is to a
     comes legally liable;                                                              part thereof the actual cash value of such part, at time of loss; or

(b) reimburse the Named Insured, in the event of a lhelt covered by this            (b) what it would then cost to repair or replace such covered automobile or
    insurance of an entire covered automobile of the private passenger type             part thereof with other of like kind and quality, with deduction for depre-
    (not used as a public or livery conveyance and not, at time of theft, being         ciation; or
    held for sale by an automobile dealer), lor expense incurred for the rental
    ol a substitute for such covered automobile during the period commenc-          (c) the limit of liability stated in the Declarations as applicable to "each
    ing 48 hours after such theft has been reported to the Company and the              covered automobile" under the coverage afforded for the loss to such
    police and terminating, regardless of ezpiration of the policy period, when         covered automobile, provided that if such limit, of liability is expressed
    such covered automobi(e is returned to use or the Company pays for the              as a stated amount it shall, with respect to a covered automobile newly
    Ioss; but, as to any one such theft, such reimbursement shall not exceed            acquired during the policy period and not described in the Declarations,
    b10 for any one day nor $300 total.                                                 be deemed as having been replaced by "actual cash va(ue".

4. Such insurance as is afforded under each coverage applies separately to
each covered automobile, and a land motor vehicle and one or more trailers or
semitrailers attached thereto shall be held to be separate covered'automobiles       111. POLICY PERIOD; TERRITORY; PURPOSES OF USE
as respects limits of liability and any deductible provisions applicable thereto,   This insurance applies only to loss which occurs during the policy period,
                                                                                    while the covered automobile fs within the United States of America, its terri-
                                                                                    tories or possessions, or Canada, or is being lransported between ports thereof
Exclusions
                                                                                    and, if a covered automobile described in the Declarations, is maintained and
This insurance does not apply:                                                      used for the purposes stated therein as applicable thereto.

(a) to any covered automobile while used as a public or livery conveyance,
    unless such use is specifically declared and described in the Declarations;
                                                                                    IV. ADDITIONAL DEFINITIONS

(b) to damage which is due and confined to:                                         When used in reference to this insurance (including endorsements forming a
                                                                                    part of the policy):
     (i) wear and tear, or
                                                                                       "camper body" means a body designed to be mounted upon a covered auto-
    (ii) freezing, or                                                                  mobile and equipped as sleeping or living quarters;
   (iii) mechanical or electrical breakdown or failure,
                                                                                       "collision" means (i) collision of a covered automobile with another object
   unless such damage is the result of other loss covered by this insurance;           or with a vehicle to which it is attached, or (i)) upset of .such covered
                                                                                       automobile;
(c) to tires, unless
                                                                                      "covered automobilo" means a land motor vehicle, trailer or semitrailer,
    (i) loss be coincident with and from the same cause as other loss cov-            including its equipment and other equipment permanently attached thereto
        ered by this insurance; or                                                    (but not including robes, wearing apparel or personal effects), which is
                                                                                      either
    (ii) damaged by fire, by malicious mischief or vandalism or stolen and,
         as to the covered automobile, loss caused by such damage or theft             (a) designated in the Declarations, by description, as a covered automobile
         is covered by this insurance;                                                   . to which this insurance applies and is owned by the Named Insured; or

(d) to loss due to                                                                     (b) if not so designated, such vehicle is newly acquired by the Named
                                                                                           Insured during the policy period provided, however, that:
    (i) war, whether or not declared, civil war, insurrection, rebellion or
        revolution, or to any act or condition incident to any of the foregoing;           (i) it replaces a described covered automobile, or as of the date of its
                                                                                                delivery this insurance applies to all covered automobiles, and
    ()i) radioactive contamination;
                                                                                          (iil the Named Insured notifies the Company within 30 days following
(e) to loss to                                                                                  such delivery date;

    (i) any device or instrument designed for the recording, reproduction, or         but "covered automobile" does not include a vehicle owned by or regis-
        recording and reproduction of sound, unless such device or instrument         tered in the name of any individual partner or executive officer of the
        is permanently installed in the covered automobile;                           Named Insured, unless specifically stated otherwise by endorsement form•
                                                                                      ing a part of the policy;
   Oi) any tape, wire, record disc or other medium for use with any device
       or instrument designed for the recording, reproduction, or recording            "loss" means direct and accidental loss or damage;
       and reproduction of sound;
                                                                                      "private passenger type" means a 4-wheel land motor vehicle of the private
(f) to loss to a camper body designed for use with a covered automobile and           passenger or station wagon type;
     not designated in the Declarations and for which no premium has been
     charged if such camper body was owned at the inception of the policy           as lo "purposes of use":
     period or the inception of any renewal or extension period thereof;
                                                                                      "commercial" means use principally in the business occupation of the
(g) under the Comprehensive and Theft Coverages, to loss or damage due to             Named Insured as stated in the Declarations, including occasional use for
    conversion, embezzlement or secretion by any person in possession of a            personal, pleasure, family and other business purposes;
    covered automobile under a bailment lease, conditional sale, purchase
    agreement, mortgage or other encumbrance;                                         "pleasure and business" means personal, pleasure, family and business use.

(h) under the Collision Coverage, to breakage of glass if insurance with re-
                                                                                    V. CONDITIONS
    spect to such breakage is otherwise afforded herein;
                                                                                    None of the Conditions of the policy shall apply to this insurance except
(i) under the Windstorm, Hail, Earthquake or Explosion and Combined Addi-           "Premium", "Inspection and Audit", "Subrogation", "Changes", "Assign-
     tional Coverages, to loss resulting from rain, snow or sleet, whether or       ment", "Cancellation", and "Declarations". This insurance shall also be
     not wind-driven.                                                               subject to the following additional Conditions:
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                                                 0                                                              ~


1. Named Insured's Duties in Event of Loss                                            3.Appraisal
 In the event of loss the Named Insured shall:                                        If the Named Insured and the Company fail to agree as to the amount.of loss,
                                                                                      either may, within 60 days after proof of loss is filed, demand an appraisal of
(a) protect the covered automobile, whether or not this insurance applies to          the loss. In such event the Named Insured and the Company shall each select
    the loss, and any further loss or damage due to the Named Insured's               a competent appraiser, and the appraisers shall select a competent and dis-
    failure to protect shall not be recoverable under this insurance; reasan-         interested umpire. The appraisers shail state separate)y the actual cash value
    able expenses incurred in affording such protection shall be deemed               and the amount of loss and fai)ing to agree shall submit their differences to
    incurred at the Company's request;                                                the umpire. An award in writing of any two shall determine the amount of
                                                                                      loss. The Named Insured and the Company shall each pay ils chosen appraiser
(b)
  give notice lhereof as soon as practicable to the Company or any of its             and shall bear equally the other expenses of the appraisal and umpire.
  authorized agents and also, in the event of theft or larceny, to the po)ice;
                                                                                      The Co mpany shall not be he)d to have waived - any of its rights by any act
(c)
  file with the Company, within 91 days after loss, his sworn proof of loss
                                                                                      relating to appraisal.
  in such form and including such inlormation as the Company may reason-
  ab)y require and, upon the Company's request, shall exhibit the damaged
  property and submit to examination under oath; ,                                    4. Action Against Company
(d) cooperate with the Company and, upon lhe Company's request, shall assist          No action sha)I lie against the Company un)ess, as a condition precedent
    in making settlements, in the conduct of suits and in enforcing any right         thereto, there shall have been full compliance with all the terms of this insur-
    of contribution or indemnity against any person or organization who may           ance nor until 30 days after proof of loss is filed and the amount of loss is
    be liable to the Named Insured because of loss with respect to which this         determined as provided in this insurance.
    insurance applies; and shall attend hearings and tria)s and assist in secur-
    ing and giving evidence and obtaining the attendance of witnesses;                5.Other Insurance
but the Named Insured shall not, except at his own cost, voluntarily make             If the Named Insured has other insurance against a loss covered by this insur-
any payment, assume any obligation, offer or pay any reward for recovery of           ance, the Company shall not be liable under this insurance for a greater
stolen property or incur any expense other than as specifically provided in           proportion of such loss than the applicable limit of liability stated in the
this insurance.                                                                       Declarations bears to the total applicab)e limit of liability of all valid and
                                                                                      collectible insurance against such loss; provided, however, with respect to any
                                                                                      covered automobile newly acquired during the policy period and not described
2. Payment for Loss                                                                   in the Declarations, this insurance shall not apply to any loss against which
With respect to any loss covered by this insurance, the Company may pay for           the Named Insured has other va)id and collectible insurance.
said loss in money, or may:
                                                                                      S. No Benefit to Bailee
(a) repair or replace the damaged or stolen property, or
                                                                                      None of the provisions of this insurance shall inure directly or Indirectly to
(b) return at its expense any stolen property to the Named Insured, with
                                                                                      the benefit of any carrier or other bai)ee for hire.
    payment for any resultant damage thereto, at any time before the loss is
    so paid or the property is so rep)aced, or
                                                                                      7. Terms of Insurance, Confbrmed to Statute
(c)
  take all or any part of the damaged or stolen property at the agreed or
  appraised va)ue,                                                                   Terms of this insurance which are in conflict with the statutes of the state
                                                                                     wherein this insurance is issued are hereby amended to conform to such
but there shall be no abandonment to the Company.                                    statutes.




                                                   (See next page for FLEET AUTOtrtATIC provisions, if applicable)
                                        _ .. -     ---- ---                                                    ~. .
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                                             ~




                                                               FLEET AUTOMATIC PROVISIONS

The following apply only when Item 4, Fleel Automatic Provisions, of the Automobile Physical Damage Insurance—Additional Declarations is checked:

II. LIMIT OF LIABILITY is amended to read as follows:

tl. LIMIT OF LIABILITY

1. The limit of the Company's liability for loss to any one covered automobile shall not exceed the least of the following amounts:

   (a) the actual cash value of such covered automobile, or if the loss is to a part thereof the actual cash value of such part, at time of loss; or

   (b) what it would then cost to repair or replace such covered automobile or part thereof with other of like kind and quality, with deduction for depreciation;
       or
     the limit of liability stated in the Declarations as applicable to "each covered automobi(e" under the coverage allorded for the loss to such covered
   (c)
       automobile, provided that if such limit of liability is expressed as a stated amount it shall, with respect to a covered automobile newly acquired during the
       policy period and not described in the Declarations, be deemed as having been replaced by "actual cash va(ue";

   and, subject to the above provisions, shall not in any event exceed the amount, if any, stated in the Declarations as the "maximum limit of (iability" applicab(e
   to' any one covered automobile."

2. The total limit of the Company's liability for all loss directly attributable to a single happening out of which loss occurs shall not exceed:
   (a) as to all covered automobiles at any one location, the amount, if any, stated in the Declarations as the "maximum limit of liability" applicable thereto,
       subject to the above provisions respecting any one covered automobile;
   (b) as to all covered automobiles the amount, if any, stated in the Declarations as the "maximum limit of liabi(ity" applicable thereto, subject to the above
       provisions respecting li) any one covered automobi(e and (i() any one location.



IV. ADDITIONAL DEFINITIONS

   The following def9nition is added:

   "cammercial type" means

    (i) a land motor vehicle of the truck, pick•up, express, sedan or panel de(ivery type, including truck•type tractors, trailers and semitrailers, used for the
       transportation or delivery of goods or merchandise orfor other bus(ness purposes, or
  (ii)
    an altered private passenger type vehic)e used for retail or wholesale delivery;
   The definition "covered automobile" is amended to read as follows:

   "covered autamobi(e" means a land motor vehicle, trailer or semitrailer, including its equipment and other equipment permanently attached thereto (but not
   including robes, wearing apparel or personal effecls), which is either

   (a) designated in the Declarations, by description or otherwise, as a covered automobile to which this insurance app(ies and is:
       (i) owned by the Named Insured, or

      (ii) leased to the Named Insured for a term of not less than one year under an agreement express(y prohibiting any right of the lessor or owner to use
            such vehicle during the term of such lease except either as an operator emp(oyed by the Named Insured or forits repair or exchange; or
   (b) if not so designated, such vehicle is newly acquired by the Named Insured during the policy period provided, however, that:

       (il it replaces a described covered automobile, or as of the date of its delivery this insurance applies to all covered automobiles, and

      (iil the Named Insured notifies the Company within 30 days following such delivery date;
   but "covered automobile" does not include a vehicle owned by or registered in the name of any individual partner or executive officer of the Named Insured,
   unless specifically stated otherwise by endorsement forming a part of the policy;
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                                             r
     lNr          t
                              SOUND RECEIVING AND TRANSMITTING EQUIPMENT EXCLUDED


      Named Insured




      Effective                                                                     Policy No.

                  3-1-77 ~                                                                        GAL 33 14 83
      Issued by (Name of Insurance Company)


                  The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.



                      This endorsement modifies such Insurance as is afforded by the provisions of the policy relating to the following:


                                      AUTOMOBI LE PHYSICAL DAMAGE INSURANCE (Fleet Automatic)
                                        AUTOMOBILE PHYSICAL DAMAGE INSURANCE (Non-Fleet)
                                         AUTOMOBILE PHYSICAL DAMAGE INSURANCE (Dealers)



     It is agreed that the following exclusion is added:

          This insurance does not apply to loss to any sound receiving or sound receiving and transmitting equipment designed for use
          as a citizen's band radio, two-way mobile radio or telephone, or scanning monitor receiver, including any accessories or
          antennas. This exclusion does not apply to loss to any of this equipment if installed in a covered automobile which is:

          1. owned by a police or fire department; or

          2. equipped as an emergency vehicle and owned by a municipality, county, state or the federat government, or by any
             political subdivision or agency of any of these; or

          3, equipped as an emergency vehicle and owned by a volunteer fire department, volunteer rescue squad or volunteer ambu-
             lance corps operation.




                                                                                                               .             ~/




                                                                                                            Authorized Agent




DA•8143 (CP 00 37 Ed. 4-76) Printed in U.S.A.
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                                  UNINSURED MOTORISTS COYERAGE AMENDMENT
                                                                         (Insolvent Insurer)
    ®                                                                        (Michigan)                   .                                           ~



    Named Insured


    Effective       3-1-77 ~                                                                                      Policy No.     rAT. 33 ] 4 83 ✓

     Issued by
                                                                           (Neme of Inrunnce Campany)

                            The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.




                                    This endorsement modifies such insurance as is afforded by the policy relating to the following:
                                             FAMILY PROTECTION AGAINST UNINSURED MOTORISTS
                                                    INSURANCE AGAIPJST UNINSURED MOTORISTS




       It is agreed that the term "uninsured automobile" is changed to "uninsured motor vehicle" to comply with Section 500.3010
       of the Michigan Code.


       It is agreed that the term "uninsured automobite" includes an automobile with respect to which the owner or operator is
       insured against tiability for bodily injury, sickness or disease, inciuding death, resulting therefrom, by an insolvent insurer.




                                                                                                                          Autfrorized

D•1426b (IAB A916 911/69; A666 1/1166) Printed in U.S.A.
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                        I pi k                          INSURANCE COMPANY OF PdORTH AMERICA, PHILADELPHIA,'PENNSYLVANIA




                                                                                                                        GENERAL—AUTOMOBILE
                            J
                            J                                                                                                   LIAB1L1TY POLICY

                                                                                                                                        Standard Provistons




                                                                  A Stock Insuranco Company, herein called the Comparry


     In consideralion of the payment of the premium, in reliance upon the statements in lhe declarations made a part hereof and subject to all of the terms of this poficy,
     agrees with the Named Insured as follows:


                                                                                         COVERAGE
     Coverage   ;s   afforded under this policy in accordance with the specifrc Coverage Parts identified in the t)eclarations as being a part of this policy.


                                                                              SUPPLEMEPITARY PAYMENTS
    The Coinpany will pay, in addilion to the applicable limit of liability;                         ol the Insured because of accidenl or traffic faw violation arising out of the use
                                                                                                     of any velricle to which this policy applies, not to exceed ;250 per bail bond,
      } all expenses incurred by the Gompany, all costs taxed against the Insured in                 but the Company shall have no obligalion to apply for or furnish any such
        any suit defended by the Company and all interest on the entire amounl of any                bonds;
         judgment therein which accrues after entry of the judgment and before the
        Company has paid or tendered or deposited in court that part of the judgment             (c) expenses incurred by the Insured for first aid to others at the time of an
         which does not exceed the limit of the Company's liability thereon;                         accident. for bodily injury to which this policy applies;

     (b) premiums on appeal bonds required in any such suit, premiums on bonds to                (d) reasonable expenses incurred by the Insured at the Company's request In
          rclease attachments in any such suit tor an amount not in excess of the                    assisting the Company in lhe investigation or defense of any claim or suit,
         applicable limit of Irabilily uf this policy, and the cost of bail bonds required           including actual loss of earnings not to exceed $25 per day.


                                                                                        DEffNITIONS
    Wben used in this policy (including endorsements forming a part hereof):                     (2) when alt operations to be performed by or on behalf of the Named Insured at
                                                                                                     the site of the operations have been completed, or
    "automobile" means a land motor vehicle, trailer or semitrailer designed for
    travel on public roads (including any machinery or apparatus attached thereto),              (3) when the portion of the work out of which the injury or damage arises has
    but does not inctude mobile equipment;                                                           been put to its intended use by any person or organization olher than another
                                                                                                     contractor or subcontractor engaged in performing operations for a principal
    "bodily injury" means bodily injury, sickness or disease sustained by any person                 as a part of the same projeot.
    which occurs during the policy period, including death at any time resulting
    therefrom;                                                                                      Operatiorts which may require further service or maintenance work, or correc-
                                                                                                 tion, repair or replacement because of any defect or deficiency, but whlch are
    "calfapse hazard" includes "stfuctural praperty damage" as defined herein and                othervrise complete, shall be deemed completed.
    property damage to any other property at any time resuiling therefrom. "Sfructural
                                                                                                   The completed operations hazard does not inClude bodily injury or property
    property damage" means the collapse of or structural iniory to any building or               damage arising out of
    structure due to (l) grading of land, excavating, borrowmg, filling, back-tiiling,
    tunnelling, pile driving, cofferdam work or caisson work or (2) moving, shoring,             (a) operations in connection with the transportation of property, unless the bodily
    underpinning, raising or deniotition of any building or structure or removal or                  injury or property damage arises out of a condition fn or on a vehicle created
    rebuilding of any structural support thereof. The collapse hazard does not include               by the loading or unloading therecf,
    property damage (1) arising out of operations performed for the Named Insured by             (b) the existence of tools, uninstalled equipment or abandoned or unused mate-
    independenl contraclors, or (2) included within the compieted operations hazard                  rials, or
    or the underground property damage hazard, or (3) for which liability is assumed
    by the Insured under an incidental contraet;                                                 (c) operations for which• Ibe classification stated in the policy or jn the Company's
                                                                                                     manual specifies "including completed operations";
    "completed operations hazard" includes bodily injury and property damage arising
    out of operations or reliance upon a representation or warranly niade at any time            "elevator" means any hoisting or lowering device to connect f)oors or landings,
    with respect lhereto, but only if the bodily inlury or property damage occurs aiter          whether or not in servrce, and all appliances thereof including any car, platform,
      )ch operations have been completed or abandoned and occurs away lrom premises              shaft, hoistway, stairway, runway, power equipment and machinery; but does not
    ,wned by or rented to the Named Insured. "Operations" include materials, parts               inciude an automobile servicing hoist, or a hoist without a platform outside a
    or equipment furnished in connection therewith. Operations shall be deemed com-              building if without mechanical power or if not attached to building walls, or a hod
    pleted at the earliest of the lollOwing times;                                               or matenal hoist used In alteration, construction or demolition operaiions, or an
                                                                                                 inclined conveyor used exclusively for carrying property or a dumbwaiter used
     (1) when all operations to be pertormed by or on behalf uf the Named Insured                exclusively for carrying property and Irave a compariment height not exceeding
         under the contract have been completed,                                                 four 1eet;



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                                                                         DEfINITIONS CONTiNUED


"explosion hazard" includes property damage arising aut of blasting or expiosion.     "accurrenee" means an accidenf, inciuding continuous or repeated exposure to
The exploslon hazard does not include property damage (1) arising out of the ex-      conditions, which results in bodily injury or property damage neilher expected nor
plosion of air or steam vessels, p(ping under pressure, pnme movers, machinery        intended from the standpoint of the Insured;
or power lransmitting equipment, or (2) arising out of operatmns performed far
the Named Insured by independent contractors, or (3) Included within the com-         "policy territory" means:
pleted operat(ons hazard or the underground property damage hazard, or (4) for        (1) the United States of America, its territories or possessions, or Canada, or
which liability is assumed by the Insured under an incidental contract;
                                                                                      (2) international waters or air space, ,prorided the bodily injury or property dam-
")ncidental contract" means any written (1) lease of premises, (2) easement              age does not occur in the course of travel or lransportation to or from any
agreement, except in connection with construction or demolition operations on or         other country, state or nation, or
adjacent to a railroad, 13) undertaking to indemnify a murticipality required by
                                                                                      (3) anywhere in the world with respect to damages because of bodily injury or
municipal ordinance, except in connection with work for the municipalilyi (4) side.
                                                                                         praperty damage arising out of a product which was sold for use or consump-
track agreement, or (5) elevatar ma(ntenance agreement;
                                                                                         tion within the territory described in paragraph (1) above, provided the original
"Insured" means any persan or organization qualifying as an Insured in the "Per-         suit for such damages is brought within such territory;
sons Insured" provision of the applicable Insurance coverage. The insurance
afforded applies separately to each Insured against whom claim is made or suit is     "products hazard" includes bodily injury and property damage arising out of the
brought, except with respect to the llmits of the Company's liabi(ity;
                                                                                      Named Insured's products or reiiance upon a representation•or warranty made at
                                                                                      any time with respect thereto, but only if the bodily injury or property damage
"mobile equipmenr' means a land vetric(e (including any machinery or apparatus        occurs away from premises owned by or rented to the Named Insured and afler
attached thereto), whether o► not seif-propelled, (1) not subject to motar vehicle    physical possession of such products has been relinquished to others;
registration, or (2) maintained for use exciusively on premises owned by or rented    "property darnaga" means (1) physical injury to or destruction of tangible properry
lo the Named Insured, including the viays immediately adjoining, or (3) designed      which occurs during the policy period, including the loss of use thereof at any
for use principally off public roads, or (4) designed or maintamed for the sole       time resulting therefrom, or (2) loss of use of tangibie properly which has nol been
purpose of affording mobility to equlpment of the following types forming an          physically injured or destroyed provided such loss of use is caused by an occur-
integral part of or permanently attached 10 such vehicle; power cranes, shovels,      rance during the policy period;
loaders, diggers and drills; concrete mixers (other than the mix-io-transit type);
graders, scrapers, rollers and other road construction or repair equipment; air-      "underground property damage haz.ard" includes underground properfy damage as
compressors, pumps and generators, including spraying, e-relding and building         defined herein and property damage to any other property at any time resuiting
cleaning equipment; and geophysieat exploration aod well serviciag equipment;         therefrom. "Underground property damage" means property damage to wires,
                                                                                      conduits, pipes, mains, sewers, tanks, tunnels, any similar property, and any
"Named Insured" means the person or arganization named in the declarations of         apparatus in connection therewith, beneath the surface of the ground or water,
this palicy;                                                                          caused by and occurring during the use of ineclianical equipment for the purpose
"Flamed lnsured's products" means goods ar products manufactured, sold, handled       of grading land, paving, excavating, drilling, borrowing, filling, back•filling ar pile
or distributed by the Named Insured or by others trading under his name, including    driving. The underground property damage hazard does notinclude property dam-
any container thereof (other than a vehicle), but "Named Insured's producls" shall    age (1) arising out of operations per(ormed for the Named Insured by independent
not include a vending machine or any property othe► than such container, rented       contractors, or (2) included wi►hin lhe completed operations hazard, or (3) tor
to or located for use of others but not sold;                                         which liability is assumed by the Insured under an incidental conlract.
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 -    ,                                                                                                          ~
                 L




                                                                NUCLEAR ENERGY LIABILITY EXCLUSION
                                                                               (BROAD FORM)


                              This exclusion modifies the provisions of this policy relating to ALL LIABiLITY AND MEDICAL PAYMENTS
                              INSURANCE OTHER THAN COMPREHENSIVE PERSONAL AND FARMER'S COMPREHENSIVE PERSONAL INSURANCE.


This policy does not apply:                                                              d. As used in this Excluslon:
a. Under any Liability Coverage, to bodily injury or property damage:                       (1) "Hazardous properlies" include radioactive, toxic, or explosive properties;
    wilh respect to which an Insured under the policy is also an Insured under
  (1)                                                                                       (2) "Nuclear material" means source material, special nuclear malerial or
       a nuclear energy liability policy issued by Nuclear Energy.Liabilily
                                                                  .         Insurance          •byproduct material;
       Association, Mutual Atomic Energy liability Underwriters, or Nuclear Insur•
       ance Associalion of Canada, or would be an Insured under any such policy             (3) "Source material", "special nuclear material", and "byproduct material"
       but for its termination upon exhaustion of its Ifmit of liability; or                    have the meanings given them in the Atomic £nergy Act of I954 or in any
                                                                                                law amendatory thereof;
    resulting from the hazardous properties of nuclear material and with respect
  (2)
       to which (a) any person or organization is required to maintain financial            (4) "Spent fuel" means any fuel element or fuel component, solid or liquid,
       protection pursuant to the Atomic Energy Act of 1954, or any law amenda-                 which has been used or exposed to radiation in a nuclear reactor;
       tory thereof, or (b) lhe Insured is, or liad this policy not been issued would
       be, entitled to indemnity from the United States of America, or any agency           (5) "Waste" means any waste material (a) containing byproduct material and
       thereof, under any agreement entered into by the United States of America,               (b) resulting from the operation by any person or organization of any nuclear
       or any agency thereof, with any person or organization;                                  facility :ncluded within the definition of nuclear facility under paragraph (fi),
                                                                                                (a) or (b) thereof;
b. Under any Medical Payments Coverage, or under any Supplementary Payments
   provision relating to first aid, to expenses incurred wilh respect to bodily iniury      (6) "Nuclear facility" means: (a) any nuclear reactor; (b) any equipment or
   resulling from the hazardous properties of nuclear material and arising out of               device designed or used for (i) separating the isotopes of uranium or ptu•
   the operation of a nuclear facility by any person or organization;                           tonium. (ii) processing or utilizing spent fuel, or (iii) handling, processing,
                                                                                                or packaging waste: (c) any equipment or device used for the processing,
c. Under any Liability Coverage, to bodily iniury or property damage resulting                  fabricating or alloying of special nuclear material if at any time the total
   from the hazardous properties ot nuclear material, if:                                       amount of such material in the custody of the Insured at the premises where
                                                                                                such equipment or device is located consists of or contains more than 25
   (1) the nuclear material (a) is at any nuclear facility owned by, or operated by or
       on behalt of, an msured, or (b) has been discharged or dispersed therefrom:
                                                                                                grams of plutonium or uranium 233 or any combination thereof, or more
                                                                                                than 250 grams of uranium 235; (d) any structure, basin, excavation, prem-
    the nuclear material is contained in spent fuel or waste at any t9me pos•
  (2)                                                                                           ises or place prepared or used far the storage or disposal of waste; and (e)
    sessed, handled, used, processed, stored, transported or disposed of by or                  includes the site on which any of the foregoing Is located, all operations
    on behalf of an Insured: or                                                                 conducted on such site, and all premises used for such operations;
    the bodily injury or property damage arises oui of Ihe furnishing by an
  (3)                                                                                       (1) "Nuclear reactot" means any apparatus designed or used to sustaln nuclear
       tnsured of services, materials, parts or equipment in connection with the                fission in a seif-supporting chain reaction or to contain a Critical mass of
       planning, construction, maintenance, operatiori or use of any nuctear facility,          ffssionable material;
       but if such facility is tocated within the United States of America, its terri-
       tories or possessions, or Canada, this exclusion (3) applies only to property        (8) "Property damage" includes all forms of radioactive contamination of
       damage ta such nuclear facility and any property thereal:                                property.




                                                                                 CONDITIONS


 1. Pretnium                                                                              3. Financiat Responsibility Laws
 . AII premiums ior this policy shall be computed in accordance w)th the Com•                When this policy Is certified as proof of financial responsibility for the future
     pany's rules, rates, rating plans, premiums and minimum premiums applicable              under the provisions of any motar vehicle financial responsibility law, such
     to the insurance afforded herein,                                                        insurance as is afforded by this policy for bodily iniury liability or (or property
                                                                                              damage liability shall comply with the provisions of such law to the extent of
       Premium designated in this policy as "advance premium" is a deposit pre•               the coverage and limits of liabllity required by such law. The Insured agrees to
     mium only which shall be credited to lhe amount af the earned premium due
                                                                                              reimburse the Company for any payment made by the Company which it would
     at the end of the policy period. At the close of each period (or part thereof            not have been obligated to make under the terms of this policy except for the
     terminating with the end of the policy period) designated in the declarations as
                                                                                              agreement contained in this paragraph,
     the audit period the earned premium shail be computed tor such peried and,
     upon notice thereof to the Named Insured, shall becoine due and payable. If
                                                                                          4.Insured's Duties in the Event of Occurrence, Claim or Suit
     the total earned premium for the policy period is less than the premium
     previously paid, the Company shall return to the Named Insured the unearned            (a) In the event of an occurrence, writlen notice containing particulars su(ff-
     portion paid by lhe Named Insured.                                                         cient to identify the Insured and also reasonably obtainable information
                                                                                                  wilh respect to the time, place and circumstances lhereof, and the names
       :The Named Insured shall maintain records of such information as is neces-                 and addresses of the injured and of available witnesses, shall be given by
     sary for premium computation, and shall send copies of such records to the                   or for the insured to the Company or any of its authorized ageats as soon
     Company at the end of the policy period and at such times during the poiicy                as practicable.
     period as lhe Company may direct.                                                          If claim is made or suit is brought against the Insured, the Insured shall
                                                                                              (b)
                                                                                                  immediately forward to the Company every demand, notice, summons or
 2.lnspectlon and Audit
                                                                                                  other process received by Ilim or lus representalive.
     The Company shall be permitted but not obligated to inspect lhe Named
                                                                                              ic) The Insured shall cooperate wilh the Company and, upon the Company's
     Insured's properly and operations at any time. Neither lhe Company's right to
                                                                                                  request, assist in making settlements, in lhe conduct of suits and m
     make inspections nor the making thereof nor any report thereon shall consti-
                                                                                                  enrorcing any right of contribution or indemnity against any person or
     tute an undertaking, on behalt of or for the benefit of the Named tnsured or
                                                                                                  organization who may be liable to the Insured because of injury or damage
     others, to determine or warrant that such property or operations are sate or
     healthful, or are in compliance with any law, rule or regulation.
                                                                                                  with respect to which insurance is afforded under this policy; and the
                                                                                                  Insured shall attend hearings and trials and assist in securing and giving
       The Company may examine and audit Ihe Named Insured's books and rec-                       evidence and obtaining the attendance of witnesses. The Insured shall not,
     ords at any time durin~ lhe policy period and exlensions thereof and within                  except at his own cosl, voluntarily make any payment, assume any obliga-
     three years after the ffnal termination of lhis policy, as far as they relate                tion or incur any expense other lhan for first aid lo others at lhe time of
     to the subject matter of this insurance.                                                     accident.
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                                                                       CONDITIONS CONTINUED




 S. Action Against Company                                                                   and do whatever else is necessary to secure such rights. The Insured shall do
    No action shall lie against the Company unless, as a condition precedent                 nothing after loss to prejudice such rights.
     thereto, there shall have.been full compliance with all of the terms of this        8.Changes
    policy, nor until lhe amount ot the Insured's obligatlon to pay shall have been
    finally determined either by judgment against the Insured after actual trial or        Notice to any agent or knowidege possessed by any agent or by any olher
    by written agreement of the Insured, Ihe claimant and the Company.                       person shall not effect a waiver or a change in any part of this policy or estop
      Any person or organization or the legal representative thereof who has                 the Company from asserting any right under the terms of this policy; nor shall
    secured such judgment or written agreement shall therealter be entitled to               lhe terms of this policy be waived or changed, except by endorsement issued
    recover under this policy to the extent of the insurance afforded by lhis policy.        to form a part of this policy.
    No person or organizalion shall have any right under this policy lo join the         9. Assignment
    Company as a party to any action against Ihe Insured to determine the In•
                                                                                             Assignment of interest under this policy shall not bind the Company until its
    sured's liability, nor shall the Company be impleaded by the Insured or his
    legal representative. Bankruptcy or insolvency of 1he Insured or ot the In•
                                                                                            consent is endorsed hereon; if, however, the Named lasured shall die, such
                                                                                             insurance as is afforded by this policy shall apply (l) to the Named Insured's
    sured's estate shall not relieve the Company of any of its obligations here•
                                                                                             legal representallve, as the Named Insured, bu1 only while acting within the
    under.
                                                                                             scope ol his duties as such, and (2) with respect to the proPerty ol lhe Named
 ti. Other Insurance                                                                         Insured, to the person having proper temporary custody thereof, as Insured.
                                                                                            but only until the appointment and quafification of the legal representative.
    The insurance afforded by this policy is primary tnsurance, except when stated
    lo apply in excess of or contingent upon the absence of other insurance. When       10.Three Tear Policy
    this tnsurance is primary and the Insured has other insurance which is stated
                                                                                            lt this policy is issued for a period of three years any limit of the Company's
    to be applicable to lhe loss on an excess or contingent basis, the amount of
                                                                                            liabllity stated in this policy as "aggregate" shall apply separately to each
    the Company's liability under thls policy shall not be reduced by the exislence
                                                                                            cansecutive annual period lhereof.
    of such otherinsurance.
      When both this Insurance and other insurance apply fo the loss on the same        11. Cancellallan
    basis, whether primary, excess or contingent, the Company shall not be liable
                                                                                             This poticy may be cancelled by the Named Insured by surrender thereof to the
    tinder tliis policy for a greater proportion of the ioss than that stated in the         Company or any o1 ils authorized agents or by mailing to the Company wrilten
       rlicable contribution provision below,
                                                                                            notice staling when thereafter the cancellation shall be effective. ihis policy
    tal Contribution by Equal Shares. If all o1 such other valid and collectible            may be cancelled by the Company by mailing lo the Named Insured at the
        insurance provides for contribution by equal shares, the Company shall not          address shown in this policy, writlen notice statmg when not less than ten
        be iiable for a greater proportion of such loss than would be payable if            days thereafler such cancellation shall be effective, The mailing of notice as
        each insurer contributes an equal share until the share of each insurer             aforesaid shall be suHicienl pr0of of nolice. The time of surrender or the
        equals the lowest applicable limit of liability under any one policy or the         etteclive date and hour of cancellation stated in the notice sha11 become the
        full amount of lhe loss is paid, and with respect to any amount af loss nol         end of the policy period. Delivery of such written notice either by the Named
       so paid the remaining Insurers then continue to contribute equal shares              Insured or by lhe Company shall be equivalent to mailing.
       of the remaining amount ol the Ioss until each such insurer has paid its                1f the Named insured cancels, earned premium shall be computed in accord-
        fimit in full or the full amount of the loss is paid.                               ance with the customary short rate table and procedure. It the Company
                                                                                            cancels, earned premium shall be compuled pro rata. Premium adjustment
    (b) Contribution by Limlts. It any of such other insurance does not provide for         may be made either at the time cancetlation is effected or as soon as prac•
        contribution by equal shares, the Company shall not be liable for a grealer         ticable afler cancellation becomes effective, but payment or tender of un•
        proportion of such loss than the appticable limit of liability under this           earned premlum is not a conditlon of canceliallon.
        policy lor such loss bears io the total applicable timit of liability of all
       valid and collectible Insurance against such loss.                               12. Declarations
                                                                                            By acceptance ol this policy, the Named Insured agrees that the slatements in
 1. Subrog2tlon                                                                             1he declarations are his agreemenls and representations, that this policy is
    In the event of any payment under Ihis policy, the Company shall be subro-              issued in reliance upon the truth of such representations and that this policy
    gated to all the Insured's rights of recovery therefor against any person or            embodies all agreements existing between himself and the Company or any
    organization and the Insured shall execute and delive► instruments and papers           of its agents relaling to this insurance.




IN IyITNESS WHEREOF, the INSURANCE COhIPAttY OF NORTN APAERICA has caused this policy to be sfgned by its Aresident ynd a Secretary at Philadelphia, Pennsyl•
vania, and Countersigned an the Declarations page by a duly Authorized Agent of the Company.




                                                                                                                                   R -
                       OERTRAM C.O(OMAN, S`cnis,r                                                          1~~/~ r,&.DA1NE,
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                 ~                           INSURANCE COMPANY 0F NORTIi AMERICA, PHILADELPHIA, PENNSYLUANIA



                       MULTIPLE LIABILITY POLICY                                                                       DECLARATIONS

            F                                                                                                              GAl 37 68 ~ 03
Named
Insured
                     ~nJolverine Wor1d Wide, Inc. , etal
                     9341 Courtland Drive                                                                              The Named Insured is:
Address              Rockford, MT 49351 .                                                                              ❑ Individual ❑ Partnership I[j Corporation
            L                                                                                                          ❑ loint Venture ❑ (Other)

                                                                                                                                    12;01 A.M., standard time at the address
                                                                                                                                    of the Named Insured as stated herein.
PolicyPeriod: From                           3/1/78                           to          3/ 1/ 79
Occupation:
Audit Period: Annual, unless otherwise stated            S11b.1 ect to             Aud3.t
                                                                                                                      x.. The limit of the Company's liability against each
The insurance afforded is on(y with respect to such of the following Parts and Coverages iherein as are indicated by C'1
such Coverage shall be as stated herein, subject to all ol the terms of the policy having reference thereto.
                                                                                                              LIMITS OF LIABILITY
                        COYERABE PARTS                                              Bodily InJury Liabil)ty                              Property Damage L)ab)lity
                                                                          each occurrence               aggregate                each occurrence               aggregate
❑ Owners', Landlords' and Tenants' Liability Insurance
     ❑ Structural Alterations, New Construction, Demolition
❑ Manufacturers' and Contractors' Liability Insurance
     ❑ Independent Contractors
❑ Completed Operations and Products Liability Insurance
❑ Contractual Liability Insurance
    Comprehensive General Liability Iasurance                             500,000                  500 9 000                    100,000                   100,000
J

                                                                            each person              each occurreace                         each occurrence
❑ Comprehensive Automobile Insurance
❑
                                                                             Persorial Llability                                Personaf Medicai Payments
❑ Comprehensive Personallnsurance                                            each occurrence                        each person                        each accident
❑ Farmer's Comprehensive Personal Insurance                           $                                  $                                    $
                                                                                Physical Damage to Property                        Animal Collision—farmer's Part Only
                                                                      $                                 each occurrence         Market Value not exceeding $300 each aniinal

                                                                                          each person                                          each accident
❑ Premises Medical Payments Insurance                                 $                                                     $                                                  ~
❑ Automobile Medical Payments Insurance                               $
❑ Insurance Against Uninsured Motorist                                $                                                     $

                                                                                    each person aggregate                                    general aggregate
~ Personal Injury Liability Insurance                                 $ 500.000                                             $500 000
                                                (Fleet Automatic
❑ Automobile Physical Damage Insurance       or Non-Fleet)            (See Additional Declarations attached for Coveragea and Limits of Liability)
❑ Automobile Physical Damage Insurance (Dealers)                      (See Additional Declarations attached for Coverages and Llmits of Liability)
❑ Garage Insurance                                                    (See Additional Declarat9ons attached for Coverages and Lirilits of L(ability)
Endorsementsattachedtopolicyatinception:EndorseTIIent6 1-7, GL102 ,                                      GL215, GL135, LC811, LC976,
LC971, LC991, C1452, LC968, LC578
During the past three years no insurer has cancelled insurance, issued to the Named Insured, similar to that allorded hereunder, unless otherwise stated herein:
  TOTAL ADVANCE PREMIUM tr $                                lf the Po(icy Period is more lhan one year and the premium is to be paid in installments, premium is payable on:
           Ef(ective Date        $
          lst Anniversary        $        m
          2nd Anniversary        $                                                                 Countersigned By—
                                                                                                                   ..--Yz
                                                                                                                                      /Aulhorized Agenl
This Declarations and Coverage Part(s), with Policy Standard Provisions and Endorsements, if any, issued to forin a part thereof, cornpletes the above numbered policy.
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      Insured - Wolverin? Wor1d Wxde , Inc .                             _Mar.ch-1,_              19.]$_
      Item 4.    Schedule of Insurer(s) and lnsurance -


      INSURANCE COMPANY OF NORTN AMERICA , PHILADELPHIA, PENNSYLVANIA

      Comprehensive General Lialility per expiring policy #GAL 331483
      (Aat:omobile coverage not provided)




      IN Vb71TNESS Wf-IEREOF, the INSURANCE COMPANY OF NORTH AMERICA hascaused this Cover
      Note to be signed by its President at Philadelphia, Pennsylvania, and countersigned on Page 1 by a
     duly Authorized Agent of the Insurer.


                                                 Schedule Page —                        /q~`~
          CC-1418 P!d. in U.S.A.                                            ~ ron.. m, pnma
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                                                                                                                              ~


    INK                                                                                                                     Endt . # 1.
     Named Insured



    Policy Symbol Policy No.                            Policy Period                                  Effective Date o( Entiorsement
          L               37 68 03
     Issued by (Name of (nsurance Company )


                 The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.



      .It is agreed that the following are added to this policy as Add3.tional
       Named Insureds,-but only as respects General Liability:
       NAMES 0F ADDITIONAL NAMED INSUREDS
       W.W.W. Retail, Inc.
       United Parts Da.stributors of Michigan, Inc./A11 Parts, Inc.
      Wolverine World Wide Employees Federal Credit Union
       Wolverine Servi.ce Club, znc.                                                                                              ,
       Any Corporati.on or Other Business Organization in which the Pr3.mary
       Insured Acquires an Ownership Interest of at least 51 Per Cent.




                                          ~
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                                                 ~



                                                                                                            .                                  ,   r




      Named Insured


                         Wolverxne Wor].d Wide, Inc.                                                           Endt          25
      Policy Symbol Pollcy No.                              Policy Period                                  Effective Date of Endorsement
         GAL               37 68 03--1 3-1-78/79                                                                   3-1-78
      Issued by (Name of Insurance Gompany)
                         Insurance Company of North A.merica
                     The aboye is required to be completed only when this endorsement Is issued subsequent to the preparation of the policy.




                         In considerat3.on of the premium charged, it -is agreed that
                         United Parts Distributors of Pti.chigan, Inc./ A11 Parts, Inc.
                        i.s deleted from the Names of Additional Insureds Endorsement
                         # 1-
                        It is further agreed th.at the interest of the Primary
  `                      Insured is 50.1% in lieu of 51%.




                                                                            .




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    '         y                                 ~




                                                                                                     Endt -# 26

             Named Insured


                             Wolverine Wor1d Wide Inc.
            Policy Symbol Pollcy No.                           Polfcy Period                                   Effective Date of Endorsemenl
              GAL            37-68 03                              3-1-78/79                                  _ 3-1-78
             Issued by (Name of insurance Company)
                             Insurance Company of North A.nnerica
                        ilie above is required to be completed on►y when this endorsement is issued subsequent to the preparation of the policy.



                                                     i

                             -In consideration of the premfum charged, i.t is agreed
                             that Endorseffient # 1 is al,aended to include the £ollowing
                             names insured:
                                           Wolverine Western Hemisphere Company
                                           Institutional Shoe Corporation
                                           Wolverine International, Inc.

                  ~4                       A,guadilla Shoe Corporation
                                           Seaboard Sa].es Corporation                                                                             -
                                           Verde, Inc.



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      I                                            COMPREHENSIYE GENERAL LIA8ILI1Y iNSURANCE



                 ADDITIONAL DECLARATIONS                                                                    Po►icyNo. GAL 37 68 03

                                                                                SCHEDULE
    location of all premises owned by, rented to or controfied by
    theNamedlnsured              7'he United Statesof America, including Puexto Rico
    Interest of Named Insured in such premises                  O Owner                    p General Lessee                      D Tenant    AS applicable

    Part occupied by Named Insured      As appll.cable
   The following discloses ail hazards insured hereunder known lo exist at the effettive date of lhis policy, unless otherwise stated herein.

          Code                                                                                                          Rates                     Advance Premiums
                                      peuription of Hazards                           Premium Bases
           No,                                                                                                  B.I.              P.D.      Bodily Injury Property Damage

    Premises—Operations



      1-48050 A11 Operations                                                                             Includel i.n C mposit rtLte




                                                                                   (a) Area (Sq. Ft.)     (a) Per 100 Sq. Ft. ot Area
                                                                                   (b) Frontage          (b) Per Linear Foot
                                                                                   (e) Admissions         (c) Per 100 Admissions
                                                                                   (d) Remuneration      (d) Per $100 of Remuneration
                                                                                   (e) Receipts          .(e) Per $100 of Recefpts
                                                                                   (f) Units             (f) Per Unit
   Escalators (Number at Premises)                                                 Number Insured                  Per Landing


      1-48050                                                                                            Included in C mposit rate
   Independenl Contractors                                                                 Cost                 Per $100 of Cost


      7.-48050                                                                                           Included in Ccmposita rate
   Campleted Operations                                                                (a) Receipts        (a) Per i1000 0l Receipts


      1-48050                                                                                             Includel in Ccmposita rate



    Products                                                                             (b) Sales           (b) Per =10D0 af Sales


      1m48050                                                                                             Includel in Ccmposita rate



    Minimum Premiurn(s)                                                                                                701"ALS              $ Inc
                                                                                                                 TOTAL AOVANCE PREPAIUM         lo.   ; TY1c1.L1ded
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     lNrt                                                COMPRE{iENSIVF 6ENERAL LIABILITY INSURANCE



                                  COVERAGE PART


    I. COVERAGE A--BODILY INIURY LIABILITY                                                 (2) if not so engaged, as an owner or lessor of premises used for such
                                                                                               purposes,
       COYERAGE B--PROPERTY DAAtAGE LIABILITY
                                                                                           if such liability is imposed
    The Company will pay on behalf of the Insured all sums which the Insured
    shall become Iegally obligated to pay as damages because of                             (i) by, or because of the violation of, any statute, ordinance or regulation
                                                                                                pertaining to the sale, gift, distribution or use of any atcoholic
                                   A. bodily injury or                                          Ceverages, or
                                   B. property damage
                                                                                           (ii) by reason of the selling, serving or giving of any alcoholic beverage
    to which this insurance applies, caused by an occurrence and the Company
                                                                                                to a minor or to a person under the inftuence of alcohol or which
    shall have the right and duty to defend any suil against the Insured seeking                causes or coniributes lo the intoxication of any person;
    damages on account ol such bodily injury or property damage, even if any
    of the allegations of the suit are groundless, false or fraudulent, and may            but part (ii) of this exclusion does not apply with respect to Ilabllity of
    make such investigation and settlement of any claim or suit as it deems                the fnsured or his (ndemnitee as an owner or lessor desoribed in (2) above;
    expedient, but the Company shall not be obligated to pay any claim or judg•
    ment or to defend any suit after the applicable limit of the Company's liability
    has been exhausted by payment of judgments or settlements.                          (i) to any obligatton for which the Insured or any carrier as his insurer may
                                                                                            be hefd liable under any worknlen's compensatron, unemployment com-
    Exctuslons                                                                              pensation or disability benefits law, or under any similar law;
    This Insurance does not apply:                                                      (j) to bodily injury to any employee of the Insured arising oul of and in the
                                                                                            course of his employment by the tnsured or to any obligatlon of the
    (a) to liability assurned by the Insured under any contract or agreement                Insured to indemnify another because of damages arising out of such
        excepi an incidental contract; but this exclusion does not apply to a               injury; but this exclusion does not apply to liability assumed by the
        warranty of fitness or quality of the Named Insured's products or a war•            Insured under an Incidental contract;
        ranty that work performed by or on behalf of the Named Insured will be
        done in a workmanlike manner;                                                   (k) lo property damage to
    (b) to bodily Injury or property damage arising out at the ownership, mainte•          (1) property owned or occupied by or rented to the Insured,
        nance, operation, use, loading or unloading of                                     (2) property used by the Insured, or
        (1) ahy automobile or aircraft owned or operated by or rented or loaned to         (3) property in the care, custody or control of the Insured or as to which
            any Insured, or                                                                    the Insured is for any purpose exercising physiCal control;
      ;(2) any other automobile Gr aircraft operaled by any person in the course           but parts (2) and (3) of this exclusion do not apply with respect 10 liability
            of his employment by any Insured;                                              under a written sidetrack agreement and part (3) of this exclusion does
        but this exclusion does not apply to the parking of an automobile on prem-         not apply with respect to property damage (other than to elevators)
        ises owned by, rented to or controlled by the Named Insured or tfie ways           arising out of the use of en elevator al premises owned by, rented to or
        immedlately adjoining, if such automobile is not owned by or rented or             controlled by the Named Insured;
        loaned to any Insured;
                                                                                        (1) to property damage to premises alienated by the Named Insured arising
    (c) to bodily injury or property damage arising out of (1) the ownership,               out of such premises or any part thereof;
        maintenance, operation, use, loading or unloading of any mobile equip•          (m) to loss of use of tangible property which has not been physically injured
        ment while being used in any prearranged or orgamzed racmg, speed or
                                                                                           or destroyed resulting from
       - demolition contest or In any stunting activity or in practice or preparation
         for any such contesl or activity or (2) the operation or use of any snow-          (1) a delay in or lack of performance by or on behalf of the Named Insured
        mobile or trailer designed for use therewith;                                           of any contract or agreement, or

    (d) to bodily injury or property damage arising out of and in the course of            (2) the failure of the Named Insured's products or work performed by or
                                                                                               on behalf of the Named Insured io meet the level of performance,
        the transportation of mobile equipment by an automobile owned or
                                                                                               qualiiy, fitness or durability warranted or represented by the Named
        operated by or rented or loaned to any Insured;
                                                                                               Insured;
    (e) to bodily injury or property damage arising out of the ownership, mainte-           but this exclusion does not apply to loss of use of other tangible property
        nance, operation, use, loading or unloading of                                      resulting f(om the sudden and accidental physicalinjury to or destruction
        (1) any watercraft owned or operated by ar rented or loaned to any                  of the Named Insured's products or vrork performed by or on behalf of
            Insured, or                                                                     the Named Insured after such products or work have been put to use
                                                                                            by any person or organization other than an Insured;
        (2) any other watercraft operated by any person in the course of his
            employment by arly lnsured;                                                 (n) to property damage to the Named Insured's products arising out of such
                                                                                            products or any part of such products;
        but this exclusion does not apply to watercraft while ashore on premises
        owned by, rented to or controlled by the Named Insured;                         (o) to property damage to work periormed by or on behalf of the Named
                                                                                            Insured arising out of the work or any portion thereof, or out o1 materials,
    (f) to bodily injury or property damaga arising oot nf the discharge, dispersa),        parts or equipment furnished in conneclion therewith;
         release or escape of smoke, vapurs, soot, tumes, acids, alkalis, toxiG
         chernicals, liqulds or gases, waste materials or other lrrilants, con-         (p) to damages claimed for the withdrawal, inspection, repair, replacemenl,
         taminants or pollutants into or upon land, the atmosphere or any water             or loss of the use of the Named Insured's products or work completed
         course or body of water; but this exclusion does not apply if such dls-            by or for the Named Insured or of any property of which such Qroducts
         charge, dispersal, release or escape is sudden and accidental;                     or work form a part, if such products, work or property are withdrawn
                                                                                            from the market or frorn use because of any known or suspected defect
    (g) to bodily injury or property damage due to war, whether or not declared,            or deficiency therein;
        civil war, insurrection, rebellion or revo(ution or to any act or condition
        incident to any of the foregoing, with respect to                               (q) to property damage included r+ithin:
        (I) t(ability assumed by the lnsured under -an incidental conlract, or              (1) the explosion hazard in connection with operations idenlified in this
                                                                                                policy by a classification code number which includes ihe synlbol "x",
        (2) expenses for first aid under the Supplementary Payments provision;
                                                                                            (2) the collapse hazard in connection with operations identified in this
    (h) to bodily injury or property damage for which the Insured or his indem-                 policy by a classification code number which includes the symbol "c",
         nitee may be held liable
                                                                                            0 tlie underground property damage hazard in connection with opera-
         (1) as a person,or organization engaged in the business of manufacturing,               tions identified in this policy by a classification code number wlticii
             distributing, selling or serving alcoiiolic beverages, or                           includes the syrnbol "u".


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  . 11. PERSONS INSORED
                                                         0      n

                                                                                       Coverage A—The total liability of the Company for alI damages, including
                                                                                       damages for care and loss of services, because of bodily injury sustaired
    Each of the following Is an Insured under thi5 insurance to the extent set         by one or more persons as the result of any one occurrence shall not exceed
    iorth below:                                                                       the limit of bodily injury liability stated in the declarations as appiicable to
                                                                                       "each oceurrence."
    (a) if the Named Insured is designated in the declarations as an individual,
        the person so designated but only wilh respect to the conduct of a             Subject to the above provision respecting "each occurrence", the total
        business of which he is the sole proprietor, and the spouse of the Named       Iiability of the Company for all damages because of (1) all bodi(y In1ury
        Insured with respect to the conduct of sueh a business;                        included within the completed operations hazard and (2) all bodily in)ury
                                                                                       included within the products hazard shall not exceed the limit of bodily
    (b) it the Nanred Insured is designated in the declarations as a partnership or    injury liability stated in the declarations as "aggregate".
        joint venture, the partnership or {oint venture so desi&nated and any
        parther or member thereof but only with respect to his lrability as such;      CoveraYe R—',he total liabilily of the Company fo► all damages because of all
                                                                                       property damage sustained by one or more persons or organizations as the
   (c) if the Named Insured Is designated in the declarations as other than an         result of any one occurrence shall not exceed the limit of property damage
       individual, partnership orjoint venture,the organization so designated and      iiabillly stated in the declarations as applicable to "each occurrence".
       any -executive officer, direclor or stockholder lhereof while acting within
       the scope of his duties as such;                                                Subject to the above provision respecting "each occurrence", the total
                                                                                       liability of the Company for all damages because of all property damage to
   (d) any person (other than an employee of the Named Insured) or organization        which this coverage applies and described in any of the numbered sub-
       while acting as real estate manager for the Named Insured; and                  paragraphs below shall not exceed the limit of property damage liability
                                                                                       stated m ihe declarations as "aggregate":
   (e) with respect to the operation, for the purpose of locomotion upon a public         (1) all property damage arising oui of premises or operations rated on a
       highway, of mobile equipment registered under any motor vehicle registra-              remuneration basis or contractor's equipment rated on a receipts basis,
       tion law,                                                                              including property damage for which liability is assumed under any in-
        (i) an employee of the Named insured while operating any such equipmenl               cidental contract relating to such premises or operations, but ex-
            in the course of his employment, and                                              cluding property damage included in subparagraph (2) below;
       (ii) any other person while operating with the permission of the Named             (2) atl property damage arising out of and occurring in the course of opera-
             Insured any such equlpment registered in the name of the Named                   tions performed for the Named Insured by independenl contractors and
            `lnsured and any person or organization legally responsible for such op-         .general supervision thereof by the Named Insured, including any such
            "eralion, but only if there is no other valid and coAectible insurance            property damage for which liability is assumed under any incidental
            :available, either -on a primary or excess basis, to such person or               contract relating to such operations, but this subparagraph (2) does
            - organization;                                                                   not include property damage arising out of maintenance or repairs at
                                                                                              premises owned by or rented to the Named Insured or structural altera•
       provided thal no petson or organization shall be an Insured under this                 tions at such premises which do not involve changing the size ot or
       paragraph (e) with respect to:                                                         moving buildings or other structures;
       (1) bodily inlury to any fellow employee of such person Injured in the
                                                                                          (3) all property damage included within the products hazard and all prop.
          _ course o( his employment, or                                                      erty damage included within the cornpleted operaiions hazard.
       (2) property damage to property owned by, rented to, In charge of or occu-      Such aggregate limit shall apply separately to the property damage described
           pred by the Named tnsured or the employer of any person descnbed in         in subparagrapbs (1), (2) and (3) above, and under sobparagraphs (1) and (2),
           subparagraph (ii).                                                          separately with respect to each project away from premfses owned by or
    This Insurance does not apply to bodily injury or property damage arising out      rented to the Named Insured.
    of the-. conduct of.any partn,ership or loint venture of whrch the Insured ;s a
    partner or member and which Is not designated In this policy as a Named            Coverapes A and H--For the purpose of determining the limit of the Com-
    `nsured.                                                                           pany's liability, all bodily injury and property damage arising out of continuous
                                                                                       or repeaied exposure to substantrally the same general conditions shall be
    I)I. LIMITS OF LIABILITY                                                           considered as arising out of one occurrence.

    Regardless of the. number of (1) lnsureds under tfiis policy, (2) persons or       1Y.POLICY TERRITORY
    organizat(ons who sustain bodily injury or property damage, or 13) claims made
    or soits brought on account of bodi(y   , mjury or property damage, lhe Com-       This insurance applies only to bodily injury or property daniage which occurs
    pany's liability is limlted as follows:                                            withln the policy territory.




   When used as a premium basis:
   (1) "admissions" means the total number of persons, other than employees af the Named Insured, admitted to the event insured or to events conducted on the
       premises whether on paid admission tickets, complimentary tickeis or passes;
   (2) "renruneration" means the entire remuneration earned during the policy period by proprietors and by all employees of the Named Insured othef than chauffeurs
       (except operators of mobile eqoipment) and aircraft pilots and co-pilots, subject to any overtime earnings or limitation of remuneration rule applicable In
       accordance with the rnanuals m use by the Company; .
   (3) "receipts" means 1he gross amount of money charged by the Named Insured tor such operations by the Named Insured or by others during the policy period
       as are rated on a feceipts basis other than receipts from telecastmg, broadcasting or motion piclures, and ineludes taxes, other than taxes which the Named
       Insured collects as a separate item and remlts directly to a govemmental division;
   (4) "cost" rneans the tatal cost to the Named Insured with respect to operalions performed for the Named Insured during the policy period by independent
       contractors of all work let or sub-let (n connection with each specific project, including the cost of all labor, materials and equipment iurnished, used or
       delivered for use in the execution of such work, whether furnished by the owner, contractor or sub-contractor, including all fees, allowances, bonuses or
       commissians made, paid or due;
   (5) "sales" means the gross amount of money charged by the Named Insured or by others trading under his name for all goods and producls sold or distributed
       during the policy period and charged during the policy period for installation, servicing or repair, and includes taxes, other than taxes which the Named
       Insured and such others collect as a separate 9tem and remrt directly to a governmental division.




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                     ~                                       C®NTRAMAL LIABILITY INSLIRANCE COUERAGE PART
~                                                                                    (®lanket Coverage)


                         ADDITIONAL DECLARATIONS                                                                Palicy No- CAL, 37 68 03



I                                                                                         SCHEDULE
            It is agreed that the Limits of Liability set forth in the Policy Declarations for the Contractual Liabillty Coverage Part shall apply as respects any coverage
 I         afforded hereunder unless other specific limits are set forth below.
                                                   Coierrge                                                      Limits ot Liability tthis CoreraYe Part only)
    j                                          eontractual Bodily                                                           s        500,000          each occurrence
 ~                                             Injury Liability
I
                                               Contractual Property      .                                               $100,000                     each occurrence
 I                                             DamageLiability                                                           1 100,000                    aggregate
 i


 iCBde                                  Oesignation of Contracts on n1e                                                 Rates                           Advanee Premiums
                                                                                            premfum Bases
   NB•                                    or known to the CBmpany                                                8.1.                 P.D.       OodilylnJury    t'ropertyDamage
I                                                                        -                                                                            -
                                                                                           (a) Sates          (a) Per$1,000 of Sales
                                                                                           (b) Cost           (b) Per $100 of Cost


         s- 179s5
         Blanket Contractual Liabil.ity                                                           Inclu ed in Compo ite rat


I~                                                                                                                                                                        .
;~
i                                                        .
!                                                                            .       .




            Minimum Premium(s)                                                                                                  TOTALS                                                !
                                                                                                                                                 i Inc            $               i
i                                                    .              .
                                                                                                                                TOTAL AOYANCE PREMIUM ts ;~n~~ •

i                                                     •
~                                                    •.      ..         -.       .                                                                                        .


 I         The following exclusions do not apply with respect to any "construction agreements":




           lVhen used as a premium basis:
           1. •the word "cost" means the totaf cost of all work in connection with all contracts of the type designated in the schedule for this insurance with respect to
'              •which "cost" is the basis of premium, regardless of ,whether any Iiability is assumed urnder such contracts by the .Insured• ft includes the -cost of all labor,
I              materials and equipment furnished, used or delivered for use in the execution of such work, whether furnished by the Insured, or others including all fees,
               allowances, bonuses or commissions made, paid-or due. It shall not include the cost of any operations to ivhich exclusions (o) or (p) appiy, unless such
!              exclusions are voided in the schedule.

 `          2: the word "sales" means the gross amount of •money charged by the Named Insured or fiy others, trading under his name for all goods and products sold or
 I              distributed during the policy period and.charged during the policy period for installation, servicing or repair,- and includes taxes, other than taxes which the
                Named Insured and such olhers coflect as a separate item and remit -directly to a governmental division.
i
 I.                                                                 •                              .   •                ,        -           •    •       • . •       .       .       '
 I                                                                                                                                                                                    ~

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1. COVERAGES--CONTRACTUAL.BDDILY INIURY LIABILITY                                      ;m) to bodily injury or propert• age arising out o( the ovrnership, mainte-
              CONTRACTUAL PROPERTY DAMAGE LIABILITY                                     nance, operation, use, loadrng or unloading of any mobile equipment while
The Company will pay on behalf of the Insured all sums which the Insured, by            being used in any prearranged or organized racing, speed or demolition con-
reason of contractual iiab;ltty assumed by him under aay written contract of            test or in any stunting activity or in praclice or preparation ior any such con-
the type designated in the schedule .tor this insurance, shall become legally          test or activiiy;
obligated to pay as damages because of                                                 (n) to bodily injury or property damage arising out of lhe discltarge, dispersal,
                                   bodily injury or                                    release or escape of smoke, vapors, soot, fumes, acids, alkalls, toxic chem-
                                   property damage                                     icals, liquids or gases, waste materials or other irritants, contaminants or
                                                                                       pollutants into or upon land, the atmosphere or any ivater course or body of
to which this insurance appiies, caused by 9n occUilBnce, except the liability of      water; but this exclusion does not apply if such discharge, dispersal, release
the indemnitee resulting from' hrs sole negligence and the Company shall have          or escape is sudden and accidental;
the right and duty to defend any suit against the Insured seeking dainages on
account of such bodily injury or property damage, even if any oi the allegatrons       Unless stated in tha schedule as not applicable, the following exclusions also
of the suit are groundless, false or fraudulent, and may make such investigation       apply to contractual liability assumed by the Insured under any agreement
and'settlement of any claim or suit as it deems expedient, but tlre Company            relating to construction operatlons.
shall not be ob(igated to pay any claim or judgme;it or to defend (1) any arbitra-     This insurance does not apply:
tion proceeding wherein the Company is not entitled to exercise the Insured's          (o) to bodily injury or property damage arising out of construction, mainte-
rights in the choice of arbitrators and in the conduct oi such proceedings, or         nance or repair of watercraft or loading or unloading thereof;
(2) 'any suit after the applicable limit of the Company's liability has been           (p) to bodily injury or property damage arising out of operations, within fifty
exhausted by payment of judgments or settlements.                                      feet of any railroad property, affecting any railroad bridge or trestle, tracks,
Exclusions                                                                             road beds, tunrnel, underpass or crossing;
This insurance does not apply:          ~ i0 ~ 1~.i ~
                                                                                       (q) to bodily injury or property damage included within the completed opera-
(a) to liability assumed by the lnsured under any incidental contract;                 tions hazard or the products hazard;
(b) (1) if the Insured is an architect, engineer or surveyor, to bodily injury or      (r)10 property damage included within (1) the explosion hazard, (2) the
property damage arising out of pro(essional ;e W ices performed by such                collapse hazard, or (3) the underground property damage hazard,
Insured, mcluding (i) the prepa(atron 6r apprp$al b(. maps, drawings, optmons,         11. PERSONS INSURED
reports, surveys, change orders, designs vr specifrcations, and (u) supervisory,       Each of the lollowing is an Insured under this insurance to the extent set
inspection or engmeering services; (2) if the mdemnitee of the Insured is an           forth below:
architect, engineer or surveyor, to the liabilily of the indemnitee, his agents or
                                                                                       (a) if Ihe Named Insured is designated in the declarations as an individual, the
employees, arising out of (il the preparation or approval al maps, drawings,
                                                                                       person so designated and his spouse;
opinions, reports, surveys, change orders, designs or specifications, or (ii) the
giwng of or failure to give directions or instructions by the indemnitee, his          (b) if the Named Insured is designated in the declarations as a partnership or
agents or em p loyees, urovided such giving or failure to give is the primary          joint venture, the partnership or foint venture so designated and any partner or
cause of the bodily In)ury or property damage;                                         member thereof but only with respect 'o his liability as such;
(c) to bodily injury or property damage due to war,-whether or not declared,           (c) if the Named Insured is designated in the declarations as other than an
civil war, insurrection, rebellion or revolution or to any act or condition incident   individual, partnership orjoint ventare, the organization so designated and any
to any ol the foregoing;                                                               executive officer, dfrector or stockholder thereof whfle acting within the scope
                                                                                       of his duties as such.
(d) to bodily injury or property damage for which the indemnitee may be held
liable                                                                                 This insurance does not apply to bodily injury or property damage arising.out -_
                                                                                       of the conduct of any- partnership-or-joint.venturQ of_svhich the Insured is,a •
     as a person or organization engaged in the~usinebs oT;maRufaETuriqgZ
   (1)                                                                                 pariner or member•add -whibh is -not• desighated In'thiS poficy es a' Named"
     distributing, sellirig- or -servmg alcoholic beverages,"or -  -                   Insured.
    (2) if not so engaged, as an owner or lessor of premises used for such pur-        Ill. LIMITS OF LIABILITY
       poses,                                                                          Regardless of the number of (1) Insureds under this policy, (2) persons or
    if such liability is imposed                                                       organizatrons who sustain bodily injury or properiy damage, or (3) claims made
       (i) by, or because of the violation of, any statute, ordinance or regula•       or suits brought on account of bodily mjury or property.damage, the Company's
        tian pertaining to the sale, gift, distribution or use of any alcohofic        liability is liniited as follows:
        beverage, or                                                                   Contractual Bodily Injury Liability—The total liability oi the Company for all
       (iD by reason of the selling, serving or giving of any alcohotic beverage       damages, including damages for care and loss of services, because of bodily
        to a mmor or to a person under the influence of alcohol or which causes        injury sustained by one or more persons as a result of any one occurrence shall
        or contributes to the intoxication of any person;                              not exceed the limit ot bodily inlury liabilitY stated in the schedule or the
       but part (ii) oi this exclusion does not apply vfith res~ect to liability of    declarations as applicable to "each occurrence,
       the mdemnitee as an owner or lessor described in (2) above;                     Contractual Property Danrage Liability—The total liability of the Company
(e) to any obligation for which the Insured or any carrier as his insurer may be       for all damages because of al) propert y damage sustained by one or more
 held liable under any workmen's compensation, unemployment compensation               persons or organizations as the resull of any one occurrence shall not exceed
or disability benefits law, or under any similar law;                                  lhe limit of property damage liability slated m the scheduie or the declara-
                                                                                       tions as applicable to "each occurrence".
(0 to any obligation for which the Insured may be held liable in an action on a
  ontract by a third party beneiieiary for bodily injury or property damage aris-      Subject lo the above provision respecting "each occurrence", the total lia-
cng out of a project tor a public authority; but this exclusion does not apply to      bility of the Company for all damages because of all property damage to
an action by the public authority or any other person or organization engaged in       which this coverage appl;es shall not exceed the limit of property damage
the pPoject;,:':                                                                       liability stated in the schedule or the declarations as "aggregate". Such
                                                                                       aggregate limit of liability applies separalely with respect to each project
(g) to -property darnage to (1) property ownetl or occupied by or rented to the        away from premises owned by or rented to the Named Insured.
 Insured, (2) yroperty used by the Insured, or (3) property ln the care, custody
 or control of fhe~-Insured or as to which the Insured is ior any purpose exer_        Contractual Bodily InJury and Property Damage liabflity
cising physical control;                                                               For the purpose of determining the limtt of the Company's liabifity, all bodily
                                                                                       injury and property damage ansing out of continuous or repeated exposure
(h) to property damage to premises alienated by the Named Insured arising              to substantially the same general conditiens shall be considered as arising
out of such premises or any part thereof;                                              out of one occurrence.
(i) to loss of use of tangible property which has not been physically injured or       IV. POLICY TERRITORY
destroyed resulting from                                                               This Insurance applfes only to bodily injury or property damage which occars
    (1) a delay in or lack of performance by or on behalf of the Named Insured         within the policy territory.
        of any contract or agreement, or                                               Y. ADDITIONAL DEFINITIONS
    (2) the failure of the Named Insured's products or work performed by or on         When used in reference to this insurance (including endorsements forming a
        beltalf of the Named Insured to meet the level of performance, quality,        part oi the policy)c
        fitness or durability warranted or represented by the Named lnsuredi           "contractual liability" means liabil(ty expressly assumed under a written
    but this exclusion does not apply to loss of use of other tangible property        contract or agreement; provided, however, that contractua) liability shall not
    resultitig from the sudden and accfdental pirysical injury to or deslruction       be construed as including liability under a warranty of the fitness or quality of
    of ihe Named Insured's products or viork performed by or on behalf of the          the Named Insured's products or a warranty that work p erformed by or on
    Narned Insured after such products or work have been put to use by any             behalf of the Named Insured will be done in a workmaolike manner;
    person or organizat(on other-thao an Insured;                                      "suit" includes an arbitration proceeding to which the Insured is required to
(j) to property damage to the Named Insured's products arising out of such             submit or to which the Insured has submitted with the Company's consent.
products or any part of such products;                                                 VI. ADDITIONAL CONDITION
(k) to property damage to work performed by or on behalf of the Named                  Arhitration
Insured arising out of the v+ork or any portion thereoi, or put of materials,          The Company shall be entitled to exercise all of the (nsured's rlghts in the
parts or equipment iurnfshed in connection therewith;                                  clroice of arbitrators and in the conduct of any arbitration proceeding.
(1) to damages claimed for the vrilhdrawal, inspectiou, repair, replacement, or        Premlum
loss of use of the Named Insured's prodacts or work completed by or for the            The advance premium stated in the schedule is the estimated premium on
Named Insured or of any property of which such products or work form a part,           account of such written contracts as are on file with or known to the Company.
if such products, work or property are witltdrawn irom the market or from              The Named Insured shall notify the Company of all other vrritten contracts
use because of any known or suspected defecl or (leficiency therein;                   etitered into duriog the policy period to which this lnsurance applies.
                                                                                                                                                                                                            .     .
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        ' N                                                        CONTRACTUAL LIARILITY INSURANCE COVERAGE PART'                                                               :
                                                                                                                (Blanket Coverage)                                                     "


                            ADDITIONAL DECLARATIONS                                                                                                 Policy No           GAL 37 68 12


                                                                                                                             SCHEDULE•                                                                             ;
          It is agreed that lhe limils of Liability set forth in the Policy Declarations for ihe ContraCtual Liability Coverage Part shall apply as respects any coverage
          afforded hereunder unless other specific limits are set forth below. '

                                                          Coverage                                                                                   Liniits of Lfability (this Coverage Part onlyr
                                                      Contractual Bodily                                                                                         S    500 , 000            each.accurrence
                                                      Injury L•iability


                                                      Contractual Property                                                                                       $    lOO , 000            each occurrence
                                                      Damage Liabilily                                                                                           g 1 0 0, 0 0 0           aggregate



          Code`                            Designation ot Contracts on iile '                                                                                   Rates                        Advance Premiums
                                                                                                                               Premium Bases
          No,                                  or known to the Company '
                                                                      .                                                                               B.I.               P.D.       Bodify injury        I Proyerty Damage

                                                                                                                              (a) Sales            (a) Per S1,000 of Sales
                                                                                                                              (b) Cost             (b) Per $IDO of Cost

          3-17985
          Blanket Contractual Liabi].ity '                                                                                           Incl.0 ed in Compo i.te x'ate

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                                   •                                        e                          .        •             .




          MinimumPremium(s)                                                                                                                                          TDTALS
                                                                      . ,
                                                                                                                                                                                ; lncl.                  ;Tncl.
              .                                         . .                             f'.r       ,                     ,•               ,                                                                                  -
                                                                                                                                                                     TOTAL ADYANCE PREPAIUM 0- $ InCl .


                               .           ,                                                           •       . .
          _             .                                         .             .                                        .                                                                                                       , .
                                                                                                                                          r.            •                           • .         .'



          The f0llowing exclusions do nol apply with•respect to any I'constructEon agreements":
                  •                                                                 •          . ,.                                                                                                  •              .
                                                                                                           .        :i



          When used as a premium basis:

          1. lhe w_or "cost" means the lotal cost of all work in, connection with all contracts of the type designated in lhe schedule for this insurance with respect to
                  w~ich "cost" is the basis of premium, regardless of whether any liability is assumed under such conlfacls by Ilie Insured. It includes the cost of all labor,
                  materials and equipment furnished, used or delivered for use in the execution of such work, whether furnished by the Insured, or others including alf fees,
                  allowances, bonuses or commissions made, paid or due. It shall not include the cost of any operations to which exclusions (o) or (p) apply, unless such
                  exclusions are voided in the schedule.

          2,•the word "sales" means 1he gross amount of money charged by the Named Insured or by others trading under his name for all goods aod products sold or
              distributed during the policy period and charged during the policy period for installation, servicing or repair, and includes taxes, olher than taxes which the
              Named Insured and such others collect as a separate ilem and remit directly lo a governmental division.
                                       ,       ~ •.                             .              .                                               .            .



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       ~                                                    PERSONAL 1N1URY LIABILITY iNSURANCE
                                                                            COVERAGE PART


                ADDiT10NAL DECLARATIONS                                                                    Policy No.    CIAL 37 68 03

  9-99980
                                                                                 SCHEDUI.E
   The insurance afforded is only with respect to personal injury arising out of an offense inctuded within such of the following groups of offenses as are indicated
   by specific premium charge or charges.

                                                            GROUPS OF OFFENSES                                                       ADVANCE PREMIUM

                                    A. Fatse Arrest, Detention or Imprisonment, or Malicious Prosecution                --       $     1 afr-L.—_—
                                     B. Libel, Slander, Defamation or Violation of Right of Privacy                     —       s. IILl—
                                    C. Wrongful Entry or Eviction or Other Invasion of Right of Private Occupancy —             $      Tncl._~

       lnsured's Participation       0 % Minimum Premium $ NIA—                           TOTAL ADVANCE PREMIUM ®               $      Tne7 -
       included i.n Composite rate ( See Endorsement # 2)



   1. COVERAGE P--PERSONAL INIURY LIABILITY                                                (e) to personal injury arlsing out of a publication or utterance described in
                                                                                               Group B, concerning any organiz?tion or business enterprise, or its prod-
   The Company will pay on behalf of the Insured all sums which the insured                    ucts or seriices, made by or at the direction of any Insured with knowl-
   shall become legally ob(igated to pay as damages because of injury (herein                  edge of the fatsity thereof.
   Called "personal injury") sustained by any person or organization and arising
   out of one or more of the following offenses committed in the conduct of the
   Named Insured's business:                                                               II. PERSONS INSURED
                                                                                           Each of ihe following is an lnsured under ttris insurance to the extent set
     Group A—false arrest, detention or imprisonment, or malicious prose•                  forth below:
            cution;
                                                                                            It the Named Insured is designated in the declarations as an individual,
                                                                                          (a)
     Group B—the pubtication or utterance of a libel or slander or of other                    the person so designated and his spouse;
               defamatory or disparaging malerial, or a pub(ication or utterance
              in violation of an individual's right of privacy; except publica-            (b) if the Named Insured is designated in the declarations as a partnership
              tions or utterances in the course of or re(ated to advertising,                 or joint venture, the parinership or joint venture so designated and any
              broadcasting or telecasting activitfes conducted by or on behalf                partner or member thereof but on(y with respect to his liability as suchi
              of the Narned Insured;
                                                                                           (c) if the Named Insured is designated in the declarations as other than an
                                                                                              Individual, partnership or joint venture, the organization so designated
     Group C—wrongful entry or evictian, or other fnvasion of the tight of
                                                                                              and any executive oflicer, director or stockholder thereof whi(e acting
                private occupancy;
                                                                                              wilhin the scope of his duties as such.
   if such offense is committed during the policy period within the United States          This insurance does not appty to personal injury arising out of the conduct
   of America, its territories or possessions, or Canada, and the Company shall            of any partnership or joint venlure of which the Insured is a partner or
   Ilave the right and duty to dejend any suit against the Insured seeking dam-            member and which is not designated in this policy as a Named Insured.
   ages on account of soch personal injury even if any of lhe allegations of the
   suit are groundless, false or fraudulent,'and may make such investigation and
   sett(ement of any claim or suit as it deems expedient, but the Comoany shall            Ill, LIMITS OF LIABILITY; 1NSURED'S PARTICIPATION
   not be obligated to pay any ctaim or judgrnent or to defend any sui{ after the
                                                                                           Regardless of the number of (1) Insureds under this policy, (2) person or
   app(icable limit of the Company's tiability has been exhausted by payment of            orgamzatrons who sustain personal injury, or (3) claims made or suits bro~ght
   judgments or sett(ements.
                                                                                           on account of personal injury, the total liability of the Company's liabilit/
                                                                                           under this coverage for all damages shall not exceed the limit of personal
   Exclusions                                                                              injury tiabitity stated in the dectarations as "aggregate".

   This insurance does not apply:                                                          If a participation percentage is stated in the schedu(e for the Insured, the
                                                                                           Company sha(I not be liable for a greater proportion of any (oss than the
   (a) to liability assumed by the Insured under any contract or agreement,                difference belween such percentage and one hundred percent and the bal.
                                                                                           ance of the loss shall be borne by the Insured; provided, the Company may
   (b) to personal injury arising nut of the wilful violation of a penal stalute or        pay the Insured's poriion of a loss to effect settlement of the loss, and, upon
       ordinance committed by or with the knovtledge or consent ol any Insured;            notification of the aclion taken, the Named Insured shall promptly reimburse
   (c) to personal injury sustained by any person as a result of an offense                lhe Company thereior.
       direct(y or indirect(y re(ated to the emp(oyment of such person by the
       Named Insured;                                                                     IV, ADDITIONAL DEFINITION
     to personal injury arising out of any publicalion or utterance described in
   (d)                                                                                     When used in reference to this insurance:
     Group B, if the first injurious publicatior. or utterance of the same or
       simi(ar material by or on behalf of the Named Insured was made prior to                 "damages" means only those darnages which are payab(e because of
       the effective date of this insurance;                                                   personal injury arising out of an offense to which this insurance applies.




GL-135 (Pl)5oM 2/73 PRINTEDIN U.S.A.
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                                  •                                0



               Nk                                                                                          Endorsement k 2
             Named Insured



             Po{icy Symbol Policy No.
                  GAL        37      68      03
             Issued by (Name of Insurance Company)
                                                                Policy Period

                                                                                                      7   7~
                                                                                                                         Date of Endorsement




                         The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.
        ~



                xn consideration of the premium charged, it is agreed that
                exclusion 'C' of the Personal Injury Liability Insurance
                Coverage Part (GL 135) is deleted.




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               .              ~                  n             •


       INk
        Narned Insured
           -                                                                              ,


        Pollcy Symbol Policy No.                      Policy Period                       ~           Effective pate of Endorsement
               GAL         37 6S 03                                                       ,
        Issued by (Name of Insurancc Company)                                             ~


                      The above is      to be    eted only when this endorsement is issucd subsequent to the preparatlon of the policy.

                                           _0

                                                ADDITIUNAL INSUREDS ENDORSEMENT
                                                        (Limited)   i
           It is agreed that t-he "Persons Xnsured" provision is amended to
           include as an insured the person or organi.zation designated below
           ~as an additional insured, sub,ject to the following provisions:
                     1) The insurance appli.es only with respect to liability of the
                        additiona1 ix>.sureds arising out of THE OWNERSHIP MAINTENAN.CE
                        OR USE OF EQUIPMENT WHILE LEASED ~'0 THE NAMED INSURED.
                     2) The named insured is authorized to act for such addit3.ona1
                        insuredsin a7.1 matters pertaining to this insurance, in-
           :            cluding receipt of notice of cancellation; and
           . •                                              I
                     3) Return premium, if any, ari,d such .d3.vi.dends as may be
                        declared by the company shall be l pai.d to the named insured.
                                                      .                               I
                   4) I3othing contained herein shall affect any right of recovery
                 :    as a claimant which the additioniLl insured would have if
                      not des3.gnated as such.               ~
                                                            I
                                    Names of Ad'd.itioxa.aY j Insureds
                                                            i
                      UNITED STATES LEASINC CORPORVION
                                      ,                    I




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          ♦
                                                             EMPLOYEE ®ENEFITS LIAIBILfTY



      Named Insurcd



      Policy No. GAL 37 6 8 0 3                        Policy Period                                         Effective Date of Endorsement


      Issued by (Name of Insurance Company)


                     The above is required to be com       only when this endorsement is issued subsequent to the            lon ot thc policy.

    1n consideration of the premium and in reliance upon the Statetnents in the Application and subject to the terms of this endorsement
    and of-the Policy to which this endorsement is attached, the Company agrees wtth the Insured named in the Decfarations of the Policy:
                          INSURING AGREEMENTS                                       (c) Handling of records in connection with the Employee Benefit
    I. COYERAGE. To pay on behalf of the )nsured all sums which                           Programs;
         the Insured shall become legally obligated to pay as damages               (d) Effecting enrollment, termination or cancellation of employ-
         on account of any claim made against the Insured by any                          ees under tlte Employee Benefit Programs;
         Employee, Former Employee or the beneficiaries or legal rep-               provided all such acts are authorized by the Named Insured.
         resentatives thereof and caused by any negligent act, error or
         omission of the Insured, or anv other person for whose acts                                             EXCLUSIONS
          the Insured is legally liable, in the administration of the Insured's The insurance afforded by this endorsement does not apply:
          Employee Benefit Programs as defined herein.                            (a) To any dishonest, fraudulent, criminal or malicious act, libel,
   11. It is agreed that $1,000.00 shall be deducted from the total                     slander, discrimination, or hurniliation;
         amount paid by the Company as the result of each occurrence              (b) To txodily injury to, or sickness, disease, or deatlt, of any person, or
         covered by thts poltcy and the Company shall be liable for                     to injury to or destruction of any tangible property, including the
         loss only tn excess of such amount. AII Ioss arising out of                    loss of use thereof;
         continuous or repeated exposure to the same general condi-               (c) To any claim for failure of performance of contract by any Insurer;
         tions shall be considered as aristng out of one occurrence.              (d) To any claim based upon the Insured's failure to comply with any
         tt is further understood and agreed that in event of any claim,                law concerning Workmen's Compensation, Unemployment In-
         irrespective of the amount, notice thereof shall be given to the               surance, Social Security or Disability Beneftts;
         Company, or any of its authorized agents, by or on behalf of             (e)   To any claim based upon failure of stock to perform as represented
         the insured, in accordance with the terms of the Policy and                    by an Insured;
         the Company may at its option, investigate such claim or nego-            (f) To any ctaim based upon advice given by an Insured to an employee
         tiate or settle any claim, and the Insured agrees, if the Com-                 of the Named Insured to participate or not to participate in stock
         pany undertakes to negotiate or settle any such claim, to join                 subscription Plans.
         the Company in such negottation or settlement to the extent               (g) To any claim based upon any actual or alleged error or omission or
                                                                                        breach of duty, committed or alleged to have been committed by a
         of the amount to be deducted herein provided, or to reimburse                  trustee, in the discharge• ot fiduciary dutie5, obligations or
         the Company for such deductible amount, tf and when such                       responsibilities imposed by the Federal Empioyee Retirement
         claim is patd by the Company.                                                  Income Security Act of 1974."
   II. The DEFENSE, SETTLEMENT, St1PPLEMENTARY PAYMENTS
         provisions of the policy shall apply as respects the insurance                                          CONDITIONS
         hereby afforded, except that the Company shall not make settle- The conditions of the policy entitled "Insured's Duties in the Event of
         ment or compromise any claim or sutt without the written Occurrence, Claim or Suit", "Action Against Company", "Other
         consent of the Insured,                                                 Insurance", "Subrogation", "Changes", "Assignment", and "Cancella-
   IV. POLICY PERIOD & TERRITORY. As respects the insurance tion" apply to the insurance allorded herebyand the following Conditions
         hereby afforded this endorsement applies only to claims under apply:
         the legal jurisdiction of a court of law or a court of equity A. LIMITS OF LIABILITY. The Limit of L(abifity stated in the
      . within the United States of America, its territories or posses-               Declarations as applicable to "each claim" is the limit of the
         sions or Canada, resulting from negligent acts, errors or omis-              Company's liability for all damages incurred on account of any
         sions of the Insured, or any person acting on behalf of the                  claim covered hereunder; the ltmit of liability stated in the
         Insured in the administration of Employee Benefit Prograrns                  Declarations as "aggregate" is, subject to the above provision
          provided such claim is brouglit against the Named Insured                   respecting each claim, the total limit of the Company's liability
         during the policy period and the Named Insured at the effective              for all clatms covered hereunder and occurring dunng each
         date oF this policy, had no knowledge of or could not have                   policy year. The inclusion herein of more than one lnsured shall
          reasonably foreseen any circumstances which might result in a              not operate to increase the limits of the Company's liability.
          claim or suit.                                                        B. PREMIUM. The premium stated in the Declarations is an esti-
                                   DEFINITIONS                                        mated premium only. Upon termination of each annual period
   1. INSURED. The unqualified word "Insured" wherever used in                        of this Poltcy the fnsured, on request will furnfsh the Company
       relation to the insurance aftorded hereby, includes not only the               a statement of the total number of employees at the end of the
       Named Insured, but also any partner, executive officer, director,              period and the earned premium shall be computed on the aver-
       stockliolder or emPloyee, provtded such employee is authorized                 age number of employees at the beginning and the end of such
       to act in the admintstration of the lnsured's Employee Benefit                 period in accordance with the rates set forth in the Declara-
       Programs.                                                                      tions. lf the earned premium thus computed exceeds the esti-
   2. EMPLOYEE BENEFITS, The term "Employee Benefits" shall                           mated advance premium paid, the Insured shall pay the excess
       mean group life insurance, group Iiealth insurance, profit shar-               to the Company; if less, the Company shall return to the Insured
       ing plans, pensions plans, employee stock subscription plans,                  the unearned portion paid by such Insured subject to the Milii-
       employee travel, vacation or savtngs plans, workmen's compen•                  rnum Premium for this insurance stated in the Dectarations.
        satton, unemployment insurance, soctal security and disability C. TEf2tv9S OF ENDORSEfflENT CONFORPdED TO STATUTE. Terms
        benefits insurance.                                                           of this endorsement which are in conflict with the statutes of
   3. ADMINISTf3AT10N, As respects the insurance afforded hereby,                     the State wlterein this policy is issued are hereby amended to
        the unqualified word "Admtnistration", wherever used shal'                    conform to such statutes.
        mean:
      (a) Giving counsel to employees with respect to the Employee
          Benefit Programs;                                                                             ~.s~    fomposize rate                    ,
      (b) Interpreting the Employee Benefit Programs;                                                           Authorizcd Agent

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--._. ., Case
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                                                                        ADDITIONAL INSURED
          INFV                                                            (Yendors--Limited form)



            Named Insured




            Effective                                                                             Policy No.
                                                                                                                       GAL 37 68 03
            (ssued by (Name of (nsurance Company)


                          The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.


                                    This endorsement modifies such insurance as is afforded by the provisions of the policy relating to the following:



                                                                COMPREHENSIVE GENERAL LIABILITY INSl1RANCE

                                                       COMPLETED OPERATIONS AND PRODUCTS LIABILITY INSURAtdCE




          ft is agreed that the "Persons Insured" provision is amended lo inctude any person or organizalion designated below (herein relerred to as "vendor"), as an
          Insured, but only with respect to the distribution or sale in the regular course ol the vendor's business of the Named Insured's products designated below
          subject to the following additional provisions:
               1. The insurance with respect to the vendor does not apply to:

                  (a) any exptess warranly, or any distribution or sale for a purpose, unautharized.by the Named Insured:

                  (b) bodily mjury or property damage arising out ot
                         (i) any act o( the vendor which changes the condition of the producls,
                        (ii) any failure to mainiain the product in merchantable condition.

                        (iii) any failure lo make such inspections, adjustments, tests or servicing as the vendor has agreed to make or norrnally undertakes to make in
                             the usual course of business, in connection with the distribution or sale o1 the products, or

                           products which alter distribution or sale by lhe Named lnsured have been labeled or relabeled or used as a container. part or ingredient of
                        (iv)
                             any other thing or sobstance by orfor the vendor:

                  (c) bodily injury or properly damage occurring within the vendor's prernises.

                2. The insurance does not apply to any person or organization, as Insured. from whom the Named Insured has acquired such products or any ingredient.
                   part or container, entering into, accompanying or conlaining such producls.



                                                                                       SCHEDULE



                             tfENDOR(S) _                                                          _                            PRODUCTS
           ~

         Name of Person or - Orgaaization: Any pa✓rson or organi.zation purchasing
         goods or products from the named instared £or the purpose o£ ress.le.
         Named Insured's 1'xoducts:                                   Al1 produots of the Natned Insured.
         INCI,i1DED IN COWOSITE RA`SE
                                                                                                                                                                          i




                                                                                                                                                                          ~




                                                                                                                                      AuUrorized A4ent

    LC-976 (0114) 7•20 66 Printed in U.S.A.
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                                                                  ADDITIONAL INSIfRED
                                                          (Premise.s Leased to the Named Ins(tred)




    Policy No,                                           Policy -Period                                            -Effective Date of Endorsement
                 CIAL 37 68 03
    Issucd by (Name    of tnsurance CompanyJ

                   The nhnoe ic rnnulred !n he               oniv when this   endorsement Is                       t to the preparation of the


                             This endorsement modifies such insurance as is afforded by the provisions of the policy relating to the following:


                                                          COMPRENENSIiIE GENERAL LIABlUTY lNSURANCE

                                                   INAHUFACTURERS' AND CONTRACTORS' LIlIBILITY INSURANCE

                                                   OiYNERS', LANDLORDS' AND TENANTS' LIABfLITY INSURANCE

                                                                      STOREKEEPER'S INSURANCE



     It is agreed that the "Persons Insured" provision Is amended to inctude as an Insured the person or organization designated below, but on)y with respect to
     liability arisirtg out of the ownership, maintenance or use of that part of the premises designated below leased to the Named Insured, and subject to the
     fol)owing additional exclusions:

     The insurance does not apply;

          1. to any occurrence which takes place after the Named Insured ceases to be a tenant in said premises;

          2. to structurai alterations, new construction or demolition operations performed by or on behalf of the person or organization designated below.

                                                                                 SCtiEDULE

                                                                                                                                                    Premlums
                        Des(gnation of Premises                                  PJame of Person or OrQanizztion                         ®odify                Property
                    (Part Leased to Nanted Insured)                                   (Additlond Insured)                                Injury                Damage
                                                                                                                                        Liability              Liabillty


 1. I,and I.eased to Wolverine
    Servxce Club xnc. for
    Campzng Si.te              Consumers Power Coanpany
                                                                                                                                         iNCT. ED YN
 2. A11 premises leased to                                          Lessors where lease Rgree-
    named insured and                                               ment requires lessee to                                               CCMPO TTE RATE
    insureds named in                                               name lessor as additional
    endorsement #1                                                  insured on ].essee's pn7.icy.




                                                                                                                               Authoriaed Agent


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                                                                                               I
     ~                                                                        ADDITIONAL itdSURED
                                                                                      (Emplaf`m)
                                                                       AND EXECUTIVE UFk'TCERS
      Narned lnsured                                                                          f


                                          ,                                                                                f
      Policy No.                                           Policy Period                                                       Effective Date of Endorsement
                 GAh 37 68 03                                                                                          '
      Issued by (Name of Insurance Company)                                                                                I


                    The above is required to be completed only when this endorsement Is issllgd subsequent to the preparation of the policy,


                                                                                                                       I
                               This endorsement modilres such insurance as rs afforded by the provisfons of the polrcy relating lo the followrng
                                                                                                                       I

                                                           COMPREHENSIYE GENERAL LIABILITY, INSURANCE
                                                    MANUfACTURERS' AND CONTRACTORS' LIABILITY 1NSURANCE
                                                    OWNERS', LANDLURDS' AND TENANTS' IIABILITY INSURANCE
                                                                       STDREKEEPER'S INSURANCE

                                                                                                                   I
      It is agreed Ihat the "Persons Insured" provision is amended to include any employee ol ihe Named Insured while acting within the scope ol his dulies es
      such, but the insurance aftorded to such employee does not apply:                                        ~

           1, to bodily injury to (a) anothet employee of thC Named Insured arising out of or ih lhe course of his employment or (b) the Named Insured or, if the
               Named Insured is a partnership or joint venture, any partner or member thereol;
          2. to property damage to proporty owned, occupied or used by, rented to, in the care, custody or cont+ol of, or over which physical control is being
             ezercised 1or any purpose by (a) another employee of the Named Insured or (b) the Named Insured, or, if the Named Insured is a partnership or jotnt
             venlure, any pariner or member thereol.                                         '
                                                                                                           I

          3. To personal injury or property da.mage arising out of the
             rendering of, or failure to render,'any professional service.
   Subdivisi.on (c) is replaced by th'e following:
                                                                                                           i
         (c) if the named insured is designated in the declarations as
             other than an individual, partnersfaip or joint venture, the
             organization so designated and     ~
                    (i) any di.rector or stockholder thereof while acting within
                         the scope of his duties as such; and
                                                        I
                   (ii)- any executive officer of the named insured while acting
                         within the scope of h3.s etnployment for the aamed •insured.
                                The term "executive o£ficer" :means any person ho].ding
                                any of the o£ficer posita.ons created by the charter or
                                by7.a.ws of the named insured. '
                                                                                                      I

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                                                                                                  I•                                    Aulhorized Agent

lC•966 (G106) 7-20-66 Piinta4 in U.S.A,
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          ,►                                    WDRLDWIDE COlIERAGE ENDORSEMENT                                                                        ,.

                                                                                                                   ~
    Named Insured

                                                                                                               !I                       GAL 37 68 03 .
    ENettive                                                                                                           Policy No
                                                                                                               1
    Issued by
                                                                          (t(sme of Insurnnct Compsnr) ~

                          The above is required to be compleled only when this endorsement is issu ed subsequent lo the preparaiion ot the poficy.
                                                                                                  i



       in consideration of the prernium charged, the policy is amended as follows:
       I TERRITORY
       The Policy Definitions referring to "Policy Territory" is amended to r lad:
            "This policy applies only to occurrences during the policy period worldwide outside the
                                              Albania, Bulgaria, Ratla=,Cuba, Czechoslovakia, Hungary, North t{orea, North
            Viet-Nam, Outer Mongolia, Poland, Romania, The German Democratic Republic (excluding West Berlin), The
            Peoples Republic of China, The Union of' Soviet Socialist Republics (including Armenia, Estonia, Latvia,
                l.ithuania and the Ukraine), Tibet and Yugoslavia."                                        i


       11 INDEMNIFICATION
       It is agreed that where it is prevented by law or otherwise from making payments on behalf of the insured, the
       Company will indemnify the insured for loss sustained to the exteht that such loss is covered by the policy.

       I11 DEFENSE                                                                                     f
       It is furtlier agreed that if the Company is not legally permitted to, or cannot for any other reason, defend any suit
       against the insured the Company will reimburse the insured for the expense of such defense Pncurred with its consent.


                                                                                                   ~
       IV OTHER INSURANCE                                                                          ;
       Notwithstanding the provisions in the policy referring to "Other Idsurance" the insurance provided by this policy sha11
       be excess over any other valid and collectible insurance.




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                                                                                               i                                   dluthorised Agent

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                .                                                                        t1ESSELS ,                                                              ®



        Named Insured
                                                                                                                                           GAL 37 68 03
        Effective                                                                                                        Policy No


        Issued by
                                                                                  (fiame af Insurance Company)

                                  The above is required to be completed onty when this endorsemenl is iss- ued subsequent to the preparation of the policy.




                                   This endorsement modifies such insurance as is affo►ded by the provisions of the poticy relating to lhe following:



                                                                 COMPREHENSIVE GENERAL LIABILITY INSURANCE
                                                          MANUFACTURERS' AND CONTRACTORS' LIABILITY INSURANCE




        It is agreed that such insurance as Is afforded by the Bodily Injury Liability Caverage and by the Property pamage Liability Coverage applies, subject to the foftow•
         ing pravisions:

              1.The exclusion relating ta watercraft does not apply with respect to any watercraft owned or used by the Named Insured if incfuded within the scope of
                    any classification stated below or designated in the policy as subject to this endorsement,

              2.The insurance with respect to such watercraft does not apply to:

                    (a) bodily injury to any passenger being carried for a consideration while in or upon, enterirtg or alighting from any such watercraft;

                (b)the ownership, mainlenance, operation, use, loading or unloading of any barge or lighter rented by the Named Insured to others with respect to
                   which the Named Insured does not furnish employees to operate and does nat have any operating controi.



        Classificatian ot Watercraft:




                                             See En3orscment No. 4, it.em 3.




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   t~                                                                  -
                                                                                                                                        Authorized Agent
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  LC-991 (C215) 7•20-66 Printed In U.S.A.
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     '                  :            ~
                .:

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                                                                                                                             ra e i
             Named insured



             Policy Symbo{ Poiicy No.                           Policy Period                                  Effective Date of Endorsement
                GAL          37 68 03
             Issued by (Name of Insurance Company)


                         The above is required to be completed only when this endorsement is issued subsequent to the preparation of the policy.


              It is agreed that the following provisions are hereby made a part of
              this policy:
              1) As respects World-Wide Products Liabz.lity:
                     The Bodily Injury and Property Damage Liabi].ity Coverages also
                     apply to bodily injury or property damage which occurs, during
                     the policy period, outside the pol.icy territory provi.ded:
                     (A). such injury or damage is included in the products hazard, and
                     (B) the original suit for such injury or damage is brought within
                          the policy territory.                             '
              2) As respects Host Liquor Law Liability:
                     7'he Bodily Injury and Property Damage Liability Coverages apply
                     to bodily injury or property damage arisirig out of the serving
                     or giving of alcohoZic beverages, by or on behalf of the Named
                     Insured, provided the Named Insured
                     (A) is not a person or organization engaged 3.n the business of
                         manufacturing, distributing, selling or serving alcoholic
                         beverages, or
                     (B) is not an owner or 7.essor of premises used for such purposes
                         if liability is imposed by, or because of the viblat3.on of,
                         any statute, ordinance or regulation pertaining to the sale,
                         gift, distribution or use of any alcoholic beverage.
                     Damages includes damages for loss of support resulting from bodily-
                     inj ury .
              3)     As respects Watercraft Non-OGrnership :
                     It is agreed that the policy exclusion relating to the ownership,
                     maintenance, operation, use, loading or unloading of watercraft
                     sha11 not apply to any watercrs.ft under 50 feet in Iengfh provided
                     such watercraft is-not owned by the Named Insured and is not being
                     used to car_ry persons for a charge.




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                                                                                                       gndorsement
     INamed I



     Policy 5ymbol Policy No,                        ~ Poficy Period                                   Effective Date of Endorsement
            GAL _37 68 03
     Issued by (Name of Insurance Company)


                 The above is required to be completed only when lhis endorsement Is issued subsequent to the preparalion of the



   4) As respects Incidental Nialpractice Liability:
          The Bodily xnjury and Property Damage Liability Coverages apply
          to bodily injury or property damage occurring during the policy•
          period and arising out of malpractice, error or mistake committed
          at or zn connection with the premises or operations.
          (A) a,n the rendering of or failure to ~render medical, surgical,
              dental, x-ray or nursing service or treatment, or the
              furnishing of food or beverages in connection therewith, or
         (B) the furnishing or dispensin of drugs or medical, dental
            or surgicaZ supplies or applg iances
          subject to the following provisions:
                  (1) ~.'he following additional exclusion applies;
                            The insurance does not apply to bodily injury to any
                            person to or for whom benefits or damages on account
                            thereof are payable under any valid and collectible
                            voluntary compensation or employer's 7.iability
                            available to the znsured.
                  (2) The Supplementary Payments provision of the policy
                      shall not apply to this insurance in so far as it
                      provides for'the payment of expenses incurred by
                      the Insured.for first aid at the time of accident.
                  (3) Exclusion (j) does not apply to injury to the
                      e~motions or reputation of a person arising out of
                      the rendering of such services.




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          Nk
                                                                                             '              Endoxseme t ik 5
        Named Insured



        Policy Symbol Policy No.                           Policy Period                                 Effective Date of Endorsement
          m          1   37 68 03
        Issued by (Name of (nsurance Company)


                    The above is required to be compieted only when thisendorsement is issued subsequent to the preparation of the policy.


I                                                                ,                          !

          This endorsement modifies such insurance as is afforded by the
          provisions of the policy reXating to Employee Benefits L3ability
          Insurance.                               ,
          It is agreed that the Employee Benefits Liability Insurance
          endorsement is arnended as folXows:
          1) The term "Employee or Foxmer Employee ts changed to read:
                 Employee or former employee or Director or former
                 director wherever it a.ppears in the endorsement.
          2) The defj*_nition of "Administration't 3.s amended by changing
                 the word "employees't in paragraphs (a) and (d) of the
                 definition to read:
                                                    tEmployees and Directors"
                                                    "




                                                                                       1




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                                                                                                                               ~
        Named Insured



        Policy Symbol Policy No.                           Policy Period                                  Effective Date of Endorsement
             GAL 137 63 03
        Issued by (Name of Insurance Company)


                    The above is required to be compleled only when this endorsement is issued subsequent to the preparation of the policy.



             it is agreed tha4 the following cancellation clause,is added to
             this policy but only as respects General Liability:
             This endorsement modifies the cancellation condition and is
             applicable to alX insurance afforded by the policy.
                                    Cance].lation'By'the Company Endorsement
             zt is agreed the cancellation condition of the policy is amended
             to provide that with respect to cancellation by the Company
             except for cancellation for nonpayment premium, the effective
             date of cancellation sha11 be not less than sixty (60) days
             after the mailing of notice thereof.




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   LC-7 296b Ptd. in U.S.A.
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                                         ~                                                           i




                                             Composite Rate-Endorsement
   I                                                                                                 Endorsement # 7
    Named Insured




    Policy Symbol Policy No.                           Policy Period                                  Effective Date of Endorsement
        GAL 1 37 68 03
    Issued by (Name of insurance Company)


                The above is required to be completed oniy when this endorsement is issued subsequent to the preparation ot the




   The premium for this policy is based u on sales as herein defined, and
   shall be computed by applyin to each ~1,000. of such saxes a rate of
   .88692 (BI..88692, PD. Incl.~. The Named Insured shall upon termination
   of the policy r~ean.der-- to the company statement of the sales as herein
   defined during the'policy period and the earned premium shall be com-
   puted thereon. If the earned premium thus computed exceeds the advance
   premium paid,the named insured sha11 pay the excess to the company;
   if 1ess, the co%npany sha11 return to the named insured the unearned
   portion pa:Cd by the named insured.
   Estimated                                               Rates                                   Total Estimated
   Annual Sales.                                       BI. PD.                                     Annual Premium
                                                                                                     BI.    PD.
   $150,000,000                                .88692. Xncl.                                     $137,1538. ~ncl.
                                                       Sa1es* Defined
   The word "sales" means the gross amount of money charged by the named
   insured by concessionaires of the named z.nsured or by others trading
   under his name f.or all goods and products sold or distributed dur3.ng
   the policy period and charged during the policy period for installation,
   servicing or repair, and includes taxes, other than taxes which the
   named 3.nsured, concessionaires of the named insured and others trading
   under his name collect as a separate item and remit directly to a
   governmental division.




LC-1296b Ptd, in U.S.A.
~--~ --~ - -_.._......_~_..._...w.._.__._.:w.._._.,..~:._..
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                                                                                             filed   . ...    PageID.225 Page 215 of 222



           ~                                                          INTEAIM PRE2AIUb1 PAYIbtEttT Et9DORSEAlEt1T



             Named Insured



            Effective                                                                                      Policy No.
                                                                                                                                   GAI,         37        68       03
             lssued by (Name of Insurance Company)


                           Tbe above is required to be completed only when this endorsernent ls issued subsequent to the prepalation ot tne policy.




              It is hereby ogreed that the estimated rtnnual pre+nium for the policy is peytble ts follo►rsc



                         pepositPre+nium               s 66,520.                                               3/1/78


                         InterimPremiums               t .33,259 .                            DatePayable      6/I/78

                                                             33,259:                                           9/1/78




                         TMtsWm%dMolea 0; 133,038.



                  It is further agreed that the deposit premium shall be paid upon delivety of the policy and the interim premiums on the indicated dstes. Upon expirotion ol the policy the
             earned premium sha11 be computed in accordante r,ith the basis of premium as specified in ltie pollcy and the deposit premium and interim premiums shall be credited thereto:
             If the earned premium exceeds the deposil premium plus the interim premiuros, ihe insured shall immediately pay to the company the additional eorned premium; if it be lm,
             the compiny shall returrt the difference lo the insured but shall, in any event, retain the minimum premium stated in the declarations,




                                                                                                                                         p~tthori>!ad RBent




     t.C-97ah bi73 Vr?ntod M U $.q.
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           Named Insured            I                                                                          Endorc®ment Number
              Wolverine World Wide, Inc. eta1
          .Paiicy Symbol lPolicvNurnkmar                     Policy Period                                     Effectiw Dote of rndorsement
              GAL              37 68 03                         3-1-78/79                                          3 / 1/.78
           Issued By (Name of insurence Company)
                Insurance Company of North ,America
    ( nsert th e poiicy number. The remoinder of tho information is to be compieted oniy when th is endor£ement is issuod subsequent to the preparetion of the policy.



        In •consideration of the premium charged, it is hereby agreed that the

        Additional Insured (Vendors - Broad Form) Endorsement. LC-975 is added

       to the policy in lieu o•P the Additional Insured {Vendors-Limited Form

       Endorsement LC-976. as per the attached.




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551-21 :




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  CC-]'EE5 Ptd. In US.A:
                                                                              oRIG(NAI.
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                Marsh & McLennan
                One Woodward Avenue
                Detroil, MEchigan 40226
               Telephone 313 962-0034




                                      CERTIFICATION OF NO FAULT INSURA`ICE'
                                                       TO
                                 MICHIGAN'SECRETARY SxATE OF.FLEET COVERAG£




              This a.s to certify that .             HOME INSURANCE COMPANY

              located at              TROY„ MICHIGAN

              has issued a policy no. GA 9705987             coveri.ng all vehicles oc•med by

                            _WOI,VRRINE WORLD WID_E, INC . ,• STAL
                             9341~ COURTLAND -DRIVE
                             ROCKFORD, MZCHIGAN 49351

              and said policy complies with the requirements of Act 294 of the Public

              Acts of 1972, as amended. The said pol9.cy expi.zes oqST day of
                                                                              . . ;' •
                MARCH                     . 1980. The carrier will ~notify imcliately
                                                                             me       the

              Secretary of State of non-renewal,or cancellation.


              Marsh & McLennan

              One Woodward Avenue

              Detros.t, Mzchigan 48226                                                          i

              Hy -   /I                    ~                         ~
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                 INK                            INSURANCE COMPANY OF NORTH AMERICA, PHILADELPHIA, PENNSYLVANIA




                                                                                                                GENERAL-AUTOMOBILE
                                                                                                                        LIABILITY POLICY

                                                                                                                                Stantlard Provisions




                                                          A Stock Insurance Company, herein called the Company


 In consideration of tha payment of the premium, in reliance upon the statements in the declarations made a part hereof and subject to all of the terms of this policy,
 agrees with the Named Insured as follows:



                                                                                 COVERAGE
 Coverage is aHorded under Ihrs poiicy in accordance with the specific Coverage Parts identified in the Declarations as being a part of this policy.



                                                                      SUPPLEMENTARY PAYMENTS
 The Company wi11 pay. in additron to the applicable limit of liability;                     of the Insured because of accident or traffic law violation arising out of the use
                                                                                             of any vehicle to which this policy applies, not to exceed $250 per bail bond,
 (a) all expenses mcurred by the Company, all costs taxed against the Insured in             but the Company shall have no obligation to apply for or furnish any such
      any swt defended by the Company and aIl interest on the entire amount of any           bonds:
      judgmenl therein which accrues after entry of the ludgment and before the
      Company has paid or tendered or deposited in court that part of the judgment      (c) expenses incurred by the Insured for first aid to others at the time of an
     which does not exceed the limit of the Company's Iiability thereon;                    accident, for boddy injury to which this policy applies;

 (b) premiums on appeal bonds required in any such suit, premiums on bonds to           (d) reasonable expenses incurred by the Insured at the Company's request in
     release attachments in any such suit for an amount not in excess of the                assisting the Company in the investigation or defense of any clalm or suit,
     applicable Iimit of hability of this poficy, and the cost of bail bonds required       including actual loss of earnings not to exceed $25 per day.


                                                                               DEFINITIONS
 When used in this policy (including endorsements forming a part hereof):               (2) when all operations to be performed by or on behalf of the Named Insured at
                                                                                            the site of lhe operations have been completed, or
 "automobite" means a land motor vehicle, trailer or semitrai(er designed for
 travel on public roads (including any machinery or apparatus attached thereto),        (3) when the portion of the work out of which the injury or damage arises has
 but does not include mobile equipment;                                                     been put to its intended use by any person or organizatton olher than another
                                                                                            contractor or subcontractor engaged in performing operations for a principal
 "bodily injury" means bodily injury, sickness or disease sustained-by any person
                                                                                            as a part of the same project.
 which occurs during lhe policy period, including death at any time resulting
 theref rom;                                                                               Operations which may require further service or maintenance work, or correo-
                                                                                        tion, repair or replacement because of any defect or deficiency, but which are
 "collapse hazard" includes "structural property damage" as defined herein and          otherwise complete, shall be deemed completed.
 property damage to any other property at any time resulting therefrom. "Structural
                                                                                          The completed operations hazard does not include bodily injury or property
property damage" means Ihe collapse of or structural injury to any building or          damage arising out of
structure due to (1) grading of land, excavating, borrowing, filling, back-lilling,
tunnelling, pile driving, cof(erdam work or caisson work or (2) moving, shoring,        (a) operations in connection with the transportation of property, untess the bodily
underpinning, raising or demolition of any building or structure or removal or              injury or property damage arises out of a conditiait in or on a vehicle created
rebuilding of any structural support thereof. The collapse hazard does not include          by the loading or unloading thereof,
property damage (l) arising out of operations performed for the Named Insured by        (b) the exislence of tools, uninstalled equipment or abandoned or unused mate•
independent contractors, or 12) included within the completed operations hazard             rials, or
or the underground properly damage hazard, or (3) for which liability is assumed
by the Insured under an incidental contract;                                            (c) operations for which the classification stated in the poficy or in the Company's
                                                                                            manual specifies "including completed operations";
"compteted operations hazard" includes bodily injury and property damage arising
out of operations or reliance upon a representation or warranty made at any time        "elevator" means any hoisting or lowering device to connect 1loors or landings,
wilh respect therelo, but only if the bodily injury or property damage occurs after     whether or not in service, and all appliances thereof including any car, platform,
such operations have been completed or abandoned and occurs away from premises          shaft. hoistway, stairway, runway, power equipment and machinery; but does not
owned by or rented to lhe Named Insured. "Operations" include malerials, parts          include an automobile servicing hoist, or a hoist without a platform outside a
or equipment furnished in connection therewith. Operations shall be deemed com•         building if withoul mechanical power or if rtot attached to building walls, or a hod
pleted at lhe earliest of the following times:                                          or material hoist used in alteration, construction or demolition operations, or an
                                                                                        inclined conveyor used exclusively for carrying property or a dumbwaiter used
(1) when all operations to be performed by or on behalf of the Named Insured            exclusively for carrying property and have a compartment height not exceeding
    under the contract have been completed.                                             four feel;



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                                                                                      ,                      - ---- -
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                                                ~




                                                                         DEFINITIONS CONTINUED

"explosion hazard" includes property damage arising out of blasting or explosion.     "occurrence" means an accident, including continuous or repeated exposure to
The explosion hazard does not include property damage (1) arising qut of the ex-      conditions, which results in bodily injury or property damage neither expected nor
plosion of air or steam vessels, piping under pressure, prime movers, machinery       intended from the standpoint of the Insured;       -
or power transmitting equipment, or (2) arising out of operations performed for
the Named Insured by independent contractors, or (3) included within the com-             "policy territory" means:
pleted operations hazard or the underground property damage hazard, or (4) for        (1)
                                                                                        the United States of America, its territories or possessions, or Canada, or
which liability is assumed by the Insured under an incidental contract;
                                                                                      (2)
                                                                                        international waters or air space, provided the bodily injury or property dam-
"incideatal contract" means any written (1) lease of premises, (2) easement             age does not occur in the course of travel or transportation to or from any
agreement, except in connection with construction or demolition operations on or             other country, state or nation, or
adjacent to a railroad, (3) undertaking to indemnify a municipality required by
municipal ordinance, except in connection with work for the municipality, (4) side-
                                                                                          (3) anywhere in the world with respect to damages because of bodily injury or
track agreement, or (5) elevator maintenance agreement;                                      property damage arising out of a product which was sold for use or consump-
                                                                                             tion within the territory described in paragraph (1) above, provided the original
"Insured" means any person or organization qualifying as an Insured in the "Per-             suit for such damages is brought within such territory;
sons Insured" provision of the applicable insurance coverage. The insurance
afforded appiies separately to each Insured against whom claim is made or suit is         "products hazard" includes bodily injury and property damage arising out of the
brought, except with respect to the iimits of the Company's liability;
                                                                                          Named Insured's products or refiance upon a representation or warranty made at
                                                                                          any time wilh respect thereto, but only if the bodily injury or property damage
"mobfle equipment" means a land vehicle (including any machinery or apparatus             occurs away from premises owned by or rented to the Named Insured and after
attached thereto), whether or not seff-propelled, (1) not subject to motor vehicle        physical possession of such products has been relinquished to others;
registration, or (2) maintained for use exclusively on premises owned by or rented        "property damage" means (1) physical injury to or destruction of tangible property
to the Named Insured, including the ways immediately adjoining, or (3) designed           which occurs during the pblicy period, including the loss of use thereof at any
for use principally off public roads, or (4) designed or maintained for the sole          time resulting therefrom, or (2) loss of use of tangible property which has not been
purpose of affording mobPlity to equipment of the following types forming an              physically injured or destroyed provided such loss of use is caused by an occur-
inlegral part of or permanently attached to such vehicle: power cranes, shovels,          raece during the policy period;
loaders, diggers and drills; concrete mixers (other than the mix-in-transit type);
graders, scrapers, rollers and other road construction or repair equipment; air-          "underground property damage hazard" includes underground property damage as
compressors, pumps and generators, including spraying, welding and building               defined herein and property damage to any other property at any time resulting
cleaning equipment; and geophysical exploration and well servicing equipment;             therefrom. "Underground property damage" means property damage to wires,
                                                                                          conduits, pipes, mains, sewers, lanks, tunnels, any similar property, and any
"Named Insured" means the person or organization named in the declarations of             appafatus in connection therewith, beneath the surface of the grourtd or water,
this policy;
                                                                                          caused by and occurring during the use of inechanical equipment for the purpose
"Named Insured's products" means goods or producls manufactured, sold, handled            of grading land, paving, excavating, drilling, borrowing, filling, back-filling or pile
or distributed by the Named Insured or by others trading under his name, including        driving. The underground property damage hazard does not include property dam-
any container thereof (other than a vehicle), but "Named Insured's products" shall        age (1) arising opt of operations performed for the Named Insured'by mdependent
not include a vending machine or any properly other than such container, rented           contraclors, or (2) included withPn the compleled operations hazard, or (3) for
to or located for use of others but not sold;                                             which liability is assumed by the lnsured under an incidental contract.
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                                                                               NUCLEAR ENERGY LIABILITY ExCLUSION
                                                                                               (BROAD FORM)


                                              This exclusion modifi®s the provisions of this poticy retating to ALL LIABILITY AND MEDICAL PAYMENTS
                                               INSURANCE OTHER THAN COMPREHENSIVE PERSONAL AND FARMER'S COMPREHENSIVE PERSONAL INSURANCE.


              This policy does not apply.                                                               d. As used in this Exclusion:
              a. Under any Liability Coverage, to bodily injury or property damage                          (1) "Hazardous properties" include radioactive, toxic, or explosive properties;
                  (1) with respect to which an Insured under the policy is.also an Insured under            (2) "Nuclear material" means source material, special nuclear material or
                      a nuclear energy liability policy issued by Nuclear Energy Liabilily Insurance            byproduct material;
                      Association • Mulual Alomic Energy Liability Underwriters, or Nuclear Insur-
                      ance Associalion ol Canada. or would be an Insured under any such poticy              (3) "Source material",. "special nuclear material", and "byproduct material"
                      but for its termination upon exhaustion of its limit of liability; or                     have the meanings given them in the Atomic Energy Act of 1954 orin any
                 (2) resulting from Ihe hazardous properties of nuclear material and with respect               law amendatory thereof;
                     to which (a) any person or organization is required to maintain financial              (4) "Spent fuel" means any fuel etement or fuel component, sotid or liquid,
                     protection pursuant lo the Atomic Energy Act of 1954, or any law amenda-                   which has been used or exposed to radiation in a nuclear reactor;
                     tory thereof, or (b) the Insured is, or had this policy not been issued would
                     be, enlitled to indemnity from the United States of America, or any agency             (5) "Waste" means any waste material (a) containing byproduct material and
                     thereof, under any agreement entered into by the United States of America,                 (b) resulting from the operalion by any person or organization of any nuclear
                     or any agency thereof, with any person or organization;                                    facility Included within the definition of nuclear facility under paragraph (6),
                                                                                                                (a) or (b) lhereot;
              b. Under any Medical Payments Coverage, or under any Supplementary Payments
                 provision relating to first aid, to expenses incurred with respect to bodily injury        (6) "Nuclear facility" means: (a) any nuclear reactor; (b) any equipment or
                 resultmg from the hazardous properties of nuclear material and arising out of                  device designed or used for (i) separating the isolopes of uranium or plu-
                 Ihe operalion of a nuclear facility by any person or organization;                             tonium, (ii) processing or utilizing spent fuel, or (iii) handling, processing,
                                                                                                                or packaging waste; (c) any equipment or device used for the processing,
              c. Under any Liability Coverage, to bodily injury or property damage resulting                    fabricating or alloying of special nuctear material if at any time the total
                 from the hazardous properties o( nuclear material, if:                                         amount of such material in the custody of the Insured at the premises where
                  (1) the nuclear material (a) is at any nuclear facility owned by. or operated by or           such equipment or device is located consists of or contains more than 25
                                                                                                                grams of plutonium or uranium 233 or any combination thereof, or more
                      on behalf of, an insured, or (b) has been discharged or dispersed therefrom:
                                                                                                                than 250 grams of uranium 235; (d) any structure, basin, excavation, prem-
                 (2) the nuclear material is contained in spent fuel or waste at any time pos-                  ises or place prepared or used for the storage or disposal of waste; and (e)
                     sessed, handled. used, processed, stored, transported or disposed of by or                 includes the site on which any of the foregoing is located, all operations
                     on behalf of an Insured; or                                                                conducted on such site, and all premises used for such operations;
                 (3) the bodily injury or property damage arises out of the furnishing by an
                                                                                                            (7) "Nuclear reactor" means any apparatus designed or used to sustain nuclear
                     lnstrred of services, materials, parls or equipment in connection with (he                 fission in a self-supporting chain reaction or to contain a critical mass of
                     planning. construction, maintenance, operation or use of any nuciear facilily,
                                                                                                                fissionable material;
                     but if such facility is located within the United States of America, its terri-
                     tories or possessions. or Canada, this exclusion (3) applies only to property          (8) "Properly damage" includes all forms of radioactive contamination of
                     damage to such nuclear facitily and any property thereat;                                  property.




                                                                                               CONDITlONS


               1. Premium                                                                               3    Financial Responsibility laws
                   Afl premiums for lhis policy shall be computed in accordance with the Com•                When this policy is certified as proof of financial responsibilily for the future
                   pany's rules, rates, rating plans, premiums and minimum premiums applicable               under the provisions of any motor vehicle financial responsibility law, such
                   to the insurance afforded herein.                                                         insurance as is afforded by this policy for bodily injury liability or for property
                                                                                                             damage liability shall comply wilh the provisions of such law to the extent of
                      Premium designaled in this policy as "advance premium" is a deposit pre.
                                                                                                             the coverage and limits of liability required by such law- The Insured agrees to
                   mium only which shall be credited to the amount of the earned premium due
                                                                                                             reimburse the Company for any payment made by the Company which it would
                   at the end of the policy period. At the close of each period (or part thereof
                                                                                                             not have been obligated to make under the terms of lhis policy except for the
                   terminating with the end of the policy period) designated in the declarations as
                                                                                                             agreement contained in this paragraph.
                   the audit period the earned premium shall be computed for such period and,
                   upon notice thereof lo the Named Insured, shall become due and payabie. If
                                                                                                        4. Insured's Duties in the Event of Dccurrence, Claim or Suit
                   the total earned premium for the policy period is less than the premium
                   previously paid, the Company shall return to the Named Insured the unearned              (a) In the event of an occurrence, written notice containing particulars suffi-
                   portion paid by the Named Insured.                                                           cient to identify the Insured and also reasonably obtainable information
                                                                                                                with respect to Ihe time, place and circumstances thereof, and the names
                     The Named Insured shall maintain records of such information as is neces-                  and addresses of the injured and of available witnesses, shall be given.by
                   sary for premium computation, and shall send copies of such records lo the                   or for the Insured to lhe Company or any of its authorized agents as soon
                   Company at lhe end of the policy period and at such times during the policy                  as practicable.
                   period as the Company may direct.
                                                                                                             (b) If claim is made or suit is brought against the Insured, the Insured shall
               2. Inspection and Audit                                                                           immedialely forward to the Company every demand, notice, summons-or
                                                                                                                 other process received by him or his representative.
                  The Company shall be permilted but not obligated to inspect the Named
                  Insured's property and operations at any time. Neither the Company's right to              (c) The Insured shall cooperate with the Company and, upon the Company's
                  make inspections nor the making thereof nor any report thereon shall consli-                   request, assist in making settlements, in the conduct of suits and in
                  tute an undertaking, on behalf of or for the benefit of the Named Insured or                   enforcing any right of contribution or indemnity against any person or
                  others, to determine or warrant that such property or operations are safe or                   organizalion who may be liable to the Insured because of injury or damage .
                  healthful, or are in compliance with any law, rule or regulalion.                              with respect to which insurance is afforded under this poficy; and the
                                                                                                                 Insured shall attend hearings and trials and assist in securing and giving
                     The Company may examine and audit Ihe Named Insured's books and rec-                        evidence and obtaining the attendance of witnesses. The Insured shall not.
                  ords at any time during the policy period•and exlensions thereof and within                    except at his own cosl, voluntarily make any payment,' assume any obliga-
                  three years after the final termination of this policy, as far as they relate                  tion or incur any expense other than for first aid to others at the trme ol
                  to the subject matter of this insurance.                                                       accident.
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                                    _.__._. •                                                                        ®




                                                                        CONDITIONS CONTINUED




 5. Action Against Company                                                                  and do whatever else is necessary to secure such rights. The Insured shall do
    No action shall lie against the Company unless, as a condition precedent                nothing afterloss to prejudice such rights.
    thereto, there shall have. been full complPance with all of the terms of this
                                                                                         8. Changes
    policy, nor until the amount of lhe Insured's obligation to pay shall have been
    finally determined either by judgment against the lnsured after actual trial or         Notice 10 any agent or knowldege possessed by any agent or by any other
    by written agreement of the Insured, the claimant and the Company.                      person shall not effect a waiver or a change in any part of this policy or estop
      Any person or organization or the legal representative thereof who has                 the Company from asserting any right under the terms of this policy; nor shall
    secured such judgment or written agreement shall thereafter be entitled to               the terms of this policy be waived or changed, except by endorsement issued
    recover under this policy to the extent of the insurance afforded by this policy.        to form a part of this policy.
    No person or organization shall have any right under this policy to join the         9. Assignment
    Company as a party lo any action against the Insured to determine the In-
    sured's liability, nor shall the Company be impleaded by the Insured or his             Assignment of interest under this policy shall not bind lhe Company until its
    legal representative. Bankruptcy or insolvency of the Insured or of the In-             consent is endorsed hereon; if, however, the Named Insured shall die, such
    sured's estate shall not relieve the Company of any of its obligations here-            insurance as is afforded by this policy shall apply (1) to the Named Insured's
    under.                                                                                  legal representative, as the Named Insured, but only while acting within the
                                                                                            scope of his duties as such, and (2) with respect to the propefty of the Named
    Other Insurance                                                                         Insured, to the person having proper temporary custody thereof, as Insured,
    The insurance afforded by this policy is primary insurance, except when stated          but only until the appointment and qualificalion of the legal representative.
    to apply in excess of or contingent upon the absence of other insurance. When       10. Three Year Palicy
    this insurance is primary and the Insured has other insurance which is stated
    to be applicable to the loss on an excess or contingent basis, the amount of            If this policy is issued for a period of three years any limit of the Company's
    the Company's liability under this poticy shall not be reduced by the existence         liability stated in this policy as "aggregate" shall apply separately to each
    of such otherinsurance.                                                                 consecutive annual period thereof.
       When both this insurance and other insurance apply to the loss on the same       11. Cancellation
    basis, whelher primary, excess or contingent, the Company shall not be liable
                                                                                            This policy may be cancelled by the Named Insured by surrender thereof to the
    under this policy for a greater proportion of the loss than that stated in the
                                                                                            Company or any of its authorized agents or by mailing to the Company written
    applicable contribution provision below:
                                                                                            notice stating when thereafter the cancellation shall be effective. This policy
    (a) Contribution by Equal Shares. If all of such other valid and collectible            may be cancelled by the Company by mailing to the Named Insured at the
        insurance provides for contnbution by equal shares, the Company shall not           address shown in this policy, written notice stating when not less than ten
        be liable for a greater proportion of such loss than would be payable if            days thereafter such cancellation shall be effective. The mailing of notice as
        each insurer contribules an equal share until the share of each insurer             aforesaid shall be sufficient proof of notice. The time of surrender or the
        equals lhe lowest applicable limit of liability under any one policy or the         effective date and hour of cancellation stated in the notice shall become the
        full amount of the loss is paid, and with respect to any amount of loss not         end of the policy period. Delivery of such written notice either by the Named
        so paid the remaining insurers then continue to contribute equal shares             Insured or by the Company shall be equivalent to mailing.
        of the remaining amount of the loss until each such insurer has paid its               If the Named Insured cancels, earned premium shall be computed in accord-
        limit in full or the full amount of the loss is paid.                               ance wilh the customary short rate tabfe and procedure. If the Company
                                                                                            cancels, earned premium shall be computed pro rata. Premium adjustment
    (b) Contribution by Limits. If any of such other insurance does not provide for         may be made either at the time cancellation is effected or as soon as prac-
        contribution by equal shares, the Company shall not be liable for a greater         ticable after cancellation becomes effective, but payment or tender of un-
        proportion of such loss than the applicable limit of liability under this           earned premium is not a condition of cancellation.
        policy for such loss bears to the total applicable limit of liability of all
        valid and collectibte insurance against such loss.                              12. Declarations
                                                                                            By acceptance of this policy, the Named Insured agrees that the statements in
 J. Subrogation                                                                             the declarations are his agreements and representations, that this policy is
    In lhe event of any payment under this policy, the Company shall be subro-              issued in reliance upon the truth of such representations and that this poticy
    galed to all the Insured's rights of recovery therefor against any person or            embodies all agreements existing belween himself and the Company or any
    organization and the Insured shall execute and deliver instruments and papers           of its agents relating to this insurance.




IN WITNESS WHEREOF, the INSURANCE COfNPANy OF NORTH AMERICA has caused this policy to be signed by its President and a Secretary at Philadelphia, Pennsyl-
vania, and countersigned on the Declarations page by a duty Authorized Agent of the Company.




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                       BERTRAM C. DEOMAN, g,C,nyy
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              Service Office umber                   Agenc~n ber -                                                                  —')Id Policy No.                            Prev. Carrier No.
                 554                L-DJ              121., 3                            ~
       ~rsh ~e
            (~j jo~ e jn                                                   ❑ New;~] Renewal; ❑ Rewrite of.                    ~; 37 68 03
       Ona Floodward Avenue ~                                                                                                                                         r~
       Detroit,MI 8226 ,                                                                                                                                     ;
                                                      C-50-03
                                      INSURANCE COMPANY OF NORTH AMERICA                                              MULTIPLE 1_1480~ F                          1( (~-)
                                                                                                        S                ~✓                   ,,                  ~                                 c

      Named             Wolverine World Wide •                               c. etal                                                                ~                                               G
      Insured                                                                                               I ,      /~rj
                        9341 Courtld
                                   m Drive                                                                  J,                                          '
                                                                                                                                     The Named Insured is:                       ✓
      Address           Roekford, MZ 49351 ~                                                      ` 1
                                                                                                 ~J           1~                     ❑ Individual. p Partnership;] Corporation                      ^
                                                                                                            ~ 1                      ❑ Joint Venture ❑ (Other)                                      Q
                  L                                                                          ~                                                                                                      o
                                                                                                                                                   12:01 A.M., standard time at the address
                                                                                                                                                   of the Named )nsured as stated herein.           F--
      Policy Period: from          3/ 1/ 79
                                         -       "                                  to         3/ 1/ $0 ✓

      Occupation:                                                                                     /
                                                        Sabi eet to Audit                         V
      Audit Period: Annual, unless otherwise stated

      The insurance afforded is only with respect to such of the following Parts and Coverages therein as are indicated by❑.
                                                                                                                          x The limit of 1he Company's liability against each
      such Coverage shall be as stated herein, subjectto all of the terms of the policy having reference thereto.

                                                                                                                          LIMITS OF LIABILITY
                              COVERAGE PARTS                                              Bodily Injury Liability                                           Property Damage Liability
                                                                               each occurrence                       aggregate                each occurronce                         aggregate
      ❑ Owners', Landlords'and Tenants'Liabilitylnsurance
            ❑ Struclural Alterations, New Construclion, Demolition
      ❑ Manufacturers' and Contraclors' Liabilitv Insurance
            ❑ Independent Contractors
      ❑ Completed Operations and Products Liability Insurance
          Conlractual Liability Insu,ance
      n Comprehensive General Liability Insurance                              500,000 ✓                          500, o o                     100, 000 ~                            100, 0
      ❑
                                                                                 each person                      each occurrence                                 each occurrence                   —Z
      p Comprehensive Automobile Insurance
      ❑

                                                                                  Personal Liability                                         Personal Medical Payments
      ❑ Comprehensive Personallnsurance                                            each occurrence                               each person                                   each accident
      ❑ Farmer's Comprehensive Personal Insurance                          3                                         $                                            $
                                                                                      Physical Damage to Property                                  Animal Collision—Farmer's Part Dnly
                                                                           $                                        each occurrence          Market Value not exceeding $300 each animal

                                                                                               each perso                                                          each accident
      ❑ Premises Medical Payments Insurance                                $                                                             $
      ❑ Automobife Medical Payments Insurance                              $
      ❑ Insurance Against Uninsured Motorist                               $                                                             $

                                                                                         each perso aggregate                                                              gr~~ate
                                                                                                                                                                 general ag/
          Personal Injury Liability Insurance
                                                                                                                                                                                 .
                                                                           $ SQQ QQQ                                                     $ SQQ QQQ                         ✓
                                                      (Fleet Automatic
      ❑ Automobile Physical Damage Insurance           or Non-Fleet)       (See Additional Declarations attached for Coverages and Limits of Liability)
      ❑ Automobile Physical Damage Insurance (Dealers)                     (See Additional Declarations attached for Coverages and Limits of Liability)
     p Garage Insurance                                                    (See Additional Declarations attached for Coverages and Limits of Liability)
      Endorsements attached to policy at inception:                                              /
                      Ae Per Schedule of Form Nu®bers ✓
     During the past three years no insurer has can elle insurance, issued to the Named Insured, simifar to that afforded hereunder, unless otherwise stated herein:

       TOTAL ADVANCE PREMIUM ► $                           I     If the Policy Period is more than one year and the premium is to be paid in installments, premium is payable on:
                 Effective Date         $
                lst Anniversary         $
                2nd Anniversary         $
                                                                                                            Countersigned By
                                                                                                                                                        Authorlted Agent                    -

     This Decfarations and Coverage Part(s), with Policy Standard Provisions and Endorsements, if any, issued to form a part thereof, completes the above numbered
